Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 1 of 477




                    EXHIBIT 5
   Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 2 of 477
      Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 1 of 192




                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MARYLAND


In re UNDER ARMOUR SECURITIES        )   Civil No. RDB-17-388
LITIGATION                           )
                                     )   CLASS ACTION
                                     )
This Document Relates To:            )
                                     )   JURY TRIAL DEMANDED
      ALL ACTIONS.                   )
                                     )



  CONSOLIDATED THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE
                   FEDERAL SECURITIES LAWS
       Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 3 of 477
          Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 2 of 192


                                                   TABLE OF CONTENTS

                                                                                                                                       Page

I.        INTRODUCTION ...............................................................................................................1

II.       SUMMARY OF THE ACTION ..........................................................................................2

III.      JURISDICTION AND VENUE ..........................................................................................9

IV.       PARTIES ...........................................................................................................................10

V.        SUBSTANTIVE ALLEGATIONS ...................................................................................13

                     A.         Background of the Company .....................................................................13

                     B.         Plank Drove Under Armour’s Aggressive Growth Strategy .....................14

                     C.         Under Armour’s Brand Heat Began to Die, Demand Weakened, and
                                Sales Declined ............................................................................................16

                     D.         Under Armour Ramps Up Its Promotional Activity ..................................18

                     E.         Defendants Engaged in Suspect Sales Practices to Further Mask Slowing
                                Demand and Maintain the Company’s 20% Growth Streak ......................20

                                1.         Defendants Pull-Forward Sales and Stuff Channels to Artificially
                                           Boost Revenues..............................................................................20

                                2.         Defendants Induce Retailers to Take Unneeded Product with
                                           Promises to Buyback Merchandise and Through Discounts and
                                           Other Sweeteners ...........................................................................24

                     F.         Defendants’ Declining Apparel Sales and Suspect Sales Practices Led to
                                Excess Inventory and Liquidations ............................................................26

                     G.         Defendants Relied on Footwear and International Sales to Obscure the
                                Company’s Sales and Margin Declines .....................................................29

                     H.         Under Armour’s Declining Demand and Unsustainable Business
                                Practices Catch Up to Them but Defendants Mislead the Market as to
                                the True Reasons Behind the Company’s Problems ..................................31

                     I.         The Market Began to Learn the Truth About the Company’s Sales
                                Problems, Causing the Stock Price to Decline...........................................33

                     J.         The SEC and DOJ Launched Investigations Into Under Armour’s
                                Accounting Practices and Related Disclosures, Plank Stepped Down as
                                the Company’s Chief Executive Officer, and the SEC Preliminarily
                                Determined to File an Enforcement Action Against Defendants ..............35
                                                                      i
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 4 of 477
         Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 3 of 192

                                                                                                                                    Page


                   K.         Numerous Facts Support Defendants’ Scienter .........................................38

                              1.         Numerous Facts Support Plank’s Scienter .....................................38

                                         a.         Plank Had Direct Knowledge of, and Was Personally
                                                    Implicated in, the Fraud .....................................................38

                                         b.         Plank’s Public Statements and Access to the Company’s
                                                    Internal Systems and Data .................................................40

                                         c.         The SportScan Data Cited in the Morgan Stanley Report
                                                    Mirrored the Company’s Internal Sales Data ....................43

                                         d.         Plank’s Participation in Company Meetings......................47

                                         e.         Plank’s Motivation to Personally Capitalize on the
                                                    Company’s Artificially Inflated Stock Value ....................49

                              2.         The Scienter of Company Executives Is Imputed to Defendant
                                         Under Armour ................................................................................56

VI.      DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
         OMISSIONS ......................................................................................................................60

                   A.         2015 Investor Day ......................................................................................62

                   B.         Third Quarter 2015 Financial Results ........................................................65

VII.     INVESTORS BEGIN TO LEARN THE TRUTH BUT DEFENDANTS
         CONTINUE TO MISLEAD THE MARKET ...................................................................71

                   A.         Published Retail Data Exposes Growth, Market Share, and ASP
                              Declines at Under Armour .........................................................................72

                   B.         Misleadingly Positive Fourth Quarter 2015 and Fiscal Year 2015
                              Financial Results and Downplay of the Morgan Stanley Report ...............75

                   C.         Press Release Reiterating 2016 Financial Outlook Despite Sports
                              Authority’s Bankruptcy .............................................................................83

                   D.         Misleadingly Positive First Quarter 2016 Financial Results and
                              Guidance Raise ..........................................................................................84

                   E.         Departures of the Company’s Chief Merchandising Officer and Chief
                              Digital Officer ............................................................................................91

                   F.         Reduced Financial Guidance Tied to the Sports Authority Bankruptcy....93

                                                                   ii
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 5 of 477
         Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 4 of 192

                                                                                                                                Page


                 G.       Under Armour Bond Offering ...................................................................96

                 H.       Disappointing Second Quarter 2016 Financial Results: Partial
                          Revelations of a Growth Slowdown ..........................................................97

                 I.       Goldman Sachs Global Retailing Conference .........................................106

                 J.       Disappointing Third Quarter 2016 Financial Results: Further
                          Revelations of a Growth Slowdown and Compressed Margins ..............108

                 K.       Disappointing Fourth Quarter 2016 and Fiscal Year 2016 Financial
                          Results: Revelations of a Severe Growth Slowdown and the Sudden
                          Resignation of CFO Molloy.....................................................................116

                 L.       The Fallout From the Fraud Continued, but Defendants Conceal the Full
                          Truth From Investors ...............................................................................125

                 M.       The Company Announces Plank’s Resignation as CEO .........................136

                 N.       Federal Investigations Into the Company’s Accounting Practices and
                          Related Disclosures ..................................................................................137

VIII.    DEFENDANTS’ GAAP VIOLATIONS AND MATERIALLY FALSE AND
         MISLEADING FINANCIAL STATEMENTS ...............................................................144

                 A.       Under Armour Failed to Disclose Its Improper Sales Practices ..............145

                          1.         The Financial Impact of Channel Stuffing on Under Armour’s
                                     Quarterly Revenue .......................................................................148

                          2.         The Impact of Channel Stuffing on Future Results .....................149

                 B.       Under Armour’s Continued Growth Was Achieved by Improperly
                          Recognizing Revenue on Contingent Sales and Understating Reserves
                          for Customer Returns, Allowances, Markdowns, and Discounts ............150

                          1.         Improper Contingent Sales ..........................................................150

                 C.       Improper Reserves for Customer Returns, Allowances, Markdowns, and
                          Discounts..................................................................................................154

                 D.       Under Armour Overstated Inventory .......................................................157

IX.      POST-CLASS PERIOD REVELATIONS ......................................................................159

X.       LOSS CAUSATION AND ECONOMIC LOSS .............................................................164

                 A.       January 10, 2016 Revelations ..................................................................165
                                                              iii
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 6 of 477
         Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 5 of 192

                                                                                                                           Page


                   B.        May 3, 2016 Revelations .........................................................................165

                   C.        May 31, 2016 Revelations .......................................................................166

                   D.        July 26, 2016 Revelations ........................................................................166

                   E.        October 25, 2016 Revelations ..................................................................167

                   F.        January 31, 2017 Revelations ..................................................................167

                   G.        August 1, 2017 Revelations .....................................................................167

                   H.        November 3, 2019 Revelations ................................................................168

XI.      PRESUMPTION OF RELIANCE ...................................................................................170

XII.     NO SAFE HARBOR .......................................................................................................172

XIII.    CLASS ACTION ALLEGATIONS ................................................................................174




                                                               iv
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 7 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 6 of 192



I.      INTRODUCTION

        1.     Lead Plaintiff Aberdeen City Council as Administrating Authority for the North

East Scotland Pension Fund (“Aberdeen”), Monroe County Employees’ Retirement System

(“Monroe”), and KBC Asset Management NV (“KBC”) (collectively, “Plaintiffs”) bring this class

action for violations of the federal securities laws.

        2.     Plaintiffs bring this federal class action under Sections 10(b), 20(a), and 20A of the

Securities Exchange Act of 1934 (“Exchange Act”), and Rule 10b-5 promulgated thereunder, on

behalf of all persons or entities that purchased or acquired common stock of Under Armour, Inc.

(“Under Armour” or “Company”) between September 16, 2015, and November 1, 2019, inclusive

(“Class Period”), and who were damaged thereby. The Exchange Act claims are brought against

Defendants Under Armour and the Company’s former Chief Executive Officer (“CEO”) and

Chairman of the Board Kevin A. Plank (“Plank”) (collectively, “Defendants”).

        3.     Plaintiffs make the following allegations upon personal knowledge as to those

allegations concerning Plaintiffs and, as to all other matters, upon the investigation of counsel

which included, without limitation: (a) review and analysis of public filings made by Under

Armour and other related parties and non-parties with the U.S. Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and other publications

disseminated by Defendants and related non-parties; (c) review of news articles and shareholder

communications; (d) review of other publicly available information concerning Defendants and

related non-parties; (e) interviews with factual sources, including individuals formerly employed

by the Company and its retail partners; and (f) consultation with experts. Plaintiffs believe that

substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.


                                                 -1-
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 8 of 477
         Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 7 of 192



II.      SUMMARY OF THE ACTION

         4.    Under Armour is one of the largest sports apparel companies in the world. The

Company sells branded athletic products, which it divides into three categories: apparel, footwear,

and accessories. By a wide margin, apparel is the Company’s largest selling product, accounting

for over two-thirds of net revenue in 2016. During the Class Period, nearly two-thirds of the

Company’s sales were made through wholesale channels such as sporting goods chains (e.g.,

Dick’s Sporting Goods (“Dick’s”), Foot Locker, Champs, Finish Line, and The Sports Authority

(“Sports Authority” or “TSA”)). While Under Armour products are available worldwide, over

three-quarters of its sales come from North America. According to Plank, North American apparel

is the Company’s “largest and most profitable business by far.”

         5.    Under Armour faces steep competition in the athletic apparel industry. The

Company’s chief rivals, Nike and Adidas, have dominated the sector for decades. But the

Company slowly gained market share since its formation in 1996, capitalizing on a premium brand

image and a reputation for state-of-the-art fabrics designed to enhance athletic performance. In

2014, Under Armour surpassed Adidas to become the number two sportswear brand by revenue in

the United States and seemed poised to challenge Nike’s supremacy as the top brand.

         6.    Defendants knew that growth was critical to keep pace with competitors and to

perpetuate the market’s perception of the Company as a leading premium sports brand. For 26

consecutive quarters, spanning from the second quarter of 2010 (“2Q10”) to the third quarter of

2016 (“3Q16”), Under Armour reported a compounded annual growth rate of 20% or more. At

every turn, Plank reminded investors of this feat, noting that it was shared by only one other

company in the S&P 500, and assured the market that such growth would continue, and continue

as a premium-priced brand.


                                               -2-
   Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 9 of 477
      Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 8 of 192



       7.      Indeed, at the start of the Class Period, during the Company’s Investor Day on

September 16, 2015 (“2015 Investor Day”), Defendants boasted that “demand for our brand has

never been stronger” and led the market to believe that the Company’s incredible growth streak

would continue.

       8.      In reality, however, the Company was experiencing a severe decline in its apparel

business due to its “brand heat” (i.e., customer demand) dying. In other words, customer demand

for core products that the Company had successfully sold for years had begun to wane. As

Defendants would later admit, the Company failed to compensate for this decline by offering new

and fashionable products in line with the latest consumer trends, such as athletic leisure apparel

(a.k.a. “lifestyle” or “athleisure”). As a result, the Company’s apparel sales began to slow, causing

it to lose market share to Nike and Adidas.

       9.      Although this slowdown in demand was apparent to Defendants in 2015, Plank

demanded that Under Armour maintain aggressive sales goals based on its historic 20% growth

that were now unrealistic. However, it was never acceptable within the Company to lower these

unrealistic goals – even after the Company’s second biggest account, Sports Authority, declared

bankruptcy.

       10.     Accordingly, the Company abandoned its fundamental sales philosophy of

competing on brand strength over price, and resorted to lowering sales prices and offering

promotions and liquidating excess inventory.           Defendants’ steep discounting, however,

contributed to a drop in the Company’s average sales prices (“ASPs”) at a time when competitors

in the sports apparel industry, such as the Company’s chief rival Nike, were steadily increasing

their own ASPs. Defendants also attempted to offset the decline of the Company’s core apparel

business by accelerating investments in lower margin footwear products and international


                                                -3-
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 10 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 9 of 192



expansion, which provided a scapegoat for the Company’s margin declines. While these strategies

helped to temporarily prop up revenue growth, they were alone insufficient to generate the sales

necessary to continue the Company’s growth streak of 20%.

       11.     As a result, Defendants resorted to a slew of improper and/or concealed sales and

accounting practices that violated Generally Accepted Accounting Principles (“GAAP”) and SEC

regulations. These practices were used repeatedly in 2015 and/or 2016, with multiple retailers

such as the Company’s largest customers, Dick’s and Sports Authority, and included: (a) pulling

forward orders from the month after the quarter to ship within the quarter in order to hit aggressive

sales goals or close the gap; (b) leaning on retailers to take products early, including by adjusting

contract terms, offering discounts, and guaranteeing that Under Armour would buy back a certain

amount of the products that did not sell; (c) shipping products earlier than planned; (d) shipping

products in the final days of the quarter, resulting in the return of truckloads of unopened boxes of

inventory and shipping plans that sometimes contradicted the dates on the boxes; (e) shipping new

inventory intended for the Company’s own factory stores to off-price seller T.J.X. Co.1 so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at the Company’s own stores; and (f) continuing to ship products to

Sports Authority, and booking sales for those goods when shipped, even after it became clear that

Sports Authority was headed to bankruptcy and collectability of the revenue was not probable.

These suspect sales practices enabled the Company to increase quarterly revenue, mask slowing

demand for Under Armour products, and extend the 26-quarter streak of 20% sales growth.

However, these illicit tactics were unsustainable. Although they helped Under Armour hit the



1
   T.J.X. Co. is an American multinational off-price department store corporation that includes
TJ Maxx, Marshalls, HomeGoods, Homesense, and Sierra in the United States.

                                                -4-
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 11 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 10 of 192



number and close the gap, they were robbing from future quarters. As one former Under Armour

sales executive explained to The Wall Street Journal (“WSJ”), the “[p]roblem is once this starts it

doesn’t seem to stop. We found ourselves pulling forward every quarter.”2

       12.     The strains on Under Armour’s business were evident inside the Company, as were

the Company’s suspect sales practices. Plank and other executives knew of the Company’s fading

brand heat, excess inventories, steep discounting, pull forwards, and other machinations employed

to boost revenue and hit Plank’s aggressive sales targets. Indeed, the U.S. Department of Justice

(“DOJ”) and SEC are investigating Defendants’ involvement in these practices, including emails

that show Plank knew about efforts to move revenue between quarters.3

       13.     However, to preserve the Company’s carefully cultivated image as a fast-growing,

premium sports brand and a legitimate challenger to Nike, Defendants concealed the Company’s

problems and improper accounting and sales practices during the Class Period. Rather than explain

to the market that brand heat for the Company’s apparel was dying and that the Company was

forced to employ improper accounting and sales tricks to maintain a façade of consistent growth,

Defendants instead falsely claimed that Under Armour apparel sales were stronger than ever.

Plank trumpeted explosive growth and strong customer demand, while downplaying and

concealing the Company’s suspect sales practices, declining brand heat, ballooning inventory,

liquidations, and gross margin compression. And, despite these negative trends afflicting the

Company’s core business, Defendants doubled down on their fraud by repeatedly emphasizing the

purportedly continuing premium brand strategy.



2
   Ex. A, Khadeeja Safdar & Aruna Viswanatha, Inside Under Armour’s Sales Scramble:
‘Pulling Forward Every Quarter’, WALL ST. J., Nov. 14, 2019, at 3.
3
    See id. at 2; see also Ex. B, Aruna Viswanatha & Khadeeja Safdar, Under Armour Is Subject
of Federal Accounting Probes, WALL ST. J., Nov. 3, 2019, at 1.

                                               -5-
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 12 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 11 of 192



       14.     As a result, Under Armour’s common stock prices were artificially inflated

throughout the Class Period. In fact, analysts noted that Under Armour stock achieved an

“unprecedented valuation” near the beginning of the Class Period. Plank personally cashed in on

this artificial inflation (and the “unprecedented valuation”) by selling a substantial amount of his

Company stock for total proceeds of $138.2 million during the Class Period. As detailed below,

these sales were suspicious in timing and amount. Indeed, over just nine days in November 2015

and April 2016, Plank sold 36% and 42%, respectively, of the shares he had available to sell shortly

after making material misstatements and omissions. Since 2016, Plank has not sold a single share

of his Company stock. Defendants also leveraged their fraud by raising nearly $600 million from

the sale of then-investment grade bonds (“Bonds”) during the Class Period.

       15.     The first cracks in Under Armour’s veneer began to appear on January 10, 2016,

when Morgan Stanley published a report relying on fact-based industry sales data that revealed

declining ASPs, market share, and margins since spring 2015, before the start of the Class Period.4

The sales data in the report was materially consistent with Under Armour’s own internal sales data

available to Defendants, through multiple sources. In response to the Morgan Stanley Report,

Under Armour’s stock price declined sharply, which represented the beginning of a decline in

Under Armour common stock prices as the truth began to emerge. However, Defendants denied

the report and reassured investors that the Company’s financial results and prospects were as

strong as ever and that the Company was and would continue to be a premium brand that would

not compete on price. The market credited the Company’s claim with numerous analysts issuing




4
    Ex. C, Morgan Stanley Research, Under Armour Inc. Declining Share and ASPs Dual Threat
to Premium Valuation, Downgrade to UW (Jan. 10, 2016) (“Morgan Stanley Report”).

                                               -6-
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 13 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 12 of 192



reports stating that Under Armour was now pursuing its premium-priced strategy even more

aggressively.

       16.      Ultimately, the Company was no longer able to keep the charade going. The

Company’s illicit and unsustainable sales practices were no longer able to prop up Under Armour’s

sales, and its purported growth streak came to a crashing halt in the fourth quarter of 2016. Despite

months of pushback from Defendants against the Morgan Stanley Report data and their assurances

that Under Armour would continue to grow and that its brand was strong, the market continued to

learn of Under Armour’s true financial condition through a series of additional disclosures,

including a dramatic slowdown in growth, compressed margins, excess inventory, and Company

executive resignations that included two of the Company’s Chief Financial Officers (“CFO”), Brad

Dickerson (“Dickerson”) and Lawrence P. Molloy (“Molloy”) (who left after only 13 months on

the job). The market’s reaction to these partial revelations caused precipitous drops in Under

Armour’s common stock prices and losses of millions of dollars by Under Armour’s investors.

       17.      Yet Plank – despite knowing of the Company’s efforts to move revenue between

quarters and the strains in Under Armour’s business – continued to tell investors that that “our

demand is still there,” that Under Armour’s revenue growth and “growth story” were “intact,” that

its “brand is truly stronger than it’s ever been,” and that the Company’s problems were “due to the

function of our extreme growth.”        The Company’s downward spiral continued thereafter,

confirming the depth of the problems alleged herein. Under Armour continued to report drastically

reduced sales growth, lower margins, and excess inventory. The Company also went through a

massive restructuring in an attempt to restore the Company’s brand heat, including an evolution

from Under Armour’s traditional performance-oriented products to “style, innovation, lifestyle,

things that look like people want to wear.”


                                                -7-
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 14 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 13 of 192



        18.      Defendants continued to conceal the full truth from investors, including the illicit

sales practices they had used to buoy sales growth for more than a year and that the DOJ and SEC

were investigating the Company’s revenue-recognition, accounting and sales practices, Molloy’s

tenure, and its late 2016 results.

        19.      On October 22, 2019, Under Armour announced suddenly that Plank was stepping

down as CEO. This came as a surprise because Plank had repeatedly told shareholders that

“maintaining our founder-led approach” was so important that it required recapitalizing the

Company, which he did by creating a new class of common shares that allowed him to stay in

control of Under Armour. Defendants again failed to reveal the true reason behind his departure.

Less than two weeks later, on November 3, 2019, WSJ surprised the market further by revealing

that the DOJ and SEC were conducting criminal and civil securities fraud investigations into

whether Under Armour “shifted sales from quarter to quarter” during the Class Period in order to

make its financial results “appear healthier” than they actually were.5 This article forced the

Company to issue a statement confirming the ongoing investigations and admitting that they had

hidden them from investors for nearly three years: “The company began responding in July 2017

to requests for documents and information relating primarily to its accounting practices and related

disclosures.”6

        20.      Under Armour later disclosed that, as a result of the SEC’s investigation, the

Company, Plank, and Molloy’s successor, CFO David E. Bergman (“Bergman”), each received a

Wells Notice informing them that “the SEC Staff has made a preliminary determination to

recommend that the SEC file an enforcement action against the Company and each of the



5
    Ex. B, at 1.
6
    Id. at 2.

                                                 -8-
   Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 15 of 477
      Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 14 of 192



Executives [Plank and Bergman] that would allege certain violations of the federal securities laws”

related to “the Company’s disclosures covering the third quarter of 2015 through the period ending

December 31, 2016, regarding the use of ‘pull forward’ sales in connection with revenue during

those quarters.” “Specifically,” Under Armour explained, “the SEC staff is focused on the

Company’s disclosures regarding the use of pull forward sales in order to meet sales objectives.”

Notably, the Wells Notices concern the same time period in which Plank reaped profits of $138.2

million from his sales of Under Armour stock.

        21.    Under Armour subsequently provided additional information about the Wells

Notices, including that the Wells Notices informed Defendants that the SEC “would allege certain

violations of the Securities Act of 1933 and the Securities Exchange Act of 1934 and certain rules

promulgated thereunder” and “also reference potential charges related to the Executives’

participation in the Company’s violations, as well as control person liability under the Exchange

Act.”

III.    JURISDICTION AND VENUE

        22.    The Exchange Act claims asserted herein arise under Sections 10(b), 20(a) and 20A

of the Exchange Act, 15 U.S.C. §§78j(b), 78t(a), 78t-1, and Rule 10b-5 promulgated thereunder

by the SEC, 17 C.F.R. §240.10b-5.

        23.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§1331 and Section 27 of the Exchange Act, 15 U.S.C. §78aa.

        24.    Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c), and Section 27

of the Exchange Act, because Under Armour conducts substantial business in this District and

many of the acts and practices complained of herein occurred in substantial part in this District.

        25.    In connection with the challenged conduct, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including, without limitation, the United
                                                -9-
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 16 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 15 of 192



States mails, interstate telephone communications, and the facilities of the national securities

markets.

IV.      PARTIES

         26.   Plaintiff Aberdeen was appointed to serve as Lead Plaintiff in this action by the

Orders of this Court dated April 26, 2017 [ECF No. 13] and September 14, 2020 [ECF No. 150].

As shown in the certification filed with the Court on January 6, 2020 and attached hereto as Exhibit

D, Aberdeen purchased or otherwise acquired 815,726 shares of Class A and Class C Under

Armour common stock at artificially inflated prices during the Class Period.7

         27.   As shown in the certification attached hereto as Exhibit E, Monroe purchased Class

A Common Stock of Under Armour at artificially inflated prices during the Class Period.

         28.   As shown in the certification attached hereto as Exhibit F, KBC’s funds purchased

Class A Common Stock of Under Armour at artificially inflated prices during the Class Period.

         29.   Plaintiffs suffered economic losses when true facts about the Company’s financial

condition were disclosed and the artificial inflation was removed from the prices of such common

stock.

         30.   Defendant Under Armour is a Maryland corporation with its principal place of

business located at 1020 Hull Street, Baltimore, Maryland 21230.




7
    The Company has three classes of common stock. Class A Common Stock is publicly traded
(NYSE: UAA) and carries one vote per share. Class B Common Stock is non-publicly traded,
carries ten votes per share, and automatically converts to Class A Common Stock when Plank
beneficially owns less than 15% of the total shares of Class A and Class B Common Stock
outstanding and in other limited circumstances. Class C Common Stock is publicly traded (NYSE:
UA) and carries no voting rights except in limited circumstances. Shares of Class C Common
Stock were first issued after the close of trading on April 7, 2016, by way of a one-for-one stock
dividend to all holders of record of Class A and Class B Common Stock as of March 28, 2016.

                                               - 10 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 17 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 16 of 192



       31.     Defendant Plank is the founder of Under Armour and served as CEO and Chairman

of the Board throughout the Class Period, holding these positions from the Company’s formation

in 1996 through January 1, 2020, when he stepped down as CEO and transitioned to Executive

Chairman and Brand Chief. Plank spoke on Under Armour’s behalf during conference calls, in

press releases, and in the media. Plank was also the Company’s largest shareholder throughout

the Class Period, beneficially owning just over 15% of all shares outstanding and controlling

approximately 65% of the voting shares. Plank went to great lengths to maintain control of the

Company, as demonstrated by a massive recapitalization during the Class Period that solidified

Plank’s control. Since its Initial Public Offering (“IPO”) in 2005, the Company had two classes

of stock, Class A and Class B. Class A Common Stock is publicly traded (NYSE: UAA) and

carries one vote per share. Class B Common Stock is non-publicly traded and carries ten votes

per share. As of October 28, 2015, Plank held 35,700,000 ten-vote Class B shares and 76,445 one-

vote Class A shares, giving him 66.5% of the votes.

       32.     In the years following the 2005 IPO, events such as the issuance of new Class A

stock and employee stock compensation, among other things, diluted Plank’s ownership share and

put his voting control of the Company at risk. A provision in Under Armour’s charter provides

that should Plank’s ownership stake fall below 15%, Plank’s ten-vote Class B shares would

automatically convert to one-vote Class A shares and, thereby, divest Plank of his voting power,

which would fall from 65% to below 15%. As one analyst noted, “Given there have been two

splits in the last three years, his ownership has already been diluted, which is why it is becoming

dangerously close to the 15% threshold.” In 2015, to prevent that from happening, Plank caused

the Company to adopt several amendments to its charter centered on ensuring that Plank would




                                              - 11 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 18 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 17 of 192



not lose voting control. Specifically, the Company resolved in July 2015 to issue a third class of

common stock: Class C (NYSE: UA). The new Class C stock would have zero votes.

       33.     Plank publicly lobbied for the Class C issuance in a June 15, 2015, letter to

shareholders. Plank acknowledged that the Company’s dual-class structure was designed to ensure

he “retain control over significant decisions impacting Under Armour’s future.” Plank warned

that diluting his ownership stake “could ultimately undermine our current governance structure”

and claimed that “maintaining our founder-led approach is in the best interests of Under Armour

and all of its stockholders.” Plank’s letter further touted the purported benefit of giving him

“flexibility of selling these non-voting shares . . . while maintaining our founder-led approach.”

Importantly, the related amendments to the Company’s charter included a provision limiting the

amount of shares Plank could sell in any given year to 2.5 million shares, with potential rollover

starting in 2017.

       34.     On April 7, 2016, the Class C shares were issued as a 1:1 dividend to all holders of

Class A and Class B shares. The benefit to Plank was two-pronged. First, the Company could use

the zero-vote Class C shares for employee stock-based compensation and financing transactions,

e.g., acquisitions involving Company stock, without diluting Plank’s voting power. Second, as

discussed further below, Plank could sell Class C shares without reducing his voting power – as

he did just a few weeks after the Class C shares were issued.

       35.     Although the Class C issuance demonstrated the lengths Plank would go to

maintain control of the company he founded, it was not well received by all. As a July 24, 2015,

analyst report issued by Morningstar Equity Research (“Morningstar”) noted, the “addition of a

Class C stock . . . can hardly be an improvement for shareholders as a whole.” Likewise,

contemporaneous media noted, “the move by Under Armour will no doubt stoke the ire of some


                                              - 12 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 19 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 18 of 192



corporate governance experts and academics in the field. Any time a single person has more voting

power in a publicly traded company than her or his proportional ownership stake in that company,

there will be potential conflict.”

V.      SUBSTANTIVE ALLEGATIONS

        A.      Background of the Company

        36.     Under Armour was founded in 1996 by Plank, a 23-year-old former University of

Maryland football player, who engineered a t-shirt using a synthetic fabric, with moisture-wicking

performance fibers that helped keep athletes cool and dry under hot conditions. The Company

specializes in highly technical, performance-oriented athletic apparel, such as ColdGear,

HeatGear, and AllSeasonGear styles designed to enhance comfort and mobility and regulate body

temperature in different types of weather. Under Armour describes its apparel as “engineered to

replace traditional non-performance fabrics in the world of athletics and fitness with performance

alternatives designed and merchandised along gearlines.”

        37.     Over the years, the Company’s product lineup has expanded from a single shirt to

myriad Under Armour branded athletic products in three categories: apparel, footwear, and

accessories. However, apparel remains the Company’s core product and top revenue generator,

accounting for over two-thirds of net revenue in fiscal year 2016 (“FY16”). While Under Armour

products are available worldwide, the Company’s fortunes have always been tied to success in

North America, which contributed 83% of the Company’s net revenues in 2016. Thus, North

American apparel sales are critical to the Company’s success. As Plank admitted on January 31,

2017: “North American apparel is still our largest and most profitable business by far.

Accordingly, less-than-expected growth in this area disproportionately pressures our overall

growth rate.”



                                              - 13 -
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 20 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 19 of 192



       38.     During the Class Period, nearly two-thirds of the Company’s sales were wholesale

sales to national and regional sporting goods chains (e.g., Sports Authority, Dick’s, Foot Locker,

Champs), independent and specialty retailers, department store chains, institutional athletic

departments, and sports leagues and teams. Under Armour also owned and operated its own retail

locations (called “Brand House” and “Factory House” stores)8 and retail websites that exclusively

sold Under Armour products, which are collectively referred to as the “direct-to-consumer”

(“DTC”) channel, accounting for 31% of the Company’s sales in 2016.

       39.     Under Armour has many competitors, including athletic brands such as Nike,

Adidas, Reebok, lululemon, Columbia, New Balance, Brooks, and Puma. However, the Company

steadily gained market share from these competitors, capitalizing on its premium brand image and

reputation for brand performance rather than competing on price. As one analyst put it just prior

to the Class Period, Under Armour’s “brand . . . is sacrosanct.” By protecting that premium brand

image, Under Armour had become, by fall 2014, the number two sportswear brand according to

U.S. revenue, surpassing Adidas and setting its sights on number one – Nike.

       B.      Plank Drove Under Armour’s Aggressive Growth Strategy

       40.     Since Under Armour’s inception in 1996, and even after it went public in 2005,

Plank called the shots, always controlling a majority of stockholder votes and serving as CEO until

January 1, 2020, and as Chairman of the Board throughout the Class Period. Under this “founder-

led” approach, which Plank went to great lengths to protect, Plank set the destination and the route.




8
    Brand House stores showcase Under Armour’s latest products. Factory House stores,
primarily located in outlet centers, sell excess or undesirable inventory at reduced prices. At the
end of 2016, Under Armour had 18 Brand House and 151 Factory House stores in North America.
By the end of 2019, Under Armour had added only 1 Brand House store (19 total) but had added
18 Factory House stores (169 total) in North America.

                                               - 14 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 21 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 20 of 192



         41.    Plank relished the Company’s image as a scrappy, fast-rising upstart from

Baltimore. He implemented an aggressive growth strategy, brazenly targeting the Company’s

more-established competitors. In 2010, for example, Plank announced the Company’s foray into

the basketball business (one of Nike’s strongholds) by assailing Nike as “old” and declaring Under

Armour’s intent to become the “No. 1” brand.

         42.    For Plank and Under Armour, the overriding objective was growth. Within Under

Armour, instructions for determining growth forecasts were very simple: take what you sold last

year and add 20%. The Company’s “top down” aggression came directly from Plank. Plank’s

obsession with maintaining Under Armour’s 20% growth streak – which he played up on

conference calls with analysts, repeatedly referring to Under Armour as a “growth company” –

drove the Company’s revenue-growth-at-all-costs strategy. Employees knew that the Company’s

growth record was extremely important to Plank such that it was never acceptable to lower sales

goals.

         43.    Plank’s strategy appeared to pay off. Under Armour rode a wave of tremendous

growth into the Class Period. For 26 consecutive quarters (over six years) spanning from 2Q10 to

3Q16, Under Armour reported an unwavering revenue growth rate of 20% or more (on a year-

over-year basis). Plank never missed an opportunity to remind investors of that feat, coupled with

ultra-aggressive projections and assurances that such growth would continue. For example, during

the Company’s 2015 Investor Day, Plank stated:

         We’ve enjoyed 21 consecutive quarters of 20-plus% revenue growth, more than five years
         of 20-plus% revenue growth quarter in an quarter out, delivering and finding a way and
         doing it not because we are pushing or pressing, because it’s the demand and the app
         from our consumer. We are one of only two companies in the S&P 500 that can make
         that claim, and we are very proud of that and what that means. And frankly, we have no
         expectation of that stopping anytime soon.



                                               - 15 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 22 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 21 of 192



       C.      Under Armour’s Brand Heat Began to Die, Demand Weakened, and
               Sales Declined

       44.     However, despite many years of successful growth, the Company’s product styles

had grown stale and its premium brand heat was dying by the start of the Class Period in September

2015. “Brand heat” was an expression Plank and others at Under Armour used to refer to the

demand generated by the Company’s brand appeal to consumers. When the Company failed to

offer new and updated products in line with the latest consumer trends, its brand heat declined.

One such trend involved athletic leisure apparel (a.k.a. “athleisure” or “lifestyle” apparel), which

had exploded in popularity by the start of the Class Period. Athletic leisure apparel is fashion-

oriented casual wear inspired by workout clothing and is sold by many different retailers beyond

the traditional sporting goods stores. Many of the Company’s competitors, particularly Nike and

Adidas, adapted to this trend by expanding their product lines to include athletic leisure apparel.

However, Under Armour failed to offer its own line of athletic leisure apparel until late 2016.

Instead, the Company continued to lean heavily on the same “core basic” apparel styles it had sold

for years, such as training t-shirts and hooded sweatshirts. Although historically these products

had been huge volume drivers for Under Armour, they became oversaturated as many customers

already owned them in different colors, and were not as interested in buying them again. This

enabled competitors to capture critical sales volume and market share from Under Armour, and

enhance their brand values at the expense of Under Armour.

       45.     Declining demand for Under Armour apparel caused progressively worse financial

problems at the Company. This was particularly damaging because apparel sales provided the

majority of the Company’s sales (67% of net revenue in 2016) and were critical to meeting the

Company’s aggressive financial projections. According to SportScan retail data, the Company’s

core apparel sales began slowing around spring of 2015, causing the Company to lose market share

                                               - 16 -
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 23 of 477
       Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 22 of 192



to rivals like Nike and Adidas.9 Compounding these problems, the Company was experiencing a

monumental downturn in its primary sales channel, North American wholesale. Historically, the

Company enjoyed strong and profitable sales through its North American wholesale accounts,

including traditional sporting goods stores such as Dick’s, Sports Authority, City Sports, Sport

Chalet, Finish Line, Footlocker, and Champs. By 2015, however, consumers had begun to eschew

these stores in favor of online shopping and large discount chains (e.g., Target, Wal-Mart). This

trend hurt sales of Under Armour’s products because the Company sold relatively few products

through these alternative channels. Meanwhile, specialty stores such as Gap, Abercrombie, and

lululemon began to offer their own athletic leisure apparel that competed with, and cut into the

sales of, apparel sold at traditional sporting goods stores.

       46.     This trend worsened over time and a number of the Company’s traditional sporting

goods customers were forced to declare bankruptcy and close their stores during the Class Period.

On October 5, 2015, City Sports filed for bankruptcy, and subsequently announced that it would

liquidate and close all 26 of its stores. And, on February 9, 2016, CNN reported that Under

Armour’s second-largest retail customer, Sports Authority, faced bankruptcy after missing a $20

million debt payment. Sports Authority then filed for Chapter 11 bankruptcy protection on March

2, 2016, and on April 26, 2016, announced that it would liquidate rather than reorganize, shuttering

463 stores. On April 18, 2016, Vestis Retail Group, the operator of Sport Chalet, Eastern Mountain

Sports, and Bob’s Stores, filed for bankruptcy, announcing a restructuring plan that would result

in the closing of 56 stores, including all 47 Sport Chalet stores. Losing these customers put


9
    Ex. C, at 1, 4-6. As discussed below, the SportScan retail data set forth in the Morgan Stanley
Report was materially consistent with Under Armour’s internal retail data, showing a slowdown
in core apparel sales that began around spring of 2015, but Defendants nonetheless publicly
downplayed and discredited this report and falsely reassured investors that the Company’s sales
growth was as strong as ever.

                                                - 17 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 24 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 23 of 192



additional pressure on the Company’s faltering apparel demand. Several former Under Armour

executives told WSJ, “The strains in Under Armour’s business were evident inside the company

in 2016.”10 They further explained to WSJ that this “slowdown was occurring in more places than

just [TSA]” and that the TSA bankruptcy “just amplified the issue.”11

         47.     Despite losing these customers – including Sports Authority – Under Armour

maintained its now-unrealistic sales goals. Internally, it was never acceptable to lower these goals

even though everyone knew they were unrealistic without Sports Authority – a major account for

Under Armour. Attempting to cover up these sales declines and provide the illusion of financial

health, Defendants’ abandoned Under Armour’s fundamental sales philosophy of competing on

brand strength rather than price. Instead, Defendants resorted to lowering sales prices, including

offering heavy discounts and promotions, and engaging in a myriad of suspect sales practices.

         D.      Under Armour Ramps Up Its Promotional Activity

         48.     Beginning in 2015, Under Armour lowered sales prices and ramped up its

promotional activity.12 This resulted in rapidly decelerating average sales prices of the Company’s

apparel, causing decreased product margins. This trend compared unfavorably with the sports

apparel industry overall and particularly with the Company’s chief rival Nike, which was

experiencing steadily increasing average sales prices.13

         49.     Under Armour heard all the time from buyers and sales representatives in 2015 and

2016 that the Company’s brand heat was dying down. One notable example of this trend involved

Under Armour’s “big logo hoodie” – a performance-oriented hooded fleece sweatshirt with a big


10
     Ex. A, at 3.
11
     Id. at 4.
12
     See Ex. C, at 1, 4-5.
13
     See id. at 4.

                                               - 18 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 25 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 24 of 192



Under Armour logo on the chest. This was a top seller and huge business volume driver for years

and, thus, Under Armour consistently carried a large inventory in many different colors. However,

as brand heat was dying, sales for this product began to decline significantly. As a result, the

Company decided – for the first time ever – to run sales of the hoodie during Black Friday of 2015

(November 27, 2015). The Company offered the hoodie for as much as 25% off at numerous

stores, including Dick’s, Sports Authority, and Macy’s.

       50.     The Company’s sales declines opened the promotional floodgates. After the hoodie

was put on sale for the first time ever in November 2015, Under Armour began to run more and

more promotions in 2015 and 2016. For example, in addition to the big-logo hoodie, Under

Armour began to sell other staples of its apparel lineup like polo shirts and training t-shirts for

25% off in 2015 and 2016. Like the big-logo hoodie, these products historically drove large sales

volume at premium prices and, unlike any prior time, had to be put on sale during the Class Period

because of dying demand for the Company’s brand.

       51.     For a while, the heavy discounts, promotions, and lower sales prices, helped the

Company continue to report revenue growth, meeting Plank’s aggressive 20% growth projections.

But, this manufactured, price-driven, low-quality growth caused lower product margins that

damaged the Company’s bottom line and eroded the Company’s “premium” brand image. These

negative effects were observed by a former Merchandising Manager of the Company, Brock

Andersen (“Andersen”), who stated that: “Under Armour’s apparel products . . . suffered from

reduced customer appeal and demand”; “the Company’s ASPs were falling sharply in North

America”; and the “Company’s apparel and North American margins were not ‘improving’ or

‘offset[ing]’ other sources of margin decline, but rather were deteriorating due to increasing




                                              - 19 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 26 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 25 of 192



Company discounts and promotions, and falling ASPs of the Company’s products.”14 Andersen

further stated that Plank knew or recklessly disregarded these “true facts” and misled investors

about them during the Class Period.15

         E.      Defendants Engaged in Suspect Sales Practices to Further Mask
                 Slowing Demand and Maintain the Company’s 20% Growth Streak

                 1.       Defendants Pull-Forward Sales and Stuff Channels to
                          Artificially Boost Revenues

         52.     In addition to the aggressive promotions and discounting described above,

Defendants also employed a variety of improper sales and accounting practices to mask slowing

demand, enable the Company to appear healthier, and maintain the façade of quarterly growth

demanded by Plank.16 This false portrayal of growth was unsustainable, however, because the

Company was robbing sales from future quarters to portray growth in the current one.

         53.     Defendants engaged in channel stuffing by pulling forward sales from future

quarters into the current quarter to artificially boost revenue, enabling the Company to close the

gap and hit aggressive sales goals, while feigning continued growth to the market. As a former

Under Armour sales executive told WSJ, “It was a pretty common practice to pull forward orders

from the month after the quarter to ship within the quarter in order to hit the number or close the

gap.”17 As one former merchandising executive at Under Armour told WSJ, “It was all in the

name of hitting the number, and it would happen out in the open.”18 This scramble to pull in as




14
   Andersen v. Plank, No. 1:18-cv-02239-TDC, Verified Shareholder Derivative Complaint, at
75-76 (D. Md. July 23, 2018), ECF No. 1 (“Andersen Complaint”).
15
     See id. at 74.
16
     See Ex. A, at 3-5.
17
     Ex. A, at 3.
18
     Id. at 2.

                                              - 20 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 27 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 26 of 192



many orders as possible began as early as the third quarter of 2015 (“3Q15”), and continued at

least through the end of 2016, increasing after the TSA bankruptcy.

           54.   In some cases, Under Armour backdated shipment dates and moved shipment dates

up from the first month of the following quarter to the last month of the current quarter. Indeed, a

former logistics executive at Under Armour explained to WSJ that the Company’s shipping plans

in the final days of the quarter sometimes contradicted the dates on the boxes.19

           55.   The practice of pulling forward sales occurred with retailers including Dick’s,

Under Armour’s biggest customer in 2015 and 2016, totaling $400 million dollars of annual sales.

The Company leaned on Dick’s to boost its revenue. Dick’s also accepted the Company’s products

early, thus helping Defendants boost revenue by pulling sales forward from future quarters.20

However, as further detailed in Section V.E.2, such sales were contingent on “handshake” deals

that allowed Dick’s the right to return products it could not sell.

           56.   The former sales executive further explained to WSJ that the “[p]roblem is once

this starts it doesn’t seem to stop . . . . We found ourselves pulling forward every quarter.”21 The

reason the Company repeatedly pulled sales forward was to sustain its growth record, including its

26-quarter streak of sales growth, which the Company’s employees knew was important to Plank.22

Plank directed the Company’s sales organization to maintain the growth streak and frequently

bragged about the streak on conference calls with analysts, including on the Company’s 3Q16




19
     See id.
20
     See id. at 3.
21
     Id.
22
     See id. at 1.

                                                - 21 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 28 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 27 of 192



earnings call.23 Plank played up the Company’s growth streak as a sign of its success, repeatedly

referring to Under Armour as a “growth company.”

         57.     Although the sales goals needed to maintain such growth were unrealistic as

discussed above, it was never acceptable to lower them. Indeed, desperate to keep the streak alive

during the summer of 2016, despite the loss of TSA, Plank told the sales organization that they

needed to hit 20% growth or “heads will roll.” Accordingly, Plank set the tone at the top, and

created an atmosphere which emphasized growth as the foremost priority regardless of what it took

to get there. And, critically, as further detailed below in Section V.K.1.a, WSJ reported that federal

investigators are examining emails that show Plank knew about efforts to move revenue between

quarters.24

         58.     Indeed, the practice of pulling orders forward was well-known within the Company

and discussed at weekly meetings attended by high-level executives. The Company’s demand

planning team would send emails to employees passing down directives to pull orders forward

after looking to see how far off they were from meeting financial goals. The sales operation team

was also instructed to pull forward orders from future quarters. The employees were asked to look

at the inventory on hand and determine what orders were available to ship so Under Armour could

report more sales and revenue in the current quarter. These requests increased over time, such that

the employees were asked to pull more orders forward as 2016 progressed. The Company tracked

the pull-forward orders in massive spreadsheets containing detailed sales and inventory data,

including inventory that Under Armour had available to ship and inventory held by Under Armour

customers such as Sports Authority. The spreadsheets were regularly updated and saved in a



23
     See id. at 2-3.
24
     See id. at 2.

                                                - 22 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 29 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 28 of 192



shared public folder, and anyone who wanted access could review them and identify orders that

had been adjusted and pulled forward from one quarter into an earlier quarter.

         59.     To further help meet the Company’s quarterly targets in 2016, Under Armour also

stuffed as much inventory as possible into certain retailers to frontload the recognition of revenue,

despite the consequences that followed. For example, Under Armour began shipping new

inventory intended for Factory House stores to T.J.X. Co. discount stores like T.J. Maxx.25 A

former merchandise executive at the Company explained to WSJ that this practice allowed Under

Armour to immediately book the products as revenue instead of having to wait for a customer to

buy them at its own stores.26 Under Armour ensured its massive inventory shipments to T.J.X.

Co. fell just short of triggering the 10% of sales threshold for disclosing the discount outlet as one

of its top customers in Under Armour’s securities filings.27 This would have surely indicated to

the market that Under Armour had loss its premium brand status and its ASPs were falling.

         60.     Defendants also continued to stuff Under Armour’s products into Sports Authority

and book revenue for those sales, despite knowing that Sports Authority was having significant

issues,28 might not be able to pay for the products, and the products could be returned en masse.

As former Under Armour executives in sales, logistics, merchandising, and finance stated to WSJ,

Under Armour continued shipping goods to TSA, and booking sales for those goods, even after it

was clear that TSA was in trouble.29 Indeed, red flags relating to retailer accounts, including TSA,

were apparent to the Company’s wholesale team as early as 2015. Yet, Under Armour kept


25
     See id. at 4.
26
     See id.
27
     See id.
28
     See id.
29
     See id.

                                                - 23 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 30 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 29 of 192



shipping inventory to TSA. Unsurprisingly, TSA returned massive amount of products, some of

which had to be charged off by Under Armour. The large amount of returns from TSA, Dick’s,

and other Under Armour customers required significant amounts of time and expense processing

the returns (Under Armour’s large customers did not pay for shipping). Returned inventory was

often liquidated at lower prices and margins.

           61.      By stuffing customers with products, pulling forward sales, and shifting sales to

discount retailers, Under Armour was able to mask declining sales and waning brand heat and

inflate revenues to artificially continue Plank’s growth streak. However, many of these sales were

achieved through discounting and premised on retailers’ ability to return them. They were, thus,

contingent, illusory, and violated GAAP.

                    2.     Defendants Induce Retailers to Take Unneeded Product with
                           Promises to Buyback Merchandise and Through Discounts and
                           Other Sweeteners

           62.      To pull-ahead much needed sales to perpetuate the Company’s “growth,” the

Company leaned on retailers such as Dick’s to accept early shipments of the Company’s

products.30 To incentivize retailers to accept the shipments early, Defendants adjusted retailers’

contract terms or offered them discounts.31 As former Under Armour executives explained to

WSJ, “Under Armour sometimes adjusted the terms of the contract to offer a discount or extend

the period in which retailers could pay for the products” in order to convince retailers to take

products before their requested shipping date.32




30
     See id at 3.
31
     See id.
32
     Id.

                                                  - 24 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 31 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 30 of 192



       63.     Defendants also used a buyback program to incentivize retailers to order certain

merchandise, under which sales representatives guaranteed that Under Armour would buy back a

certain amount of the merchandise that did not sell. On the books, the Company’s customers

bought and owned the merchandise for three or four months, but after six months Under Armour

was forced to buy back some of the unsold merchandise. These buyback or “return to vendor”

agreements were regular at Under Armour with its biggest customers and increased in late 2015

and 2016. Because of low product sell-through, Under Armour wound up having to buy back a

lot of product pursuant to these deals.

       64.     Indeed, under these arrangements, Dick’s was allowed to return a seemingly

unlimited amount of product to Under Armour during the Class Period, resulting in a massive

amount of returns. In early 2016, for example, VP of North America Sales, Brian Cummings

(“Cummings”), convinced Dick’s to order shoes that Dick’s did not want. Dick’s predicted they

would have to return 80% of the shoes, but Cummings agreed that Under Armour would take back

any unsold product. Dick’s ended up returning 80% or more of the deal later in 2016.

       65.     By the end of summer 2016, sales for all categories were nowhere close to Under

Armour’s projections for Dick’s, and Dick’s was planning for Under Armour sales to be down by

at least 25%. Nonetheless, Under Armour’s senior management pressured sales staff to force

unwanted inventory on Under Armour’s customers, including Dick’s, to pump up sales. This

included telling customers that they could return products later, after Under Armour had booked

the sales. Under Armour made “handshake” or “backdoor” deals with Dick’s where Dick’s was

willing to accept more products from Under Armour than Dick’s thought they needed because

Under Armour promised Dick’s they could return any of the products Dick’s did not sell. Dick’s

generally wanted these side agreements documented in emails.


                                             - 25 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 32 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 31 of 192



       66.      Accordingly, many of the Company’s sales were illusory because Dick’s and other

customers accepted them on the condition that Under Armour would buy the products back if the

customers could not sell them. These buyback and contingent sales arrangements violated GAAP,

as discussed further below in Section VIII.B. Moreover, as discussed in the following section,

these arrangements came back to haunt Under Armour, leading to excess inventory and

liquidations.

       F.       Defendants’ Declining Apparel Sales and Suspect Sales Practices Led
                to Excess Inventory and Liquidations

       67.      The diminishing demand for, and declining sales of, core Under Armour products

resulted in excess inventory. In order to shed the excess inventory, the Company needed to take

costly measures to liquidate it at extreme discounts that hurt product margins and, in turn, the

Company’s gross margins. This problem occurred at both the Company’s own Brand House stores

and at the stores of its retail customers. Excess inventory was a constant problem throughout the

Class Period at the Company’s Brand House stores, including products from every category.

       68.      At one point during the Class Period, for example, Under Armour’s planning team

bought a very large quantity of one of the Company’s t-shirts, around 10,000 units, to be sold at

Under Armour’s top two Brand House stores, which were supposed to be the pinnacle of the Under

Armour product experience. However, only about 100 units of the t-shirt were actually sold, and

the rest became excess inventory. This excess inventory had to be sent to Under Armour’s Factory

House stores and other accounts to be liquidated at a discount. This happened many times with

different products throughout the Class Period, and was very common with men’s apparel.

       69.      Sometimes only about 30% of the inventory at the Company’s Brand House stores

was considered “productive,” meaning only 30% was actually sold to consumers. The remaining

inventory was comprised of “presentation quantity” (inventory allowing the stores to present one

                                             - 26 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 33 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 32 of 192



or two units of each size on display) or excess inventory that had to be transferred back to Under

Armour’s distribution houses.

       70.       The distribution houses would send the excess inventory to the Company’s Factory

House stores (i.e., outlet stores) or to liquidation channels like Marshalls and T.J. Maxx, where the

products were sold at a discount. The discount rates at the liquidation channels were the highest,

providing the Company with very low product margins. Sometimes Under Armour was simply

trying to break even on products sent to the liquidation channels. In addition to reducing margins

(due to the discounted sales prices), distributions to the Factory House stores and liquidation

channels resulted in higher expenses due to the extra shipping, processing, and labor costs required

to transfer the excess inventory.

       71.       Excess inventory was also a problem at the Company’s retail customers such as

Sports Authority and Dick’s. Facing dwindling sales and ballooning inventory, the Company’s

merchandising team would collaborate with the sales teams and give suggestions about promotions

for the inventory that Under Armour needed to move. Retailers would also make requests for

promotions to rid themselves of the excess inventory, and the Company would then determine

whether to allow such promotions.

       72.       As with the inventory returned from Brand House stores, discussed above, the

Company would attempt to sell the excess inventory returned from retail customers at discounted

prices through liquidation channels such as discount stores like Marshalls and T.J. Maxx. As a

last resort, the Company would ship inventory to be liquidated at Costco stores in Mexico.

However, much of the excess inventory just sat around at the Company, not being sold through

any channel, because the liquidation channels used by the Company were not enough to handle all

of the excess.


                                               - 27 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 34 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 33 of 192



           73.   In addition, the Company’s inventory problems were magnified by returns resulting

from its contingent sales pursuant to buyback agreements, and its mass shipment of products in

the final days of a quarter. As detailed above, the Company was able to pull ahead sales by entering

into contingent sales arrangements with certain retailers (including Dick’s – its biggest customer).

While this gave Under Armour a temporary boost in sales, they were obligated to buy back unsold

inventory. And, since they had overstuffed these retailers with products they did not need and

could not sell (particularly where Under Armour’s brand heat had diminished), much of that

product was being returned to the Company. As a former logistics executive at Under Armour

explained to WSJ, “truckloads” of unopened boxes thus returned unsold to Under Armour in

2016.33

           74.   Indeed, following TSA’s bankruptcy, TSA returned massive amount of products,

some of which had to be charged off by Under Armour. In July 2016, Plank announced a deal

with Kohl’s Corp. (“Kohl’s”), a mid-tier value retailer. As former executives told WSJ, Kohl’s

provided hundreds of new locations to stock its goods, including those meant for TSA.34 However,

Kohl’s ran frequent promotions in competition with Dick’s and often had lower prices. This move

angered Dick’s, who had been holding unsold Under Armour goods.35 Dick’s then stopped

agreeing to take products early, which had enabled the Company’s pull forward sales, and took

less product from Under Armour, making the Company even more dependent on off-price chains.36

           75.   The excess inventory was a frequent topic of discussion among sales and planning

leaders at Under Armour, and information on inventory was widely available at the Company. For


33
     Id.
34
     See id. at 4.
35
     See id.
36
     See id.

                                               - 28 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 35 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 34 of 192



example, the Company’s planning team met weekly to discuss excess inventory. Executives Matt

Mirchin (President, North America) (“Mirchin”) and Cummings (VP of North American Sales)

both had access to sales and inventory reports, and Kevin Eskridge (Senior VP of Global

Merchandizing and Planning, subsequently Chief Product Officer) (“Eskridge”) talked with

Merchandising staff about inventory all the time. Indeed, Plank and fellow executives admitted to

the excess inventory in their public statements. But, they misleadingly blamed the rising inventory

on benign factors, including a strategic plan to improve the speed of shipments to customers, and

reassured investors that the situation was improving. In reality, the Company’s dying brand heat

reduced customer demand and caused sales declines, preventing it from unloading unwanted

inventory.

       76.     In order to shed the excess inventory, the Company needed to take costly measures

to liquidate it at extreme discounts that hurt product margins and, in turn, the Company’s gross

margins. This problem occurred continually from at least September 2015 through November

2016 at both the Company’s own Brand House stores and at the stores of its retail customers,

across all Under Armour brands. The sheer amount of excess inventory made it obvious internally

that Under Armour would eventually miss its sales goals, and ultimately led to inventory write

downs as discussed in Section VIII.D, below.

       G.      Defendants Relied on Footwear and International Sales to Obscure
               the Company’s Sales and Margin Declines

       77.     As a result of the Company’s declining apparel sales, exacerbated by the collapse

of its primary sales channel, Defendants perceived a threat to the Company’s carefully cultivated

market perception as a fast growing superstar of the sports brand business. To compensate,

Defendants sought to aggressively expand Under Armour’s footwear and international sales

businesses in 2015 through 2016. This expansion, along with the lowering of apparel prices and

                                               - 29 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 36 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 35 of 192



suspect sales practices discussed above, enabled the Company to continue reporting 20% total

revenue growth (as well as strong operating income and earnings) into 2016 even as the

Company’s core North American apparel business was faltering.             However, as Defendants

admitted, the footwear and international businesses provided much lower margins than the North

American apparel business, and a much smaller percentage of revenue (shoes accounted for only

21% of revenue in 2016). Moreover, the Company needed to make massive expenditures of time

and money to undertake such expansion.

         78.        An example of the difficulty of this expansion was the rollout of Under Armour’s

“Curry One” shoe worn by star NBA basketball player Stephen Curry in early 2015. Under

Armour heavily promoted this shoe. However, the Company was essentially paying to have the

shoe placed in stores because the associated expenses were so high and margins were so poor. The

Company’s “Curry Two” shoe faced similar problems in the third and fourth quarter of 2015.37

The shoes were badly underpriced in an apparent attempt to boost revenue and capture market

share from Nike, at the risk of damaging Under Armour’s brand image.38 Under Armour also

slashed their prices on running shoes in an attempt to compete on price rather than brand image

and innovation.39

         79.        Defendants used the footwear and international businesses as scapegoats for the

Company’s declining gross margins. At the same time, Defendants misleadingly claimed the

Company’s footwear and international margins and ASPs were improving and its apparel margins

and ASPs remained strong. These misleading statements allowed Defendants to conceal the fact



37
     See Morgan Stanley Report at 8-9.
38
     Id. at 9-10.
39
     Id. at 11.

                                                  - 30 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 37 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 36 of 192



that margin compression was caused, not only by the growing footwear and international

businesses, but also by declines in the Company’s apparel business, driven by lower sales prices,

rampant promotions and discounting, and excess inventory.          It was far more palatable for

Defendants to blame margin compression on the Company’s supposedly expanding footwear and

international businesses than to reveal the truth about the declines in its core apparel segment,

which accounted for most of the Company’s sales.

       H.      Under Armour’s Declining Demand and Unsustainable Business
               Practices Catch Up to Them but Defendants Mislead the Market as to
               the True Reasons Behind the Company’s Problems

       80.     As detailed above, the Company’s suspect business practices, including pull-

forward sales, channel stuffing, and buyback arrangements, temporarily helped the Company

continue its growth streak. However, as discussed further in Section VIII, these practices violated

GAAP and also had significant adverse consequences for the Company’s financial results.

       81.     Indeed, during the time period that the Company was engaged in pulling sales

forward (channel stuffing) and other machinations, the Company experienced explosive growth in

its accounts receivables (which are sales made on credit to be paid back to the Company at a later

date). Before the third quarter of 2015, Under Armour’s overall sales always eclipsed or grew

evenly with its accounts receivables. But, by the fourth quarter of 2015 (“4Q15”), accounts

receivable growth badly outpaced revenue growth (55% accounts receivable growth vs. 31%

revenue growth), a trend that continued throughout 2016. Further, Under Armour’s days sales

outstanding (“DSO”), the number of days it took the Company to collect its receivables, nearly

doubled from 28 days in fourth quarter of 2014 (“4Q14”) to nearly 51 days in first quarter of 2017

(“1Q17”). This shows that the Company was increasingly extending credit to customers and

getting paid later and later – consistent with the early shipments and adjusted contract terms.


                                               - 31 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 38 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 37 of 192



       82.     Likewise, the Company’s reserves for returns skyrocketed 55% by the end of 2016

and 68% in 2017, reaching a whopping $247 million. Demonstrating that it expected large

volumes of excess inventory to be returned, the Company drastically increased its reserves for

returns, the amount of money Under Armour set aside for markdowns or returns, as discussed in

Section VIII.C below.

       83.     In addition, Defendants’ softening demand, returns, and illicit sales practices led to

an accumulation of material amounts of excess and obsolete (i.e., impaired) inventory at the

Company. Contrary to GAAP and Defendants’ policy, Under Armour’s inventory was overstated

from at least 2016 through 2018 due to Under Armour’s massive amount of excess inventory that

could not be sold without providing incentives such as heavy discounts. Beginning in 3Q17, the

Company belatedly recorded total charges of $25.878 million to write down inventory, which

should have been recorded in 2016.

       84.     The excess inventory also caused the Company to take costly measures to liquidate

it at extreme discounts that hurt product margins and, in turn, the Company’s gross margins. Gross

margins declined from 48.1% in fiscal year 2015 (“FY15”), to 46.5% in FY16, to 45.1% in fiscal

year 2017 (“FY17”).

       85.     As further detailed in Section VII below, Defendants downplayed these negative

financial trends, concealing the true reasons for them and attempting to explain them away.

However, as the market would later learn, the Company’s declining financial condition and

inventory problems were the direct result of the Company’s waning brand heat, declining demand,

and the various suspect practices the Company had undertaken to artificially prop up sales.




                                               - 32 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 39 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 38 of 192



       I.      The Market Began to Learn the Truth About the Company’s Sales
               Problems, Causing the Stock Price to Decline

       86.     The Company’s declining sales problems, “fundamental shift” to competing on

price rather than a premium product, and use of suspect sales practices to artificially boost revenue

and mask slowing demand, were ultimately revealed in a series of partial disclosures that caused

the Company’s common stock prices to gradually decline, as detailed in Sections VII and X, below.

The declines would have been swifter and steeper, but Defendants attempted to downplay and

soften the news with continued misrepresentations and omissions throughout the Class Period.

       87.     First, on January 10, 2016, Morgan Stanley issued a detailed report with point-of-

sale data from Under Armour’s retail customers illustrating declines in the Company’s growth,

average sales prices, and market share dating back to spring 2015. This surprising news, which

directly contradicted Defendants’ carefully cultivated image of the Company, caused Under

Armour common stock prices to fall.

       88.     Following this report and the departure of the Company’s CFO Dickerson in

February 2016 – “which came as a surprise” to analysts, who noted that “this transition comes at

an inopportune time in the company’s history. . . . Losing a key leader at a time like this is a

concern” – the Company’s Chief Merchandising Officer (“CMO”), Henry Stafford (“Stafford”),

suspiciously departed the Company in May 2016.           Stafford’s departure coincided with the

departure of another high-level executive, the Company’s Chief Digital Officer (“CDO”) Robin

Thurston (“Thurston”), which was announced on the same day. These abrupt and suspicious

departures of these key executives caused common stock prices to decline again on May 4, 2016.

       89.     On June 1, 2016, contrary to their prior assurances, Defendants revealed a reduced

expectation of 2016 revenues and operating income and an impairment charge related to the Sports

Authority bankruptcy, triggering additional common stock price declines.

                                               - 33 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 40 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 39 of 192



       90.      Over the next year, a series of increasingly poor quarterly financial results and

reduced financial projections caused further declines in the Company’s common stock prices after

such news was released. On July 26, 2016, Defendants reported second quarter of 2016 (“2Q16”)

decreases in operating and net income, announced a drop in apparel sales growth below 20% for

the first time in more than seven years, and forecast the slowest quarterly growth in over six years.

On October 25, 2016, Defendants revealed a further slowdown in growth in 3Q16, attributed to

North American apparel and wholesale declines, and compressed margins attributed in part to

higher discounts, promotions, and liquidations. On January 31, 2017, Defendants revealed a

slowdown in 2016 growth that was far more severe than previously reported and dramatically

reduced financial projections, attributed to problems in the North American apparel business, as

well as compressed margins and inventory growth. On the same day, Defendants surprised

investors by revealing the sudden and highly suspicious departure of Molloy. On August 1, 2017,

the Company cut FY17 guidance and announced a massive restructuring, in order to “evolve” the

Company’s business and restore “brand heat,” including a shift from traditional performance-

oriented products to more fashionable products. The Company further announced that it expected

$110 to $130 million in restructuring-related charges including “approximately $20 million of

inventory related charges.”

       91.      Despite the drastic measures being implemented, the Company’s financial

performance never recovered. Indeed, no longer able to rely on the suspect sales practices that

had allowed the Company to report 20% revenue growth and mask slowing demand, Under

Armour experienced a severe downtown in its business. The Company reported total revenue

growth of just 3.4% and 4.1% and apparel revenue growth of 1.8% and 5.4% in 2017 and 2018,

respectively.   Yet, the Company’s stock price remained artificially inflated based on the


                                               - 34 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 41 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 40 of 192



concealment of Defendants’ improper sales practices, including the pull-forward of sales to boost

quarterly revenues and mask slowing demand.

         J.      The SEC and DOJ Launched Investigations Into Under Armour’s
                 Accounting Practices and Related Disclosures, Plank Stepped Down
                 as the Company’s Chief Executive Officer, and the SEC Preliminarily
                 Determined to File an Enforcement Action Against Defendants

         92.     As news of the Company’s true financial condition was slowly revealed, the DOJ

and SEC launched non-public criminal and civil investigations into Defendants’ sales and

accounting practices, including whether they pulled sales forward during the Class Period in order

to make the Company’s quarterly revenue appear stronger than it actually was. Although

Defendants began responding to the investigators in July 2017, they concealed these investigations

from shareholders for nearly three years.

         93.     While the government investigations were ongoing, the Company suddenly

announced on October 22, 2019, that Plank was stepping down as the Company’s CEO, effective

January 1, 2020, and transitioning to Executive Chairman and Brand Chief. Less than two weeks

later, on November 3, 2019, WSJ revealed the SEC and DOJ investigations, reporting that the

probes focused on Under Armour’s “accounting practices” and “whether the sportswear maker

shifted sales from quarter to quarter to appear healthier.”40 The article forced the Company to

issue a statement admitting that it was under investigation and “began responding in July 2017 to

requests for documents and information relating primarily to its accounting practices and related

disclosures.”41 The Company’s stock price suffered another steep decline in response to this news.




40
     Ex. B, at 1.
41
     Id. at 2.

                                              - 35 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 42 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 41 of 192



           94.    On November 14, 2019, WSJ released a follow-up article with more information

related to the investigations.42 The article revealed that the government’s criminal and civil

securities fraud probes were “into the Company’s revenue recognition and whether there were

improper tactics used to shift sales,” and that investigators were examining “Under Armour’s

results at the end of 2016 and the tenure of former finance chief Chip Molloy.”43 The article was

based on interviews with former Company executives in four different departments – logistics,

sales, merchandising, and finance – who told WSJ that Defendants “scrambled to meet aggressive

sales targets, borrowing business from future quarters to mask slowing demand in 2016 for its

athletic apparel,” and “frequently leaned on retailers to take products early and redirected goods

intended for its factory stores to off-price chains to book sales in the final days of a quarter.”44

           95.    Before the market opened on July 27, 2020, the Company filed an SEC Form 8-K

announcing that, on July 22, 2020, the Company, Plank, and Bergman received Wells Notices

from the SEC, which “informed the Company and the Executives [Plank and Bergman] that the

SEC Staff has made a preliminary determination to recommend that the SEC file an enforcement

action against the Company and each of the Executives that would allege certain violations of the

federal securities laws.” The Company explained that the Wells Notices related to the Company’s

previously-disclosed SEC investigation, and further specified that:

           The Wells Notices relate to the Company’s disclosures covering the third quarter of 2015
           through the period ending December 31, 2016, regarding the use of “pull forward” sales in
           connection with revenue during those quarters. A pull forward generally includes a
           customer sale that is executed earlier than originally planned. Specifically, the SEC Staff




42
     Ex. A, at 2.
43
     Id.
44
     Id. at 1.

                                                 - 36 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 43 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 42 of 192



        is focused on the Company’s disclosures regarding the use of pull forward sales in order to
        meet sales objectives.45

        96.     The Company’s filing on July 27, 2020, added that “the Company and the

Executives . . . expect to engage in a dialogue with the SEC Staff to work toward a resolution of

this matter.”

        97.     On August 6, 2020, Under Armour further disclosed in its second quarter of 2020

(“2Q20”) Form 10-Q filing that “[t]he Wells Notices informed the Company” the SEC “would

allege certain violations of the Securities Act of 1933 and the Securities Exchange Act of 1934

and certain rules promulgated thereunder” and “also reference potential charges related to the

Executives’ participation in the Company’s violations, as well as control person liability under the

Exchange Act.” The 2Q20 Form 10-Q also disclosed that “[t]he potential relief to be sought

referenced in the Wells Notices included,” among other things, “civil monetary penalties, as well

as, in the case of the Executives, a bar from serving as an officer or director of a public company.”

The Company also confirmed that the DOJ’s separate investigation remained ongoing.

        98.     As discussed further below (Sections VII and X), Under Armour investors lost

millions of dollars as Defendants’ fraud was revealed over time, causing the artificial inflation

resulting from the fraud to dissipate from the Company’s common stock.



45
    The SEC describes the general Wells Notice process as follows: “If [SEC] Enforcement makes
a preliminary determination to recommend enforcement action, it may elect to provide individuals
or entities who would be charged in the action with a Wells notice explaining the proposed charges
against them and informing them that they can make a voluntary submission setting forth their
interests and position. If Enforcement believes (based on the evidence it has compiled and after
considering a Wells submission or deciding not to issue a Wells notice) that enforcement action
should be taken, Enforcement seeks authorization from the Commission for the SEC to file a civil
lawsuit, to commence an administrative proceeding, or, in certain circumstances, to issue a report
of investigation. Any enforcement action that the SEC initiates is based on Commission
authorization.” U.S. Securities and Exchange Commission, Investor Bulletin: SEC Investigations
(Oct. 22, 2014), https://www.sec.gov/oiea/investor-alerts-bulletins/ib_investigations.html.
                                               - 37 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 44 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 43 of 192



           K.     Numerous Facts Support Defendants’ Scienter

           99.    Defendants knew of, or at a minimum were severely reckless in disregarding, the

problems facing the Company as a result of declines in the apparel business. As discussed herein,

numerous additional indicia of scienter support this, including the fact that federal investigators

are examining emails that show Plank knew of the Company’s efforts to move revenue between

quarters,46 the DOJ and SEC investigations, the Wells Notices, Plank’s and other Company

executives’ statements admitting access to the relevant data, and Plank’s highly suspicious Class

Period sales of $138.2 million of Under Armour stock during the same period that is the subject

of the SEC’s Wells Notices to the Company and Plank.

                  1.     Numerous Facts Support Plank’s Scienter

                         a.     Plank Had Direct Knowledge of, and Was Personally
                                Implicated in, the Fraud

           100.   Plank had direct knowledge of the fraudulent conduct alleged herein. As part of

the ongoing DOJ and SEC investigations “into the company’s revenue recognition and whether

there were improper tactics used to shift sales” during the Class Period, WSJ reported that

investigators “are examining emails that show Under Armour’s founder and chief executive,

Kevin Plank, knew about efforts to move revenue between quarters.”47 Former Under Armour

executives also told WSJ that “pulling sales forward helped the sportswear company sustain its

growth record, which employees knew was important to Mr. Plank” and that “[t]he strains in

Under Armour’s business were evident inside the company in 2016.”48 Indeed, Plank drove the




46
     See Id. at 2.
47
     Id.
48
     Id. at 3.

                                               - 38 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 45 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 44 of 192



Company’s aggressive growth strategy, employing a founder-led approach. He set the tone by

pressuring employees to achieve 20% growth every quarter.

        101.   Plank’s direct knowledge of the Company’s suspect sales practices is further

evidenced by the fact that Plank personally received one of the SEC’s Wells Notices. The Wells

Notice stated that a preliminary determination had been made to recommend that the SEC bring

an enforcement action against him for federal securities law violations relating to “the Company’s

disclosures covering the third quarter of 2015 through the period ending December 31, 2016,

regarding the use of ‘pull forward’ sales in connection with revenue during those quarters.”49

        102.   The suspicious timing of Plank’s resignation as CEO – announced on October 22,

2019, following a string of other executive departures as the truth leaked out – also supports his

knowledge or reckless disregard of the fraud alleged herein. Just months before announcing Plank

was abandoning the CEO position, Under Armour told investors (yet again) that his serving as

CEO was critical to the Company’s success. On March 27, 2019, Under Armour stated in its Proxy

Statement that Plank was “the appropriate person to lead both our Board and the management of

our business” because it “provides for clear accountability and efficient and effective leadership.”

The Company never explained the abrupt flip-flop.

        103.   Less than two weeks after Under Armour announced Plank’s resignation, the

Company acknowledged that the DOJ and SEC were investigating its accounting and related

disclosures. As Morningstar observed:

        The news of an ongoing investigation into Under Armour’s accounting practices affirms
        our Poor stewardship rating on the company. . . . Meanwhile, as previously announced,
        Kevin Plank has decided to give up the CEO role he has held since the firm began. While
        Under Armour claims the investigation had nothing to do with Plank’s decision, the timing



49
     Under Armour, Inc., Current Report (Form 8-K) (July 27, 2020).

                                               - 39 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 46 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 45 of 192



       looks suspicious, especially since the firm did not disclose an investigation that is more
       than two years old.

       104.    Other media also noted the suspicious timing of Plank’s departure as CEO. For

example, Forbes stated in a November 4, 2019, article that “[i]n light of the recent investigations,

it now makes more sense why Plank stepped aside. There most likely will be serious repercussions

related to the dual investigations.”

       105.    The timing of these events, coupled with the Plank emails and other indicia

discussed herein, strongly supports that Plank was directly involved in and responsible for the

matters under investigation.

                       b.      Plank’s Public Statements and Access to the Company’s
                               Internal Systems and Data

       106.    Plank’s scienter is further supported by numerous public statements in which Plank

discussed the Company’s apparel sales growth, sales prices, gross margins, and inventory levels.

In fact, Plank provided a prepared statement on – or was asked and answered detailed questions

about – at least one of those matters during nearly every (14/16) quarterly earnings call with

securities analysts throughout the Class Period, as well as during the 2015 and 2018 Investor Day

Meetings. As detailed herein, Plank echoed these statements in numerous press releases and SEC

filings of the Company throughout the Class Period.

       107.    Plank and fellow Company executives also stated that they had systems in place to

closely monitor such aspects of the Company’s business. For example, Plank boasted of an SAP

(Systems Applications Products) software system that provided point-of-sale information and

other detailed business data. The Company enhanced this system during the Class Period. As

Plank stated during the 4Q15 earnings call on January 28, 2016:

       The single view of the consumer is something we’re building with the team at SAP that
       combines global point-of-sale, e-commerce and transactional information through a
       single sign-on capability together with our Connected Fitness business to create an insight
                                               - 40 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 47 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 46 of 192



         engine that will inform and guide our decision to help grow and scale our brand. This will
         build on our existing SAP platform as we double down and continue to make big bets with
         big partners. We believe that this unique technological advancement will position UA as
         a best-in-class real-time digital enterprise.

         108.     This statement by Plank confirms that, through “point-of-sale” information

available on the Company’s SAP system, Plank had actual knowledge of industry sales data from

the Company’s retailers.      As discussed further below, because the SportScan data (a.k.a.

SportScanInfo or SSI) revealed in the Morgan Stanley Report was based on the same point-of-sale

industry data reported to Plank from the Company’s retailers, Plank had actual knowledge of (or

recklessly disregarded) the SportScan data revealed in the Morgan Stanley Report.50 The sales

data showed that, since spring of 2015, the Company’s North American apparel growth was in

decline, the Company was losing market share, and the Company’s ASPs were dropping.51

Everyone at Under Armour on the sales team had full visibility into sales data because they had

very detailed and up-to-date data available to them through multiple sources, and the data was

regularly reviewed. Multiple reports showing sales data were distributed every Monday. The sales

reports were very detailed, including breakdowns by regions, retail store, and product styles. Sales

management also had a “dashboard” on their computers or iPads to access Internet-based data

where they could review information such as sales, margins, and inventory turns (including the

inventory age by style) for the top lines of business. Under Armour planning and sales employees

also had access to inventory and sales-related data in massive and constantly-updated spreadsheets

kept in a shared folder and available to anyone who wanted to access them (which also tracked

pull-forward orders).     Further, Plank repeatedly claimed he had extensive data concerning

consumer demand, buying preferences, and product usage through Under Armour’s Connected


50
     See Ex. C.
51
     See id. at 13.

                                               - 41 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 48 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 47 of 192



Fitness platform. As Plank boasted during the Class Period, “I can’t think of any companies that

would have that amount of data flow to understand their consumer better.” Thus, Plank had

knowledge of (or recklessly disregarded) the financial declines first revealed by Morgan Stanley.

       109.     Additional evidence of Plank’s scienter is found in Plank’s statement during the

first quarter of 2016 (“1Q16”) conference call on April 21, 2016, that “probably the thing that

drives [North American distribution] for us more than anything else is just merchandising. . . .

And now we’ve really gotten to a point where understanding that merchandising needs to be a core

competency for us. . . . And so we really – we identified it in 2014, and again this sounds, may

sound a little pedestrian, but we identified it in 2014, we began building the [merchandising] team

in 2015.”     Through these merchandising efforts, Plank had firsthand knowledge of issues

pertaining to the Company’s apparel sales, including flagging demand for Under Armour apparel

as customers shifted to different styles not provided by Under Armour (most notably, athletic

leisure apparel). In addition, Plank’s statement indicated that the Company’s formation of a

merchandising team was in direct response to a recognized deficiency at the Company.

       110.     Plank also paid close attention to the Company’s inventory during the Class Period,

and therefore Plank knew or recklessly disregarded that the Company had excess inventory caused

by declining demand and sales. As Dickerson stated at the Company’s 2015 Investor Day (with

Plank also in attendance):

       On the working capital front, the majority of our focus is going to be on inventory
       management and the efficiency of inventory management. Our ability to improve
       inventory is tied to our value chain initiatives which I’ll break down to near term and longer
       term.

       First, on the near term – over the course of the rest of this year and through 2016, we are
       focused on delivering our products to our consumers more timely, specifically on key
       seasonal floor set dates. This focus specifically in comparison to some prior years’
       challenges will result in elevated inventory growth rates over this time frame to flow
       product earlier.

                                               - 42 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 49 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 48 of 192



       Longer term beyond 2016, many initiatives are underway which should bring added
       efficiencies to how we manage our inventory. These initiatives are focused on how we
       plan and deliver our seasonal products.

       111.    Also during the 2015 Investor Day, the Company’s Chief Information Officer, Paul

Fipps, referenced the availability of inventory data through multiple systems and investments

designed to enhance the Company’s inventory visibility even more:

       Today, we have inventory data in multiple retail, planning, transportation, and
       distribution systems. In the future, the ability to optimize our inventory, combined with
       the visibility of demand from any channel across the globe, in a single planning system is
       extremely powerful. In fact, very few organizations have been able to achieve this goal.

       112.    One system through which inventory data was available to Plank was the SAP

system discussed by Plank in the statement quoted above. The Company’s SAP system served as

an inventory control system and provided reports showing how much inventory was owned by

stores in each of the Company’s business segments (including retail, wholesale, outlets, and

liquidation channels), and how much inventory was being sent to liquidation. The SAP system

provided inventory information for all Under Armour products sold to consumers. Based on this

data, Plank, who was intently focused on inventory, had actual knowledge of, or recklessly

disregarded, the excess inventory problems that plagued the Company during the Class Period,

resulting from the declining sales of apparel.

                       c.     The SportScan Data Cited in the Morgan Stanley Report
                              Mirrored the Company’s Internal Sales Data

       113.    Numerous facts establish that the SportScan data cited in the Morgan Stanley

Report, revealing negative financial trends at Under Armour, was a materially accurate depiction

of the Company’s internal sales data, thus supporting Plank’s knowledge or reckless disregard of

such data. Indeed, retail industry participants, including Under Armour, frequently use industry

data compiled by SportScan. For instance, in connection with a 2005 sale of $167 million in stock,

Under Armour described SportScan as “a leading market research firm that provides weekly point-
                                                 - 43 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 50 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 49 of 192



of-sale data for the athletic and sporting goods industry” and disclosed that the Company’s

“[i]nformation regarding the market for compression style clothing is derived from

SportScanInfo.”

       114.    Furthermore, Plank admitted on multiple occasions that industry data, and

SportScan in particular, was reliable and consistent with internal Under Armour data. Prior to and

during the Class Period, Under Armour, and Plank in particular, made repeated statements

regarding Under Armour’s market share. Those statements relied on industry data, including data

tracked by SportScan, thus supporting Plank’s knowledge or reckless disregard of such data. For

example, during the October 25, 2016, 3Q16 earnings call, Plank boasted that “[i]n the back-to-

school window of July through September, [Under Armour’s] overall footwear market share nearly

doubled according to industry data.” The following day, on October 26, 2016, WSJ stated that

this industry data came from SportScan: “During the back-to-school period, Under Armour . . .

nearly doubled its share of the footwear market, amassing 8.2% of the market for the 13 weeks

ended Oct. 1, up from 4.6% a year ago, according to industry tracker SportScanInfo.” Other

examples include Plank’s September 16, 2015, and October 22, 2015, statements praising the

Company’s “40% market share” in football cleats. See also ¶200 (“we are taking share”).

       115.    Plank’s knowledge or reckless disregard of the data reported by SportScan is further

supported by the fact that SportScan captured Under Armour’s largest sales channel, North

American wholesale, which had the greatest impact on the Company’s growth, and encompassed

virtually all of Under Armour’s core sales channels. As Plank said in January 2017: “North

American apparel is still our largest and most profitable business by far. Accordingly, less-than-

expected growth in this area disproportionately pressures our overall growth rate.” According to

SportScan, its sales data includes sales from 15,000 retail doors across 12 separate retail channels.


                                               - 44 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 51 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 50 of 192



Further, when Dickerson addressed the Morgan Stanley Report during the Company’s 4Q15

earnings call on January 28, 2016, he admitted that the report’s SportScan data captured the

Company’s largest customers, citing Dick’s as an example. And, neither Dickerson, Plank, nor

anyone else at the Company disputed the accuracy of the data reported by SportScan (which

included data for all four quarters of 2015 and prior). The only portions of Under Armour’s

business that the SportScan data did not directly capture were lower-priced and less profitable sales

that were much less indicative of how Under Armour’s overall business is performing. This

included, for example, Under Armour’s physical retail locations, most of which were Factory

House stores, a liquidation channel with low-margin sales. This also included Under Armour’s

website, which analyst reports during the Class Period observed “has been increasingly us[ed] . . .

as a clearance channel.”

       116.    Under Armour’s financial disclosures corroborate the Morgan Stanley Report’s

revelations and confirm Plank’s knowledge or reckless disregard of the data revealed. For

instance, Under Armour reported inventory growth outpaced sales in 3Q15 (36.0% year-over-year

inventory increase vs. 28.4% year-over-year net revenue increase) and 4Q15 (45.9% year-over-

year inventory increase vs. 30.8% year-over-year net revenue increase). Under Armour’s gross

margins also declined in 3Q15 (from 49.6% to 48.8% year-over-year) and 4Q15 (from 49.9% to

48.0% year-over-year). The extreme inventory increases and gross margins declines reported by

Under Armour on January 28, 2016, for 4Q15, are consistent with the Morgan Stanley Report’s

disclosure on January 10, 2016, based on SportScan data, of decelerating sales growth, loss of

market share, and declining ASPs. When confronted, however, Defendants continued to mislead

the market by falsely denying and downplaying these issues. See Section VII.B. In addition, with

specific regard to the SportScan data disclosed in the Morgan Stanley Report, which included data


                                               - 45 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 52 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 51 of 192



for 2015 and prior, Plank and the Company did not dispute the accuracy of the data for first quarter

of 2015, second quarter of 2015, or 3Q15.

        117.   Further evidence of Plank’s knowledge or reckless disregard of the SportScan data

is found in subsequent Morgan Stanley reports issued during the Class Period. In a report dated

April 10, 2016, Morgan Stanley continued to discuss the declining demand for Under Armour

apparel, particularly in women’s apparel, based primarily on SportScan data. Morgan Stanley

noted that Under Armour’s SEC filings corroborate the SportScan data. In particular, Under

Armour’s disclosures “show sales to its biggest customer . . . were -8% in 4Q15,” which is

consistent with the declining apparel demand revealed in the earlier Morgan Stanley Report.

Morgan Stanley also noted that Dick’s SEC filings “show a deceleration in UA sales growth”

consistent with the negative trends shown by SportScan. Indeed, Under Armour sales to Dick’s

corroborate the “fundamental shift” of competing on price rather than a premium brand image. As

demand for Under Armour declined and the Company changed course to increased promotions

and lower ASPs to find revenue, Under Armour sales to Dick’s declined steadily. As a percentage

of Under Armour’s revenue, sales to Dick’s fell from 14.4% in FY14, to 11.5% in FY15, to 10%

in FY16, and dropped below 10% in FY17 and thereafter (per Under Armour’s Form 10-K filings),

declines that were partly attributable to the fact that Under Armour lost business from Dick’s in

FY16 after entering into an agreement with value retailer Kohl’s, angering Dick’s. See Section

V.F. As discussed below, Under Armour and Dick’s personnel, including Plank and Dick’s CEO,

met regularly and exchanged sales data.52




52
   Nonetheless, Defendants falsely and misleadingly downplayed and discredited the Morgan
Stanley Report and SportScan data cited therein. See Section VII.B.

                                               - 46 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 53 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 52 of 192



       118.    In an October 27, 2016 report, Morgan Stanley continued to discuss falling ASPs

at Under Armour and how competing on price rather than “brand image and innovation” evidenced

the “fundamental shift” Morgan Stanley first revealed in January 2016. Morgan Stanley noted that

its ASP data was based not only on SportScan but also “on channel checks and conversations with

retailers.” Based on extensive analysis from multiple sources, Morgan Stanley concluded the

SportScan data was “directionally accurate.”

       119.    On February 14, 2017, Morgan Stanley issued another report lowering its price

target for Under Armour Class A shares from $25 to $20. As it had in prior reports, Morgan

Stanley relied on SportScan data, among other inputs. In support of its continued reliance on

SportScan data, Morgan Stanley compared historical SportScan data on total apparel sales growth

and ASPs (including data appearing in the Morgan Stanley Report issued on January 10, 2016) to

Under Armour’s actual results during that same period. Morgan Stanley concluded: “SportScan

data has accurately depicted directional UAA sales trends . . . and we continue to view it as the

best source for understanding UAA’s US business at a micro level.”

                       d.      Plank’s Participation in Company Meetings

       120.    Plank’s scienter is further evidenced by his attendance and presentation at meetings

where Company performance was discussed. Plank presented at quarterly “town hall” meetings

during the Class Period where Plank discussed the Company’s performance. During two “town

hall” meetings held close together in August 2016 or October 2016, Plank discussed how the

Company was having struggles. During the first of those two meetings, Plank discussed having to

lower the Company’s projections. During the second meeting, Plank tried to ease employees’ fears

and further explain the situation.

       121.    Plank also regularly attended one-on-one meetings with the President of Dick’s.

Monthly meetings with Dick’s and Under Armour employees were also held. The monthly
                                               - 47 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 54 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 53 of 192



meetings typically took place in Pittsburgh, at the offices of Under Armour or Dick’s. Sales to

Dick’s, which was once Under Armour’s largest customer, soured heading into the Class Period.

During the meetings, as demand for Under Armour products declined, Dick’s told Under Armour

that sales of Under Armour products at Dick’s had begun to downturn significantly.

        122.    As further detailed above, by the end of summer 2016, sales for all categories were

nowhere close to Under Armour’s projections for Dick’s, and Dick’s was planning for Under

Armour sales to be down by at least 25%. Nonetheless, Under Armour’s senior management

pressured sales staff to force unwanted inventory on Under Armour’s customers, including Dick’s,

to pump up sales. This included telling customers that they could return products later, after Under

Armour had booked the sales. Under Armour made “handshake” or “backdoor” deals with Dick’s

where Dick’s was willing to accept more products from Under Armour than Dick’s thought they

needed because Under Armour promised Dick’s they could return any of the products Dick’s did

not sell. Dick’s generally wanted these side agreements documented in emails. Dick’s was

allowed to return a seemingly unlimited amount of product to Under Armour during the Class

Period, resulting in a massive amount of returns. According to WSJ, former Under Armour

executives in sales, finance, logistics, and merchandising stated that Dick’s also accepted the

Company’s products early, thus helping Defendants boost revenue by pulling sales forward from

future quarters.53 But, Dick’s stopped taking products early after Under Armour struck a deal with

value retailer Kohl’s, who sold many of the same products as Dick’s at lower prices, angering

Dick’s.54




53
     See Ex. A, at 4.
54
     See id.

                                               - 48 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 55 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 54 of 192



        123.   Similarly, red flags relating to retailer accounts, including TSA, were apparent to

the Company’s wholesale team as early as 2015. Yet, Under Armour kept shipping TSA inventory.

Unsurprisingly, TSA returned massive amount of products, some of which had to be charged off

by Under Armour. The large amount of returns from TSA, Dick’s, and other Under Armour

customers required significant amounts of time and expense processing the returns (Under

Armour’s large customers did not pay for shipping). Returned inventory was often liquidated at

lower prices and margins.

                      e.      Plank’s Motivation to Personally Capitalize on the Company’s
                              Artificially Inflated Stock Value

        124.   For years, Plank had carefully cultivated a public perception of the Company as an

up-and-coming, fast-growing challenger to Nike’s position as the number one sportswear brand.

Plank was highly motivated to maintain this public perception and, in turn, the Company’s lofty,

artificially inflated common stock prices.

        125.   Plank stood to gain most from the Company’s artificially inflated share prices. He

was the Company’s largest shareholder throughout the Class Period, owning just over 15% of the

Company’s total Common Stock outstanding. As of October 28, 2015, Plank beneficially owned

35,700,000 shares of Class B Common Stock (which were not publicly traded but convertible to

Class A Common Stock) and 76,445 shares of Class A Common Stock. With such a massive

equity stake in the Company, Plank was highly motivated to keep the share prices artificially

inflated.

        126.   Plank profited handsomely from the artificial inflation by selling a massive number

of Under Armour shares during the Class Period. Specifically, over nine days in November 2015

and April 2016, Plank sold a total of 2,300,000 Under Armour shares for $138.2 million. With all

of Plank’s shares coming from stock grants at no cost to him, that $138.2 million was 100% profit.

                                              - 49 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 56 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 55 of 192



Significantly, Plank’s Class Period sales occurred during the same period identified in the SEC’s

Wells Notices to Plank and the Company: “the SEC Staff has made a preliminary determination

to recommend that the SEC file an enforcement action against the Company and each of the

Executives [Plank and Bergman] that would allege certain violations of the federal securities laws”

related to “the Company’s disclosures covering the third quarter of 2015 through the period

ending December 31, 2016, regarding the use of ‘pull forward’ sales in connection with revenue

during those quarters.”55

        127.   Plank’s Class Period stock sales were highly suspicious in several respects. Just

prior to the Class Period, Plank enacted a complicated and risky plan to protect his voting control

and status as the unchallenged leader of Under Armour. Events such as the Company issuing new

shares of Class A Common Stock for executive compensation had diluted Plank’s ownership share

since the IPO. Thus, Plank was concerned that such compensation, coupled with his own stock

sales, would drop his ownership stake below 15%, causing him to lose voting control. To maintain

voting control, Plank could only sell 3,448,332 shares of Class A and Class B Common Stock.

Because Plank made clear that giving up voting control was not an option and went to great lengths

to prevent that from happening, those shares of Plank’s needed to maintain his 15% ownership

were effectively not available to sell. To prevent further dilution and protect his control, Plank

caused the Company to undertake an extraordinary recapitalization of the Company’s balance

sheet by issuing a new class of common stock – Class C Common Stock with zero votes. Plank

advocated for this third class of stock and the need for Plank to maintain control in a June 15, 2015,

letter to shareholders. Plank made clear that the recapitalization was intended to allow Plank to

continue selling millions of dollars in Under Armour stock without losing control of the Company.


55
     Under Armour, Inc., Current Report (Form 8-K) (July 27, 2020).

                                                - 50 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 57 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 56 of 192



While Plank told investors “maintaining our founder-led approach is in the best interests of Under

Armour and all of its stockholders,” the real beneficiary was Plank.

       128.    Although Plank’s $138.2 million in sales were purportedly made pursuant to a Rule

10b-5-1 trading plan (“Plan”) providing for his sale of Class B Common Stock and, when issued,

Class C Common Stock, this supposed Plan was suspiciously entered into on October 28, 2015,

while Plank was already in possession of material, non-public information about the Company -

this nullifies the purpose of the Plan. Moreover, to the extent such a Plan exists, there is no

indication that the dates, timing, and price of Class Period sales were pursuant to a written formula

in the Plan that were not susceptible to change or influence, or that that trades were in accordance

with the unamended Plan. See 17 C.F.R. 240.10b5-1(c). Thus, any asserted Plan is suspect

because it was entered into as a cover for Plank’s insider trading at a time he was actively engaged

in deceiving investors.

       129.    Specifically, in November 2015, Plank sold 1,250,000 shares of Class B Common

Stock for proceeds of $99,968,961 million. That sale amounted to roughly 36% of the shares Plank

could sell without losing control of Under Armour. In other words, in one week and while in

possession of material negative information (in particular the Company’s undisclosed

“fundamental shift” of competing on price rather than brand strength and suspect sales practices),

Plank sold 36% of the shares he had available to sell.

       130.    On April 7, 2016, pursuant to Plank’s recapitalization plan, the Company issued

Class C Common Stock to all holders of Class A and Class B Common Stock. As a result, Plank

beneficially owned 135,020 shares of Class A Common Stock, 34,450,000 shares of Class B

Common Stock, and 34,585,020 shares of Class C Common Stock. With the issuance of the Class

C shares, Plank could continue his Class Period selling spree without diluting his voting control.


                                               - 51 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 58 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 57 of 192



He did just that. Plank liquidated a total of 1,050,000 of his newly-issued Class C shares, for

$38,262,467 in proceeds, in a series of trades over four days on April 26-29, 2016. As with his

November 2015 sales, these were 100% profit. Plank’s April 2016 sales of 1,050,000 Class C

shares liquidated a remarkable 42% of the shares he could sell during the entire year without ceding

control of the Company.56 And, like the November 2015 sales, the April 2016 sales were made

without disclosing the material negative information in Plank’s possession. In particular, at this

time, the Company was engaged in the “fundamental shift” away from its oft-stated bedrock

principle of not competing on price and was engaged in suspect sales practices including pulling

sales forward in order to mask slowing demand and maintain the appearance of growth. And,

Plank was aware of the Company’s repeated efforts to move revenue between quarters, including

by pulling sales forward.57

         131.    Importantly, had Plank not recapitalized Under Armour’s balance sheet, he would

have had to convert and sell additional Class B shares (which carried ten votes) in order to achieve

the same amount of total Class Period proceeds ($138.2 million), thereby reducing his ownership

of the Company’s voting shares. The recapitalization allowed Plank to avoid this by selling Class

C shares (which carried no votes) instead of Class B shares. Had Plank sold 1,050,000 Class B

shares in April 2016 (instead of the 1,050,000 Class C shares he actually sold), his total Class

Period sales (2,300,000 shares) would have represented a much larger portion – approximately




56
   Pursuant to a charter amendment made in connection with the creation of the Class C Common
Stock, Plank was limited to selling 2,500,000 shares in any given year or his voting control would
unwind. Although the provision allowed for potential rollover of shares if Plank sold less than
2,500,000 shares in a year, thus increasing his annual limit, that did not apply to 2016 because it
was the first year the provision was in effect.
57
     See id. at 2.

                                               - 52 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 59 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 58 of 192



67% – of the shares Plank had available to sell from September 16, 2015, through January 30,

2017, without losing voting control of the Company (3,448,332 shares).

        132.   Plank’s $138.2 million Class Period trades were out of line with Plank’s subsequent

trading. Indeed, as the truth concealed by Defendants’ fraud began to be revealed and Under

Armour’s stock price was punished accordingly, Plank stopped selling. Plank has not sold a single

share of Under Armour stock since 2016.

        133.   Plank’s Class Period stock sales were also out of line with typical sales by public

company executives. For example, a 2010 study found that “the typical CEO sells only about

1.9% of her equity incentives each year.”58 In contrast, Plank’s November 2015 sales of 36% of

the total shares he was able to sell without losing control of the Company were about 18 times the

average annual sales of CEOs at large public companies. Plank’s April 2016 sales of 42% of

shares available to sell are even more out of line with a typical CEO’s behavior.

        134.   Plank’s Class Period trading was also suspicious in timing. On September 16,

2015, October 22, 2015, and November 4, 2015, Plank made a series of misstatements and

omissions that artificially inflated, or maintained the artificial inflation of, the Company’s stock

price. From November 17-23, 2015, Plank took advantage of this artificial inflation by selling

approximately $100 million of Under Armour stock. Plank’s November 2015 sales were made

near all-time highs for Under Armour stock. Less than two months after Plank reaped $100 million

in illicit trading proceeds, the Morgan Stanley Report revealed that the Company was experiencing

a core business decline, losing market share, falling ASPs, and contracting key margins, and the

Company was (and had been) engaged in a fundamental shift in strategy.59 The Morgan Stanley


58
  John E. Core & Wayne R. Guay, Is CEO Pay Too High and Are Incentives Too Low? A
Wealth-Based Contracting Framework, 24 ACAD. MGMT. PERSP. 1, 5 (Feb. 2010).
59
     Ex. C.

                                               - 53 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 60 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 59 of 192



Report also observed that the Company’s shares had reached an “unprecedented valuation,”

trading at a price 78 times greater than the Company’s earnings per share (“EPS”) in FY15.60

Moreover, unbeknownst to Under Armour investors, Defendants were using undisclosed, suspect

sales practices to mask slowing demand and make the Company appear healthier, including

moving revenue between quarters by, among other things, pulling sales forward.

         135.    Plank’s sales in April 2016 were likewise suspicious in timing. On March 2, 2016,

one of Under Armour’s biggest customers, Sports Authority, announced it was filing for

bankruptcy. On April 16, 2016, Sport Chalet, another of Under Armour’s wholesale customers,

announced it was going out of business. Despite those announcements, on April 21, 2016, Plank

raised 2016 guidance and made a series of other false and misleading statements and omissions

regarding the Company’s purportedly strong financial condition, as alleged herein, causing Under

Armour’s stock prices to continue trading at artificially inflated prices. A few days later, on April

26, 2016, Sports Authority declared that rather than restructure and continue to operate in some

capacity, as it had previously planned to do, it would liquidate. That very same day, Plank sold

225,000 shares for nearly $10 million in profit. In total, between April 26, 2016, and April 29,

2016, Plank unloaded 908,570 shares for $38.2 million in profit, taking advantage of the

recapitalization plan discussed above. At that time, Plank knew that the Company was engaged in

suspect sales practices when at the same time the Company was losing one of its biggest customers

and facing waning demand.61


60
     Id. at 3.
61
    In April 2020, Plank belatedly disclosed additional Class Period sales from 2016 that were also
suspicious in timing: these sales occurred during the same period identified in the SEC’s Wells
Notices to Plank and the Company and while Plank possessed material negative information,
including that the Company was engaged in the “fundamental shift” away from its oft-stated
bedrock principle of not competing on price and was engaged in suspect sales practices like pulling
sales forward to mask slowing demand and maintain the appearance of growth. Although Plank’s
                                               - 54 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 61 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 60 of 192



        136.   Under Armour’s shares began to slide soon after Plank’s April 2016 stock sales, as

the truth continued to leak out in a series of disclosures from May 3, 2016, through November 3,

2019.

        137.   The financial press took note of Plank’s “amazing” timing. A February 7, 2017,

article on TheStreet.com titled, “Under Armour Founder Kevin Plank Has Been Amazing at

Predicting Recent Stock Crashes,” noted “it shouldn’t come as a shock that Plank’s recent stock

trades were a good indicator on the company’s surprising new challenges, and Wall Street’s

subsequent brutal response.” Regarding Plank’s April 2016 sales, the article stated “[t]he sales

were well-timed.”

        138.   Plank was also motivated to misrepresent and conceal the Company’s true financial

condition in order to conduct the Bond offering for nearly $600 million in proceeds on June 8,

2016.   On June 6, 2016, Under Armour filed a registration statement on Form S-3ASR

(“Registration Statement”) with the SEC regarding the Bond offering. The Company also filed

Forms 424B5 and FWP with the SEC on June 8, 2016 (with Registration Statement, “Offering

Materials”). Pursuant to the Offering Materials, the Company completed the Bond offering of

3.250% senior unsecured notes of Under Armour, due June 15, 2026, on June 8, 2016, issuing

notes in the aggregate principal amount of $600 million (“Offering”).

        139.   The Company, and in turn Plank, immediately benefited from the Offering,

receiving $593.6 million in total net proceeds. The Offering terms would have been far less

favorable to the Company had the market known the truth about the Company’s ailing financial

condition. As the truth concealed by Defendants’ Class Period misstatements and omissions was




November 2015 and April 2016 trades were purportedly made pursuant to a Rule 10b5-1 trading
plan, these belatedly-disclosed 2016 trades were not.

                                             - 55 -
   Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 62 of 477
      Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 61 of 192



revealed through a series of partial disclosures, the Bonds were downgraded to junk status on

February 1, 2017. Had the Bonds been issued a junk status rating at the time of their issuance, the

Offering would have made less financial sense and been less advantageous to Under Armour,

particularly because Defendants intended to use the Bond proceeds to repay outstanding debt under

its revolving credit facility. Furthermore, Under Armour reported negative free cash flow in 2015

and 2016. In fact, the Company’s reported negative cash flow from operations of -$44 million in

FY15 was its first negative operating cash flow year since FY07 and down from $219 million in

FY14. Under Armour’s cash position provided an acute need for the Bond proceeds. These facts

were well known to Plank, serving as additional motive to misrepresent and conceal the

Company’s true financial condition and suspect sales practices to keep the Bonds above junk

status.

                 2.     The Scienter of Company Executives Is Imputed to Defendant
                        Under Armour

          140.   Plank’s scienter is imputed to Under Armour.       In addition, numerous facts

demonstrate that other members of the Company’s senior management knew or recklessly

disregarded the adverse facts concealed by the Class Period misrepresentations. The scienter of

these Under Armour executives, like that of Plank, is imputed to Under Armour. Because Plank

and other members of Under Armour’s senior management had the requisite scienter, Under

Armour had the requisite scienter.

          141.   In addition to Plank, the extensive information and reporting systems discussed

above (¶¶107-108, 111-112) were available to other Company executives. Everyone at Under

Armour on the sales team had full visibility into detailed and regularly updated sales data.

Declining demand, excess inventory, and margin compression were widely discussed throughout

Under Armour. According to former Under Armour executives, as reported by WSJ: “The strains

                                              - 56 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 63 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 62 of 192



in Under Armour’s business were evident inside the company in 2016.”62 And, Under Armour

employees in sales and planning relied on massive and constantly-updated spreadsheets with

detailed sales and inventory data to track the Company’s undisclosed practices of pulling forward

sales and determine what inventory to get rid of.

        142.    Two of the Company’s most senior executives, former CFOs Dickerson and

Molloy, made numerous public statements in which they discussed the Company’s apparel sales

growth, sales prices, inventory levels, and gross margins, evidencing their personal knowledge of

such matters. This included prepared statements on, and detailed answers about, at least one of

those matters during every quarterly earnings call with securities analysts during their respective

tenures in the Class Period. During the Company’s 2015 Investor Day, for example, Dickerson

specifically acknowledged his and the Company’s close monitoring of inventory, stating that “the

majority of our focus is going to be on inventory management and the efficiency of inventory

management.” Dickerson and Molloy also echoed these statements in numerous press releases

and SEC filings of the Company during the Class Period. Along with Plank, Dickerson signed

and certified the Company’s false and misleading Form 10-Q issued on November 4, 2015, and

Molloy signed and certified the Company’s false and misleading Form 10-K issued on February

22, 2016, and Forms 10-Q issued on April 29, 2016, August 3, 2016, and November 2, 2016.

Dickerson’s knowledge of the SportScan data reported by Morgan Stanley is further supported by

the fact that he discussed and responded to the Morgan Stanley Report at length during the

Company’s 4Q15 earnings call on January 28, 2016, as detailed in ¶183. While he (along with

Plank) tried to downplay and discredit the report and reassure the market of the Company’s

financial strength as to each of the business segments addressed in the report, these statements


62
     Ex. A, at 3.

                                              - 57 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 64 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 63 of 192



were simply motivated to keep the Company’s stock price afloat, and ultimately proved false and

misleading later in the Class Period, when Defendants revealed the same problems reported by

Morgan Stanley.

        143.    Moreover, in just over a one-year period, as Defendants’ fraud was gradually

revealed to the market, Dickerson and Molloy both departed the Company. Molloy’s abrupt

departure came only 13 months after he had joined the Company, replacing Dickerson. And,

according to WSJ, investigators are examining “the tenure of former finance chief Chip Molloy.”63

These sudden, suspicious departures, under highly questionable circumstances, provide strong

additional support that Dickerson and Molloy knew of the fraud detailed herein.

        144.    Molloy’s replacement as CFO, Bergman, also knew of the fraud detailed herein.

Along with Plank, Bergman personally received a Wells Notice from the SEC informing him that

SEC Staff made a preliminary determination to recommend that the SEC file an enforcement

action against him alleging violations of the federal securities laws. During the Class Period,

Bergman signed and certified the Company’s Forms 10-Q issued on May 9, 2017, August 8, 2017,

and November 9, 2017; May 10, 2018, August 3, 2018, and November 5, 2018; and May 9, 2019,

and August 1, 2019; and the Company’s Forms 10-K issued on February 23, 2017, February 28,

2018, and February 25, 2019.

        145.    Kip Fulks (“Fulks”), the Company’s co-founder and CPO during the Class Period,

and Plank’s “right-hand man,” attended the Company’s monthly sales meetings with Dick’s.

Cummings, Senior VP Regional Sales, also attended these meetings. As noted, the declining

demand for Under Armour products at Dick’s was discussed at these meetings, and Dick’s

provided Under Armour with detailed sales reports. Cummings pressured the Under Armour sales


63
     Ex. A, at 2.

                                             - 58 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 65 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 64 of 192



team to do whatever they could to get the sales, and the sales team was encouraged to get customers

to place orders by telling them that the orders could be cancelled or returned later. For example,

Cummings orchestrated a deal with Dick’s in early 2016 wherein Cummings convinced Dick’s to

order shoes that Dick’s did not want (Dick’s predicted they would have to return 80% of the shoes).

But, Cummings agreed that Under Armour would take back any unsold product. Dick’s ended up

returning 80% or more of the deal later in 2016.

       146.      Fulks and Cummings also received internal sales reports every Monday. The sales

team also prepared summaries of the sales data for upper management. In addition, sales

management had a “dashboard” on their computers or tablets to access Internet-based data where

they could review information such as sales, margins, and inventory turns (including the inventory

age by style) for the top lines of business. For example, sales reports in 2016 indicated that the

sell-through for Under Armour’s athleisure products was only around 1% to 2%, when it should

have been closer to 10% to 15%.

       147.      The Company’s extensive inventory reporting systems, including information

about excess inventory, was widely available. Indeed, the Company’s inventory problems,

including excess inventory across all brands, were topics of frequent discussion. For example,

Mirchin, President North America and later Strategic Advisor Global Revenue, Rob Goodwin

(“Goodwin”), VP of North American Merchandising, Bill Healy, Director Hunt/Fish & Tactical

Sales, Eskridge, Senior VP Global Merchandising and later President Sports Performance, and

Cummings discussed excess inventory. Goodwin noted that Under Armour had the most excess

inventory he had ever seen at a company. The amount of excess inventory grew so large that

Under Armour’s liquidation channels became flooded and, for some of the inventory, there was

nowhere to go.


                                              - 59 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 66 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 65 of 192



VI.     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
        OMISSIONS

        148.   Throughout the Class Period, Defendants misrepresented the demand for the

Company’s products, sales, and pricing while downplaying issues related to margins, inventory,

and retailer bankruptcies. Defendants’ misstatements and omissions failed to provide a full picture

of the true circumstances at Under Armour. In reality, the Company’s primary product category,

apparel, suffered from reduced customer appeal and demand, which hurt the Company’s revenue

and operating income growth, created excess inventory, caused Defendants to make a fundamental

strategic shift to competing on price rather than premium strength (i.e., dropping sales prices), and

compressed the Company’s margins. Defendants concealed these problems and employed several

fraudulent sales and accounting practices, in violation of GAAP,64 to inflate Under Armour’s

quarterly financial results and growth in order to appear healthier and to mask slowing demand.

These practices included: (a) pulling forward orders from the month after the quarter to ship within

the quarter in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to take

products early, including by adjusting contract terms, offering discounts, and guaranteeing that

Under Armour would buy back a certain amount of the products that did not sell; (c) shipping

products earlier than planned; (d) shipping products in the final days of the quarter, which resulted

in the return of truckloads of unopened boxes of inventory and shipping plans that sometimes

contradicted the dates on the boxes; (e) continuing to ship products to Sports Authority, and

booking sales for those goods when shipped, even after it became clear that TSA was headed to

bankruptcy and the goods would be returned; and (f) shipping new inventory intended for the

Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour could


64
    Defendants’ GAAP violations and materially false and misleading financial statements during
the Class Period are detailed in Section VIII, below.

                                               - 60 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 67 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 66 of 192



immediately book the goods as revenue instead of having to wait for a customer to buy the items

at its own stores. Additionally, investigators are examining emails that show Plank knew about

the efforts to move revenue between quarters. And, Under Armour disclosed on July 27, 2020,

that the SEC made a preliminary determination to recommend that the SEC file an enforcement

action against the Company, Plank, and CFO Bergman alleging violations of the federal securities

laws by pulling forward sales during the Class Period.

        149.    When Defendants elected to make such positive statements, they were under a duty

to disclose the additional negative information about the Company and its products that would

have made such statements not misleading. Specifically, they were under a duty to disclose the

Company’s slower revenue and operating income growth, lower ASPs, increased discounting and

promotions, elevated inventory, and compressed margins attributable to the Company’s apparel

issues and fundamental shift in strategy (competing on price rather than brand strength) during the

Class Period, and their manipulation of quarterly results, including by pulling future sales forward

in order to appear healthier and to mask slowing demand. This information was material because

it would have altered the total mix of information made available to reasonable investors.

However, Defendants failed to reveal this information, and instead they omitted and concealed it

from investors. In addition, many of Defendants’ statements about sales, demand, market share,

pricing, inventory, and margins were explicitly and materially false and misleading in and of

themselves. Defendants’ material omissions and false and misleading statements are detailed in

this section.

        150.    Defendant Under Armour is liable for the material misstatements and omissions of

its employees alleged herein. Likewise, as CEO, Chairman, and controlling stockholder during




                                               - 61 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 68 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 67 of 192



the Class Period, Plank is liable for the material misstatements and omissions of Under Armour

employees alleged herein.

       A.      2015 Investor Day

       151.    The Class Period begins on September 16, 2015. On that day, the Company held

its 2015 Investor Day. Plank and other members of Under Armour’s senior management gave

presentations on behalf of the Company.

       152.    Throughout the meeting, Plank and other senior executives repeatedly made false

and misleading statements that the Company was experiencing increased demand and sales growth

in key categories. In particular, Defendants failed to disclose that they inflated the Company’s

financial results and growth to appear healthier and to mask slowing demand for Under Armour

by (a) pulling orders forward from the month after the quarter to ship within the quarter in order

to hit aggressive sales goals or close the gap; and (b) making contingent sales pursuant to buyback

agreements. As noted above, investigators from the DOJ and SEC are examining emails that show

Plank knew about the efforts to move revenue between quarters. And, Under Armour disclosed

on July 27, 2020, that the SEC made a preliminary determination to recommend that the SEC file

an enforcement action against the Company, Plank, and CFO Bergman that would allege they

violated the federal securities laws by pulling forward sales in 2015 and 2016, including in the

third quarter of 2015, which is the same quarter the Investor Day statements were made.

       153.    Plank stated that “[t]he demand for our brand has never been stronger” and

represented that the “drivers” of sales growth were the same as they had been “over the past 10

years.” CMO Stafford told investors that Under Armour’s “men’s business is stronger than ever.”

With respect to women’s products, in particular, VP of the Women’s Division, Kelly Cortina,

added, “[d]emand for our product is growing.” And Peter Ruppe, Senior VP Footwear, stated that

the Company had “raised margins” in the footwear division.
                                              - 62 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 69 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 68 of 192



       154.    Dickerson added that “[a]pparel, our largest category, continues to grow over

20%.” Stafford told investors that the Company was “increasing our ASPs” in men’s apparel.

Defendants failed to disclose that the Company’s apparel business – its largest and most important

business – was compressing margins as a result of the discounting, promotions, and lower ASPs

the Company was implementing in an attempt to compensate for reduced customer demand for its

apparel products.

       155.    Another Company representative, Susie McCabe, Under Armour’s Senior VP of

Global Retail, made clear that Under Armour would be “protect[ing] the brand” through controlled

use of off-price distribution and “not chas[ing] easy profits.”

       156.    With regard to wholesale sales, which accounted for 65% of Under Armour’s sales

in 2016, Mirchin, President North America, misleadingly stated that “[Under Armour’s]

relationship and our partnership with Dick’s has never been stronger and our business continues

to grow.” Mirchin stated that the Company had “incredible growth at wholesale.”

       157.    Analysts reacted positively to Defendants’ statements made at Under Armour’s

2015 Investor Day. For example:

               (a)     in a report dated September 16, 2015, Sterne Agee CRT maintained its

“Buy” rating and stated, “UA continues to be our #1 pick for long-term growth investors.” In

support of the positive outlook, the report noted the “company has been patient and methodical in

managing the growth of the brand by only entering the proper channels”;

               (b)     on September 16, 2015, KeyBanc Capital Markets issued a report stating

“UA has one of the strongest growth profiles in our coverage, tactical execution continues to

improve and investments should continue to support >20% top-line growth over the next few years.

We think UA’s impressive growth demonstrates the power of strong brands”;


                                               - 63 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 70 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 69 of 192



               (c)      on September 17, 2015, Cowen and Company issued a report raising its

estimates and increasing its price target to $120 from $112, stating, “[m]anagement’s revenue

targets could ultimately be conservative given the acceleration in investments”; and

               (d)      on September 17, 2015, BB&T Capital Markets issued a report raising its

price target to $115 and commenting, “we came away from UA’s Investor Day enthusiastic about

the brand’s trajectory.”

        158.   The Company’s Class A Common Stock increased from a closing price of $49.34

per share65 on September 15, 2015, to $51.68 per share on September 16, 2015, and $52.05 per

share on September 17, 2015 (the stock’s all-time high closing price).

        159.   Defendants’ misstatements and omissions on September 16, 2015, as set forth in

¶¶151-156 above, were materially false and misleading and omitted material facts for the following

reasons:

               (a)      Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)      Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;



65
    The prices of Class A Common Stock on or before April 7, 2016, referenced herein have been
adjusted to account for Under Armour’s stock dividend after the close of trading on April 7, 2016.

                                              - 64 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 71 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 70 of 192



               (c)     the sales growth and demand trumpeted by Defendants were overstated by

their undisclosed quarterly practice of shifting sales from quarter to quarter to appear healthier and

to mask slowing demand, including by pulling forward orders from the month after the quarter to

ship within the quarter in order to hit aggressive sales goals or close the gap;

               (d)     Defendants failed to disclose these material problems to the market, and

instead gave investors the misleadingly positive perception that apparel growth was continuing

and that demand for the Company’s products “has never been stronger,” when in truth Under

Armour was experiencing declining demand and using pull-forward sales and contingent sales

pursuant to buyback agreements to maintain a façade of growth;

               (e)     the Company was not “protect[ing] the brand” through controlled use of

off-price distribution and refraining from “chas[ing] easy profits”; rather, the Company was

slashing sales prices and running discounts and promotions in an attempt to maintain aggressive

growth projections, in an attempt to combat the core apparel declines, which compressed margins;

and

               (f)     Under Armour’s wholesale business, including with Dick’s, was not

“stronger” but weaker, and the Company did not have “incredible growth at wholesale.” In fact,

Under Armour was experiencing a monumental downturn in its primary sales channel, North

American wholesale.

       B.      Third Quarter 2015 Financial Results

       160.    On October 22, 2015, the Company issued a press release announcing its financial

results for 3Q15, followed by a conference call the same day to discuss those results. On

November 4, 2015, the Company filed a Form 10-Q with the SEC reporting its financial results

for 3Q15. In the press release, on the conference call, and in the Form 10-Q, Defendants made

materially false and misleading statements and omitted material facts. In particular, Defendants
                                                - 65 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 72 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 71 of 192



failed to disclose that they inflated quarterly financial results and growth to appear healthier and

to mask slowing demand for Under Armour by: (a) pulling orders forward from the month after

the quarter to ship within the quarter in order to hit aggressive sales goals or close the gap; and (b)

making contingent sales pursuant to buyback agreements. Investigators from the DOJ and SEC

are examining emails that show Plank knew about the efforts to move revenue between quarters.

And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary determination

to recommend that the SEC file an enforcement action against the Company, Plank, and CFO

Bergman that would allege they violated the federal securities laws by pulling forward sales in

2015 and 2016, including in the third quarter of 2015 when they made these statements.

       161.    The press release stated gross margin headwinds were “partially offset by favorable

product margins.” During the October 22, 2015 conference call, Plank again misrepresented the

level of demand for the Company’s products, which he would later admit had failed to adapt to

changing consumer preferences. ¶¶275-276, 301-303.            Plank stated that the Company was

experiencing “unparalleled demand for the Under Armour brand.” During the conference call,

Dickerson stated that “[i]nventory for the quarter increased 36% to $867 million.”

       162.    Dickerson admitted that margins had contracted, but he misleadingly blamed such

contraction on relatively benign factors including the strength of the U.S. dollar, exchange rates,

and the emerging footwear business (which carried lower margins), rather than declining sales of

apparel, which led to lower ASPs, discounting, promotions, and reduced gross margins:

       Moving on to margins, third quarter gross margins contracted 80 basis points to 48.8%,
       compared to 49.6% in the prior year’s period. The following factors were the primary
       drivers during the quarter. First, the continued strength of the US dollar negatively
       impacted gross margins by approximately 90 basis points versus the prior year. Second,
       sales mix negatively impacted gross margin by approximately 50 basis points in the third
       quarter versus the prior year, primarily driven by the continued strong performance of our
       footwear business.

       Also, on our ongoing focus to better flow of product to service our business resulted in
                                                - 66 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 73 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 72 of 192



        higher freight expenses, which negatively impacted gross margin by approximately 20
        basis points in the quarter versus the prior year. Partially offsetting these margin pressures,
        we continue to see favorable product margins in both our North America and international
        business, which benefited gross margin by approximately 90 basis points in the third
        quarter.

        163.   Dickerson further represented that “we continue to see favorable product margins

in both our North America and international businesses” and that “we will continue to see

improvements in our product margins.”          Dickerson was asked for additional detail on the

Company’s margin contraction during the question-and-answer session with analysts, and made

clear that margins in the apparel business were not to blame, and were actually improving “right

now”:

        Omar Saad, Evercore ISI: . . . [O]ne follow-up on the gross margin comments, Brad. I
        understand the headwinds, the FX, the mix shift, et cetera. But you mentioned product
        margin as one of the benefits to the gross margin line, thinking 80 or 90 bps, something
        like that. Can you be a little bit more specific and expand upon what you mean by product
        margin driving one of the takes against the puts?

        Dickerson: That’s really probably more on our core apparel business. Overall, our core
        product margins, whether it be through pricing and/or costing, just in general across the
        globe, North American, international, most of our core apparel product margins are
        improving. That’s helping offset some of the other pressures we talked about.

        Saad: Is that more generating scale in the business on the cost side? Are you taking price
        strategically, or is it mixed to more premium products? Maybe just expand a little bit more?

        Dickerson: Yes, it’s a little bit across the board. . . . But, again, you would expect from a
        perspective of improving product margins that our apparel business would be the place we
        see the most of that; because it’s obviously our longer business and existing business, so
        that’s where we’re seeing it right now.

        164.   Separately, Dickerson failed to attribute elevated inventory levels to the Company’s

slowing apparel sales. Instead, he misleadingly blamed this on a strategic plan to flow product to

customers in a timelier manner, and stated the “bigger driver of” increased inventory levels “is the

flow of product.”




                                                - 67 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 74 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 73 of 192



        165.    Analysts reacted positively to Defendants’ statements on October 22, 2015,

regarding Under Armour’s strong 3Q15 financial results. For example:

                (a)     in a report dated October 22, 2015, Oppenheimer commented that sales

growth “outpaced expectations” and Oppenheimer “look[ed] favorably” upon the results;

                (b)     on October 22, 2015, SunTrust maintained its “Buy” rating and commented

that Under Armour showed “[s]trength across categories” and its guidance should prove

“conservative”; and

                (c)     on October 23, 2015, Telsey Advisory Group (“TAG”) issued a report

maintaining its “Outperform” rating and saying the results “marked another solid beat and raise

quarter” for Under Armour.

        166.    On November 4, 2015, Under Armour filed a Form 10-Q with the SEC reporting

its financial results for 3Q15, which were also discussed in the Company’s press release and during

its earnings call on October 22, 2015. The Form 10-Q stated that “[w]e believe that our growth in

net revenues has been driven by a growing interest in performance products and the strength of the

Under Armour brand in the marketplace.”

        167.    Plank signed a certification pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”)

stating, in relevant part:

        1.      I have reviewed this quarterly report on Form 10-Q of Under Armour, Inc.;

        2.      Based on my knowledge, this report does not contain any untrue statement of a
        material fact or omit to state a material fact necessary to make the statements made, in light
        of the circumstances under which such statements were made, not misleading with respect
        to the period covered by this report;

        3.      Based on my knowledge, the financial statements, and other financial information
        included in this report, fairly present in all material respects the financial condition, results
        of operations and cash flows of the registrant as of, and for, the periods presented in this
        report;

                                           *       *       *
                                                 - 68 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 75 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 74 of 192



       5.     The registrant’s other certifying officer and I have disclosed, based on our most
       recent evaluation of internal control over financial reporting, to the registrant’s auditors
       and the audit committee of the registrant’s board of directors (or persons performing the
       equivalent functions):

              a)      all significant deficiencies and material weaknesses in the design or
       operation of internal control over financial reporting which are reasonably likely to
       adversely affect the registrant’s ability to record, process, summarize and report financial
       information; and

               b)  any fraud, whether or not material, that involves management or other
       employees who have a significant role in the registrant’s internal control over financial
       reporting.

       168.    Defendants’ misstatements and omissions on October 22, 2015, and November 4,

2015, as set forth in ¶¶160-164, 166-167 above, were materially false and misleading and omitted

material facts for the following reasons:

               (a)        Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)        Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

               (c)        the net revenue growth and demand reported by Defendants were overstated

by their undisclosed quarterly practice of pulling sales forward in order to make the current quarter

to appear healthier than it actually was and to mask slowing demand, including by pulling orders

forward from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap;
                                                - 69 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 76 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 75 of 192



                (d)    Defendants failed to disclose these material problems to the market, and

instead gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends, when, in truth, Under

Armour was experiencing a monumental downturn in its primary sales channel, North American

wholesale, and using pull-forward sales and contingent sale pursuant to buyback agreements to

maintain a façade of growth;

                (e)    the Company’s apparel and North American margins were not “improving”

or “offset[ing]” other sources of margin decline. Rather, they were narrowing due to increasing

Company discounts and promotions, falling ASPs of the Company’s products, and increasing

liquidations;

                (f)    the “bigger driver of” the Company’s increasing inventory was not a

strategic plan concerning “the flow of product” but, rather, the declining apparel sales and reduced

demand for Under Armour’s products;

                (g)    the Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing. Under Armour only maintained the false appearance

of growth by engaging in the suspect sales practices described herein; and

                (h)    the Company’s Form 10-Q for 3Q15 failed to disclose to the market (in

violation of Item 303 of Regulation S-K, 17 C.F.R. §229.303 (“Item 303”)) the materially adverse

conditions described in this paragraph, and reported materially false and misleading financial

statements (in violation of GAAP), for the reasons discussed in Section VIII, below.


                                               - 70 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 77 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 76 of 192



VII.   INVESTORS BEGIN TO LEARN THE TRUTH BUT DEFENDANTS
       CONTINUE TO MISLEAD THE MARKET

       169.    Defendants could only conceal the truth for so long as the Company’s apparel sales

problems worsened, which increasingly slowed the Company’s revenue and operating income

growth and compressed the Company’s margins. The truth was ultimately revealed in a series of

partial disclosures causing a series of sharp declines in the Company’s common stock prices. The

declines would have been swifter and steeper, but Defendants downplayed the negative news and

continued to mislead the market with misrepresentations and omissions regarding the true state of

the Company’s financial condition and by concealing Defendants’ improper sales and accounting

practices, which inflated its quarterly financial results and growth to appear healthier and to mask

slowing demand for its products, including by: (a) pulling orders forward from the month after the

quarter to ship within the quarter in order to hit aggressive sales goals or close the gap; (b) leaning

on retailers to take products early, including by adjusting contract terms, offering discounts, and

guaranteeing that Under Armour would buy back a certain amount of the products that did not sell;

(c) shipping products earlier than planned; (d) shipping products in the final days of the quarter,

which resulted in the return of truckloads of unopened boxes of inventory and shipping plans that

sometimes contradicted the dates on the boxes; (e) continuing to ship products to Sports Authority,

and booking sales for those goods when shipped, even after it became clear that TSA was headed

to bankruptcy; and (f) and shipping new inventory intended for the Company’s own factory stores

to off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue

instead of having to wait for a customer to buy the items at its own stores. Investigators from the

DOJ and SEC are examining emails that show Plank knew about the efforts to move revenue

between quarters.    And, Under Armour disclosed on July 27, 2020, that the SEC made a

preliminary determination to recommend that the SEC file an enforcement action against the

                                                - 71 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 78 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 77 of 192



Company, Plank, and CFO Bergman that would allege they violated the federal securities laws by

pulling forward sales in 2015 and 2016. By continuing to mislead the market in this manner,

Defendants kept the Company’s common stock prices artificially inflated throughout the

remainder of the Class Period. This section details the partial revelations of truth regarding

Defendants’ fraud, the resulting Under Armour common stock price declines, and Defendants’

continued misrepresentations and omissions that kept the Company’s common stock prices

artificially inflated even as the truth began to leak out.

         A.      Published Retail Data Exposes Growth, Market Share, and ASP
                 Declines at Under Armour

         170.    On Sunday, January 10, 2016, Morgan Stanley issued a report downgrading the

Company, reducing its sales and EPS growth forecasts for the Company, and significantly reducing

its price target for the Company’s stock from $103 to $62 per share.66 Based on analysis of several

data points, including fact-based sales data capturing Under Armour’s core sales channel provided

by SportScan, Morgan Stanley revealed a “fundamental shift” at Under Armour whereby the

Company had, unbeknownst to investors, began competing on price rather than its premium brand

image.67 Citing retail data, the report explained that the Company’s North American apparel

business was slowing, leading to market share and average sales price declines:

         Data indicates near-term earnings uncertainty is more than just weather: Recent SportScan
         data shows [Under Armour] is losing market share for the first time in 3 years in apparel
         and, more surprisingly, ASPs are falling at an accelerating pace. Both trends are more
         pronounced in women’s apparel, despite major marketing investment in this division last
         year. Though warm weather surely explains some of this, we think [Under Armour] may
         be reaching maturity in US apparel faster than previously thought. Though we remain
         constructive on [Under Armour]’s int’l opportunity, we don’t think the shares are priced




66
     Ex. C, at 1.
67
     Id. at 2.

                                                 - 72 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 79 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 78 of 192



           for a US slowdown.68

           171.   According to the retail data disclosed in the report, the declines were occurring

since at least spring of 2015 (prior to the Class Period):

           Overall, [Under Armour] sales growth [in apparel] has decelerated on both a one- and two-
           year basis since spring 2015 and recently, the data suggests [Under Armour] is losing
           apparel market share (Exhibit 5). Plus, ASP growth has been steadily decelerating, from
           positive low-single-digits gains in 2014 to negative low-single- digit growth this year. This
           compares unfavorably to the industry and Nike, which have both experienced steadily
           increasing ASPs (Exhibit 6).69

           172.   In particular, the report concluded, based on the retail data, that the Company’s

sales of women’s apparel were in sharp decline: “Lately the overall trend of slowing sales growth,

falling ASPs, and market share losses cited above have been more pronounced in women’s apparel.

Women’s apparel sales growth has lagged men’s by roughly 500 bps YTD with slightly higher

ASP declines. Plus, [Under Armour] has lost only a small amount of share in men’s, but share

loss in women’s has been larger and happening for 5 months, while Nike continues to take share

(Exhibit 7).”70 This was “concerning because Under Armour invested nearly $15M in a major

marketing campaign in 2014 targeted toward women. . . . To continue its growth story, [Under

Armour] must excel in women’s apparel.”71

           173.   The report also raised concerns about Under Armour’s potential distribution deal

with Kohl’s. “Entering Kohl’s would seem like Under Armour is risking some of its brand equity

to find growth . . . [and] would imply there may not be as much growth in these other channels as

previously thought.”72 Expansion to Kohl’s would be further evidence of a “fundamental shift” at


68
     Id. at 1.
69
     Id. at 4.
70
     Id. at 6.
71
     Id.
72
     Id. at 7.

                                                  - 73 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 80 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 79 of 192



Under Armour because it “risks eroding the premium image of the UA brand” in order to try and

maintain revenue growth with higher volume lower priced sales.73 Morgan Stanley further noted

that the move to Kohl’s “was not part of UA’s 2018 plan given at its investor day” and expansion

into Kohl’s would signal that “growth is becoming harder to find for UA than previously

thought.”74 In subsequent reports, Morgan Stanley explained further that a move by Under Armour

into mid-tier stores “changes the UA investment thesis. One main reason to own UA is it is a

premium brand. Premium brands have reputations for having higher margins, holding price better,

and having more sustainable cash flows long-term. The market, in turn, would likely not perceive

the same growth or margin story that it used to and send the P/E lower.” Put another way, “adding

more mid-tier doors is really UA just taking its brand down – essentially trading on its premium

brand image in exchange for sales growth.”

           174.   In addition to the apparel problems, the Morgan Stanley Report, citing the fact-

based retail data, noted that “[Under Armour] running footwear prices are down 20% since January

2013, while the industry’s are down just 4%. . . . [Under Armour] has always competed on brand

image and innovation, rarely on price. This change in trend is a major concern because this

positioning threatens to erode [Under Armour]’s premium brand image and ultimately its long-

term growth potential.”75 The report also noted that, with respect to the Company’s Curry Two




73
     Id.
74
    Id. at 4. As other analysts at the time noted, Under Armour made clear at Analyst Day that its
focus was on “premium distribution” and “premium locations” in order “to maintain brand
strength.” See Brean Capital, LLC, UA: Initiating with a Buy; As Good of A Growth Story As
There Is, October 15, 2015.
75
     Ex. C, at 1.

                                                - 74 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 81 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 80 of 192



basketball shoes, Under Armour appeared to be “trad[ing] price for volume growth,” which “risks

damaging the premium image that is the source of the long-term growth potential.”76

         175.     In response to the Morgan Stanley Report, the Company’s Class A Common Stock

price fell sharply. After closing at $37.50 per share on Friday, January 8, 2016, the stock closed

at $34.98 per share on Monday, January 11, 2016 (the first trading day after the report was issued),

a decline of 6.72% ($2.52 per share), on unusually high trading volume of over 29 million shares.

         176.     In the wake of the Morgan Stanley Report, a number of analysts followed suit by

releasing negative commentary on the Company. For example:

                  (a)    on January 21, 2016, BB&T Capital Markets maintained its “Hold” rating,

stating that “[g]iven the current retail environment and warmer than normal temperatures across

the US during Q4, we believe there is risk inventory growth could be even higher level than

originally planned, which adds to our concerns for more conservative H1’16 EPS”;

                  (b)    in a report dated January 25, 2016, Cowen and Company lowered its

estimates and reduced its price target to $95 from $110; and

                  (c)    on January 26, 2016, Deutsche Bank issued a report lowering its price target

and commenting that product discounting was “likely worse than expected.”

         B.       Misleadingly Positive Fourth Quarter 2015 and Fiscal Year 2015
                  Financial Results and Downplay of the Morgan Stanley Report

         177.     On January 28, 2016, Defendants issued a press release announcing the Company’s

4Q15 and FY15 financial results. The press release stated that a decline in gross margins

“primarily reflect[ed] negative impacts of approximately 90 basis points from sales mix,

specifically from strong footwear growth, approximately 80 basis points from the continued



76
     Id. at 10.

                                                - 75 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 82 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 81 of 192



strength of the U.S. Dollar, and approximately 30 basis points from higher liquidations.”

Defendants held a conference call that same day to discuss the 4Q15 and FY15 results. During

the January 28, 2016 conference call, Dickerson stated that “[i]nventory for the quarter increased

46% to $783 million compared to $537 million at December 31, 2014.” On February 22, 2016,

the Company filed a Form 10-K with the SEC reporting its financial results for 4Q15 and FY15.

       178.    In the 4Q15 and FY15 press release, on the subsequent conference call, and in the

Form 10-K, Defendants made materially false and misleading statements and omitted material

facts. In particular, Defendants failed to disclose that they inflated quarterly financial results and

growth to appear healthier and to mask slowing demand for Under Armour by: (a) pulling forward

orders from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap; and (b) making contingent sales pursuant to buyback agreements.

Additionally, investigators from the DOJ and SEC are examining emails that show Plank knew

about the efforts to move revenue between quarters. And, Under Armour disclosed on July 27,

2020, that the SEC made a preliminary determination to recommend that the SEC file an

enforcement action against the Company, Plank, and CFO Bergman that would allege they violated

the federal securities laws by pulling forward sales in 2015 and 2016.

       179.    In the January 28, 2016, press release and conference call, Plank continued to

represent to investors that Under Armour’s core products were in high demand and Under Armour

was and would continue to be a premium brand. Plank stated “‘[o]ur core business remains

incredibly strong’” and that Under Armour’s “growth story is strong, we remain a growth

company, and none of that is wavered.” Although he would later admit the Company’s apparel

offerings had failed to change with consumer preferences, Plank led investors to believe the

Company’s revenue growth was based on high demand for core apparel. Plank stated that “[i]n


                                                - 76 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 83 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 82 of 192



the fourth quarter, Apparel growth of 22% show cases that our brand has products for all seasons

and temperatures.” And that “[o]ur brand, our presence, our ability to drive ASPs have never been

stronger in North America.”

       180.    Defendants also discussed the declining margins and increasing inventory, but

pinned the blame on relatively benign and short-term factors (faster growing but lower margin

footwear and international business, the strength of the U.S. dollar, and higher freight expenses)

rather than declines in the Company’s apparel business.

       181.    Dickerson tied excess inventory and liquidations to a designed strategy to deliver

products to customers earlier, as well as recent weather trends, rather than any sales problems

caused by the declining apparel business:

       This growth is largely a result of our strategy to focus on delivering our products to our
       consumers in a more timely manner and thus drive higher fill rates. . . . In addition, the
       recent weather trends have led to some excess inventory creation, which we will continue
       to work through across our normal liquidation channels during the first half of 2016.

       182.    Following Dickerson’s opening remarks, an analyst questioned Defendants about

the Morgan Stanley Report showing the Company’s slower growth, loss of market share, and ASP

reductions, as detailed in Sections V.C-D above and in Exhibit C attached hereto. Dickerson

downplayed the point-of-sale retail data cited in the report (i.e., SportScan data), claiming the data

was too focused on the Company’s large accounts, citing Dick’s as an example. In response to the

same question, Dickerson also reassured investors that, notwithstanding such data, apparel growth

was robust:

       Matthew J. McClintock, Barclays: My question is, Kevin, there seems to be a lot of
       debate in the marketplace on several of your strategies, and you kind of hit upon some of
       this in your prepared remarks. But in particular, the competitive positioning of both your
       Footwear and your Women’s business, and then also the potential maturity of the domestic
       business. I was just wondering if you can give us your updated thoughts on those topics?
       Have there been any strategic changes that we should be thinking about? Thanks.

       Dickerson: . . . So utilizing that [SportScan] data as a proxy for our success, especially in
                                                - 77 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 84 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 83 of 192



       the fourth quarter, it can be little bit challenged, as we’ve seen obviously, because we
       posted another strong quarter and our Apparel growing over 20%. So I just wanted to start
       an answer with just, let’s be careful on some of those data sets that are out there, and
       understand how they relate to our business in particular.

       183.   In discussing the Company’s gross margin contraction, Dickerson omitted any

mention of the Company’s declining ASPs in apparel and increased promotions and liquidations,

all of which, unbeknownst to investors, were negatively impacting Under Armour’s gross margins:

       Moving on to margins. Fourth quarter gross margins contracted 190 basis points to 48%
       compared to 49.9% in the prior year’s period. The following factors were the primary
       drivers during the quarter: First, sales mix negatively impacted gross margin by
       approximately 90 basis points in the fourth quarter versus the prior year, primarily driven
       by the continued strong performance of our Footwear business. Second, the continued
       strength of the U.S. dollar negatively impacted gross margin by approximately 80 basis
       points versus the prior year. Third, higher inventory liquidations negatively impacted gross
       margin by approximately 30 basis points.

       184.   In discussing 2015 gross margin headwinds, Dickerson stated that “we were able

to offset most of the non-currency related [gross margin] pressure through more favorable product

margins in both our North America and International businesses.”

       185.   Defendants were asked specifically about ASPs of apparel and gross margins, and

Plank and Dickerson responded as follows:

       Omar Saad, Evercore ISI: You kept mentioning premiumization, I think specifically to
       Footwear. Can you just dig a little bit deeper there, and then talk about does this translate
       over to Apparel at some point, we sort of see ASPs going up there? And then Brad, maybe
       you could comment on premiumization, maybe how it might flow-through gross margin
       over time, especially if you look at gross margin excluding the mix shift drag and the FX
       drag and what are the really underlying gross margins going to do over time? Thanks.

       Plank: . . . So first of all, on the Apparel side is that, again, a majority of our business 70%
       plus of our business is still in Apparel. So it is our focus, it’s our largest team here, and
       frankly it’s where we’ve built our brand as innovators.

                                          *       *       *

       As we look forward into 2017, we really see the ability to drive efficiency of really looking
       at pricing, and really looking at the ability for us to maximize and optimize things like
       margin. . . . We continue to drive and demonstrate that premium position in the
       marketplace.

                                                - 78 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 85 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 84 of 192



                                         *      *       *

       Dickerson: And we were able to offset a lot of that [gross margin contraction] just through
       our general increase and improvement in product margins, specifically on the Apparel
       side.

       So as you look forward in 2016 and beyond, you should see continued improvement in
       places . . . like our Apparel product margins. . . .

       So I think in all aspects of our business, you will see that improve over time. . . . And our
       ability to improve margins in Apparel is not only possible, but it’s happening right now as
       we speak.

       186.    Further attempting to allay gross margin concerns, Dickerson represented that

“we’re definitely seeing improvements in Footwear margins in general” and that “Footwear

margins . . . have improved.”

       187.    Plank later added, “we do see the ability to continue to drive ASPs and improve

margin by – through premium products as the way that we’ll build it out.”

       188.    Analysts reacted positively to Defendants’ statements on January 28, 2016

regarding Under Armour’s strong 4Q15 and FY15 financial results. For example:

               (a)     in a report dated January 28, 2016, SunTrust reiterated its “Buy” rating and

described Under Armour’s “growth engines” as “firing on all cylinders”;

               (b)     on January 28, 2016, KeyBanc Capital Markets issued a report praising

Under Armour’s “impressive” revenue growth and predicting “+25% top-line growth over the next

few years,” citing “ongoing investments in innovation, as well as new categories and markets,”

including investments in Connected Fitness;

               (c)     on January 28, 2016, Susquehanna Financial Group, LLP issued a report

describing the results as providing a “sigh of relief” and “tackl[ing] investor concerns,” and

increased its price target to $87 from $73;




                                              - 79 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 86 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 85 of 192



                 (d)   on January 28, 2016, Deutsche Bank issued a report noting Under Armour’s

representations that, contrary to the Morgan Stanley Report, the Company remained a premium

brand: “UA m[anagement] made it clear today that they are now pursuing premiumization more

aggressively”;

                 (e)   on January 28, 2016, Cowen and Company issued a report titled “Sentiment

Normalizes Post ‘Sportscan’ Fear” that noted the importance of “the introduction of evermore

premium price points in footwear and apparel [to] improve[] prospects for long-term margin

enhancement; and

                 (f)   on January 28, 2016, Evercore ISI issued a report noting UA’s purported

“increasing success in more premium products.”

       189.      On February 22, 2016, the Company filed with the SEC a Form 10-K reporting

financial results for 4Q15 and FY15, which were also discussed in the Company’s press release

and earnings call on January 28, 2016. The Form 10-K stated that “[w]e believe that our growth

in net revenues has been driven by a growing interest in performance products and the strength of

the Under Armour brand in the marketplace.”

       190.      The Company’s Form 10-K also contained SOX certifications by Plank that were

materially similar to those identified above in ¶167.

       191.      Defendants’ misstatements and omissions on January 28, 2016, and February 22,

2017, as set forth in ¶¶178-187, 189-190 above, were materially false and misleading and omitted

material facts for the following reasons:

                 (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including


                                               - 80 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 87 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 86 of 192



declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)      Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

               (c)      the growth and demand reported by Defendants were overstated by their

undisclosed quarterly practice of pulling sales forward in order to make the current quarter to

appear healthier than it actually was and to mask slowing demand, including by pulling orders

forward from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap, and making contingent sales subject to buyback agreements;

               (d)      Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends, when, in truth, Under

Armour was experiencing a monumental downturn in its primary sales channel, North American

wholesale, and using pull-forward sales and making contingent sales subject to buyback

agreements to maintain a façade of growth;

               (e)      Plank’s assertion that the Company’s ability “to drive ASPs have never

been stronger in North America” was false because the Company’s ASPs were falling sharply in

North America as Defendants attempted to compensate for the reduced demand and slowing sales

of the Company’s apparel products, requiring the Company to lower prices, increase promotions

and discounts (e.g., offering its key products on sale for the first time during Black Friday, 2015),

and liquidate more products;


                                               - 81 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 88 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 87 of 192



                (f)     Defendants’ attempts to downplay the January 10, 2016 Morgan Stanley

Report were false and misleading because the Company was, in fact, as the report stated,

experiencing lower apparel sales growth, increasing ASPs, and a loss of market share;

                (g)     the Company’s inventory growth was not “largely a result of our strategy to

focus on delivering our products to our consumers in a more timely manner and thus drive higher

fill rates” or simply due to “recent weather trends have led to some excess inventory creation.”

Rather, it was a symptom of reduced sales and market share due to the Company’s declining

apparel business and buying back unsold products pursuant to buyback agreements;

                (h)     Defendants were not experiencing net revenue growth driven by “a growing

interest in performance products and the strength of the Under Armour brand in the marketplace.”

In reality, demand was shifting away from performance products offered by the Company to more

fashion-oriented products offered by the Company’s competitors, and the Company’s brand

strength was and had been diminishing since at least spring 2015. As a result, Under Armour was

experiencing a monumental downturn in its primary sales channel, North American wholesale,

and pulling sales forward and making contingent sales subject to buyback agreements to try to

compensate for its declining brand heat, creating a façade of growth and the false appearance of

interest in its products;

                (i)     the Company was not “able to offset a lot of that [gross margin contraction]

just through our general increase and improvement in product margins, specifically on the Apparel

side” and improvement in apparel margins was not “happening right now as we speak.” Rather,

apparel margins were deteriorating as a result of reduced ASPs, discounting, promotions, and

increased liquidations as Defendants’ scrambled to maintain lofty growth projections artificially

in the face of monumental declines in the Company’s apparel business; and


                                               - 82 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 89 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 88 of 192



               (j)    the Company’s Form 10-K for FY15 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.

       C.      Press Release Reiterating 2016 Financial Outlook Despite Sports
               Authority’s Bankruptcy

       192.    On March 4, 2016, the Company issued a press release confirming its previously

released net revenue and operating income projections for 2016, notwithstanding the bankruptcy

of Sports Authority, one of Under Armour’s largest retail customers, filed on March 2, 2016.

       193.    The March 4, 2016 press release stated that the Company planned to offset the

impact of the bankruptcy on the Company’s full year 2016 results “through continued sales to The

Sports Authority and sales through other channels and customers.”

       194.    Defendants’ March 4, 2016 press release was materially false and misleading and

omitted material facts for the following reasons:

               (a)    Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)    Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth, including shipping new inventory intended for the Company’s own factory




                                              - 83 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 90 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 89 of 192



stores to off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as

revenue instead of having to wait for a customer to buy the items at a higher price at its own stores;

               (c)     the Company’s net revenue and operating income were being inflated by

Defendants’ suspect sales and accounting practices designed to make Under Armour’s financial

results and growth to appear healthier and to mask slowing demand for its products; and

               (d)     Defendants failed to disclose these material problems to the market and

instead gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends. In truth, Under Armour was

experiencing a monumental downturn in its primary sales channel, North American wholesale,

and using suspect sales practiced, as detailed herein, to create a façade of growth.

       D.      Misleadingly Positive First Quarter 2016 Financial Results and
               Guidance Raise

       195.    On April 21, 2016, Defendants issued a press release announcing the Company’s

1Q16 financial results. The press release stated a decline in gross margins “primarily reflect[ed]

negative impacts of approximately 100 basis points from higher liquidations and approximately

70 basis points from foreign currency exchange rates, partially offset by approximately 60 basis

points from improved product cost margins.” During a conference call held that same day to

discuss the 1Q16 results, Molloy stated that “[i]nventory for the quarter increased 44% to $834

million compared to $578 million at March 31, 2015.” On April 29, 2016, the Company filed a

Form 10-Q with the SEC reporting its financial results for 1Q16.

       196.    In the 1Q16 press release, on the conference call, and in the Form 10-Q, Defendants

made materially false and misleading statements and omitted material facts. In particular,

Defendants failed to disclose improper sales and accounting practices, which inflated the

Company’s quarterly financial results and growth to appear healthier and to mask slowing demand

                                                - 84 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 91 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 90 of 192



for Under Armour, including: (a) pulling orders forward from the month after the quarter to ship

within the quarter in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to

take products early, including by adjusting contract terms, offering discounts, and guaranteeing

that Under Armour would buy back a certain amount of the products that did not sell; (c) shipping

products early; (d) shipping products in the final days of the quarter, which resulted in the return

of truckloads of unopened boxes of inventory and shipping plans that sometimes contradicted the

dates on the boxes; (e) continuing to ship products to Sports Authority, and booking sales for those

goods when shipped, even after it became clear that TSA was headed to bankruptcy; and (f) and

shipping new inventory intended for the Company’s own factory stores to off-price sellers T.J.X.

Co. so that Under Armour could immediately book the goods as revenue instead of having to wait

for a customer to buy the items at its own stores. Additionally, investigators from the DOJ and

SEC are examining emails that show Plank knew about the efforts to move revenue between

quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary

determination to recommend that the SEC file an enforcement action against the Company, Plank,

and CFO Bergman that would allege they violated the federal securities laws by pulling forward

sales in 2015 and 2016.

       197.    In the April 21, 2016 press release, Plank continued his exceedingly positive

messaging: “For the past 24 consecutive quarters or six years, we have driven net revenue growth

above 20% and we are incredibly proud of our start to 2016 with first quarter net revenue growth

of 30%. The strong results posted this quarter truly demonstrate the balanced growth of our brand

across product categories, channels and geographies.”

       198.    Plank was similarly optimistic as to Under Armour’s future growth. Despite the

recent bankruptcy of Sports Authority on March 2, 2016, the Company raised its outlook for FY16


                                                - 85 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 92 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 91 of 192



net revenues and operating income to approximately $5.0 billion (26% growth) and a range of

$503 to $507 million (23-24% growth), respectively.

       199.   During the question-and-answer session of the April 21, 2016 conference call,

Plank was asked about the health of the Company’s North American wholesale channel. He

acknowledged it was “obviously a tough quarter for some of our partners in sporting goods,” but

reassured analysts of the Company’s continued brand strength and wholesale demand:

       Camilo Lyon, Canaccord Genuity: Kevin, I wanted to get your thoughts on just the health
       of the North America wholesale channel. There’s a lot of moving parts and some of your
       bigger customers have been shutting doors, some of the tertiary players are going away.
       Can you talk about the health of that channel and what that could lead to from a channel
       expansion opportunity and how do you think about segmentation, within that strategy?

                                        *       *      *

       Plank: I mean, posting 30% growth in a quarter where . . . one of our largest customers,
       one of our top two or three customers just a few years ago filed for bankruptcy. I think
       putting that kind of number up is something that just continues to demonstrate the strength
       of the brand and how strong our portfolio ultimately is.

       We do believe that there is still an underlying very strong wholesale market out there. And
       we expect to continue to be iconic, to be a destination.

                                        *       *      *

       So . . . our growth is effectively coming from everywhere. And North America is
       something that we feel incredibly strong about.

       200.   In response to a separate question, Plank emphasized that “[a]nd again we are, to

be clear, driving massive growth. We are taking share.” As to footwear, Plank stated “[w]e are

a premium Footwear brand that’s driving ASPs meaningfully higher. . . .”

       201.   During his opening remarks, Molloy discussed rising inventory and declining gross

margins. As to rising inventory levels, Molloy blamed “strategic initiatives we embarked upon

early last year to improve service levels for our wholesale customers,” rather than rising levels

caused by declining apparel sales. Molloy stated further: “As previously mentioned, the strategy


                                             - 86 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 93 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 92 of 192



to improve wholesale, customer service levels resulted in elevated inventory investments

beginning in the second quarter of last year.”

       202.    In response to an analyst question later in the call, Molloy stated that the majority

of inventory increases were planned:

       Camilo Lyon, Canaccord Genuity: If you could just disaggregate the composition of
       inventory between planned inventory increases and any sort of excesses that you have,
       given the liquidations they had during the quarter? And coupled with the expectations for
       flat gross margins in Q2. If you could just help us understand. It seems like we’re shifting
       more towards that planned increase, if I’m reading that correctly. But just any detail there
       would be great.

       Molloy: . . . [M]ajority of the growth is planned. But we did have slightly excess. . . . But
       we are working through that. As you can see we worked through it through liquidation.
       We’re continuing to manage through that. . . . So we were working through it. But the
       majority of it is planned.

       203.    As to gross margins, Molloy blamed “higher liquidations to clear through excess

inventory and foreign currency exchange rates,” but stated that product margins were “favorable”

(offsetting the overall gross margin declines), rather than disclosing that apparel product margins

were declining as a result of reduced customer demand, prompting lower sales prices, discounting,

and promotions. In response to an analyst’s question on gross margins, Molloy highlighted

“product margin improvements we’ve seen.”

       204.    Analysts reacted positively to Defendants’ statements on April 21, 2016. For

example:

               (a)     in a report dated April 21, 2016, Deutsche Bank Market Research raised its

price target to $53 from $47.50 and stated that “not only did [revenues] surpass expectations, but

so did gross & operating margins and EPS” and also noted that the Company’s management

“reiterated that inventories would normalize in 2Q”;

               (b)     on April 22, 2016, Canaccord Genuity maintained its “BUY” rating, stating

that the Company’s “stellar Q1 is evidence of the broad-based momentum the brand is


                                                 - 87 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 94 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 93 of 192



experiencing across categories, channels, and geographies, and moreover should allay concerns

around its growth outlook and opportunities”; and

               (c)     on April 22, 2016, TAG issued a report stating that it continued “to view

Under Armour as one of the most compelling growth stories in the space,” maintaining its

“Outperform” rating, raising its 2016 and 2017 EPS estimates, and increasing its price target to

$53.
       205.    The Company’s Class A Common Stock rose from a closing price of $43.95 per

share on April 20, 2016, to a closing price of $46.93 on April 21, 2016. The Company’s Class C

Common Stock rose from a closing price of $42.46 per share on April 20, 2016, to a closing price

of $45.41 per share on April 21, 2016.

       206.    On April 29, 2016, Under Armour filed a Form 10-Q with the SEC reporting its

financial results for 1Q16, which were also discussed in the Company’s press release and during

its earnings call on April 21, 2016. The Form 10-Q also stated:

              “We believe that the growth in our business has been driven by a growing interest
               in performance products and the strength of the Under Armour brand in the
               marketplace.”

              “The increase in net sales was driven primarily by: Apparel unit sales growth and
               new offerings in multiple lines led by training and golf.”

              “The decrease in gross margin percentage was primarily driven by the following:
               approximate 100 basis point decrease driven by increased liquidation as a result of
               our changing inventory management strategy. . . .”

       207.    The Company’s Form 10-Q also contained SOX certifications by Plank that were

materially similar to those identified above in ¶167.

       208.    Defendants’ misstatements and omissions on April 21, 2016 and April 29, 2016, as

set forth in ¶¶196-203, 206-207 above, were materially false and misleading and omitted material

facts for the following reasons:

               (a)     Under Armour’s apparel products, which accounted for most of the

                                               - 88 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 95 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 94 of 192



Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;
                (b)     Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

                (c)     the purportedly “massive” and “balanced” net revenue growth “effectively

coming from everywhere” was inflated by Defendants’ (undisclosed) improper sales and

accounting practices, which inflated quarterly financial results and growth to appear healthier and

to mask slowing demand, including pulling sales forward from future quarters; adjusting contract

terms or offering discounts to incentivize retailers to take products before their requested ship

dates; guaranteeing that Under Armour would buy back a certain amount of the products that did

not sell; shipping products earlier than planned and in the final days of the quarter; continuing to

ship products to Sports Authority, and booking sales for those goods when shipped, even after it

became clear that TSA was headed to bankruptcy; and shipping new inventory intended for the

Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour could

immediately book the goods as revenue instead of having to wait for a customer to buy the items

at its own stores;

                (d)     Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends. In truth, Under Armour was

experiencing declining demand and created a façade of growth using the suspect sales practices

                                               - 89 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 96 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 95 of 192



detailed herein. Further, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing;

               (e)     the decrease in gross margin percentage was not primarily driven by Under

Armour’s “changing inventory management strategy.” Rather, gross margin decreases were

primarily driven by increased discounting and promotions, including discounts offered to

incentivize retailers to take products before their requested ship dates, increased liquidations, and

selling new inventory intended for the Company’s own factory stores to off-price sellers to book

that inventory as revenue immediately, and corresponding lower sales prices;

               (f)     the Company was not “driving massive growth, and . . . taking share.”

Rather, its growth and market share were falling as a result of the Company’s apparel sales

declines, and Under Armour was experiencing an ongoing monumental downturn in its primary

sales channel, North American wholesale, that it obscured using the suspect sales practices detailed

herein;

               (g)     the Company’s rising inventory was not merely a result of “strategic

initiatives we embarked upon early last year to improve service levels for our wholesale

customers,” and the majority of the inventory growth was not part of a strategic plan. Rather, it

was largely attributable to declining apparel sales and diminishing demand, contingent sales

pursuant to buyback agreements with its largest retailers, including Dick’s, and the Company’s

practice of shipping products in the final days of a quarter, which resulted in “truckloads” of

unopened boxes of inventory returned to Under Armour in 2016. As a result, Under Armour had

accumulated material amounts of excess inventory, which it failed to write down in 2016 (see

Section VIII.D);


                                               - 90 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 97 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 96 of 192



               (h)     the Company’s gross margin declines were not caused by strategically

planned inventory increases and offset by “favorable” product margins. Rather, declining product

margins were a primary driver of gross margin declines, resulting from falling ASPs, excess

inventory, discounts and other promotions, including those offered to retailers as incentives to take

products before their requested ship dates, and increased liquidations due to lower consumer

demand for the Company’s apparel;

               (i)     the Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was, and had been, diminishing since at least spring 2015. As a result,

Under Armour was experiencing a monumental downturn in its primary sales channel, North

American wholesale, and was covering this up by engaging in the suspect sales practices described

herein; and

               (j)     the Company’s Form 10-Q for 1Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.
       E.      Departures of the Company’s Chief Merchandising Officer and Chief
               Digital Officer

       209.    After the market closed on May 3, 2016, the Company surprised investors by filing

a Form 8-K with the SEC announcing the departures of two key executives, CMO Stafford and

CDO Thurston, both of whom spoke glowingly about the Company’s financial results and outlook

at the Company’s 2015 Investor Day. The Company provided no reason for the departures. The

market viewed the departures as a signal of potential trouble at Under Armour, particularly coming
                                               - 91 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 98 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 97 of 192



on the heels of former CFO Dickerson’s departure and Morgan Stanley’s downgrade and exposure

of problems affecting the Company’s revenue and operating income growth, gross margins, and

market share, and the bankruptcies of three major retail customers of the Company (Sports

Authority, Vestis Retail Group/Sports Chalet, and City Sports).

       210.    As a result of this news, the price of Under Armour’s Class A Common Stock

dropped significantly. After closing at $42.73 per share on May 3, 2016, the stock dropped 7.54%

($3.22 per share) to close at $39.51 per share on May 4, 2016, on unusually high trading volume

of almost 19 million shares.

       211.    The Company’s Class C Common Stock, which was issued to Class A common

stock holders on a one-for-one basis after the market closed on April 7, 2016, also dropped on the

news of the departures. The stock price closed at $40.12 per share on May 3, 2016, and fell to

$37.39 per share at the close of trading on May 4, 2016, a drop of 6.80% ($2.73 per share), on

unusually high trading volume of over 4.5 million shares.

       212.    The stock declines would have been greater had Defendants revealed the internal

troubles at the Company that precipitated the departures, including the apparel merchandising

issues discussed above contributing to Stafford’s departure. Instead, they were completely silent

as to any reasons for the departures. In reality, the departures were influenced or precipitated by

the Company’s myriad problems including the declining apparel sales growth, loss of market

share, increased discounting, and elevated inventory levels.

       213.    Despite Defendants’ efforts to downplay the news, Under Armour’s announcement

that Stafford and Thurston were both resigning from the Company was met with skepticism from

certain analysts. For example:




                                              - 92 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 99 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 98 of 192



               (a)        in a report dated May 4, 2016, Piper Jaffray reiterated its “Neutral” rating

and cautioned that “these frequent departures leave us concerned on the company’s ability to attract

and retain top talent”;

               (b)        on May 4, 2016, Brean Capital, LLC lowered its rating to “Hold” and

explained its “more cautious stance” was due, in part, to the heighted executional risks associated

with the resignations; and

               (c)        on May 4, 2016, BB&T Capital Markets issued a report describing the

resignations as “the latest in significant turnover in [the Company’s] C-suite and other

Brand/Segment Presidents over the past several years.”

       214.    Defendants’ misstatements and omissions regarding the Stafford and Thurston

departures on May 3, 2016, as set forth in ¶209 above, were materially misleading because they

failed to disclose problems at the Company that contributed to such departures.

       F.      Reduced Financial Guidance Tied to the Sports Authority
               Bankruptcy

       215.    On May 31, 2016, the Company issued a press release titled, “Under Armour

Updates 2016 Outlook,” which lowered the Company’s 2016 financial guidance, after Defendants

had provided strong reassurances as to the Company’s financial health and raised 2016 financial

guidance just a month earlier. The Company’s updated projection included: (a) FY16 net revenues

of approximately $4.925 billion (down from the previously projected $5.0 billion); and (b) FY16

operating income in a range of $440 million to $445 million (down from the previously projected

$503 million to $507 million). The Company also announced an impairment charge of $23 million

and FY16 revenues of $43 million from Sports Authority (instead of the originally planned $163

million) “given the recent decision of the bankruptcy court to approve the liquidation of The Sports

Authority’s business rather than a restructuring or sale of the ongoing business.”

                                                 - 93 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 100 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 99 of 192



       216.    As a result of this announcement, the Company’s stock fell from $37.73 at the close

of trading on May 31, 2016, to $36.25 at the close of trading on June 1, 2016, representing a decline

of 3.92% ($1.48 per share), on unusually high trading volume of over 19 million shares.

       217.    Similarly, the Company’s Class C Common Stock fell 3.57% ($1.25 per share) on

this news, dropping from a close of $34.97 per share on May 31, 2016 to a close of $33.72 per

share on June 1, 2016, on unusually high trading volume of over 3 million shares.

       218.    In response to this news, analysts issued reports downgrading Under Armour’s

stock and commenting on the disconcerting update related to the bankruptcy. For example:

               (a)     on May 31, 2016, Credit Suisse issued a report skeptical of Under Armour’s

prior guidance stating, “[i]t looks like this optimism was somewhat misplaced as the liquidation

of The Sports Authority leaves a $120M revenue gap relative to prior expectations,” and lowering

its price target from $38 to $35;

               (b)     on May 31, 2016, Susquehanna Financial Group, LLP issued a report

lowering its price target and expressing “surprise[] [at] the magnitude of the announcement

(operating income lowered by ~12%) just a month after 1Q results where guidance was raised

despite pressure at [Sports Authority] (announced liquidation a week after UA reported)”;

               (c)     on May 31, 2016, Piper Jaffray issued a report lowering its estimates and

decreasing its price target from $43 to $35, citing the Company’s $23M impairment charge in

2Q16 and operating profit forecast of $17 to $19 million, in sharp contrast to the prior forecast of

$40 to $42 million; and

               (d)     On June 1, 2016, Wells Fargo issued a report lowering its estimates and

decreasing its valuation range from $38-$42 to $34-$38.




                                               - 94 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 101 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 100 of 192



       219.    The stock declines on June 1, 2016, would have been larger had Defendants

revealed the full truth to investors regarding the Company’s financial problems. However, Plank

continued to mislead the market in the May 31, 2016 press release, stating “our brand’s momentum

is stronger than ever as we continue to see growth and increased demand across all categories and

geographies.” This statement was materially false and misleading and omitted material facts

because growth in and demand for the Company’s apparel business were in decline, not increasing.

Moreover, the Company’s apparent growth and demand were overstated by Defendants’ concealed

sales and accounting practices, which inflated its financial results and growth quarterly to make

the Company to appear healthier and to mask slowing demand for its products, including: (a)

pulling orders forward from the month after the quarter to ship within the quarter in order to hit

aggressive sales goals or close the gap; (b) leaning on retailers to take products early, including by

adjusting contract terms, offering discounts, and guaranteeing that Under Armour would buy back

a certain amount of the products that did not sell; (c) shipping products earlier than planned; (d)

shipping products in the final days of the quarter, which resulted in the return of truckloads of

unopened boxes of inventory and shipping plans that sometimes contradicted the dates on the

boxes; (e) continuing to ship products to Sports Authority, and booking sales for those goods when

shipped, even after it became clear that Sports Authority was headed to bankruptcy; and (f)

shipping new inventory intended for the Company’s own factory stores to off-price sellers T.J.X.

Co. so that Under Armour could immediately book the goods as revenue instead of having to wait

for a customer to buy the items at its own stores. Additionally, investigators from the DOJ and

SEC are examining emails that show Plank knew about the efforts to move revenue between

quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary

determination to recommend that the SEC file an enforcement action against the Company, Plank,


                                                - 95 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 102 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 101 of 192



and CFO Bergman that would allege they violated the federal securities laws by pulling forward

sales in 2015 and 2016.

       220.     As Defendants continued to mislead, the market continued to be deceived. Indeed,

despite the partial revelation of the truth on May 31, 2016, a Deutsche Bank report stated,

“[n]otably, m[anagement] reiterated 2Q’s rev[enue] plan of ‘growth in high 20%s’, allaying

palpable fears that trends slowed since 1Q.”

       G.       Under Armour Bond Offering

       221.     On June 6, 2016, Under Armour filed the Registration Statement with the SEC

concerning the Bond offering. The Company filed additional Offering Materials, Forms 424B5

and FWP with the SEC on June 8, 2016. Pursuant to the Registration Statement and Offering

Materials, the Company completed the Bond offering of 3.250% senior unsecured notes of Under

Armour, due June 15, 2026, on June 8, 2016, issuing notes in the aggregate principal amount of

$600 million.

       222.     The Offering Materials incorporated by reference the Company’s Form 10-K for

4Q15 and FY15 and Form 10-Q for 1Q16, which contained the false and misleading statements

and omissions of material fact detailed in ¶¶177-187, 189-190 above.

       223.     One month after the Bond offering was completed, on July 8, 2016, Morgan Stanley

issued a report with additional analysis regarding Under Armour’s strategy and fundamental shift

to competing on price rather than brand strength, which the Company had not disclosed and indeed

refuted. Morgan Stanley again analyzed Under Armour’s declining ASPs, noting that although

wholesale sales are up, “the sales increase can be explained by the ASP decline.” The report

recognized that historically and, according to Defendants’ Class Period misrepresentations to date,

Under Armour “is a premium brand.” But, based on SportScan data, Morgan Stanley stated that,

“seven straight quarters of 2.5% ASP declines, on average, challenges that notion.” Morgan
                                               - 96 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 103 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 102 of 192



Stanley also analyzed women’s apparel, as it had in January, concluding that “UA’s women’s

apparel sales growth rate in the US wholesale channel has decelerated.” With regard to footwear,

Morgan Stanley noted that “two low priced styles . . . drove 9% of the FY15 growth in running

footwear. . . . We believe selling low priced footwear threatens to erode UA premium brand image

and limit its long-term growth potential.”

         224.    The report issued by Morgan Stanley on July 8, 2016 also looked at the impact of

a potential move by Under Armour into Kohl’s. The report noted “UA knows there is risk in

entering this channel” and “UA has not pursued [Kohl’s] or [JCPenney] until now because a) these

channels may cause erosion of UA’s premium brand image and UA didn’t want to take the risk,

and b) it had so many other growth avenues. We think the reason UA is preparing to enter Kohl’s

or JC Penney now is it needs to find new avenues to maintain the sales growth rates the market

expects. Otherwise, it probably wouldn’t want to take the risk.” This risk materialized almost

immediately thereafter, when unbeknownst to investors, Dick’s stopped taking Under Armour

products early because it was angered by Under Armour’s decision to sell at Kohl’s.77 Overall,

Morgan Stanley viewed the declining ASPs, emphasis on low-priced footwear, decelerating

women’s wholesale apparel, and a potential move into a mid-tier store like Kohl’s and concluded

that the “strategies UA is using to stimulate sales growth jeopardize its brand equity.”

         H.      Disappointing Second Quarter 2016 Financial Results: Partial
                 Revelations of a Growth Slowdown

         225.    On July 26, 2016, just three months after raising guidance, the Company issued a

press release announcing disappointing 2Q16 financial results. The Company reported that

operating income and net income decreased 29% (to $19 million) and 58% (to $6 million) from



77
      Ex. A, at 4.

                                               - 97 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 104 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 103 of 192



the prior year period, respectively, in connection with the $23 million impairment related to the

liquidation of Sports Authority. Moreover, apparel sales rose only 18.9% over the prior year

period, the first time apparel sales growth had dropped below 20% in nearly seven years.

       226.    The Company also reported 2Q16 gross margin of 47.7%, compared with 48.4% in

the prior year’s period, “primarily reflecting negative impacts of approximately 130 basis points

from sales mix driven by strong growth in footwear and international, partially offset by

approximately 50 basis points from improved product cost margins.” Earnings were only $0.01

per share, $0.03 lower than the year-ago quarter.

       227.    On the same day, July 26, 2016, Under Armour hosted a conference call to discuss

its 2Q16 financial results. On August 3, 2016, Under Armour filed a Form 10-Q with the SEC

reporting its financial results for 2Q16

       228.    In the 2Q16 press release, on the earnings call, and in the Form 10-Q, Defendants

made materially false and misleading statements and omitted material facts. In particular,

Defendants failed to disclose that they inflated quarterly financial results and growth in order to

appear healthier and to mask slowing demand for Under Armour, including by: (a) pulling forward

orders from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap; (b) leaning on retailers to take products early, including by adjusting

contract terms, offering discounts, and guaranteeing that Under Armour would buy back a certain

amount of the products that did not sell; (c) shipping products earlier than planned; (d) shipping

products in the final days of the quarter, which resulted in the return of truckloads of unopened

boxes of inventory and shipping plans that sometimes contradicted the dates on the boxes; (e)

continuing to ship products to Sports Authority, and booking sales for those goods when shipped,

even after it became clear that TSA was headed to bankruptcy; and (f) shipping new inventory


                                              - 98 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 105 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 104 of 192



intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour

could immediately book the goods as revenue instead of having to wait for a customer to buy the

items at its own stores. Additionally, investigators from the DOJ and SEC are examining emails

that show Plank knew about the efforts to move revenue between quarters. And, Under Armour

disclosed on July 27, 2020, that the SEC made a preliminary determination to recommend that the

SEC file an enforcement action against the Company, Plank, and CFO Bergman that would allege

they violated the federal securities laws by pulling forward sales in 2015 and 2016.

       229.    In his opening remarks on the conference call, Molloy stated that the Company

expected its gross margin percentage to decline slightly for both 3Q16 and FY16.

       230.    During the question-and-answer session that followed, Molloy was asked how the

Sports Authority dynamic would affect sales for the remainder of FY16. Molloy stated that “we

did ship product in the first quarter and the second quarter to [Sports Authority]. . . . It is about

300 basis points to 400 basis points of our growth in the back half of the year without shipping to

[Sports Authority]. We have made up some of that, but not all of it.”

       231.    Separately, the Company forecast 3Q16 sales growth of about 20%, its slowest

growth in over six years, citing the Sports Authority bankruptcy.

       232.    On this news, the Company’s Class A Common Stock fell from a close of $43.59

per share on July 25, 2016, to a close of $41.36 per share the following day, July 26, 2016, a

decline of 5.12% ($2.23 per share), on unusually heavy trading volume of nearly 18 million shares.

The stock dropped an additional 3.97% ($1.64 per share) the next trading day, closing at $39.72

per share on July 27, 2016, on unusually high trading volume averaging over 9 million shares per

day, as the market continued to digest the news. The total stock price decline over this two-day

period was 8.88% ($3.87 per share).


                                               - 99 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 106 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 105 of 192



       233.    The Company’s Class C Common Stock also fell on this news, dropping from

$38.78 per share at the close of trading on July 25, 2016 to $37.50 per share at the close of trading

on July 26, 2016, a decline of 3.33% ($1.28 per share), on usually high trading volume of over 3.6

million shares. The stock continued to fall an additional 4.19% ($1.57 per share) the following

day to close at $35.93 per share on July 27, 2016, on higher-than-average volume of over 1.1

million shares, representing a total decline of 7.35% ($2.85 per share) over the two-day period.

       234.    The stock declines would have been larger had the Company revealed the full truth

to investors. But Defendants continued to mislead investors and downplayed the negative news.

       235.    The July 26, 2016 press release stated that a decline in gross margins “primarily

reflect[ed] negative impacts of approximately 130 basis points from sales mix driven by strong

growth in footwear and international, partially offset by approximately 50 basis points from

improved product cost margins.” In a conference call to discuss the 2Q16 results that same day,

Molloy reported “[i]nventory for the quarter increased 30% to $1.1 billion compared to $837

million at June 30, 2015.”

       236.    Plank continued to insist that Under Armour remained “a growth company” and

falsely stated that “[o]ur second-quarter results are strong evidence that demand for Under

Armour has never been higher.”

       237.    Echoing this message, in his opening earnings call comments, Molloy emphasized

“the consistent growth across our diverse product lines and channels [that] delivered another

quarter of strong results,” including growth in apparel revenues.

       238.    During the question-and-answer session that followed, an analyst inquired about

“athletic inventory in the channel today” and whether Plank was comfortable with the promotional

backdrop. Plank admitted to a high level of promotion as well as a shifting retail environment, but


                                               - 100 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 107 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 106 of 192



misleadingly stated that the level of promotion was the same as in prior years, and that the

Company’s core base of apparel was growing, notwithstanding shifting fashion trends such as

athletic leisure:

        Matthew Robert Boss, JPMorgan: Kevin, can you talk about athletic inventory in the
        channel today? It sounds like inventory for you guys will be in line with sales by the end
        of this quarter. Nike expects to be clean by August. I guess are you comfortable with the
        promotional backdrop you see out there today? And then larger picture, what would you
        say to those calling for a top in the athletic cycle out there?

        Plank: Yes, I’m not going to say I’m comfortable with the promotion out there in the
        market today, but I don’t know if that’s different than what we’ve seen in the last several
        years, either.

                                          *      *       *

        I think there’s a shift happening. I think the way the people are dressing is changing, and
        it’s altering. And so I don’t know if it’ll be as extreme as just women’s buying black tights
        and whether people can make a career out of that, and obviously there have been a lot of
        people jumping in the boat on women’s, specifically in the athleisure trend. But the good
        news is that we’re not grounded in trend, we’re grounded in sport. That’ll keep us here,
        and the trends will come and go. But we’re also watching our core base continue to grow
        for us, as well.

        239.    With regard to the Company’s deteriorating margins, Molloy again falsely

attributed the declines largely to benign factors, concealing the margin declines caused by reduced

demand for apparel, increased promotions and liquidations, and declining ASPs. Molloy instead

falsely represented that the Company’s product margins were improving.

               Moving on to margins, second quarter gross margins decreased 70 basis points to
        47.7% compared to 48.4% in the prior year’s period. Sales mix negatively impacted the
        second quarter by approximately 130 basis points, primarily driven by the continued
        strength of our footwear and international growth. Partially offsetting this negative
        impact were continued favorable product margins, benefiting gross margin by
        approximately 50 basis points.

        240.    Plank also announced that the Company was expanding its wholesale distribution

to include Kohl’s. Plank falsely represented that there was “nothing reactionary about Kohl’s” a




                                               - 101 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 108 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 107 of 192



mid-tier department store with frequent steep discounting but rather, “[t]his was a proactive move

for us.”

           241.   Despite Defendants’ continued false and misleading statements, a number of

analysts reacted negatively to Defendants’ statements on July 26, 2016, regarding Under Armour’s

2Q16 financial results and declining average sales prices. For example:

                  (a)    on July 26, 2016, Macquarie Research issued a report lowering its estimates

and decreasing its price target to $40 from $47; and

                  (b)    on July 27, 2016, a Morgan Stanley report dug below the surface of Under

Armour’s announcement, stating, “[s]ales are growing solidly, but ASPs are fading. UA competes

on brand image and innovation, rarely on price. This trend change is a concern because it suggests

a fundamental shift in the UA story.” With regard to the Company’s expansion into Kohl’s, which

Morgan Stanley had discussed in prior reports, the report noted it “is not a positive in our view,”

voicing concern that “it is potentially brand dilutive.”

           242.   On August 3, 2016, Under Armour filed a Form 10-Q with the SEC reporting its

financial results for 2Q16, which were also discussed in the Company’s press release and during

its earnings call on July 26, 2016. The Form 10-Q stated that “[w]e believe that the growth in our

business has been driven by a growing interest in performance products and the strength of the

Under Armour brand in the marketplace.”

           243.   The Company’s Form 10-Q also contained SOX certifications by Plank that were

materially similar to those identified above in ¶167.

           244.   Defendants’ misstatements and omissions on July 26, 2016, and August 3, 2016, as

set forth in ¶¶228-230, 234-240, 242-243 above, were materially false and misleading and omitted

material facts for the following reasons:


                                               - 102 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 109 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 108 of 192



               (a)      Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)      Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

               (c)      the “continued” and “consistent” growth and high demand Defendants

reported were overstated by Under Armour’s suspect quarterly practices, designed to make the

Company to appear healthier and to mask slowing demand for its products, including: pulling sales

forward, adjusting contract terms or offering discounts to incentivize retailers to take products

before their requested ship dates, making contingent sales pursuant to buyback agreements,

shipping products earlier than planned and in the final days of the quarter, and shipping new

inventory intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at its own stores;

               (d)      Defendants failed to disclose these improper practices and material

problems to the market, and, instead, gave investors the misleadingly positive perception that the

Company’s growth, including apparel growth, remained strong and consistent with historical

trends. In truth, Under Armour was experiencing an ongoing monumental downturn in its primary




                                               - 103 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 110 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 109 of 192



sales channel, North American wholesale, and covering up declining demand and sales by

engaging in the suspect sales practices described herein to create a façade of growth;

               (e)    Molloy’s statement that “we did ship product in the first quarter and the

second quarter to [Sports Authority]. . . . It is about 300 basis points to 400 basis points of our

growth in the back half of the year without shipping to [Sports Authority]” omitted that Under

Armour continued to ship products to Sports Authority, and booked sales for those goods when

shipped, even after it knew that TSA was headed to bankruptcy and the goods would be returned;

               (f)    the statement that “demand for Under Armour has never been higher” was

false and misleading because customer demand for the Company’s apparel products, which

accounted for the majority of sales, was suffering and in decline, and Defendants obscured this

decline using improper and undisclosed sales practices to appear healthier and to mask slowing

demand, as detailed herein;

               (g)    the Company was not experiencing consistent growth across all product

lines and channels. Rather, growth was slowing due to the declining apparel business. Under

Armour was covering up this decline and creating the false appearance of growth engaging in the

suspect sales practices described herein;

               (h)    the Company’s promotions were growing and were not the same as “the last

several years,” as Plank misleadingly implied, but much higher, as the Company ran an increasing

number of promotions of apparel products during the Class Period;

               (i)    the statement that Under Armour was “watching our core base continue to

grow” despite changing fashion trends was misleading because the Company’s failure to capitalize

on changing fashion trends, such as the athletic leisure trend, was reducing demand for the

Company’s products and thus reducing the Company’s core base. Further, Under Armour was


                                              - 104 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 111 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 110 of 192



experiencing an ongoing monumental downturn in its primary sales channel, North American

wholesale, and creating a façade of growth to appear healthier and to mask slowing demand by

engaging in suspect sales practices, as detailed herein;

               (j)     the statements indicating that the gross margin decline was temporary due

to rising product margins, and driven by the footwear and international businesses, were

misleading because they implied that apparel margins were strong and failed to disclose that gross

margin declines were also driven by slower apparel sales and a monumental decline in Under

Armour’s primary North American wholesale sales channel, resulting in promotions, discounts

(including adjusted contract terms or discounts offered to retailers to incentivize them to take

products before their requested ship dates), lower sales prices, increased liquidations, and shipping

new inventory intended for the Company’s own factory stores directly to off-price sellers, who

sold the goods at lower prices and thus lower margins;

               (k)     the Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing. Further, any growth in Under Armour’s revenue was

driven by the Company’s undisclosed suspect sales practices to manipulate its quarterly results;

and

               (l)     the Company’s Form 10-Q for 2Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.


                                               - 105 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 112 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 111 of 192



        I.      Goldman Sachs Global Retailing Conference

        245.    On September 7, 2016, Molloy represented the Company at the Goldman Sachs

Global Retailing Conference. Defendants made false and misleading statements at the conference.

In particular, Defendants failed to disclose that they inflated the Company’s financial results and

growth quarterly in order to appear healthier and to mask slowing demand for Under Armour,

including by: (a) pulling forward orders from the month after the quarter to ship within the quarter

in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to take products early,

including by adjusting contract terms, offering discounts, and guaranteeing that Under Armour

would buy back a certain amount of the products that did not sell; (c) shipping products earlier

than planned; (d) shipping products in the final days of the quarter, which resulted in the return of

truckloads of unopened boxes of inventory and shipping plans that sometimes contradicted the

dates on the boxes; and (e) shipping new inventory intended for the Company’s own factory stores

to off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue

instead of having to wait for a customer to buy the items at its own stores. Additionally,

investigators from the DOJ and SEC are examining emails that show Plank knew about the efforts

to move revenue between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC

made a preliminary determination to recommend that the SEC file an enforcement action against

the Company, Plank, and CFO Bergman that would allege they violated the federal securities laws

by pulling forward sales in 2015 and 2016.

        246.    Molloy assured Goldman Sachs analysts that the Company’s inventory positions

were strong and the Company’s promotions were constrained. When asked how Molloy would

“characterize inventory levels at retail levels, not just for you guys but sort of across the category

right now,” Molloy responded that inventory was now “really healthy” and improved, and that


                                                - 106 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 113 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 112 of 192



despite excess inventory earlier in the year, the Company had not participated “too much” in

promotions:

       Yeah, for us we’re in a really good position [with inventory levels]. We feel really healthy
       and it’s our understanding that the marketplace is in a healthy position, too. Came out of
       the winter season, there was a lot of excess inventory. You then combine that with the
       Sports Authority bankruptcies and some other smaller bankruptcies. It was flush with
       inventory. It was a promotional environment. We didn’t participate – have to participate
       too much in that promotional environment.

       But from what we can understand that as of the end of August that most of the domestic
       retail partners are in really good inventory positions. We know we are.

       247.    In response to additional questions on inventory, Molloy stated that “retail is pretty

good and inventories are clean” and that “we feel really good about – and I think everyone’s

encouraged that the inventory positions got cleaned up a lot sooner than many expected.”

       248.    Molloy’s September 7, 2016, misstatements and omissions set forth in ¶¶245-247

above were materially false and misleading and omitted material facts for the following reasons:

               (a)      the Company’s inventory levels were not healthy, clean, in a good position,

or “cleaned up a lot sooner than many expected.” Rather, inventory levels were inflated and

continued to grow due to declining customer demand for, and declining sales of, the Company’s

apparel, contingent sales pursuant to buyback agreements with its largest retailers, including

Dick’s, and the Company’s shipping products in the final days of a quarter, resulting in “truckloads

of unopened boxes [that] would come back to Under Armour” in 2016. As a result, Under Armour

had accumulated material amounts of excess and obsolete inventory, which it failed to write down

in 2016. See Section VIII.D. Moreover, Defendants were indeed participating in and creating a

“promotional environment” by running heavy and increasing promotions and discounts in response

to the Company’s apparel sales declines and inflated inventory levels, which had to be liquidated

at a steep discount, and by offering discounts to incentivize retailers to take products before their

requested ship dates.     Further, the Company was shipping new inventory intended for the
                                               - 107 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 114 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 113 of 192



Company’s own factory stores directly to off-price sellers like T.J.X. Co., which allowed Under

Armour to book the inventory as revenue immediately (instead of having to wait for a customer to

buy the items at its own stores) but at a lower prices and thus lower margins;

               (b)     In truth, Under Armour was experiencing an ongoing monumental

downturn in its primary retail sales channel, North American wholesale, and any retail growth was

because the Company manipulated its quarterly sales to appear healthier and to mask slowing

demand, including by making contingent sales pursuant to buyback agreements with its biggest

retailers (including Dick’s), pulling forward sales from future quarters, adjusting contract terms

and offering discounts that incentivized retailers to take products before their requested ship dates,

shipping products in the final days of the quarter to hit numbers, and shipping new inventory

intended for the Company’s own factory stores to off-price sellers so that Under Armour could

book the inventory as revenue immediately instead of having to wait for a customer to buy the

items at its own stores.

       J.      Disappointing Third Quarter 2016 Financial Results: Further
               Revelations of a Growth Slowdown and Compressed Margins

       249.    On October 25, 2016, the Company issued its 3Q16 earnings release. Defendants

surprised investors by reporting 3Q16 gross margin of only 47.5%, compared with 48.8% in the

prior year’s period. On the same day, Under Armour hosted a conference call to discuss its 3Q16

financial results. On November 2, 2016, Under Armour filed a Form 10-Q with the SEC reporting

its financial results for 3Q16.

       250.    In the 3Q16 earnings release, on the earnings call, and in the Form 10-Q,

Defendants made materially false and misleading statements and omitted material facts. In

particular, Defendants failed to disclose that they inflated the Company’s quarterly financial results

and growth in order to appear healthier and to mask slowing demand for Under Armour, including

                                               - 108 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 115 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 114 of 192



by: (a) pulling forward orders from the month after the quarter to ship within the quarter in order

to hit aggressive sales goals or close the gap; (b) leaning on retailers to take products early,

including by adjusting contract terms, offering discounts, and guaranteeing that Under Armour

would buy back a certain amount of the products that did not sell; (c) shipping goods earlier than

planned; (d) shipping products in the final days of the quarter, which resulted in the return of

truckloads of unopened boxes and shipping plans that sometimes contradicted the dates on the

boxes; and (e) shipping new inventory intended for the Company’s own factory stores to off-price

sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue instead of

having to wait for a customer to buy the items at its own stores. Additionally, investigators from

the DOJ and SEC are examining emails that show Plank knew about the efforts to move revenue

between quarters.    And, Under Armour disclosed on July 27, 2020, that the SEC made a

preliminary determination to recommend that the SEC file an enforcement action against the

Company, Plank, and CFO Bergman that would allege they violated the federal securities laws by

pulling forward sales in 2015 and 2016.

       251.    Plank and Molloy participated in the call on behalf of the Company. In his opening

remarks, Molloy stated that the Company’s margins “declined more than planned” due to factors

including higher discounts, promotions, and liquidations. Looking forward, Molloy added that

“[g]ross margins for the full-year are expected to decline approximately 80 basis points compared

to last year driven by the same factors that we have experienced through the year.”

       252.    During the conference call, Molloy further revealed that apparel growth would be

less than projected at the Company’s 2015 Investor Day: “[T]he landscape for our business and

our industry continues to evolve . . . . North America apparel growth is slowing across the industry.




                                               - 109 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 116 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 115 of 192



While we expect to continue to significantly outpace the apparel industry, the growth rate going

forward will be less than expected from our Investor Day in 2015.”

       253.      Molloy also revealed that the Company would not be able to meet the 2018

operating income projection of $800 million that was originally provided at the Company’s 2015

Investor Day, stating instead that “we expect annual operating income growth in the mid-teens

each of the next two years.” In the question-and-answer session that followed, Plank provided

additional detail on problems that led Defendants to lower operating income guidance, stating that

“in North America, it’s a place that provided incredible air cover for our brand for a very long time

and I think like we’re seeing in a lot of places that, that is modifying, it’s changing. . . . [D]emand

for the Under Armour brand . . . certainly hasn’t reappeared dollar-for-dollar in our immediate

distribution.”

       254.      The Company’s stock fell sharply as a result of this negative news.            Under

Armour’s Class A Common Stock dropped from a close of $37.90 per share on October 24, 2016,

to a close of $32.89 per share the following day, October 25, 2016, a decline of 13.22% ($5.01 per

share), on unusually heavy trading volume of over 58 million shares. The stock dropped an

additional 5.93% ($1.95 per share) over the next three trading days, closing at $30.94 per share on

October 28, 2016, on higher-than-average trading volume averaging over 17 million shares per

day, as the market continued to digest the news. The total stock price decline over this four-day

period was 18.36% ($6.96 per share).

       255.      The Company’s Class C Common Stock also dropped precipitously on this news,

from a close of $32.90 per share on October 24, 2016, to a close of $28.37 per share the following

day, October 25, 2016, representing a decline of 13.77% ($4.53 per share), on unusually heavy

trading volume of over 6.8 million shares. The stock dropped an additional 8.67% ($2.46 per


                                               - 110 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 117 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 116 of 192



share) over the next three trading days, closing at $25.91 per share on October 28, 2016, on higher-

than-average trading volume averaging over 4 million shares per day, representing a total decline

over this four-day period of 21.25% ($6.99 per share).

       256.    The stock declines would have been larger had Defendants revealed the full truth

regarding the Company’s problems. Instead, Defendants continued to mislead investors and

downplay the negative news. In an October 25, 2016 press release, Defendants stated that a decline

in gross margins “primarily reflect[ed] negative impacts from the timing of liquidation, increased

promotions, and foreign exchange rates, partially offset by continued product cost margin

improvements.” During the October 25, 2016, conference call to discuss 3Q16 results, Molloy

stated that “[i]nventory for the quarter increased 12% to $971 million.”

       257.    Plank boasted during the October 25, 2016, earnings call that “[w]e are a growth

company. And with our 26th consecutive quarter of 20%-plus revenue growth, we continue to

demonstrate our ability to drive a bigger and better company quarter-after-quarter. Our financial

results are an incredible accomplishment for any brand and something that we believe separates

us from others in our business.” Plank insisted that “our demand is still there” and that “[revenue]

growth remains intact.”

       258.    Plank also stated during the earnings call that “with apparel remaining incredibly

profitable . . . there’s not an end to the North American apparel story. That continues to march on

for us as well.”

       259.    Defendants continued to conceal the full extent and causes of the Company’s

deteriorating margins and operating income, pointing investors to the fast growing footwear and

international businesses becoming greater sources of revenue (affecting the sales “mix”) and the

need for additional investment “on multiple fronts” to take advantage of growth opportunities (as


                                              - 111 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 118 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 117 of 192



opposed to the declining apparel business being a source of the margin and operating income

issues). Molloy also represented that “we’re already seeing improvements in our footwear

margins.”

       260.    With regard to inventory, Molloy assured investors that “[d]espite liquidations

having been a headwind on margin rates for most of this year, we now believe that our inventory

position is healthier.” In response to an analyst question later in the call, Molloy falsely stated

that the Company was “in really good shape from an inventory perspective” and “growth rates

[have] come down, but the inventory is in great shape.”

       261.    Notwithstanding Defendants’ attempts to put a positive spin on the disappointing

3Q16 results, analysts reacted negatively to Defendants’ statements on October 25, 2016. For

example:

               (a)     on October 25, 2016, Morgan Stanley issued a report calling Under

Armour’s updated guidance “surprisingly weak,” noting “UA’s entry into low-end channels has

raised the risk its brand equity erodes”;

               (b)     on October 25, 2016, Wells Fargo Equity Research issued a report stating

the Company’s new 2017/2018 outlook was “far worse than expected”;

               (c)     on October 25, 2016, William Blair issued a report downgrading Under

Armour to “Market Perform” and noting the new earnings growth guidance was “down materially

from the company’s last analyst day goal”;

               (d)     on October 25, 2016, Piper Jaffray issued a report in response to the

Company’s disclosures, commenting “[c]learly we and the Street were blindsided by

m[anagement]’s update to its long-term guidance on the call”;




                                              - 112 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 119 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 118 of 192



               (e)     on October 26, 2016, Cowen and Company issued a report lowering its price

target to $35 and downgrading its rating to “Market Perform,” noting the Company had

“substantially reduced its operating income target to ~ $585MM vs. our prior estimate of

$760MM”; and

               (f)     on October 27, 2016, Morgan Stanley issued a report in response to the

Company’s October 25, 2016, disclosures. The report noted that although the market had been led

to believe Under Armour’s contracting margins were due to investment for future growth, the poor

results and margin guidance “suggests UA is increasing discounting and pursuing business in

lower-margin channels to meet its sales goals.”         Morgan Stanley concluded, “UA’s brand

momentum is slowing.” The report further noted, with the recent announcement of an expansion

into Kohl’s alongside worsening margins and falling ASPs, “Under Armour’s brand strategy seems

increasingly risky. On one hand the company tries to elevate the brand . . . [o]n the other hand, it

allows its brand to be sold at deep discounts.” The report warned, “[i]f the brand equity erodes, it

will be almost impossible to get back and growth will be increasingly hard to come by.”

       262.    On November 2, 2016, Under Armour filed a Form 10-Q with the SEC reporting

its financial results for 3Q16, which were also discussed in the Company’s press release and during

its earnings call on October 25, 2016. The Form 10-Q stated that “[w]e believe that the growth in

our business has been driven by a growing interest in performance products and the strength of the

Under Armour brand in the marketplace.”

       263.    The Company’s Form 10-Q also contained SOX certifications by Plank that were

materially similar to those identified above in ¶167.




                                              - 113 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 120 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 119 of 192



       264.    Defendants’ misstatements and omissions on October 25, 2016, and November 2,

2016, as set forth in ¶¶250, 256-260, 262-263 above, were materially false and misleading and

omitted material facts for the following reasons:

               (a)      Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

               (b)      Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

               (c)      the “intact” net revenue growth and “incredible” financial results reported

by Defendants were inflated by the Company’s suspect sales and accounting practices, which

manipulated its quarterly growth and financial results to appear healthier and to mask slowing

demand, including by: pulling sales forward from future quarters, making contingent sales

pursuant to buyback agreements with its biggest customers like Dick’s, adjusting contract terms

or offering discounts to incentivize retailers to take products before their requested ship dates,

shipping products earlier than planned and in the final days of the quarter, and shipping new

inventory intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at its own stores;




                                               - 114 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 121 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 120 of 192



               (d)     Defendants failed to disclose these material problems and suspect practices

to the market, and, instead, gave investors the misleadingly positive perception that the Company’s

growth, including apparel growth, remained strong and consistent with historical trends. In truth,

Under Armour was experiencing an ongoing monumental downturn in its primary sales channel,

North American wholesale, and covering up declining demand and sales by using the suspect sales

practices detailed herein to create a façade of growth;

               (e)     the pressure on the Company’s margins and operating income was not

driven solely by the footwear and international businesses becoming greater sources of revenue

and the need for additional investment to take advantage of growth opportunities, as Defendants

misleadingly stated. Such pressure was also a function of the declining apparel business, which

reduced sales and ASPs, while increasing promotions, liquidations, inventory, discounts, including

discounts offered to retailers to incentivize them to take products before their requested ship dates,

and lowering sales prices, including by shipping new inventory intended for the Company’s own

factory stores directly to off-price sellers, who sold the goods at lower prices and thus lower

margins;

               (f)     the Company’s inventory position was not “healthier” or in “great shape.”

Rather, inventory was a major problem and continued to get worse, causing increased levels of

inventory that the Company was forced to liquidate at discounted prices and to offer discounts to

incentivize retailers to take products before their requested ship dates, as demand for the

Company’s apparel products continued to suffer. The Company’s elevated inventory levels were

exacerbated by diminishing demand and sales of Under Armour’s core products, contingent sales

pursuant to buyback agreements with its largest retailers, including Dick’s, and the Company’s

practice of shipping products in the final days of a quarter resulting in “truckloads” of unopened


                                               - 115 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 122 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 121 of 192



boxes of inventory returned to Under Armour. As a result, Under Armour had accumulated

material amounts of excess and obsolete inventory, which it failed to write down in 2016;

               (g)     the Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing. Indeed, purported growth in Under Armour’s revenue

was driven by the Company’s undisclosed suspect sales practices, a detailed herein; and

               (h)     the Company’s Form 10-Q for 3Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.

       K.      Disappointing Fourth Quarter 2016 and Fiscal Year 2016 Financial
               Results: Revelations of a Severe Growth Slowdown and the Sudden
               Resignation of CFO Molloy

       265.    The Company finally began to more fully reveal the extent of its problems to

investors on January 31, 2017. On that day, Under Armour stunned investors with a press release

announcing dramatically lower-than-expected growth and other financial problems during the

fourth quarter of 2016 (“4Q16”) and FY16. During a conference call with analysts on the same

day, Defendants elaborated on the news revealed in the Company’s earnings release. Defendants

made false and misleading statements in the 4Q16 earnings release and on the 4Q16 earnings call.

In particular, Defendants failed to disclose that they inflated quarterly financial results and growth

in order to appear healthier and to mask slowing demand for Under Armour, including by: (a)

pulling forward orders from the month after the quarter to ship within the quarter in order to hit

aggressive sales goals or close the gap; (b) leaning on retailers to take products early, including by
                                               - 116 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 123 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 122 of 192



adjusting contract terms, offering discounts, and guaranteeing that Under Armour would buy back

a certain amount of the products that did not sell; (c) shipping goods earlier than planned; (d)

shipping products in the final days of the quarter, which resulted in the return of truckloads of

unopened boxes and shipping plans that sometimes contradicted the dates on the boxes; and (e)

shipping new inventory intended for the Company’s own factory stores to off-price sellers T.J.X.

Co. so that Under Armour could immediately book the goods as revenue instead of having to wait

for a customer to buy the items at its own stores. Additionally, investigators from the DOJ and

SEC are examining emails that show Plank knew about the efforts to move revenue between

quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary

determination to recommend that the SEC file an enforcement action against the Company, Plank,

and CFO Bergman that would allege they violated the federal securities laws by pulling forward

sales in 2015 and 2016.

       266.    In the press release, Plank attributed the declines to “numerous challenges and

disruptions in North American retail [that] tempered our fourth quarter results.” Specifically, the

Company revealed that:

              Net revenues grew only 12% (to $1.3 billion) in 4Q16 (the Company’s
               crucial holiday season), breaking a streak of 26 consecutive quarters with
               greater than 20% revenue growth. Net revenues in FY16 were $4.8 billion,
               lower than the Company’s guidance of $4.925 billion issued just a few
               months prior, on October 25, 2016.

              Operating income dropped 6% to $167 million in 4Q16 and increased only
               3% to $420 million in FY16 (lower than the projected range of $440 to $445
               million, an increase of 8-9%, for FY16).

              FY16 gross margin dropped from 48.1% to 46.5%.

              4Q16 EPS were $0.23, lower than analysts’ consensus estimate of $0.25.

              FY16 inventory increased 17%.


                                              - 117 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 124 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 123 of 192



       267.   Moreover, the press release provided a surprisingly negative outlook for 2017. Net

revenues were expected to grow only 11-12%, down sharply from the more than 20% revenue

achieved by the Company for 26 consecutive quarters. In addition, gross margin was “expected

to be slightly down compared to the prior year,” and operating margin was expected to fall to

approximately $320 million.

       268.   Coupled with the negative financial results and outlook, the Company announced

that Molloy had decided to leave the Company “due to personal reasons.” Molloy’s sudden

departure was highly suspicious since he had only been at Under Armour for 13 months. In

addition, Molloy was the fourth high-level senior executive to depart within that time frame,

following Dickerson (who Molloy replaced as CFO), Stafford (CMO), and Thurston (CDO).

Molloy was replaced by Bergman, the Company’s Senior VP of Corporate Finance, who was

Under Armour’s third CFO in the 2016-2017 period.

       269.   Plank, Molloy, and Bergman participated in the January 31, 2017 conference call

on behalf of the Company. In his opening remarks, Plank provided reasons for the poor results,

citing a host of reasons including 2016 bankruptcies, channel dislocation, destocking, slower

customer traffic, and poor product assortment, resulting in “significant promotional activities,”

lower pricing, and a “discounted environment”:

       While it’s certainly not new news, throughout 2016 bankruptcies, channel dislocation and
       destocking combined to disrupt the overall North American retail landscape.

                                        *        *     *

       So first, I’d like to explain a few things: what happened, what we learned and what we’re
       doing about it. So let’s start with what happened. In the fourth quarter, slower traffic
       caused significant promotional activities earlier, deeper and broader than expected. This
       commoditized some of our more basic core product that had previously sold through for
       us in years past.

       This, in addition to higher demand for more lifestyle silhouettes caused us to be out of
       balance with our assortment. So we lost top line volume as we worked to adapt [through]
                                             - 118 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 125 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 124 of 192



       our mix and pricing. Now, to be fair, we did comp positively in the quarter in both our
       own retail stores and our e-commerce channel, but ultimately the result was below original
       plan.

       There was also lower channel recapture of bankruptcy volume that we’d expected, as
       pricing came down in the points of distribution that we serve. Finally, we say out of
       balance with our cold weather product assortment that was on the floor, which in years past
       have been able to absorb through full price sales.

                                         *       *      *

       We learned that when we play in a discounted environment, we can drive volume and win,
       but the role both we and our retailers expect us to play is as a premium full-price brand.

       270.    While Plank couched these issues as having emerged in 4Q16, in reality, this was

a continuation of problems known, or recklessly disregarded, by Defendants during the Class

Period. Plank added that, going forward, the Company would attempt to address these issues by

evolving “to better align with what consumers want, with what consumers need” and, in particular,

“accelerating our lifestyle product offering to capture broader demand.”

       271.    In his opening remarks, Molloy added that “for reasons Kevin [Plank] detailed,

apparel revenue came in lighter than we had originally anticipated” and that sales to wholesale

customers were “moderated by the challenges in our North American business that we have spoken

to today.” He emphasized that “North American apparel is still our largest and most profitable

business by far. Accordingly, less-than-expected growth in this area disproportionately pressures

our overall growth rate.”

       272.    Molloy also stated that “[f]ourth quarter gross margin decreased 320 basis points

to 44.8%, compared to 48% in the prior year’s period. The decrease includes a negative impact of

approximately 230 basis points, driven by higher discounts and promotions,” as well as lower

margins resulting from footwear and international sales. As to full-year gross margins, Molloy

cited a decline of “160 basis points to 46.5% . . . primarily due to actions to better manage our

inventory including discounting, especially in the back half of the year.”

                                              - 119 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 126 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 125 of 192



       273.    Discussing the updated outlook for 2017, Bergman stated that “based on the macro

factors we’ve discussed on today’s call, and proactive actions to manage inventory levels down in

the marketplace, we expect full year revenues to be up approximately 11% to 12% to nearly $5.4

billion in 2017.” Regarding 1Q17, Bergman stated:

       We anticipate the first quarter to grow at a mid-single digit rate as fourth quarter conditions
       in North America carry over and we will have not yet lapsed some of the significant
       bankruptcies we saw in 2016. We’re expecting first quarter gross margin to be down
       almost 100 basis points year-over-year, as many of the same factors from the fourth quarter
       pressure our margins, including foreign currency impacts and higher promotions and
       discounts.

       274.    Bergman also signaled that inventory levels would continue to rise for most of

2017: “In our efforts to manage the brand appropriately for the marketplace, we are planning for

inventory growth to be higher than revenue growth for the first three quarters of 2017 and coming

more in line with revenue growth during the fourth quarter.”

       275.    During a question-and-answer session with analysts, Plank confirmed the shift in

consumer preference towards more fashion-oriented athletic apparel and referenced increased

competition and heavy discounting in Under Armour’s “core basic” performance-oriented athletic

apparel:

       Omar Saad, Evercore ISI: [M]aybe if you could expand on a comment you made I think
       in the prepared remarks around some trends going on in the apparel business, maybe
       moving away from performance more to fashion or lifestyle? I know the UA Sportswear
       line is still kind of pretty nascent, but maybe elaborate on what you’re seeing from that
       standpoint.

       Is there something pretty deep going on at the consumer level? A shift towards more
       fashion-oriented athletic apparel versus performance oriented? Obviously, Under Armour
       is known for its technical performance. And if this is the case, how do you evolve the
       brand a little bit to be really relevant on both sides of that fence?

       Plank: Yes. . . .

       We need to become more fashionable with the products that we have out there. And one
       of the things we found is that some of the core basics were some of the challenges that we
       saw, is that we were counting on core basics as we have in years past to do more work for

                                               - 120 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 127 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 126 of 192



       us. But the consumer today frankly has more options.

       [F]rankly most of those options are from good brands that we compete with, that are
       heavily discounting as well. So what you’ll see is that I don’t think it’s one shift of
       abandoning one for the other. Obviously, with things like the investment we’re making in
       [Under Armour Sportswear] in sport lifestyle in general, but we need to become more
       fashion. The consumer wants it all.

       276.    Plank responded to a separate question by stating that the retail market for apparel

was being “disrupted” and that “promotions and the consumer environment, all those things are

very, very real, but we could have done a better job with our merchandising mix to be more

proactive and more thoughtful about where they were going.”

       277.    Separately, an analyst from UBS inquired about 2017 gross margins as to the North

American market:

       I would’ve thought . . . that would largely be down next year due to more markdowns. And
       then your guidance and inventory seems to sound like it will be improving through the year
       relative to the rate of revenue growth. What do you think is the realistic near term recapture
       rate for the gross margin after 2017 after some inventory clearing?

       278.    Bergman confirmed that “[w]e should see a little bit less pressure from the

promotional environment, especially in the back half of the year, but we’ll still see a lot of pressure

from that in the front half of the year.”

       279.    On this news, the price of Under Armour stock plummeted. After closing at $28.94

per share on January 30, 2017, shares of Class A Common Stock dropped 25.74% ($7.45 per share)

in a single trading day, closing at $21.49 per share on January 31, 2017, on unusually high trading

volume of approximately 54 million shares. This represented the largest single-day stock price

decline in the Company’s history. The stock continued to drop an additional 3.91% ($0.84 per

share) over the next two trading days, closing at $20.65 per share on February 2, 2017, on

unusually high trading volume averaging over 16 million shares per day, as the market continued




                                               - 121 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 128 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 127 of 192



to digest the news. The total stock price decline over this three-day period was 28.65% ($8.29 per

share).

          280.   Shares of Under Armour’s Class C Common Stock also fell sharply as a result of

this news. After closing at $25.09 per share on January 30, 2017, shares of Class C Common

Stock dropped 23.40% ($5.87 per share) in a single trading day, closing at $19.22 per share on

January 31, 2017, on unusually high trading volume of approximately 57 million shares. The stock

dropped an additional 5.72% ($1.10 per share) over the next two trading days, closing at $18.12

per share on February 2, 2017, on unusually high trading volume averaging nearly 14 million

shares per day, representing a total decline of 27.78% ($6.97 per share) over this three-day period.

          281.   In wake of this news, several analysts and media issued negative reports on the

Company, citing its disappointing financial results and decreased guidance, and the unexpected

departure of Molloy. For example:

                 (a)    on January 31, 2017, Barclays issued a report dramatically lowering its price

target from $50 to $20 and stating, “[w]e were wrong and missed the severity of this downside

scenario”;

                 (b)    on January 31, 2017, Deutsche Bank Markets Research issued a report

reducing its estimates and lowering its price target 40.6% from $32 to $19, noting that Under

Armour’s wholesale growth slowed to 5%, apparel growth slowed to 7%, and Molloy’s departure

“after just one year, add[ed] greater uncertainty to the story”;

                 (c)    on January 31, 2017, a CNN Money article reported that, in addition to

missing sales and earnings forecasts and providing lower-than-expected 2017 guidance, “[Under

Armour] said its chief financial officer was stepping down for ‘personal reasons.’ Wall Street

often assumes that an executive leaving for ‘personal reasons’ is a sign that a company is in trouble


                                               - 122 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 129 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 128 of 192



and that someone needs to take the fall. Under Armour (UAA) tanked on this trifecta of bad news.

Shares plunged nearly 25% in early trading Tuesday. That put the stock on track for its worst one-

day drop ever”;

               (d)    on January 31, 2017, Reuters released an article titled, “Under Armour’s

founder-led approach wears thin.” The article observed that the Company “reported its slowest

top- line growth in eight years and signaled more challenges ahead. Its chief financial officer is

also bailing. The news wiped a quarter off the company’s market value. Chief Executive Kevin

Plank’s strategy of maintaining power [by controlling the Company’s voting stock] is

underperforming badly. . . . revenue growth slowed dramatically to 12 percent because of deep

discounting caused by slower foot traffic”;

               (e)    on February 1, 2017, TAG issued a report stating that “the magnitude of the

miss on sales and gross margin in 4Q16, coupled with the magnitude of the guide- down for 2017

came as a pretty big shock” and “we believe there are certainly reasons to revisit the investment

thesis as estimates and multiples are revised downwards”;

               (f)    on February 1, 2017, Oppenheimer issued a report calling Under Armour’s

announcement an “unprecedented 4Q16 miss” and observing “11 downgrades on the Street thus

far”; and

               (g)    on February 3, 2017, Sporting Goods Monitor issued a report expressing its

disappointment with Under Armour’s announcement, stating that “2017 guidance sees revenue

growth at half of the rate we, and Wall Street, expected” and Under Armour’s management

“severely over-promised at the [C]ompany’s 2015 Investor Day and again in more recent

earnings calls.”




                                              - 123 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 130 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 129 of 192



       282.    Defendants continued to mislead investors on the 4Q16 earnings call by concealing

the full truth, attributing Under Armour’s poor performance to “extreme growth” while continuing

to tout the Company’s “incredible brand strength.” Plank claimed in his prepared remarks that

Under Armour’s “brand is truly stronger than it’s ever been,” that the Company’s “growth strategy

is intact,” and that “there is no change to our growth strategy.” In response to an analyst question

about Under Armour’s purported “22% top line growth,” Plank said that “there’s acceleration

there,” assuring investors that “you’ll see 20% growth from this company.” Molloy said on the

January 31, 2017 conference call that “total revenue was up 12%,” that “sales to wholesale

customers were up 5%,” and that “North American revenues . . . increased 6%.”

       283.    Defendants’ misstatements and omissions on January 31, 2017, as set forth in

¶¶269-271, 282 above, were materially false and misleading and omitted material facts for the

following reasons:

               (a)      Under Armour’s “top line” apparel products, which accounted for most of

the Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and promotions, increased liquidations, and compressed margins;

               (b)      Under Armour had undergone a “fundamental shift” and was competing on

price rather than brand strength and a premium product; as part of the “fundamental shift,” the

Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

               (c)      Defendants failed to disclose these material problems and improper sales

and accounting practices to the market (practices they used to appear healthier and to mask slowing


                                              - 124 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 131 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 130 of 192



demand), but instead they gave investors the misleadingly positive perception that the Company’s

brand was “stronger than it’s ever been” and that the Company was seeing acceleration in “top-

line” apparel that was leading back to 20% growth (“there’s acceleration there”), consistent with

historical trends. In truth, Under Armour had been covering up declining demand and sales by

using contingent sales pursuant to buyback agreements, pull-forward sales, adjusted contract terms

or discounts that incentivized retailers to take products before their requested ship dates, shipments

in the final days of the quarter, and shipments of new inventory intended for the Company’s own

factory stores to off-price sellers (so that Under Armour could book the inventory as revenue

immediately instead of having to wait for a customer to buy the items at its own stores) to create a

façade of growth and brand health; and

               (d)       Under Armour’s inventory increases were not part of a strategic plan or a

result of the Company’s “efforts to manage the brand appropriately for the marketplace. Rather

the excess inventory was a result of diminishing demand and sales, contingent sales pursuant to

buyback agreements with its largest retailers, including Dick’s, and the Company’s practice of

shipping products in the final days of a quarter, which resulted in “truckloads” of unopened boxes

of inventory returned to Under Armour in 2016. As a result, Under Armour had accumulated

material amounts of excess and obsolete inventory, which it failed to write down in 2016.

       L.      The Fallout From the Fraud Continued, but Defendants Conceal the
               Full Truth From Investors

       284.    The fallout from the fraud continued. Defendants attempted a massive restructuring

and other dramatic actions to revive the Company, but without the ability to rely on suspect sales

practices to meet sales targets, they were never able to turn the tide, as the Company’s sales

continued to struggle.




                                               - 125 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 132 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 131 of 192



       285.      On February 9, 2017, The Motley Fool published an article titled, “5 Signs Under

Armour Inc. Needs New Management,” which stated that:

       Under Armour needs a leader who makes realistic promises. At the end of fiscal 2015,
       [Under Armour] estimated its annual revenue would rise 25% to $4.95 billion in 2016.
       However, its 2016 revenue actually rose just 22% to $4.8 billion, and [Under Armour] now
       expects sales to rise just 11-12% in 2017.

       That slowdown casts doubts on Plank’s claim that Under Armour can generate $7.5 billion
       in annual revenues in fiscal 2018. Plank insists that the company is still on track to hit that
       target, but that would require its top line growth to accelerate to over 40% in 2018 – which
       hardly seems realistic.

       286.      A February 14, 2017, Morgan Stanley report recognized that – according to the

Company’s own data – 2016 sales growth rates were “overstated,” due to the increased reliance

on “low quality” sales that caused days sales outstanding to increase to a nine year high. The

report stated:

       Plus UAA accounts receivable increased 44% in FY16 on top of 55% growth in FY15
       (Exhibit 11). Day sales outstanding increased to 47 days (Exhibit 12), a nine year high,
       and this is even more surprising considering DTC makes up a much bigger percentage of
       sales than it did nine years ago. These data points signal some of UAA’s recent sales may
       have been low quality and thus recent sales growth rates may be overstated.

       287.      The Company data discussed by Morgan Stanley further corroborates Plank’s

admission that 2016 growth was achieved by driving volume in a “discounted environment,” and

not by sticking to the role the market expected Under Armour to continue to “play” “as a premium

full-price brand.”

       288.      On April 3, 2017, FBR Capital Markets (“FBR”) downgraded Under Armour’s

rating to underperform and slashed the Company’s Class A Common Stock price target from $20

to $14 based on “recent checks, proprietary surveys, unfavorable trends, and our apparel/footwear

analysis pointing to continued sales/margin pressure.” FBR observed an “intensifying” price war

with Nike, which, “coupled with the [North American] athletic apparel inventory glut, could cause

UA apparel growth/margins to be worse than expected.”
                                               - 126 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 133 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 132 of 192



       289.     On April 27, 2017, the Company announced its 1Q17 results in a press release and

then discussed those results on an earnings call with analysts later the same day. The 1Q17 press

release announced total net revenue growth of only 7%, a far cry from the consistent 20% growth

Defendants reported and projected previously. Net revenue growth from the Company’s apparel

business also grew only 7%, the North American business was down 1%, gross margin was down

70 basis points (to 45.2%) “due to continued inventory management efforts,” and inventory

increased 8%.

       290.     On the 1Q17 earnings call the same day, Plank and Bergman (the new CFO

following Molloy’s suspicious departure) discussed the Company’s struggles. Much of the call

focused on the Company’s sales declines, heavy promotional environment, and need to evolve the

Company’s apparel fashion. Plank stated that the Company was “reinventing” its “core basics,”

including the introduction of new offerings to address consumer demand for lifestyle products.

Plank also admitted that the Company “knew” of the “pervasive” promotional environment in

North America and “could have done a better job” in the “back half of 2016.”

       291.     Nonetheless, Defendants continued to mislead the market. Defendants concealed

that the Company had used suspect sales practices to appear healthier and to mask slowing demand

from 3Q15 through the end of FY16 and failed to disclose that the Company was still grappling

with the consequences of those practices, such as elevated inventories, which it was desperately

trying to clear. Yet, Plank misleadingly told investors that the Company’s “inventory levels are

appropriate.”

       292.     Evercore issued an analyst report on April 27, 2017, following the Company’s

1Q17 results. The report noted “North America was negative for first time in the history of the




                                             - 127 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 134 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 133 of 192



company - despite N[orth ]A[merican] store count up 8% and initial shipments into Kohl’s, both

of which should have contributed to growth.”

       293.   An April 27, 2017, report from Susquehanna noted the Company’s “hasty

distribution strategy” was reactionary to declines in Under Armour’s wholesale business and “hurt

the sanctity of the Under Armour brand:”

       We continue to raise flags about Under Armour’s expanded distribution into the
       moderate/family channel (KSS, DSW, Famous Footwear, SCVL). It is true, as CEO Plank
       pointed out on the earnings call, that Under Armour has about 10,000 fewer points of
       distribution vs. Nike. Nike has successfully done business in the moderate/family channel
       for years without hurting its brand. However, Under Armour has yet to build out the
       product depth, grassroots expertise, and overall marketing prowess that allows for a
       successfully segmented business across channels. A proper strategy takes time and
       resources, yet UAA is moving quickly and hastily down-market. We believe that the
       decision to expand into the moderate channel is a result of the liquidation of TSA and Sport
       Chalet, the pending liquidations of Gander Mountain & MC Sports. As a result, the sanctity
       of the Under Armour brand is being put at risk.

       We believe that the reason North American revenue was only down 1.1% is because of the
       initial orders sold into Kohl’s. The assortment sold into Kohl’s was, in our view, too broad,
       lacked appropriate segmentation, and will do more harm than good to the Under Armour
       brand.

       294.   On June 20, 2017, David Butler published an article on SeekingAlpha.com titled,

“Underperforming Under Armour.” Butler stated that “[e]verything really peaked in 2014 when

UA was bringing in 32% revenue growth, 32% growth in gross income, and 28% growth in net

income. Ever since, things have been slowing. It’s not a trendy shift either. We’ve seen almost

two and half years of decreasing business growth. The company isn’t maneuvering to maintain

margins in spite of the slowdown either.”

       295.   On June 26, 2017, Kenra Investors published an article on SeekingAlpha.com titled,

“Under Armour: Negative Signals Still Abound.” The article discussed continual declines in the

Company’s brand power and customer interest dating back to 2015, stating,

       There are several datasets that show ongoing weakness for Under Armour. . . . Google
       Trends is a good benchmark to track a brand’s popularity and also a decent one to have an
                                              - 128 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 135 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 134 of 192



       idea of how digital sales are evolving. . . . [T]here is a strong downtrend [that] started in
       mid-2015, and search interest [in Under Armour] actually became negative since a few
       months ago.

       296.    The article concluded that the Company’s “[b]rick and mortar sales are declining,

the sentiment towards the brand is not positive, and search interest is in a sharp downtrend. . . . So

many negative signs make me think the company could soon see sales growth in negative

territory, fueling the downtrend that started in 2015.”

       297.    Another June 26, 2017, article titled, “Under Armour Continues to Lose

Popularity,” by L&F Capital Management (published on SeekingAlpha.com), discussed Under

Armour’s declining brand strength as reflected in a recent earnings call by Finish Line, one of

Under Armour’s main sporting goods retail customers. The author’s takeaway was that “Nike

(NKE) and Adidas (OTCQX:ADDYY) continue to dominate the athletic retail scene, while Under

Armour’s (UAA) popularity continues to fade.” The article continued:

       It almost goes without saying that the Under Armour brand isn’t what it was just two years
       ago, but the damage may be much worse than what investors think. In comparing this
       [Finish Line] earnings call to previous calls, we observed a dramatic shift in [Finish Line]
       management’s sentiment on the Under Armour brand. For example, on the Q1 call just
       two years ago, Under Armour was mentioned 9 times. On Friday morning’s call, Under
       Armour was mentioned just once. . . . and it was a part of a broader discussion regarding
       multiple brands.

       298.    On July 21, 2017, The Motley Fool published an article titled, “Why Under Armour

Inc. Stock Is Down 30% This Year.” The article observed that “Shares of Under Armour

(NYSE:UA) (NYSE:UAA) have been falling this year, with the sportswear stock down 30% . . . .

The stock collapsed following an ugly fourth-quarter earnings report at the beginning of the year

[on January 31, 2017] and it’s been unable to recover since, trading sideways.” Specifically, the

article noted that wholesale revenue was up just 5% in 4Q16 and that “[g]ross margin fell 320

basis points in the [fourth] quarter to 44.8%, a sign the company was forced to discount products

as it misread demand.” The article concluded that “Under Armour’s slowing growth is a sign that
                                               - 129 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 136 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 135 of 192



the company needs to change if it wants to one day reach the size of rivals Nike and Adidas . . . .

The company needs to establish itself as a fashion brand as well as a performance one.”

       299.    In July 2017, unbeknownst to investors, Under Armour began responding to

requests for documents and information from federal investigators at the DOJ and SEC in

connection with Defendants’ practice of pulling future sales forward to inflate quarterly financial

results. But, Defendants concealed both the issues under investigation and the existence of the

investigations from investors.

       300.    News from the Company worsened on August 1, 2017, when it reported financial

results for the second quarter of 2017. The Company issued a press release reporting total net

revenue growth and apparel net revenue growth of 9% and 11%, respectively, far below the

quarterly 20%+ growth previously reported and projected by Defendants.             Footwear also

performed surprisingly poorly, with net revenue declining 2%. The Company blamed the revenue

declines on a “dynamic and promotional retail environment in North America [that] continued to

temper results.” The Company also reported an operating loss of $5 million, a net loss of $12.3

million, and $0.03 decline in diluted EPS. Gross margin declined 190 basis points (to 45.8%)

based in part on “inventory management initiatives” with inventory again increasing 8%.

       301.    In conjunction with this negative news, the Company also announced on August 1,

2017, that it was implementing a massive restructuring plan “to more closely align its financial

resources to support the [C]ompany’s efforts to better serve the evolving needs of the changing

consumer and customer landscape.” As a result, the Company announced expected “restructuring

and related charges” of $110 to $130 million in 2017, including “approximately $20 million of

inventory related charges and approximately $40 million of intangibles and other asset related




                                              - 130 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 137 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 136 of 192



impairments.” The restructuring would involve a reduction of 2% of the Company’s global

workforce (about 280 jobs), roughly half coming from the Company’s headquarters in Baltimore.

          302.   During the August 1, 2017, earnings call that followed, Plank discussed the

restructuring in more depth. He stated that, “The landscape is evolving quickly. Therefore, we

too must evolve quickly. This evolution requires a pivot, and we’re doing just that.” He later

explained that “we are clearly operating in a different environment, particularly in our largest

market, North America. With our largest growth drivers including international, footwear and

DTC continuing to scale but still not yet large enough to offset the magnitude of North America

on our overall business, the terrain has changed and so must we.”

          303.   Later in the call, Plank was asked by an analyst “what’s happening with the business

and some of the trends especially the top line, can you just give us an update where you think the

brand health is and the vision for the business today?” He acknowledged that “we’re not pleased

with where we’re positioned right now” and explained that the Company was trying to evolve

from performance-oriented products to “style, innovation, lifestyle, things that look like people

want to wear.” To that end, he later added that:

          [W]e’ve adjusted the balance of product we’ve had, which is decreas[ing] many of the
          core and key items that we’ve had. We used to have – we’re a very much a key item
          focused, a big logo hoodie and things in-store, and now we’ve got a lot of balance of that
          around versatility, layering, and newness . . . . We will be telling our story in the back half
          of this year, and you’ll see increased brand heat coming from us, frankly spending against
          that.

          304.   The Company’s negative news on August 1, 2017 also involved a reduction in

guidance for FY17. Total net revenue was expected to grow only 9%-11% (vs. previous guidance

of 11-12%), “reflecting moderation in the [C]ompany’s North American business,” while adjusted

diluted EPS was projected to be in the range of $0.37-$0.40 (lower than analysts’ expectation of

$0.42).

                                                  - 131 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 138 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 137 of 192



       305.    As a result of this news, the Company’s Common Stock prices fell precipitously.

After closing at $20.02 per share on July 31, 2017, the Company’s Class A Common Stock price

dropped 8.59% ($1.72 per share) to close at $18.30 per share on August 1, 2017, on unusually high

trading volume of over 22 million shares. The Company’s Class C Common Stock price also

dropped on the news, closing at $18.11 per share on July 31, 2017, and falling to $16.23 per share

at the close of trading on August 1, 2017, a drop of 10.38% ($1.88 per share) on unusually high

trading volume of over 23 million shares.

       306.    Under Armour’s stock price would have fallen further had its true financial

condition been fully revealed. Instead, Plank continued to mislead the market, touting Under

Armour’s “rapid growth” and the achievement of “more than doubl[ing] our revenue from $2.3

billion to $4.8 billion” over “the last three years” while concealing that the Company had engaged

in suspect sales practices to appear healthier and mask slowing demand from 3Q15 through the

end of 2016. Plank also concealed that a month earlier, Under Armour had begun responding to

requests for documents and information from the DOJ and SEC in connection with the criminal

and civil investigations into the Company’s accounting practices and related disclosures.

       307.    Following the Company’s revelations on August 1, 2017, Business Insider

published an article on the same day observing that “Under Armour is losing ground with US

customers. . . . [I]ts North American sales increased a meager 0.3% in the most recent quarter – a

far cry from its long history of double-digit revenue growth. The company is now cutting its full-

year sales forecast because of weak demand in North America.” Regarding the reasons for this

decline, the article observed that “[t]he company has been facing fierce competition from Nike and

Adidas in the US . . . [and] US customers are abandoning the brand because it lacks a clear




                                             - 132 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 139 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 138 of 192



identity.” The article further noted that “Plank has previously acknowledged [on January 31, 2017]

that [he] misread the trend of athleisure, instead relying on logos and basic styles of sportswear.”

       308.    Susquehanna issued a report following the Company’s second quarter of 2017

(“2Q17”) results on August 1, 2017. The report noted that despite expansion into more mid-tier

retailers, “2Q17 North American revenue only increased 0.3%. 2Q17 wholesale revenue increased

3.1%, which implies a material drop in North American revenue.” The report further stated the

“problem . . . is that incremental shipments in the moderate retail channel . . . are being more than

offset by order cancellations from Under Armour’s best, and most brand appropriate retailers, such

as Dick’s Sporting Goods.” Susquehanna concluded “the heart of UAA current problems stem

from the decision to open distribution to the moderate channel prior to having a broad enough

product assortment in order to appropriately execute a segmentation strategy.”

       309.    Defendants continued to conceal the truth regarding the depth of the problems

Under Armour was facing. Although they had propped up the Company’s financial results and

growth in 2015 and 2016, they never disclosed this to investors. No longer able to rely on suspect

sales practices to inflate the numbers, the Company’s revenue growth continued to decline from

2017 through 2019. During that period, total year-over-year (“YOY”) net revenue growth

plummeted from 20%+ growth to low single digit % growth, while North American and apparel

revenues suffered even steeper declines:

  $ in thousands     Total Net Revenue           North America Net        Apparel Net Revenue
                                                 Revenue
  FY17               $4,989,244 (3.2% YOY        $3,802,406 (5.1%         $3,284,652 (1.7%
                     increase)                   YOY decrease)            YOY increase)
  FY18               $5,193,185 (4.1% YOY        $3,735,293 (1.8%         $3,464,120 (5.5%
                     increase)                   YOY decrease)            YOY increase)
  FY19               $5,267,132 (1.4% YOY        $3,658,353 (2.1%         $3,470,285 (0.2%
                     increase)                   YOY decrease)            YOY increase)



                                               - 133 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 140 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 139 of 192



         310.   Nonetheless, Plank continued to tout Under Armour’s “rapid growth”; the “hyper-

growth” the Company had enjoyed “for several years”; the achievement of doubling the business

by 2013 “and then doubl[ing] again from 2013 to 2016[] [f]ueled by strategic growth in North

America”; and the Company’s “26-quarter streak of 20% sales growth,” while omitting that such

growth had been fueled not by Under Armour’s premium brand image (which had lost heat), but

by discounting and myriad suspect sales practices.

         311.   And, while Defendants struggled to deal with the Company’s elevated inventory

levels resulting in part from the suspect sales practices detailed herein, including the ramifications

of buybacks (see Sections V.E-F), Defendants failed to disclose the true cause of the Company’s

inventory problems and continued to assure investors that Under Armour’s inventory levels were

“appropriate.” Then, beginning in 3Q17, the Company belatedly recorded total charges of $25.878

million to write down its inflated inventory. See Section VIII.D. Despite the Company’s inventory

write downs, however, Under Armour continued to experience bloated inventory levels that were

exacerbated by its suspect sales practices. In 2017 and 2018, Under Armour took aggressive

measures to reduce its inflated inventory levels by liquidating product to off-price sales channels

like its own Factory House outlet stores and third-party off-price partners, continuing to devalue

its brand and drive margins down. It ultimately took Under Armour approximately 1.5 years to

“really clean up the marketplace,” which had been flooded with excess inventory.

         312.   On July 23, 2018, Andersen, along with shareholder Balraj Paul, filed a verified

derivative complaint on behalf of Under Armour “against certain current and former officers and

directors of the Company for breaches of fiduciary duties, insider selling, and unjust

enrichment.”78 Andersen worked at Under Armour for nearly all of the Class Period (September


78
      Andersen Complaint, at 1.

                                               - 134 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 141 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 140 of 192



2015 through November 2016) as a Merchandising Manager. Andersen’s job duties included,

among others, “[i]nitiat[ing] seasonal business plans for all Outdoor categories across

Outdoor/Action Sports Specialty, Sporting Goods, Department Stores, & Mall channels focusing

on strategic initiatives, revenue targets, local market characteristics, style/SKU efficiencies,

demand, forecasts, current inventory levels, segmentation/differentiation, & distribution” and

“[a]nalyz[ing], understand[ing], & clearly communicat[ing] sales history, market trends/forces.”

          313.     The Andersen Complaint alleges Plank and other defendants caused Under Armour

to issue materially false and misleading statements, including many of the statements alleged

herein to be false and misleading.        For example, the Andersen Complaint alleges Plank’s

September 16, 2015 statement that “demand for our brand has never been stronger” and

Dickerson’s October 22, 2015, statement that “most of our core apparel product margins are

improving” were materially false and misleading when made.79 Other examples include Plank’s

January 28, 2016 statement that “[o]ur core business remains incredibly strong,”80 April 21, 2016,

statement that Under Armour was “driving massive growth,” and “[w]e are taking share,”81 and

May 31, 2016, statement that “our brand’s momentum is stronger than ever as we continue to see

growth and increased demand across all categories and geographies.”82

          314.     The Andersen Complaint alleges that Plank and the other defendants concealed the

“true facts, which were known or recklessly disregarded by” Plank.83 Those “true facts” alleged

in the Andersen Complaint to have been concealed include, among others, that: “Under Armour’s


79
      Andersen Complaint, at 3, 38.
80
      Id. at 42.
81
      Id. at 48.
82
      Id. at 35.
83
      Id. at 74.

                                                - 135 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 142 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 141 of 192



apparel products . . . suffered from reduced customer appeal and demand”; the “Company’s apparel

and North American margins were not ‘improving’ or ‘offset[ing]’ other sources of margin

decline, but rather were deteriorating due to increasing Company discounts and promotions, and

falling ASPs of the Company’s products”; the “Company’s inventory increases . . . were due to

declining sales of the Company’s apparel”; “the Company’s ASPs were falling sharply in North

America”; and “growth and market share were falling as a result of the Company’s apparel sales

declines.”84

         315.    Defendants’ misstatements and omissions continued. In December 2018 - over a

year into the government’s non-public criminal and civil investigations into Under Armour - Plank

blamed the Company’s performance at the end of 2016 on “a number of internal and external

factors” that “conspired” against Under Armour, while concealing both that the Company had been

engaged in suspect sales practices and the existence of the investigations.

         316.    Meanwhile, suspicious executive departures continued to plague the Company. On

April 18, 2019, the Company reported that Jason LaRose, the head of its North American business

since October 2016, would leave the Company at the end of the month. On May 1, 2019, the

Company disclosed that its Senior VP and Principal Accounting Officer, Andrew Page, had left

the Company after serving in that position for only three months. Yet, Defendants never disclosed

the ongoing SEC and DOJ investigations into Defendants’ suspect business practices and

disclosures.

         M.      The Company Announces Plank’s Resignation as CEO

         317.    Then, on October 22, 2019, Under Armour announced Plank’s resignation as CEO,

effective January 1, 2020, but again remained silent on the SEC and DOJ investigations he and the


84
      Id. at 75-77.

                                              - 136 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 143 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 142 of 192



Company were facing. At the time, media and analysts linked the move to Under Armour’s

ongoing financial problems discussed herein, including a dramatic slowdown in growth, lost

market share, and severe stock price declines. For example, in an article released the same day,

The New York Times observed that the Company “has faltered while the revenues of its rivals Nike

and Adidas have grown thanks to surging consumer interest in athleisure wear. The company . . .

has seen its once-robust profit turn into net losses of more than $46 million in each of the last two

fiscal years. Last year, it cut around 400 jobs to streamline a business suffering from slowing

growth. Under Armour’s stock peaked around $52 in September 2015, but is currently trading

around $20.” Forbes released an article two days later, on October 24, 2019, observing that

Plank’s move was “perhaps not surprising” given the Company’s “financial troubles,” including a

dramatic slowdown in growth after years of 20%-plus annual revenue increases, and the

Company’s severe stock price decline since reaching its all-time high in September 2015.

Moreover, just months before announcing Plank was abandoning the CEO position, Under Armour

told investors (yet again) that his serving as CEO was critical to the Company’s success. On March

27, 2019, Under Armour stated in its Proxy Statement that Plank was “the appropriate person to

lead both our Board and the management of our business” because this “provides for clear

accountability and efficient and effective leadership.”

       N.      Federal Investigations Into the Company’s Accounting Practices and
               Related Disclosures

       318.    On November 3, 2019, less than two weeks after the Plank announcement, WSJ

surprised the market by revealing that the DOJ and SEC were investigating whether Under Armour

“shifted sales from quarter to quarter” during the Class Period in order to make its financial results




                                               - 137 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 144 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 143 of 192



appear healthier than they actually were.85 According to the article, the investigators were in the

process of questioning people in the Company’s hometown of Baltimore, and had done so within

the week prior to the article’s release.86 The article noted that “[w]hen examining what are known

as revenue-recognition practices, authorities generally focus on whether companies record revenue

before it is earned or defer the dating of expenses to make earnings appear stronger, among other

possible infractions.”87 The article further linked the investigation to the Company’s apparent

success (26 straight quarters of 20% revenue growth), followed by sales problems at the Company

that emerged publicly in January 2017, causing the stock price to plummet:

            The company [Under Armour], which is scheduled to report third-quarter [2019] results on
            Monday, has been restructuring its operations and struggling with weak sales in the past
            two years. Until then, it had been among the fastest-growing apparel makers, riding 26
            straight quarters of at least 20% year-over-year revenue growth. That streak ended abruptly
            when Under Armour missed its sales targets in the final quarter of 2016. On Jan. 31, 2017,
            the company’s shares plunged after it reported sales growth of 12% in the holiday quarter
            and cut its growth forecasts for the next year. That day, Under Armour also said its then-
            finance chief [Molloy] was leaving after a year on the job.88

            319.   After the release of the WSJ article, Defendants were forced to issue a statement

confirming the investigations and revealing that they had been ongoing for well over two years:

“The company began responding in July 2017 to requests for documents and information relating

primarily to its accounting practices and related disclosures.”89

            320.   Before the market opened on the following day, on November 4, 2019, the

Company filed an SEC Form 8-K reiterating that “[t]he Company confirmed to The Wall Street




85
      Ex. B, at 1.
86
      See id.
87
      Id. at 2.
88
      Id.
89
      Id.

                                                  - 138 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 145 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 144 of 192



Journal that it has been responding to requests for documents and information from the SEC and

DOJ regarding certain of the Company’s accounting practices and related disclosures, beginning

with submissions to the SEC in July 2017.” The Company added that it “continues to believe its

accounting practices and related disclosures were appropriate” but “does not intend to comment

further on the status of this investigation except to the extent required by law.”

       321.    Similar statements were made by Bergman during the Company’s earnings call that

took place before the market opened on November 4, 2019. Bergman stated in his opening remarks

that he was “break[ing] from our typical company policy of not discussing any regulatory or

litigation matters” in order to address the SEC and DOJ investigations revealed by WSJ. Bergman

stated that “[w]e have been fully cooperating with these inquiries for nearly 2.5 years. To this

effect, we began responding back in July of 2017 to their request for documents and information.

We firmly believe that our accounting practices and disclosures were appropriate.” Later in the

call, Bergman was asked for comments on the investigations and why the market was “just hearing

about it now” after two-and-a-half years. Bergman declined to provide any additional information.

       322.    In response to the news that the Company’s accounting practices and related

disclosures were under investigation, calling into question the propriety of such practices and

disclosures, the Company’s Class A Common Stock price fell 18.92% ($4.00 per share), from a

closing price of $21.14 per share on Friday, November 1, 2019, to a closing price of $17.14 per

share on Monday, November 4, 2019, on unusually high volume of 43.42 million shares. The

Company’s Class C Common Stock price fell 18.35% ($3.47 per share), from a closing price of

$18.91 per share on Friday, November 1, 2019, to a closing price of $15.44 per share on Monday,

November 4, 2019, on unusually high volume of 18.69 million shares.




                                               - 139 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 146 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 145 of 192



       323.    Securities analysts and media took note of the surprising news regarding the Under

Armour investigations, the serious misconduct being investigated, and the resulting stock price

decline. For example:

               (a)      in a November 4, 2019, article titled, “Under Armour’s Stock Tanks as

Troubles Pile Up,” The New York Times wrote that the Company’s stock sank over 18% following

news that the federal authorities were investigating “whether Under Armour had shifted sales

results from quarter to quarter to appear healthier,” coupled with the announcement of a fifth

straight quarterly revenue decline and reduced annual revenue forecast;

               (b)      WSJ released an article on November 4, 2019, titled, “Under Armour Shares

Slide on News of Accounting Probe,” observing the Company’s stock price decline “after the

company confirmed it was the subject of a federal investigation into its accounting practices,” and

noting that “[e]xecutives declined on an earnings call Monday to provide details about the probe

or explain why Under Armour hadn’t previously disclosed its existence, even though they had

been responding to document requests for more than two years”;

               (c)      the Baltimore Business Journal released an article on November 4, 2019

stating that “Wall Street analysts wanted to know why they are just now learning about a federal

investigation into Under Armour Inc.’s accounting practices that has been going on for more than

two years . . . . In a move that deviated from Under Armour’s usual policy, CFO David Bergman

confirmed the Baltimore-based sportswear maker began responding to inquiries from the federal

agencies in July 2017 and has been fully cooperating with the probe” although “[t]he inability to

answer questions about the probe and Under Armour’s North American sales outlook caused the

company’s stock price to get hammered”;




                                              - 140 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 147 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 146 of 192



                (d)   an article by Fortune on November 4, 2019, observed that: “Under Armour

Inc. shares plunged after the company disclosed that federal officials have been probing its

accounting practices for more than two years, bringing a fresh headache to investors just as the

sports brand prepares for a CEO transition. . . . Investigators from the Justice Department and SEC

were questioning people at the sports apparel’s base in Baltimore as recently as last week [The

Wall Street Journal] reported, citing people familiar with the matter. The probe is focused on

whether Under Armour inflated sales from quarter to quarter, the newspaper said”;

                (e)   on November 4, 2019, CNBC released an article stating that news regarding

the federal probe into Under Armour’s accounting practices, along with lowered 2018 guidance,

“sent the retailer’s shares plunging more than 18%. . . . Under Armour says it has been responding

to requests for documents related to its accounting practices since 2017, which is about when an

incredible sales streak came to an end. Until the end of 2016, it had reported more than 20

consecutive quarters of sales growth topping 20%, making it one of the fastest growing retailers

in the U.S.”;

                (f)   on November 4, 2019, analyst Susquehanna released a report titled, “Under

Armour, Inc.: Weak Guidance Post 3Q Beat Further Marred by Federal Investigations,” stating in

part that the “[f]ailure of management, on the earnings call, to address why the investigation was

not disclosed prior to last night is disconcerting” and that, among other factors, “we expect the

overhang of the federal investigations . . . to cast shadows over UAA’s results and stock

performance for quite some time[]”;

                (g)   on November 4, 2019, Morningstar released a report stating that, along with

a reduced outlook, “news of an investigation into its revenue recognition practices by the SEC and

[DOJ], caus[ed] shares to drop by a midteen percentage. . . . The timing is notable, as Under


                                              - 141 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 148 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 147 of 192



Armour’s business began to deteriorate in late-2016, in part because of the bankruptcy of retail

partner Sports Authority. Moreover, former CFO James Molloy resigned in January 2017 for

personal reasons after just over one year in the position. We view news of this investigation as

potentially serious. Investigations of this type can lead to fines and earnings re-statements and,

less commonly, criminal charges. . . . The news of an ongoing investigation into Under Armour’s

accounting practices affirms our Poor stewardship rating on the company. Under Armour has been

hit with bad publicity and management turnover in recent years. Unless quickly resolved, news of

this investigation will certainly draw more negative attention.        Meanwhile, as previously

announced, Kevin Plank has decided to give up the CEO role he has held since the firm began.

While Under Armour claims the investigation had nothing to do with Plank’s decision, the timing

looks suspicious, especially since the firm did not disclose an investigation that is more than two

years old. Although companies are not legally required to disclose SEC investigations, we think

Under Armour should have done so[]”;

               (h)    also on November 4, 2019, PiperJaffray released a report observing: “UAA

shares closed down ~19% today despite sound execution & encouraging trends on the call as the

WSJ article flagging the DOJ/SEC accounting investment pressured the stock[]”;

               (i)    analyst TAG also released a report on November 4, 2019, stating that

“Under Armour’s better-than-expected 3Q19 result was overshadowed by the cut to its 2019

revenue outlook and the WSJ story that emerged yesterday about an ongoing investigation by the

SEC and DOJ into the company’s accounting practices[]”;

               (j)    analyst William Blair noted the effect the Company’s disclosures had in its

November 4, 2020, report, stating that “Under Armour’s stock is down nearly 20% as investors

digest the lower-than-expected fourth-quarter outlook and accounting investigation[]”;


                                              - 142 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 149 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 148 of 192



               (k)     CFRA’s November 4, 2019, report likewise emphasized the effect the

belated disclosure of the investigations had on Under Armour stock: “We also expect increased

awareness about regulatory and litigation matters regarding UAA’s accounting practices to weigh

on shares and further adds to our negative view[]”;

               (l)     a report by Oppenheimer on November 4, 2019, stated that “the real issue

for UAA and its shares is likely to prove reports from WSJ over the weekend that the company is

subject to a federal criminal investigation over its accounting practices and efforts to make trends

appear more upbeat.” The report went on to say that “indications of potential accounting

irregularities at the [Under Armour] brand further cloud an already shaky fundamental story[]”;

               (m)     on November 5, 2019, the Baltimore Sun released an article on the

investigation noting that the Company’s stock price was “pummeled” nearly 19% in “reaction to

news of the investigation,” and including the following comments from financial consultant

Timothy Spence, who advises companies on SEC matters: “Public companies must follow strict

rules regarding the way revenue is recognized, including proper timing . . . . There appear to be

two questions here. The first is, was this a smoothing of revenue to make quarterly revenue

recognition more consistent? Another question would be whether the company recognized

revenue in advance and expected to make it up in the next quarter, he said. Both practices are

highly questionable accounting if not outright fraud[]”; and

               (n)     Argus published a report on November 13, 2019, stating that Under

Armour’s disclosure of the DOJ and SEC investigations “overshadowed the company’s 3Q19

results”, which were reported on the same day, and noted that “UAA shares dropped 19% on news

that the SEC and the Justice Department were investigating the company’s revenue recognition




                                              - 143 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 150 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 149 of 192



practices, including the potential manipulation of revenues to make them appear stronger and

steadier.”

VIII. DEFENDANTS’ GAAP VIOLATIONS AND MATERIALLY FALSE AND
      MISLEADING FINANCIAL STATEMENTS

            324.     In order to demonstrate continued revenue growth during the Class Period, Plank

and the Company engaged in a scheme to inflate revenue by pulling in – channel stuffing – sales

into earlier quarters. This practice violated GAAP90 and SEC disclosure rules.

            325.     Defendants, in violation of GAAP, also improperly recorded revenue on contingent

sales and understated the Company’s sales returns and allowances, markdowns and discounts, and

failed to timely record the write-down of excess and obsolete inventory.

            326.     As a result of the above, the following Under Armour financial statements issued

to the public and filed with the SEC were materially false and misleading: Form 10-K for the year

ended December 31, 2015, and Form 10-Q’s for periods ending September 30, 2015, March 31,

2016, June 30, 2016, and September 30, 2016.

     ($ in thousands, except EPS)      3Q15          4Q15          FY15          1Q16          2Q16          3Q16
Net Revenues                        $ 1,204,109   $ 1,170,686   $ 3,963,313   $ 1,047,702   $ 1,000,783   $ 1,471,573
Net Income                          $ 100,477     $ 105,602     $ 232,573     $ 19,180      $     6,344   $ 128,225
Earnings Per Share - Diluted        $      0.45   $      0.48   $      1.05   $      0.04   $      0.15   $      0.29
Inventories                         $ 867,082     $ 783,031     $ 783,031     $ 834,287     $ 1,086,749   $ 970,621

            327.     The misstatements were material. For example, in 3Q16, Under Armour’s net

income and EPS were overstated by an estimated 30% considering only the impact of the (a)

understated sales reserves for returns, allowances, markdowns and discounts and (b) inflated


90
   GAAP are those principles recognized by the accounting profession as the conventions, rules
and procedures necessary to define accepted accounting practice at a particular time. SEC
Regulation S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements filed with the SEC
which are not prepared in compliance with GAAP are presumed to be misleading and inaccurate,
despite footnote or other disclosure. Regulation S-X requires that interim financial statements
must also comply with GAAP. 17 C.F.R. §210.10-01(a).
                                                         - 144 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 151 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 150 of 192



inventory. This does not even include the impacts of contingent sales and channel stuffing, which

further inflated net income and EPS in each relevant quarter as described herein.

          A.      Under Armour Failed to Disclose Its Improper Sales Practices

          328.    During the Class Period, Under Armour pulled sales into the current fiscal quarter

to boost its reported revenue and artificially report continued revenue growth of 20%+.91 The

premature recognition of sales that would have otherwise been recognized in a subsequent period

is commonly referred to as “channel stuffing.” The SEC has defined channel stuffing as follows:

[T]he pulling forward of revenue from future fiscal periods by inducing customers – through price

discounts, extended payment terms or other concessions – to submit purchase orders in advance

of when they would otherwise do so.92

          329.    As pled herein, Under Armour engaged in severe channel stuffing practices

routinely in order to meet sales growth and earnings targets communicated to the market, and

“sometimes adjusted the terms of the contract to offer a discount or extend the period in which

retailers could pay for the product” to convince retailers to take products before their requested

shipping date.93 This practice of pulling forward orders occurred regularly in 2015 and 2016.94

Indeed, investigators are examining emails that show Plank knew about efforts to move revenue

between quarters.95




91
      See Ex. A, at 1.
92
    In re Sunbeam Corp., SEC Release No. 7976, Exchange Act Release No. 44305, SEC Order
Instituting Public Administrative Proceedings (May 15, 2001).
93
      Ex. A, at 3.
94
      See id.
95
      See id. at 2.

                                                - 145 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 152 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 151 of 192



         330.    The SEC is very clear that channel stuffing practices and their financial impact are

required to be disclosed under Item 303. The SEC affirmed this position when it filed claims of

earnings management against the Sunbeam Corporation (“Sunbeam”). The SEC specifically cited

that Sunbeam’s “undisclosed or inadequately disclosed acceleration of sales through ‘channel

stuffing’ . . . materially distorted the Company’s reported results of operations.”96

         331.    Subsequent speeches made by SEC staff further support these requirements. For

example, former Chief Accountant with the SEC, Lynn Turner, noted the following:

         The Sunbeam case highlights . . . channel stuffing abuses, among others, and sends
         a message to registrants and their auditors – the SEC will aggressively attack
         fraudulent revenue recognition practices. . . . Sunbeam failed to disclose that it
         offered discounts and other inducements to customers to sell merchandise
         immediately that otherwise would have been sold in later periods, which threatened
         to depress Sunbeam’s future results of operations. [SEC Staff Accounting Bulletin
         (“SAB”) 101] notes that disclosure in [Management’s Discussion & Analysis of
         Financial Condition (“MD&A”)] is required of shipments of product at the end of
         a reporting period that significantly reduce customer backlog and that reasonably
         might be expected to result in lower shipments and revenue in the next period.
         MD&A disclosures also are required of the impact of granting extended payment
         terms to customers that will result in a longer collection period for accounts
         receivable and, thus, slower cash inflows from operations, ultimately impacting a
         registrant’s liquidity and capital resources.97

         332.    The SEC expressly states that disclosure is mandatory where there is a known trend

or uncertainty that is reasonably likely to have a material effect on the registrant’s financial

condition or results of operations. Item 303 (and Instruction No. 3 to Paragraph (a) of Item 303)

requires companies to:

         Describe any known trends or uncertainties that have had or that the registrant
         reasonably expects will have a material favorable or unfavorable impact on net
         sales or revenues or income from continuing operations.

                                       *      *       *


96
      Supra, n.93, at 1.
97
      Lynn Turner, Chief Accountant, Speech by SEC Staff: Revenue Recognition (May 31, 2001).

                                               - 146 -
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 153 of 477
        Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 152 of 192



         The discussion and analysis shall focus specifically on material events and
         uncertainties known to management that would cause reported financial
         information not to be necessarily indicative of future operating results . . . .98

         333.   The undisclosed pull-in of revenue from future periods to the current period

“cause[d] reported financial information” contained in Under Armour’s SEC filings to “not . . .

be . . . indicative of future operating results.”

         334.   Defendants also violated GAAP by failing to disclose the Company’s channel

stuffing practices and their financial impact in the Company’s financial footnotes. Financial

Accounting Standards Board (“FASB”) Accounting Standards Codification (“ASC”) 275, Risks

and Uncertainties, focuses primarily on disclosures arising from risks and uncertainties that could

significantly affect the amounts reported in the financial statements in the near term. In particular,

it also calls for financial statement disclosure in certain circumstances, if the volume of business

transacted with particular customers could be severely impacted in the near term.99 ASC 605,

Revenue Recognition, requires that companies provide both qualitative and quantitative

information about their revenue arrangements and about significant judgments that may

significantly affect the timing or amount of revenue recognition.100 Thus, significant channel




98
    17 C.F.R. §229.303. Similarly, SAB 114 Topic 13 requires the MD&A to contain “a
discussion of liquidity, capital resources, results of operations and other information necessary to
an understanding of a registrant’s financial condition, changes in financial condition and results of
operations. This includes unusual or infrequent transactions, known trends or uncertainties that
have had, or might reasonably be expected to have, a favorable or unfavorable material effect on
revenue, operating income or net income and the relationship between revenue and the costs of the
revenue. Changes in revenue should not be evaluated solely in terms of volume and price changes,
but should also include an analysis of the reasons and factors contributing to the increase or
decrease.”
99
      FASB ASC 275-10-05-2, FASB ASC 275-10-50-16, FASB ASC 275-10-50-18.
100
      FASB ASC 605-25-50-1.

                                                - 147 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 154 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 153 of 192



stuffing would also trigger the need for such footnote disclosure in an entity’s financial statements

under ASC 275 and ASC 605.

         335.    By failing to make required disclosures in accordance with GAAP and SEC

disclosure rules, Under Armour’s revenue growth, earnings, and inventory reported in the

Company’s SEC filings were materially misstated during the Class Period, from 3Q15 through

3Q16.

                 1.      The Financial Impact of Channel Stuffing on Under Armour’s
                         Quarterly Revenue

         336.    From the beginning of the Class Period through 3Q16, Under Armour stressed the

importance of quarterly revenue growth by touting that the Company had more than 20 consecutive

quarters of revenue growth of at least 20%. For example, during the Company’s 2015 Investor

Day, Plank stated:

         We’ve enjoyed 21 consecutive quarters of 20-plus% revenue growth, more than
         five years of 20-plus% revenue growth quarter in an [sic] quarter out, delivering
         and finding a way and doing it not because we are pushing or pressing, because it’s
         the demand and the app from our consumer. We are one of only two companies in
         the S&P 500 that can make that claim, and we are very proud of that and what that
         means. And, frankly, we have no expectation of that stopping anytime soon.

         337.    And Plank stated on the Company’s 2Q16 earnings call held on July 26, 2016:

         And we’re still projecting; we’re 25 quarters north of 20% in a row. Over six years
         of doing that, we see that trend continuing for us, number one. We do continue to
         see it to project 25% plus growth for the full year.

         338.    Unbeknownst to investors, Defendants achieved Under Armour’s 20%+ revenue

growth by stuffing the channel with premature sales taken from future quarters.101 Without

channel stuffing, which added at least tens of millions in sales every quarter, the Company’s

quarterly growth percentage would have been materially less than reported.



101
      See Ex. A, at 1.

                                               - 148 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 155 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 154 of 192



                2.     The Impact of Channel Stuffing on Future Results

         339.   The significant financial impact of channel stuffing on Under Armour’s future

financial results is precisely the type of information required to be disclosed under the SEC’s

MD&A rules, i.e., Item 303.

         340.   The MD&A should give investors an analysis of the registrant’s financial condition

and results of operations, “with particular emphasis on the registrant’s prospects for the future,”102

and:

         MD&A must specifically focus on known material events and uncertainties that
         would cause reported financial information not to be necessarily indicative of
         future operating performance or of future financial condition.

                                          *       *       *

         One of the principal objectives of MD&A is to provide information about the
         quality and potential variability of a company’s earnings and cash flow, so that
         readers can ascertain the likelihood that past performance is indicative of future
         performance. 103

         341.   SAB 114 Topic 13 also provides the following specific example of a required

disclosure pertaining to the Company’s recognition of revenue: Shipments of product at the end

of a reporting period that significantly reduce customer backlog and that reasonably might be

expected to result in lower shipments and revenue in the next period.104 This is exactly what

Under Armour was doing, but failing to disclose to investors.105


102
   SEC Interpretation: Management's Discussion and Analysis of Financial Condition and
Results of Operations; Certain Investment Company Disclosures, SEC Release Nos. 33-6835; 34-
26831; IC-16961; FR-36 (May 18, 1989).
103
    SEC Interpretation: Commission Guidance Regarding Management’s Discussion and Analysis
of Financial Condition and Results of Operations, SEC Release Nos. 33-8350; 34-48960; FR-72,
(effective Dec. 29, 2003).
104
      SAB 114, Topic 13.B.
105
    Under Armour attempted to conceal the impact on a future quarter by repeating the practice at
the end of each quarter (e.g., at the second quarter Under Armour made up for the second quarter
revenue that had been artificially pulled into the first quarter by repeating the practice and
                                               - 149 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 156 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 155 of 192



       342.    By pulling-in or taking revenue from future quarters, Under Armour was aware that

revenue in subsequent quarters would be adversely impacted. As a result, the Company was

required to warn investors that its reported revenue was not indicative of future revenue.

       B.      Under Armour’s Continued Growth Was Achieved by Improperly
               Recognizing Revenue on Contingent Sales and Understating Reserves
               for Customer Returns, Allowances, Markdowns, and Discounts

       343.    As pled herein, Defendants assured investors through 3Q16 that the Company’s

trend of 20%+ revenue growth would continue. Continuing this growth, however, came at a cost.

In order to achieve 20%+ revenue growth, Defendants engaged in two accounting schemes: (a)

improperly recognizing revenue on contingent sales; and (b) improperly understating reserves for

product returns, allowances, markdowns, and discounts. Both of these schemes violated GAAP.

               1.      Improper Contingent Sales

       344.    Defendants, in violation of GAAP, inflated revenues and earnings in the

Company’s Forms 10-Q and 10-K, press releases and investor conference calls from 3Q15 through

3Q16 by recognizing revenue on contingent sales.106 Contingent sales are transactions in which

payment to the seller is contingent upon the buyer’s ability to resell the merchandise. The

recognition of revenue for contingent sales is not permissible under GAAP. When an entity sells

its product but gives the buyer the right to return the product, revenue from the sales transaction

may only be recognized at the time of sale if certain conditions are met, including that “[t]he buyer

has paid the seller, or the buyer is obligated to pay the seller and the obligation is not contingent


artificially pulling the third quarter revenue into the second quarter). However, the practice of
channel stuffing is unsustainable and will eventually impact future revenues. Indeed, Under
Armour shocked the market with revenue growth of only 11.5% for 4Q16 – far below the touted
20%+ guidance. Since then, the Company has been unable to achieve even low double-digit
growth, and has even experienced revenue decreases in some quarters.
106
    Correspondingly, Under Armour’s accounts receivable balance, which is a direct function of
revenue but appears on the balance sheet instead of the income statement, was also overstated.

                                               - 150 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 157 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 156 of 192



on resale of the product.”107 Revenue for such contingent sales may not be recognized until the

return privilege has substantially expired.108

            345.   Defendants falsely assured investors that the Company was complying with GAAP

and not recording revenue on contingent sales transactions. Specifically, the Company’s Forms

10-Q stated that Under Armour’s financial statements were:

            [p]resented in accordance with the rules and regulations of the Securities and
            Exchange Commission . . . and accounting principles generally accepted in the
            United States of America for interim consolidated financial statements. In the
            opinion of management, all adjustments consisting of normal, recurring
            adjustments considered necessary for a fair statement of the financial position and
            results of operations were included. . . .109

            346.   Defendants further claimed in Under Armour’s revenue recognition policy that

“[n]et sales are recognized upon transfer of ownership, including passage of title to the customer

and transfer of risk of loss related to those goods.”110

            347.   Contrary to Defendants’ statements, Under Armour’s financial statements were not

prepared in accordance with GAAP and SEC requirements and were not a fair representation of

the Company’s operations.

            348.   Through the end of 2016, to incentivize buyers/accounts to order certain

merchandise, Under Armour utilized a buyback program under which Under Armour sales

representatives guaranteed that Under Armour would buy back a certain amount of unsold

merchandise (i.e., these sales were contingent upon resale) (see Section V.E). On the books, the


107
      FASB ASC 605-15-25-1.
108
      Id.
109
    Similarly, the Company’s Forms 10-K disclosed that Under Armour’s consolidated financial
statements were “presented in accordance with principles generally accepted in the United States
of America.”
110
   See, e.g., Under Armour’s 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form
10-K, 2Q19 Form 10-Q, 3Q19 Form 10-Q.

                                                  - 151 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 158 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 157 of 192



accounts bought and owned the inventory temporarily, but after six months Under Armour would

buy back some of the unsold inventory. The number of buybacks increased over time throughout

2016.

            349.   In addition, Under Armour was not collecting on its accounts receivable because

customers did not have to pay for the merchandise unless (if ever) it was sold. Beginning with

4Q15, the rate of growth of Under Armour’s accounts receivable balance over prior year was

consistently outpacing net revenue growth until the fourth quarter of 2017.111 As a result of the

increased receivables from the contingent sales, Under Armour’s DSO112 nearly doubled from 28

days in the fourth quarter of 2014 (“4Q14”) to nearly 51 days in 1Q17. At the end of 2015, Under

Armour’s DSO of 40 equaled the median DSO of the Textiles, Apparel & Footwear industry.113

However, Under Armour’s DSO increased 18% during 2016 while the industry median DSO

decreased 9% during the same period.114 Similarly, beginning in 1Q16, Under Armour’s DSO

was consistently higher than that of direct competitor Nike, when it had been comparable

previously.115 Further, Under Armour’s DSO had historically been better than that of rival Adidas.




111
    In 2018, in an effort to help reduce the bloated receivables balance on its balance sheet resulting
from the Company’s elusive accounting schemes in these earlier periods, Under Armour entered
into contracts with two financial institutions to sell selected receivables (up to $290 million) on a
recurring, non-recourse basis. Despite this, receivables growth still outpaced sales growth
throughout 2018.
112
    DSO is a common financial measure for assessing the age and quality of accounts receivable.
DSO represents the average number of days it takes a company to collect its receivables. It is a
measure of collectability and serves as a useful measure of cash flow efficiency and revenue
quality. A DSO of 30, for example, means that it takes a company 30 days on average to convert
a credit sale (i.e., an account receivable) into cash.
113
      The Hackett Group, 2017 US Working Capital Survey.
114
      Id.
115
    Nike has a May 31 fiscal year end. The quarterly periods referenced here are Under Armour’s
fiscal quarter and Nike’s nearest fiscal quarter (closest in time; one month difference). For
                                            - 152 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 159 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 158 of 192



But, Adidas’ DSO was slightly improving during the Class Period, while Under Armour’s DSO

was worsening and higher (worse) than Adidas by 2017. Thus, Under Armour’s rising DSO was

not attributable to industry conditions but rather to Defendants’ fraud.

         350.   By the first quarter of 2018 (“1Q18”), as a result of the Company’s accounting

practices, Under Armour’s DSO had swollen to 62 days – more than double what it had been back

in 4Q14 and 55% more than the median DSO in 2017 for the Textiles, Apparel & Footwear

industry.116 Moreover, the DSO figure of 62 in 1Q18 does not even include the $55.6 million of

receivables that the Company had sold to a financial institution that quarter, all of which remained

outstanding. If Under Armour had not factored these receivables, its true 1Q18 DSO would have

been 66 days (approximately 65% more than the 2017 industry median). An increasing DSO is a

sign that receivables are at risk of collection and may indicate problems with a company’s

collection process.117 The significance of this measure has been noted by the SEC: “A growing

DSO figure is often a telltale sign that a company’s receivables are impaired.” 118 Similarly, Ernst

& Young, a Big Four accounting firm, has noted the significance of a DSO spike: “The higher the

number, the greater should be the concern over customers not paying the bills.” The older a



example, 1Q16 refers to Under Armour’s quarter ended March 31, 2016 and Nike’s closest quarter
ended February 29, 2016.
116
      The Hackett Group, 2018 US Working Capital Survey.
117
    See David C. Hammer, Performance is reality, how is your revenue cycle holding up?,
HEALTHCARE FIN. MGMT. ASSOC. (July 1, 2005); see also Michael D. Carpenter & Jack E. Miller,
A Reliable Framework for Monitoring Accounts Receivable, 8 FIN. MGMT., 37-40 (Winter 1979);
Scott Blakeley, Esq., The Credit Professional’s Duty and Protection with Disclosing Corporate
Fraud at the Public Company, CREDIT RES. FOUND., at 2 (Nov. 2002) (“A company’s DSO is, at
least on Wall Street, an important indicator of the condition of its accounts receivable, and
therefore a gauge of asset quality.”).
118
    See SEC v. Korkuc, No. 2:03-cv-03017-LDW-WDW, Complaint at ¶28 (E.D.N.Y. June 19,
2003); see also SEC Accounting and Auditing Enforcement Release No. 1673A (Nov. 25, 2002),
http://www.sec.gov/litigation/litreleases/lr17859a.htm.

                                              - 153 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 160 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 159 of 192



receivable becomes, the less likely it is to be collected. This is consistent with Under Armour’s

increasing DSO resulting from its practice of booking contingent sales for which accounts

receivable would never be collected.

       351.    Defendants improperly overstated revenue by recording contingent sales, which

caused the Company’s net revenue, net income, and EPS to be materially overstated. In addition,

throughout the Class Period, Defendants failed to make MD&A and financial footnote disclosures

describing the Company’s contingent sales from the buyback program and resulting financial

impacts, as required by SEC and GAAP. See Section VIII.A, above.119

       C.      Improper Reserves for Customer Returns, Allowances, Markdowns,
               and Discounts

       352.    Defendants, in violation of GAAP, also inflated the Company’s revenues and

earnings reported in Forms 10-Q and Forms 10-K, press releases, and investor conference calls

from 3Q15 through 3Q16, by failing to properly reduce revenue for estimated customer returns,

allowances, markdowns, and discounts given to customers.

       353.    SEC Reg. S-X Rule 5-03 requires companies to report “net sales of tangible

products (gross less discounts, returns and allowances).” 17 C.F.R. §210.5-03.



119
    Under Armour was also required to disclose the impact of contingent revenue transactions.
See Section VIII.A, above. FASB ASC 235-10-50, Notes to Financial Statements, states that
“[i]nformation about the accounting policies adopted by an entity is essential for financial
statement users,” and that the “[d]isclosure of accounting policies shall identify and describe the
accounting principles followed by the entity and the methods of applying those principles that
materially affect the determination of financial position, cash flows, or results of operations . . .
[and] shall encompass important judgments as to appropriateness of principles relating to
recognition of revenue.” Contingent transactions were not allowed under GAAP to be recognized
as revenue as discussed herein. However, since Under Armour improperly recognized revenue
and decreased inventory as a result of contingent transactions – which materially affected Under
Armour’s financial position and results of operations by overstating revenue and earnings and
understating inventory – this accounting practice was required to be, but was not, disclosed by
Defendants.

                                               - 154 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 161 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 160 of 192



         354.   GAAP, specifically ASC 605-50-45-1, allows that a vendor may give a customer a

sales incentive or other consideration, where such consideration is either:

         a. An adjustment of the selling prices of the vendor’s products or services and
         therefore characterized as a reduction of revenue when recognized in the vendor’s
         income statement.

         b. A cost incurred by the vendor for assets or services received from the customer
         and therefore characterized as a cost or expense when recognized in the vendor’s
         income statement.

         355.   GAAP also requires that revenue may only be recognized if the amount of future

returns can be reasonably estimated.120 FASB Statement No. 48, Revenue Recognition When

Right of Return Exists, ¶7 states: “If sales revenue is recognized . . ., any costs or losses that may

be expected in connection with any returns shall be accrued in accordance with FASB Statement

No. 5, Accounting for Contingencies. Sales revenue and cost of sales reported in the income

statement shall be reduced to reflect estimated returns.”121

         356.   Defendants falsely assured investors that the Company was complying with GAAP,

as discussed above, and that the Company was properly accounting for estimated allowances,

markdowns, discounts, and returns.         Specifically, they stated in Under Armour’s revenue

recognition policy in its SEC filings:

         We record reductions to revenue for estimated customer returns, allowances,
         markdowns and discounts. We base our estimates on historical rates of customer
         returns and allowances as well as the specific identification of outstanding returns,
         markdowns and allowances that have not yet been received by us. The actual
         amount of customer returns and allowances, which is inherently uncertain, may
         differ from our estimates. If we determine that actual or expected returns or
         allowances are significantly higher or lower than the reserves we established, we
         would record a reduction or increase, as appropriate, to net sales in the period in
         which we make such a determination. Provisions for customer specific discounts
         are based on contractual obligations with certain major customers. Reserves for
         returns, allowances, markdowns and discounts are recorded as an offset to accounts

120
      FASB ASC 605-15-25-1.
121
      See also FASB ASC 605-15-25-2.

                                                - 155 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 162 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 161 of 192



       receivable as settlements are made through offsets to outstanding customer invoices
       . . . .122

       357.   Under Armour had excess inventory across all brands from at least 3Q15 through

4Q16. The Company’s core apparel sales began slowing by at least spring 2015. To increase

sales, Under Armour had to give incentives and promotions such as selling products for 25% off.

But the Company’s inventory problems persisted. The bankruptcy of TSA in 2016 further

increased excess inventory. One of the top reasons Under Armour missed its financial goals at the

end of 2016 was because of inventory management.

       358.   As a result, Under Armour sold excess inventory at heavy discounts and even

shipped some to Mexico just to get its money back (see Section V.F). But overall there was so

much inventory in the latter half of 2016 that Under Armour’s liquidation channels were already

flooded and there was nowhere to go with some of the inventory.

       359.   Further, in order to clear the inventory and meet its sales and profit projections

(including continued 20%+ growth), during 2015 and 2016, Under Armour began offering deeper

and broader price discounts and allowances; increasing sales promotions to many of its customers;

and accepting the returns of more products (in addition to the increased buybacks as discussed

above) (see Sections V.D-F). These known and anticipated discounts and allowances, along with

destocking and sales returns, should have reduced Under Armour’s reported net sales, margin, and

income as discussed above (see ¶¶353-357).

       360.   However, Under Armour failed to adequately account for these known and

estimable returns, discounts, markdowns, and allowances. Defendants, who authorized this

scheme, knew that the Company’s results would be false and misleading as a result. By the end


122
    See, e.g., Under Armour 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-
K, 2Q19 Form 10-Q, 3Q19 Form 10-Q.

                                             - 156 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 163 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 162 of 192



of 3Q16, Under Armour failed to properly recognize approximately $34 million in sales returns,

allowances, markdowns, and discounts.123 This scheme alone caused the Company to materially

overstate net sales, net income, and EPS during 3Q16 by as much as over 2%, 17%, and 18%,

respectively. The Company ultimately increased its reserves for customer returns, allowances,

markdowns and discounts to more than 5.2% of net product sales in 2017 whereas previously at

the end of 2015, these reserves represented just 2.5% of net product sales – a 109% increase. These

large increases in 2017 support that Under Armour had under-reserved in 2016.

         D.     Under Armour Overstated Inventory

         361.   As a result of poor planning, softening demand, returns, and increased buybacks

from contingent sale transactions, Under Armour accumulated material amounts of excess and

obsolete (i.e., impaired) inventory, which it failed to write down during 2016.

         362.   GAAP mandates that inventory:

         Be measured at the lower of cost and net realizable value.124 When evidence exists
         that the net realizable value of inventory is lower than its cost, the difference shall
         be recognized as a loss in earnings in the period in which it occurs. That loss may
         be required, for example, due to damage, physical deterioration, obsolescence,
         changes in price levels, or other causes.125

         363.   Similarly, Under Armour disclosed to the public in its SEC filings:

         Market value126 is estimated based upon assumptions made about future demand and retail
         market conditions. If the Company determines that the estimated market value of its

123
    $34 million was calculated by applying and comparing the 2017 percentage of reserves for
customer returns, allowances, markdowns, and discounts (5.2%) to 3Q16 net product sales,
assuming the percentage actually used by the Company during 3Q16 was the average of the
percentages used at year end 2015 (2.5%) and year end 2016 (3.1%).
124
   Net realizable value is determined as the estimated selling prices in the ordinary course of
business, less reasonably predictable costs of completion, disposal, and transportation. FASB ASC
330-10-20.
125
      FASB ASC 330-10-35-1B.
126
    “As used in the phrase lower of cost or market, the term market means current replacement
cost (by purchase or by reproduction, as the case may be) provided that it meets both of the
                                            - 157 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 164 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 163 of 192



         inventory is less than the carrying value of such inventory, it records a charge to cost of
         goods sold to reflect the lower of cost or market . . .127

         364.   Contrary to GAAP and Defendants’ policy, Under Armour’s inventory was

overstated from at least 2016 through 2018. This was due to Under Armour’s massive amount of

excess inventory that could not be sold without providing incentives such as heavy discounts. Such

incentives reduced the net realizable value of inventory. At any given time, Under Armour had at

least twice as much, and even three to four times as much, inventory than the Company’s plan.

         365.   As noted above, TSA’s bankruptcy in 2016 added to the excess inventory problem

because full categories and seasons of apparel had been allocated to TSA before it closed, and the

inventory had to go back to Under Armour, including apparel from old seasons (see ¶¶60, 74, 123).

Moreover, Under Armour did not cancel TSA orders before the bankruptcy or reduce its sales

goals after it, thus exacerbating its excess inventory problem (see id.).

         366.   This is consistent with the Company’s inventory growth rate, which significantly

outpaced its revenue growth rate from 3Q15 through 2Q16, indicating that demand for Under

Armour products was slowing and the Company was not able to sell as much of its burgeoning

supply of inventory as anticipated.

         367.   Despite Defendants’ knowledge regarding excess inventory as described herein,

Under Armour continued the charade by misleading investors during the 3Q16 earnings call on

October 25, 2016, when Malloy stated: “Despite liquidations having been a headwind on margin

rates for most of this year, we now believe that our inventory position is healthier and that

liquidation should not have the same negative impact moving forward.” Malloy also reiterated


following conditions: a. Market shall not exceed the net realizable value [and] b. Market shall not
be less than net realizable value reduced by an allowance for an approximately normal profit
margin.” FASB ASC 330-10-20.
127
      Under Armour, Inc., Annual Report (Form 10-K) (Feb. 20, 2015), at 47.

                                               - 158 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 165 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 164 of 192



the expectation for revenues to grow approximately 20% in 4Q16, and explicitly told an analyst,

“We feel like we’re in really good shape from an inventory perspective.”

         368.    Under Armour’s positive statements regarding inventory were misleading because,

unbeknownst to investors, the Company’s inventory was impaired. Projected sales growth and

corresponding attrition of inventory could only be achieved through the Company’s unprecedented

promotions and discounts, which impacted margins well beyond 2016, and undisclosed contingent

sales and channel stuffing.

         369.    Beginning in 3Q17, the Company belatedly recorded total charges of $25.878

million to write down its inflated inventory. These charges to reduce the overstated inventory

balance should have been recorded in 2016. Under Armour’s inventory balance was overstated

from 2016 through 2018 by as much as 3%. This was a material overstatement, as demonstrated

by the fact that, by failing to take the impairment charge in 3Q16, Under Armour’s operating

income and net income for that quarter were both overstated by approximately 13%. Moreover,

Under Armour would have missed its operating income guidance had the full charge been taken

in 3Q16.

IX.      POST-CLASS PERIOD REVELATIONS

         370.    Following the Class Period, additional facts were revealed concerning the nature

and severity of Defendants’ fraud. As discussed above, on November 14, 2019, WSJ released an

article titled, “Inside Under Armour’s Sales Scramble: ‘Pulling Forward Every Quarter,’” which

was based on interviews with several former Company executives in sales, logistics,

merchandising, and finance, and referenced emails obtained by federal investigators showing

Plank’s direct knowledge of the efforts to move revenue between quarters.128 The former


128
      Ex. A, at 2.

                                              - 159 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 166 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 165 of 192



executives told WSJ that Defendants “scrambled to meet aggressive sales targets, borrowing

business from future quarters to mask slowing demand in 2016 for its athletic apparel” and

“frequently leaned on retailers to take products early and redirected goods intended for its factory

stores to off-price chains to book sales in the final days of a quarter.”129 According to WSJ, a

former sales executive said “[i]t was a pretty common practice to pull forward orders from the

month after the quarter to ship within the quarter in order to hit the number or close the gap.”130

According to these former executives, WSJ reported, Defendants used these tactics every quarter

“to help extend a 26-quarter streak of 20% sales growth,” a streak that “employees knew was

important to Mr. Plank,” which “came to an abrupt end in late 2016.”131

            371.    A former merchandising executive at the Company explained to WSJ that these

practices were “all in the name of hitting the number.”132 These former executives also explained

to WSJ how if “retailers declined to take products before their requested ship date, Under Armour

sometimes adjusted the terms of the contract to offer a discount or extend the period in which

retailers could pay for the products.”133 And a former logistics executive further revealed to WSJ

that “[s]hipping plans in the final days of the quarter sometimes contradicted the dates on the

boxes, and truckloads of unopened boxes would come back to Under Armour.”134 WSJ also

reported that the former executives observed that the “strains in Under Armour’s business were

evident inside the company in 2016,” that Under Armour continued shipping products and booking



129
      Id. at 1.
130
      Id. at 3.
131
      Id. at 1-2.
132
      Id. at 2.
133
      Id. at 3.
134
      Id.

                                               - 160 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 167 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 166 of 192



sales to Sports Authority even “[a]fter it was clear Sports Authority was in trouble,” and that Dick’s

(which was holding unsold Under Armour goods) stopped taking products early because it was

“angered” by Under Armour’s deal with discount value retailer Kohl’s, who often offered the same

products but with more discounts.135 Additionally, WSJ reported, a former merchandise executive

said that, “[t]o help meet its quarterly targets, Under Armour in 2016 shipped new inventory

intended for its own factor stores to off-price seller TJX Cos.,” which “allowed Under Armour to

immediately book the goods as revenue instead of having to wait for a customer to buy the item at

its own stores.”136 But “[t]his executive and another former employee said Under Armour was

careful to avoid shipping too much inventory to TJX so that it wouldn’t have to disclose that the

discounter was among its major customers in its securities filings,” according to WSJ.137

            372.    On November 15, 2019, the Baltimore Business Journal released an article

discussing accounting irregularities at the Company that were likely being reviewed by the SEC

and DOJ. In particular, the article focused on the Company’s rising accounts receivable that began

in the final quarter of 2015 – when it jumped 55% vs. sales growth of 31% - and continued through

the end of 2016, along with a rising number of days sales outstanding. The article stated in part:

            The revelation of a federal probe, [Plaintiffs’] lawsuit and claims by former executives of
            aggressive sales tactics offer a glimpse into what may have been behind Under Armour’s
            stumbles after so much success. The company says no accounting irregularities occurred
            and that it was just an unfortunate mix of market forces – Sports Authority’s demise, the
            retail industry’s free fall and a trend toward athleisure apparel that Under Armour declined
            to embrace.

            The shareholders’ allegations and past executives quoted in the Wall Street Journal story
            point to something more nefarious. Whether done intentionally by UA executives or
            driven by market pressure, some accountants and university professors called on by the
            Baltimore Business Journal to review the numbers say something was amiss that caused

135
      Id. at 3-4.
136
      Id. at 4.
137
      Id.

                                                  - 161 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 168 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 167 of 192



       unusual patterns in the company’s financials.

                                             *       *       *

       Under Armour’s financial statements show a pattern of rising accounts receivable and sales
       that couldn’t keep up as the company struggled to keep pace in an increasingly competitive
       industry.

       373.    On January 6, 2020, the Baltimore Business Journal reported that Under Armour

had

       “quietly hired a chief accounting officer [Aditya Maheshwari] in November, filing a key
       C-suite position for the sportswear maker whose accounting practices are at the center of a
       federal probe. . . . Maheshwari was brought on three weeks after Under Armour confirmed
       a Wall Street Journal report that its accounting practices are being investigated by the SEC
       and the [DOJ].

                                             *       *       *

       While the investigation continues, he will be responsible for cooperating with regulators
       and ensuring Under Armour is following all of the rules.” By not issuing a press release
       or submitting a filing with the SEC announcing Maheshwari’s hiring, the article noted,
       Under Armour departed from the usual corporate practice of notifying shareholders by of
       an executive appointment.

       374.    On July 27, 2020, Under Armour disclosed in their SEC Form 8-K that “the SEC

Staff has made a preliminary determination to recommend that the SEC file an enforcement action

against the Company and each of the Executives that would allege certain violations of the federal

securities laws.” These “Wells Notices,” Under Armour’s filing stated, “relate to the Company’s

disclosures covering the third quarter of 2015 through the period ending December 31, 2016,

regarding the use of ‘pull forward’ sales in connection with revenue during those quarters.”

“Specifically,” Under Armour explained, “the SEC staff is focused on the Company’s disclosures

regarding the use of pull forward sales in order to meet sales objectives.”

       375.    On August 6, 2020, Under Armour further disclosed in its 2Q20 Form 10-Q that

“[t]he Wells Notices informed the Company” that the SEC “would allege certain violations of the

Securities Act of 1933 and the Securities Exchange Act of 1934 and certain rules promulgated

                                              - 162 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 169 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 168 of 192



thereunder” and “also reference potential charges related to the Executives’ participation in the

Company’s violations, as well as control person liability under the Exchange Act.” The 2Q20

Form 10-Q also disclosed that “[t]he potential relief to be sought referenced in the Wells Notices

included,” among other things, “civil monetary penalties, as well as in the case of the Executives,

a bar from serving as an officer or director of a public company.”

       376.    Securities analysts and media took note of the additional news regarding the Under

Armour investigations, the seriousness of the misconduct being investigated, and the SEC’s

preliminary decision to file an enforcement action. For example:

               (a)     on November 18, 2019, UBS released an analyst report stating that the

investigations created an “overhang” on the stock. The report interviewed an expert on DOJ and

SEC investigations, who explained that it was “routine” for companies to disclose such

investigations in their SEC filings;

               (b)     on January 6, 2020, J.P.Morgan released a report “applying a 20% haircut

for accounting investigation overhang”;

               (c)     On January 20, 2020, Zack’s published an analyst report looking back on

2019 and observing that, despite “better-than-expected third-quarter 2019 results,” “a federal

accounting probe and trimming of 2019 revenue growth forecast hurt investor sentiment”; and

               (d)     Jefferies’ February 11, 2020 report emphasized how “the accounting

investigation is an item for investors to contend with” even months after Under Armour belatedly

disclosed the nearly three-year old DOJ and SEC investigations;

               (e)     in a July 27, 2020 article, WSJ quoted a partner at Arthur Andersen, who

called the Wells Notices “the declaration of war” and said they mean “Enforcement is locked and

loaded, ready to go.” WSJ further noted the “serious” nature of the Notices, noting that “[t]he SEC


                                              - 163 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 170 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 169 of 192



issues a so-called Wells Notice when it believes it can establish a violation and is prepared to

recommend the commission file a civil lawsuit[]”

               (f)     on July 28, 2020, Bloomberg Tax published an article emphasizing

shareholder implications, stating that “the SEC inquiry is focused on what the athletic apparel

company disclosed to shareholders about [pulling sales from the next quarter into the current

period].” The Bloomberg article noted that “[c]ompanies are supposed to disclose how they make

material accounting estimates, including whether their policy is to recognize revenue by pulling

forward sales.” Explaining how these practices are unsustainable, Bloomberg quoted an auditor,

who said: “At some point, the music is going to stop and you’re not going to have a chair . . . .

You don’t have any more sales to pump up into that quarter.” The auditor explained that “[a]ll of

this really relates to revenue smoothing. . . . They are trying to provide consistent, recurring,

smooth numbers that meet or beat analyst expectations instead of just reporting what really

happened[]” Bloomberg further noted that pull-forward sales “often come[ ] with incentives to

the customer in the form of discounts, rebates or buy-back guarantees, all of which impact

revenue[,]” and “can also disguise sham transactions known as channel stuffing.”

X.     LOSS CAUSATION AND ECONOMIC LOSS

       377.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct which artificially inflated (or maintained the artificial

inflation of) the prices of Under Armour’s common stock and operated as a fraud or deceit on

Class Period purchasers of Under Armour’s common stock. When the relevant truth was revealed

and became apparent to the market, the prices of Under Armour’s common stock fell as the prior

artificial inflation came out. The truth was not revealed to the market all at once, but, rather, the

truth began to emerge, and the risk caused by Defendants’ fraud materialized, through partial

revelations of truthful information. As a result of their purchases of Under Armour’s common
                                               - 164 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 171 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 170 of 192



stock during the Class Period, Plaintiffs and the other members of the Class (defined in ¶407

below) suffered economic loss, i.e., damages, under the federal securities laws as the truth was

revealed.

       A.      January 10, 2016 Revelations

       378.    The truth began to emerge on Sunday, January 10, 2016, when, as detailed in

Section VII.A above, Morgan Stanley issued a report detailing slower growth of the Company’s

North American apparel sales, falling sales prices, and reduced market share. As a result of the

information revealed to the market, the Company’s Class A Common Stock dropped

approximately 6.72% on unusually high trading volume. At the Company’s next earnings call on

January 28, 2016, the Company rejected and denied the Morgan Stanley Report’s revelations and

reassured investors of the Company’s strong financial condition.

       B.      May 3, 2016 Revelations

       379.    The truth continued to emerge after the market closed on May 3, 2016, when, as

detailed in Section VII.E above, the Company surprised investors by announcing the sudden

departures of key executives Stafford and Thurston. These departures, coming on the heels of

Dickerson’s departure, the Morgan Stanley Report exposing problems at the Company, and three

major retail customer bankruptcies, were viewed by investors as a signal that there were

undisclosed problems at the Company. As a result, the Company’s Class A Common Stock

dropped approximately 7.54% on unusually high trading volume. The Company’s Class C

Common Stock, which was issued to Class A Common Stock holders on a one-for-one basis after

the market closed on April 7, 2016, also experienced a price decline as a result of this news, falling

approximately 6.80% on unusually high trading volume. The declines would have been more

dramatic had Defendants disclosed the declines in sales demand, the suspect sales practices used



                                               - 165 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 172 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 171 of 192



to mask slowing demand, and the resulting financial problems that led to the departures of Stafford

and Thurston. Instead, Defendants were completely silent on the reasons for their departures.

       C.      May 31, 2016 Revelations

       380.    As detailed in Section VII.F above, the Company surprised investors on May 31,

2016, by revealing that, contrary to the Company’s positive statements and guidance raise just a

month earlier, 2016 revenue and operating income would be much lower than projected, citing the

Sports Authority bankruptcy. As a result of the information revealed to the market, the Company’s

Class A Common Stock and Class C Common Stock prices dropped approximately 3.92% and

3.57%, respectively, on unusually high trading volume. The drops would have been more dramatic

had Defendants disclosed the suspect sales practices used to mask slowing demand and the true

extent of the financial difficulties facing the Company. Instead, Defendants misleadingly stated

that Under Armour’s momentum was stronger than ever, and that the Company continued to

experience growth and increased demand across all product categories and geographies.

       D.      July 26, 2016 Revelations

       381.    The truth continued to emerge on July 26, 2016, when, as detailed in Section VII.H

above, the Company surprised investors by revealing slowdowns in apparel sales growth,

operating income, and net income. As a result of the information revealed to the market, the

Company’s Class A Common Stock and Class C Common Stock prices dropped approximately

5.12% and 3.56%, respectively, on unusually high trading volume. The drops were tempered by

Defendants’ attempts to blunt the negative results by making misleadingly positive statements

regarding the Company’s sales demand and revenue growth, and their failure to disclose the

suspect sales practices used to mask slowing demand and the true extent of financial difficulties

facing the Company.



                                              - 166 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 173 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 172 of 192



       E.      October 25, 2016 Revelations

       382.    As detailed in Section VII.J above, on October 25, 2016, the Company revealed a

slowdown in North American apparel growth and compressed margins attributed to higher

discounts, promotions, and liquidations. As a result of the information, Under Armour’s Class A

Common Stock and Class C Common Stock prices dropped approximately 18.36% and 21.25%,

respectively, on unusually high trading volume. The drops would have been more dramatic had

Defendants disclosed the true extent of the sales declines, the suspect sales practices used to mask

slowing demand, and the associated financial difficulties facing the Company. But Defendants

failed to do so and, instead, reassured investors that the Company’s overall growth and demand

were strong and stated that the Company’s inventory position was healthier.

       F.      January 31, 2017 Revelations

       383.    On January 31, 2017, the Company shocked investors by announcing a severe

slowdown in growth and dramatically reduced financial projections attributed to problems in the

North American apparel business, as well as compressed margins, inventory growth, and the

sudden departure of Molloy, as detailed further in Section VII.K above. As a result, the Company’s

Class A Common Stock and Class C Common Stock prices plummeted approximately 28.65%

and 27.78%, respectively, on unusually high trading volume. The share price declines would have

been larger had Defendants disclosed the suspect sales practices used to mask slowing demand

and the true state of the Company’s financial condition. But, Defendants continued to hide these

facts and made misleading statements about the reasons for the reported financial results.

       G.      August 1, 2017 Revelations

       384.    On August 1, 2017, the Company’s common stock prices fell precipitously when it

announced another quarter of poor North American sales, lowered 2017 guidance, and a massive

restructuring involving hundreds of job cuts and $110 to $130 million in expected restructuring-
                                              - 167 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 174 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 173 of 192



related charges, including “approximately $20 million of inventory related charges,” as detailed

further in Section VII.L above. The Company’s Class A Common Stock and Class C Common

Stock prices dropped 8.59% and 10.38%, respectively, on unusually high trading volume.

          H.     November 3, 2019 Revelations

          385.   As detailed in Section VII.N above, WSJ revealed on November 3, 2019 that Under

Armour’s revenue recognition practices were subject to ongoing civil and criminal investigations

by the SEC and DOJ, and that Under Armour had been responding to requests for documents and

information since July 2017. The Company released a statement later that day confirming the

investigations. As a result, the Company’s Class A Common Stock and Class C Common Stock

prices fell 18.92% and 18.35%, respectively, on unusually high trading volume.

          386.   As a result of their purchases of Under Armour common stock during the Class

Period, Plaintiffs and the other members of the Class suffered economic loss, i.e., damages, under

the federal securities laws. By failing to disclose to investors the adverse facts detailed herein,

Defendants presented a misleading picture of Under Armour’s business and prospects.

Defendants’ false and misleading statements had the intended effect and caused Under Armour

common stock to trade at artificially inflated levels throughout the Class Period.

          387.   When the truth about the Company was disclosed to the market in a series of

revelations during the Class Period, the prices of Under Armour’s common stock declined. These

declines removed the inflation from the prices of Under Armour’s common stock, causing real

economic loss to investors who had purchased Under Armour’s common stock during the Class

Period.

          388.   The declines in the prices of Under Armour’s common stock after the revelations

came to light were a direct result of the partial disclosures of truthful information relating to

Defendants’ misrepresentations. The timing and magnitude of the price declines in Under Armour
                                              - 168 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 175 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 174 of 192



common stock negate any inference that the losses suffered by Plaintiffs and the other members

of the Class were caused by changed market conditions, macroeconomic or industry factors, or

Company-specific facts unrelated to Defendants’ fraudulent conduct. This is evidenced by the

chart below, which demonstrates the clear divergence of the Company’s Class A Common Stock

prices from the Company’s benchmark indices and peer company stock prices138 as the revelations

of the truth became known to the market:




       389.    The economic losses, i.e., damages, suffered by Plaintiffs and the other members

of the Class were a direct result of Defendants’ fraudulent scheme to artificially inflate the prices

of Under Armour common stock and the subsequent significant declines in the value of Under


138
   Under Armour identified the S&P 500 Index and S&P Apparel, Accessories and Luxury Good
Index as benchmarks for its Class A Common Stock performance in its FY15 through FY19 Forms
10-K.

                                               - 169 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 176 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 175 of 192



Armour common stock when Defendants’ prior misrepresentations and fraudulent conduct were

revealed.

XI.     PRESUMPTION OF RELIANCE

        390.      A class-wide presumption of reliance is appropriate with respect to the Exchange

Act claims in this action under the United States Supreme Court’s holding in Affiliated Ute Citizens

v. United States, 406 U.S. 128 (1972), because such claims are grounded on Defendants’ material

omissions.     Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects – information

that Defendants were obligated to disclose – positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of Defendants’ material Class Period omissions set forth above, that requirement is

satisfied here.

        391.      A class-wide presumption of reliance is also appropriate with respect to the

Exchange Act claims in this action under the fraud-on-the-market doctrine. As a result of

Defendants’ materially false and misleading statements, the Company’s publicly traded common

stock traded at artificially inflated prices during the Class Period on a market that was open, well-

developed, and efficient at all times. Plaintiffs and other members of the Class (defined in ¶286

below) purchased or otherwise acquired the Company’s publicly traded common stock relying

upon the integrity of the market price of those securities and the market information relating to

Under Armour, and have been damaged thereby.

        392.      At all relevant times, the market for the Company’s common stock was an efficient

market for the following reasons, among others:


                                               - 170 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 177 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 176 of 192



                (a)      as a regulated issuer, Under Armour regularly made public filings with the

SEC and related press releases;

                (b)      Under Armour regularly communicated with public investors via

established market communication mechanisms, including through regular disseminations of press

releases on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press, and other similar reporting services;

                (c)      Under Armour was followed by several securities analysts employed by

major brokerage firms, such as Morgan Stanley, Deutsche Bank, Canaccord Genuity, Wells Fargo,

Credit Suisse, Barclays, UBS, Jeffries, Cowen and Company, and Piper Jaffray, among others,

who wrote research reports that were distributed to the brokerage firms’ sales force and the public

at large. Each of these reports was publicly available and entered the public marketplace; and

                (d)      certain of the Company’s securities, Class A Common Stock and Class C

Common Stock, met the requirements for listing and were listed and actively traded on the NYSE,

a highly efficient and automated market.

        393.    As a result of the foregoing, the market for the Company’s common stock promptly

digested current information regarding Under Armour from all publicly available sources and

reflected such information in the prices of the Company’s common stock.

        394.    Under these circumstances, all purchasers of the Company’s common stock during

the Class Period suffered similar injury through their purchase of the Company’s common stock

at artificially inflated prices.

        395.    At the times they purchased or otherwise acquired the Company’s common stock,

Plaintiffs and other members of the Exchange Act Class were without knowledge of the facts




                                               - 171 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 178 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 177 of 192



concerning the wrongful conduct alleged herein and could not reasonably have discovered those

facts.

         396.   As a result of the above circumstances, the presumption of reliance applies.

         397.   In sum, Plaintiffs will rely, in part, upon the presumption of reliance established by

the fraud-on-the-market doctrine in that:

                (a)    Defendants made public misrepresentations during the Class Period;

                (b)    the misrepresentations were material;

                (c)    the Company’s common stock traded in an efficient market;

                (d)    the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s common stock; and

                (e)    Plaintiffs and other members of the Class purchased or otherwise acquired

the Company’s common stock between the time Defendants misrepresented material facts and the

time the true facts were disclosed, without knowledge that the facts were misrepresented.

XII.     NO SAFE HARBOR

         398.   The federal statutory safe harbor providing for forward-looking statements under

certain circumstances does not apply to any of the allegedly false and misleading statements

pleaded in this Complaint. Many of the specific statements pleaded herein were not identified as

“forward-looking statements” when made.          To the extent there were any forward-looking

statements, there were no meaningful cautionary statements accompanying them.                  To be

meaningful, cautionary statements must identify important factors that could cause actual results

to differ materially from those in the purportedly forward-looking statements. Such cautions were

loudly absent from Under Armour’s Class Period filings.

         399.   For example, Under Armour’s 2014 Form 10-K, filed with the SEC on February

20, 2015, contained the following boilerplate “caution”:
                                               - 172 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 179 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 178 of 192



        A decline in sales to, or the loss of, one or more of our key customers could result in a
        material loss of net revenues and negatively impact our prospects for growth.

        400.   The generic nature of this disclosure is illustrated by the fact that it was simply

repeated verbatim from the Company’s 2013 Form 10-K, filed with the SEC on February 21, 2014,

and was again repeated in the Company’s 2015, 2016, 2017, 2018, and 2019 Forms 10-K filed

with the SEC on February 22, 2016, February 23, 2017, February 28, 2018, February 25, 2019,

and February 26, 2020, respectively, when the problems plaguing the Company were well known

internally.

        401.   Similarly, Under Armour issued the following risk warning in both its 2013 and

2014 Forms 10-K concerning the decline of brand image, net revenues, and profitability:

        If we continue to grow at a rapid pace, we may not be able to effectively manage our
        growth and the increased complexity of a global business and as a result our brand
        image, net revenues and profitability may decline.

        402.   A substantially similar warning appeared in the Company’s 2015 and 2016 Forms

10-K:

        We must continue to effectively manage our growth and the increased complexity of a
        global business or we may not achieve our long-term growth targets and our brand
        image, net revenues and profitability may decline.

        403.   A substantially similar warning appeared in the Company’s 2017, 2018, and 2019

Forms 10-K:

        We must successfully manage the increasingly complex operations of our global
        business, or our business and results of operations may be negatively impacted. . . . If
        we experience difficulties in supporting the growth of our business, we could experience
        an erosion of our brand image and a decrease in net revenues and net income.

        404.   The Company’s supposed risk warnings, both individually and collectively, failed

to warn the market of the true risks detailed herein. These warnings were not meaningfully

different from year-to-year, but, instead, were merely boilerplate language that failed to develop

with time as the very risks they sought to warn of began to materialize. Therefore, these “cautions”

                                              - 173 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 180 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 179 of 192



were untethered to the known problems at hand, rendering them meaningless. Given the scope

and magnitude of Defendants’ fraud, as detailed herein, the risk warnings were themselves false

and misleading and did not shield Defendants from liability. The risk warnings were false and

misleading because they did not disclose that Defendants were actually engaging in the very

actions about which they purportedly warned and/or had actual knowledge of material adverse

facts undermining such disclosures.

       405.    Moreover, to the extent that any statements pleaded herein are forward-looking,

Defendants are liable for them because, at the time each of them was made, the particular speaker

knew it was false or misleading, for the reasons detailed herein, and/or the forward-looking

statement was authorized and/or approved by an executive officer of Under Armour who knew it

was false or misleading when made.

XIII. CLASS ACTION ALLEGATIONS

       406.    Plaintiffs bring this action as a class action pursuant to Rule 23(a) and (b)(3) of the

Federal Rules of Civil Procedure alleging violations of Sections 10(b), 20(a), and 20A of the

Exchange Act, and Rule 10b-5 promulgated thereunder by the SEC, on behalf of all persons or

entities that purchased or acquired publicly traded common stock of Under Armour during the

Class Period, and who were damaged thereby (“Class”). Excluded from the Class are Defendants,

the officers and directors of the Company at all relevant times, members of their immediate

families and their legal representatives, heirs, successors, or assigns, and any entity in which

Defendants have or had a controlling interest.

       407.    Members of the Class are so numerous that joinder of all members is impracticable.

According to the Company’s SEC filings, as of October 31, 2019, Under Armour had more than

188 million shares of Class A Common Stock and more than 228 million shares of Class C

Common Stock outstanding. While the exact number of members of the Class can only be
                                               - 174 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 181 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 180 of 192



determined by appropriate discovery, Plaintiffs believe that members of the Class number at least

in the hundreds, if not the thousands, and that they are geographically dispersed.

        408.      Plaintiffs’ claims are typical of the claims of the members of the Class because

Plaintiffs and all of the members of the Class sustained damages arising out of Defendants’

wrongful conduct complained of herein.

        409.      Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel experienced and competent in class actions and securities litigation.

Plaintiffs have no interests that are contrary to, or in conflict with, the members of the Class that

Plaintiffs seek to represent.

        410.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy because joinder of all members is impracticable. Furthermore, as

the damages suffered by individual members of the Class may be relatively small, the expense and

burden of individual litigation make it impossible for the members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        411.      Questions of law and fact common to the members of the Class predominate over

any questions that may affect only individual members in that Defendants have acted on grounds

generally applicable to the entire Class. Among the questions of law and fact common to the Class

are:

                  (a)    whether Defendants violated the federal securities laws as alleged herein;

                  (b)    whether Defendants’ publicly disseminated press releases and statements

during the Class Period omitted and/or misrepresented material facts;




                                                  - 175 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 182 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 181 of 192



               (c)     whether Defendants failed to convey material facts or to correct material

facts previously disseminated;

               (d)     whether Defendants participated in and pursued the fraudulent scheme or

course of business complained of herein in violation of the Exchange Act;

               (e)     whether Defendants acted willfully, with knowledge or recklessness, in

omitting and/or misrepresenting material facts in violation of the Exchange Act;

               (f)     whether the market prices of the Company’s common stock during the Class

Period were artificially inflated due to the material nondisclosures and/or misrepresentations

complained of herein; and

               (g)     whether the members of the Class have sustained damages as a result of the

decline in value of the Company’s common stock when the truth was revealed and the artificial

inflation came out, and, if so, what is the appropriate measure of damages.

                                            COUNT I

        Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                 Thereunder Against Defendants Under Armour and Plank

       412.    Plaintiffs repeat and reallege the allegations set forth in ¶¶1-411 above as though

fully set forth herein. This claim is asserted against Defendants Plank and Under Armour.

       413.    During the Class Period, Defendants carried out a plan, scheme, and course of

conduct which was intended to and, throughout the Class Period, did: (a) deceive the investing

public, Plaintiffs, and other Class members, as alleged herein; (b) artificially inflate and maintain

the market price of the Company’s publicly traded common stock; and (c) cause Plaintiffs and

other members of the Class to purchase the Company’s publicly traded common stock at

artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

Defendants took the actions set forth herein.

                                                - 176 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 183 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 182 of 192



       414.    Defendants: (a) employed devices, schemes, and artifices to defraud; (b) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (c) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

to maintain artificially high market prices for the Company’s common stock in violation of Section

10(b) of the Exchange Act and Rule 10b-5. Defendants are sued as primary participants in the

wrongful and illegal conduct charged herein. Plank is also sued as a controlling person of Under

Armour, as alleged below.

       415.    In addition to the duties of full disclosure imposed on Defendants as a result of their

making affirmative statements and reports, or participating in the making of affirmative statements

and reports to the investing public, they each had a duty to promptly disseminate truthful

information that would be material to investors in compliance with the integrated disclosure

provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R. §210.01, et seq.) and S-K

(17 C.F.R. §229.10, et seq.) and other SEC regulations, including accurate and truthful information

with respect to the Company’s operations, sales, financial condition, and operational performance,

so that the market prices of the Company’s publicly traded securities would be based on truthful,

complete, and accurate information.

       416.    Defendants, individually and in concert, directly and indirectly, by the use, means,

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about the Company’s

financial and operational results and prospects as specified herein.

       417.    Defendants each employed devices, schemes, and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course


                                               - 177 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 184 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 183 of 192



of conduct as alleged herein in an effort to assure investors of the Company’s value, performance,

and continued substantial sales and financial growth, which included the making of, or the

participation in the making of, untrue statements of material facts about the Company’s financial

and operational results and prospects and omitting to state material facts necessary to make the

statements made about the Company’s financial and operational results and prospects not

misleading in light of the circumstances under which they were made, as set forth more particularly

herein, and engaged in transactions, practices, and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s common stock during the Class Period.

       418.    Plank’s primary liability and controlling person liability arise from the following

facts, among others: (a) Plank was a high-level executive at the Company during the Class Period;

(b) Plank, by virtue of his responsibilities and activities as CEO and Chairman was privy to, and

participated in, the creation, development, and reporting of the Company’s projections and

financial condition; (c) Plank enjoyed significant personal contact and familiarity with, was

advised of, and had access to other members of the Company’s management team, internal reports,

and other data and information about the Company’s financial and operational results and

prospects at all relevant times; and (d) Plank was aware of the Company’s dissemination of

information to the investing public which he knew, or recklessly disregarded, was materially false

and misleading.

       419.    Each of the Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the truth, in that

each failed to ascertain and disclose such facts, even though such facts were available to each of

them. Such Defendants’ material misrepresentations and/or omissions were done knowingly or

with recklessness and for the purpose and effect of concealing information regarding the


                                               - 178 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 185 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 184 of 192



Company’s true financial and operational results and prospects from the investing public and

supporting the artificially inflated price of its common stock. As demonstrated by Defendants’

misstatements and omissions throughout the Class Period regarding the Company’s true financial

and operational results and prospects, Defendants, if they did not have actual knowledge of the

misrepresentations and omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.

         420.   As a result of the dissemination of the materially false and misleading information

and failure to disclose material facts, as set forth above, the market prices of the Company’s

common stock were artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s publicly traded common stock were artificially inflated, and

relying directly or indirectly on the false and misleading statements made by Defendants, or upon

the integrity of the market in which the securities trade, and/or on the absence of material adverse

information that was known to, or disregarded with recklessness by, Defendants, but not disclosed

in public statements by Defendants during the Class Period, Plaintiffs and other members of the

Class acquired the Company’s common stock during the Class Period at artificially high prices

and were damaged thereby, as evidenced by, among others, the common stock price declines

above.

         421.   At the time of said misrepresentations and omissions, Plaintiffs and other members

of the Class were ignorant of their falsity and believed them to be true. Had Plaintiffs and other

members of the Class and the marketplace known of the Company’s fraudulent practices, the true

nature and prospects of the Company’s financial and operating results and prospects, or the

Company’s true intrinsic value, which were not disclosed by Defendants, Plaintiffs and other


                                              - 179 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 186 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 185 of 192



members of the Class would not have purchased or otherwise acquired their Under Armour

publicly traded common stock during the Class Period; or, if they had acquired such common stock

during the Class Period, they would not have done so at the artificially inflated prices which they

paid.

        422.   By virtue of the foregoing, Defendants, and each of them, have each violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        423.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s common stock during the Class Period, as evidenced by, among others,

the common stock price declines discussed above, when the artificial inflation was removed from

the Company’s common stock.

                                           COUNT II

                 For Violations of Section 20(a) of the Exchange Act Against
                            Defendants Under Armour and Plank

        424.   Plaintiffs repeat and reallege the allegations set forth in ¶¶1-411 above as though

fully set forth herein. This claim is asserted against Defendants Plank and Under Armour.

        425.   Plank acted as a controlling person of Under Armour within the meaning of Section

20(a) of the Exchange Act as alleged herein. By virtue of his high-level position with the

Company, participation in, and/or awareness of, the Company’s operations, and/or intimate

knowledge of the Company’s fraudulent practices and the Company’s actual results and future

prospects, Plank had the power to influence and control, and did influence and control, directly or

indirectly, the decision making of the Company, including the content and dissemination of the

various statements which Plaintiffs contend are false and misleading. Plank was provided with,

or had unlimited access to, copies of the Company’s reports, press releases, public filings, and

                                              - 180 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 187 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 186 of 192



other statements alleged by Plaintiffs to be misleading prior to and/or shortly after these statements

were issued and had the ability to prevent the issuance of the statements or cause the statements to

be corrected. In addition, Plank had direct involvement in the day-to-day operations of the

Company and, therefore, is presumed to have had the power to control or influence the particular

transactions giving rise to the securities violations as alleged herein and exercised the same. Under

Armour controlled Plank and the Company’s other officers and employees.

       426.    As set forth above, the Defendants each violated Section 10(b) and Rule 10b-5 by

their acts and omissions as alleged in this Complaint. By virtue of their control, Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages in

connection with their purchases of the Company’s common stock during the Class Period, as

evidenced by, among others, the common stock price declines discussed above, when the artificial

inflation was released from the Company’s common stock.

                                            COUNT III

                       For Violation of Section 20A of the Exchange Act
                                         Against Plank

       427.    Plaintiffs repeat and reallege the allegations set forth in ¶¶1-411 above as though

fully set forth herein. This claim is asserted against Plank on behalf of Plaintiffs who were

damaged by Plank’s insider trading.

       428.    As detailed herein, Plank was in possession of material, non-public information

concerning Under Armour. Plank took advantage of his possession of material, non-public

information regarding Under Armour to obtain millions of dollars in insider trading profits during

the Class Period.




                                               - 181 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 188 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 187 of 192



          429.   Plank’s sales of Under Armour stock were made contemporaneously with

Aberdeen’s, Monroe’s, and one of KBC’s fund’s purchases, and other Class Members’ purchases,

of Under Armour stock during the Class Period.

          430.   For example, in November 2015, Plank sold the following shares of Under Armour

common stock for total proceeds of $99,968,961.

                    Date             Share Price        No. of Shares           Proceeds
                 11/23/2015            $92.46             199,920             $18,484,603
                 11/23/2015            $93.00                 80                  $7,440
                 11/23/2015            $92.46              24,991              $2,310,668
                 11/23/2015            $93.00                  9                   $837
                 11/20/2015            $92.72                 80                  $7,418
                 11/20/2015            $92.04              68,917              $6,343,121
                 11/20/2015            $91.24             131,003             $11,952,714
                 11/20/2015            $92.72                  9                   $834
                 11/20/2015            $92.04               8,615               $792,925
                 11/20/2015            $91.24              16,376              $1,494,146
                 11/19/2015            $89.60                320                 $28,672
                 11/19/2015            $88.89             158,001             $14,044,709
                 11/19/2015            $88.42              41,679              $3,685,257
                 11/19/2015            $89.60                 40                  $3,584
                 11/19/2015            $88.89              19,751              $1,755,666
                 11/19/2015            $88.42               5,209               $460,580
                 11/18/2015            $85.39              89,002              $7,599,881
                 11/18/2015            $87.09              10,838               $943,881
                 11/18/2015            $86.42             100,160              $8,655,827
                 11/18/2015            $85.39              11,125               $949,964
                 11/18/2015            $87.09               1,355               $118,007
                 11/18/2015            $86.42              12,520              $1,081,978
                 11/17/2015            $87.31               1,200               $104,772
                 11/17/2015            $86.17              28,676              $2,471,011
                 11/17/2015            $85.42             170,124             $14,531,992
                 11/17/2015            $87.31                151                 $13,184
                 11/17/2015            $86.17               3,584               $308,833
                 11/17/2015            $85.42              21,265              $1,816,456

          431.   Monroe purchased the following shares of Under Armour common stock, among

others:

                   Date              Share Price        No. of Shares           Proceeds

                                             - 182 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 189 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 188 of 192



                 11/20/2015            91.62                 676              $61,935

          432.   One of KBC’s fund’s purchased the following shares of Under Armour common

stock, among others:

                    Date            Share Price          No. of Shares       Proceeds
                 11/20/2015           92.01               11,161.00        $1,026,923.60

          433.   In addition, Plank sold the following shares of Under Armour common stock in

April 2016 for total proceeds of $38,262,467.

                    Date             Share Price         No. of Shares        Proceeds
                 4/29/2016             $40.84              197,680           $8,073,251
                 4/29/2016             $41.58                2,320             $96,466
                 4/29/2016             $40.84               24,709           $1,009,116
                 4/29/2016             $41.58                 291              $12,100
                 4/28/2016             $42.92               48,446           $2,079,302
                 4/28/2016             $42.45              151,554           $6,433,467
                 4/28/2016             $42.92                6,056            $259,924
                 4/28/2016             $42.45               18,944            $804,173
                 4/27/2016             $43.00               33,762           $1,451,766
                 4/27/2016             $42.39              166,238           $7,046,829
                 4/27/2016             $43.00                4,220            $181,460
                 4/27/2016             $42.39               20,780            $880,864
                 4/26/2016             $44.15              200,000           $8,830,000
                 4/26/2016             $44.15               25,000           $1,103,750

          434.   Aberdeen purchased the following shares of Under Armour common stock, among

others:

                    Date             Share Price         No. of Shares        Proceeds
                  5/4/2016             $40.07               43,317           $1,735,712
                  5/3/2016             $42.76                9,953            $425,590
                  5/2/2016             $43.67                5,119            $223,547
                 4/29/2016             $43.70                2,997            $130,969
                 4/27/2016             $45.07                3,014            $135,841
                 4/26/2016             $46.75               15,641            $731,217
                 4/25/2016             $46.48                2,275            $105,742
                 4/22/2016             $46.74                3,413            $159,524
                 4/20/2016             $43.93               11,375            $499,704
                 4/19/2016             $43.96                2,958            $130,034



                                               - 183 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 190 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 189 of 192



          435.   KBC’s funds purchased the following shares of Under Armour common stock,

among others:

                    Date               Share Price           No. of Shares            Proceeds
                 4/29/2016               43.94                 5,185.00              $227,828.90

          436.   Plaintiffs and other Class members, who purchased shares of Under Armour

common stock contemporaneously with sales by Plank suffered damages because: (1) in reliance

on the integrity of the market, they paid artificially inflated prices as a result of the violations of

Sections 10(b) and 20(a) of the Exchange Act as alleged herein; and (2) they would not have

purchased the common stock at the prices they paid, or at all, if they had been aware that the market

prices had been artificially inflated by the false and misleading statements and concealment alleged

herein.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on their own behalf and on behalf of the Class, pray for relief

and judgment, as follows:

          A.     Declaring that this action is a proper class action, pursuant to Rule 23 of the Federal

Rules of Civil Procedure, and Plaintiffs as representatives of the Class, and designating Plaintiffs’

counsel as Class Counsel;

          B.     Awarding compensatory damages in favor of Plaintiffs and the other members of

the Class against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

          C.     Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including attorneys’ fees and expert fees; and

          D.     Awarding rescission or a rescissionary measure of damages.

          E.     Such other and further relief as the Court deems appropriate.

                                                 - 184 -
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 191 of 477
   Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 190 of 192



                              JURY TRIAL DEMANDED

    Plaintiffs hereby demand a trial by jury.

DATED: October 14, 2020                    ROBBINS GELLER RUDMAN
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                                           ROBERT R. HENSSLER JR.
                                           MATTHEW I. ALPERT
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                                          - 185 -
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 192 of 477
   Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 191 of 192




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                                - 186 -
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 193 of 477
     Case 1:17-cv-00388-RDB Document 153 Filed 10/14/20 Page 192 of 192



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 14, 2020 I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing to all

counsel of record.




                                                          s/ Robert R. Henssler Jr.
                                                        ROBERT R. HENSSLER JR.




                                            - 187 -
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 194 of 477
    Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 1 of 6




                EXHIBIT A
4/6/2020        Case 1:23-mc-00070-LAK-GWG          Document
                                   Inside Under Armour’s            66-5
                                                         Sales Scramble:       Filed
                                                                         ‘Pulling     08/23/23
                                                                                  Forward            Page
                                                                                          Every Quarter’ - WSJ195 of 477
                    Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 2 of 6
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           Inside Under Armour’s Sales Scramble:
           ‘Pulling Forward Every Quarter’
           Sportswear brand pushed early shipments, dumped goods at off-price chains to stay on growth streak,
           former executives say




           Under Armour leaned on retailers to take products early and redirected goods intended for the
           company’s factory stores to o -price chains, according to former executives.
           PHOTO: BRENDAN MCDERMID REUTERS


           By Khadeeja Safdar and Aruna Viswanatha
           Updated Nov. 14, 2019 9 42 pm ET

           Former executives at Under Armour Inc., the sportswear company whose accounting is under
           federal investigation, said they scrambled to meet aggressive sales targets, borrowing business
           from future quarters to mask slowing demand in 2016 for its athletic apparel.

           The Baltimore company frequently leaned on retailers to take products early and redirected
           goods intended for its factory stores to oﬀ-price chains to book sales in the ﬁnal days of a
           quarter, according to former executives in sales, logistics, merchandising and ﬁnance.

           They said the company repeatedly used these and other moves to help extend a 26-quarter
           streak of 20% sales growth, a feat that came to an abrupt end in late 2016. Some of the
           executives said such end-of-quarter moves are common in the retail industry.

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                                                                                             Every Quarter’ - WSJ196 of 477
                     Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 3 of 6
           “It was all in the name of hitting the number, and it would happen out in the open,” said a
           former Under Armour merchandising executive. “They [the company] didn’t think there was
           anything improper about it.”

           Under Armour said it is conﬁdent in its accounting practices, revenue recognition and investor
           disclosures. It said it operated within standard industry practices and in compliance with
           generally accepted accounting principles.


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           Federal investigators are conducting a probe into the company’s revenue recognition and
           whether there were improper tactics used to shift sales, the Journal has reported. Investigators
           are examining emails that show Under Armour’s founder and chief executive, Kevin Plank,
           knew about eﬀorts to move revenue between quarters, according to a person familiar with the
           matter.

           Among the issues investigators are examining, according to people familiar with the matter, are
           Under Armour’s results at the end of 2016 and the tenure of former ﬁnance chief Chip Molloy,
           who resigned in January 2017 on the same day the company said sales growth fell below 20%.
           Under Armour shares tumbled 23% that day.

           A criminal probe is being led by the U.S. attorney’s oﬃce in Baltimore, which is coordinating
           with a civil securities-fraud investigation by the Securities and Exchange Commission, the
           people said. Mr. Molloy didn’t respond to requests for comment. The former executives who
           described eﬀorts to meet quarterly targets said they hadn’t been interviewed by investigators.

           Under Armour said it has been cooperating with the investigations since July 2017.

           “Our management and board of directors have extensively reviewed this matter over the past
           two and a half years, and we continue to believe that our accounting practices and related
           disclosures have been appropriate,” the company said. Analysts and accounting experts agree
           the end-of-quarter maneuvers described by these executives are generally permitted under
           accounting rules.


           Former executives said pulling sales forward helped the sportswear company sustain its
           growth record, which employees knew was important to Mr. Plank. On several earnings calls,

https://www.wsj.com/articles/inside-under-armours-sales-scramble-pulling-forward-every-quarter-11573777489                    2/5
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                                    Inside Under Armour’s            66-5
                                                          Sales Scramble:       Filed
                                                                          ‘Pulling     08/23/23
                                                                                   Forward            Page
                                                                                           Every Quarter’ - WSJ197 of 477
                    Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 4 of 6
           Mr. Plank boasted about the streak, including the third quarter of 2016.

           “Our ﬁnancial results are an incredible accomplishment for any brand and something that we
           believe separates us from others in our business,” Mr. Plank said on Oct. 25, 2016.

           That day, the Baltimore company acknowledged it was seeing a slowdown in the North
           American apparel industry and feeling the impact of bankruptcies of retailers such as Sports
           Authority Inc. Executives said they needed to boost investments, hurting proﬁts, but reiterated
           their goal of 20% sales growth in the fourth quarter of 2016, as well as in 2017 and 2018.



           “We want to be clear, our demand is still there,” Mr. Plank said. Sales ended up rising 12% in the
           fourth quarter and 3% and 4% in 2017 and 2018, respectively.

           Former employees described eﬀorts in 2016 to sustain the 20% quarterly growth rate, even as
           retailers failed to sell some of the company’s sweatshirts, T-shirts and other apparel. “It was a
           pretty common practice to pull forward orders from the month after the quarter to ship within
           the quarter in order to hit the number or close the gap,” a former sales executive said.

           When retailers declined to take products before their requested ship date, Under Armour
           sometimes adjusted the terms of the contract to oﬀer a discount or extend the period in which
           retailers could pay for the products, this former executive and other employees said. “Problem
           is once this starts it doesn’t seem to stop,” the sales executive said. “We found ourselves pulling
           forward every quarter.”

           Another former executive said Under Armour had negotiations with customers about shipping
           products earlier than planned, but always got their approval. “I never witnessed anything
           where we would just ship something unbeknownst to a customer,” the executive said. “If the
           customer accepted and you have a conversation about it, that’s all good.”

           Shipping plans in the ﬁnal days of the quarter sometimes contradicted the dates on the boxes,
           and truckloads of unopened boxes would come back to Under Armour, a former logistics
           executive said.

           There is no rule prohibiting manufacturers from urging customers to accept early sales to meet
           quarterly expectations, said Ethan Rouen, a professor at Harvard Business School. “If there is
           an explicit or implied favor being involved, then that’s problematic,” he said.

           Still, eﬀorts to shift sales between quarters can hurt investors, said Mr. Rouen. “If you’re
           mortgaging the future, it’s eventually going to catch up,” he said.

           The strains in Under Armour’s business were evident inside the company in 2016, several
           former executives said. Sports Authority, a major customer, ﬁled for bankruptcy protection

https://www.wsj.com/articles/inside-under-armours-sales-scramble-pulling-forward-every-quarter-11573777489                  3/5
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                     Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 5 of 6
           that spring and closed its remaining locations that summer. “The slowdown was occurring in
           more places than just there,” the former sales executive said. “They just ampliﬁed the issue.”

           After it was clear Sports Authority was in trouble, Under Armour continued shipping products
           to the retailer, booking sales for those goods, according to former executives. Sports
           Authority’s collapse eventually left Under Armour looking for other outlets, they said.




           In July 2016, Mr. Plank announced a deal with Kohl’s Corp., a department store, to carry Under
           Armour gear the following year. The move gave the company hundreds of new locations to
           stock its goods, including inventory meant for Sports Authority, the former executives said.
           Kohl’s didn’t immediately respond to a request for comment.

           It also angered the company’s biggest customer, Dick’s Sporting Goods Inc., these executives
           said. As a result, Dick’s, which was holding unsold Under Armour goods, stopped taking
           products early, they said. Dick’s was Under Armour’s biggest customer in 2015 and 2016,
           accounting for about $400 million of annual sales, according to securities ﬁlings. A spokesman
           for Dick’s declined to comment.


           While sales were slowing, the amount of money that Under Armour was setting aside for
           returns or markdowns was accelerating. In 2016, the company’s revenue rose 22%, while its
           reserves for returns jumped 55%. The next year, revenue rose about $150 million to nearly $5
           billion, while its reserve for returns jumped $100 million to $247 million, the securities ﬁlings
           show.

           To help meet its quarterly targets, Under Armour in 2016 shipped new inventory intended for
           its own factory stores to oﬀ-price seller TJX Cos ., the former merchandise executive said. That
           allowed Under Armour to immediately book the goods as revenue instead of having to wait for a
           customer to buy the item at its own stores.

           This executive and another former employee said Under Armour was careful to avoid shipping
           too much inventory to TJX so that it wouldn’t have to disclose that the discounter was among
           its major customers in its securities ﬁlings.

           A spokeswoman for TJX, which operates the TJ Maxx and Marshalls chains, declined to
           comment.

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                                                                                   Forward            Page
                                                                                           Every Quarter’ - WSJ199 of 477
                    Case 1:17-cv-00388-RDB Document 153-1 Filed 10/14/20 Page 6 of 6
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 200 of 477
    Case 1:17-cv-00388-RDB Document 153-2 Filed 10/14/20 Page 1 of 4




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10/13/2020     Case 1:23-mc-00070-LAK-GWG      Document
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                                                                         Accounting           Page 201 of 477
                                                                                    Probes - WSJ
                   Case 1:17-cv-00388-RDB Document 153-2 Filed 10/14/20 Page 2 of 4




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Under Armour Is Subject of Federal
Accounting Probes
Justice Department, SEC examining how sportswear maker recorded revenue; company says it is
cooperating with investigators




   U.S. authorities have questioned people in Baltimore, where Under Armour is based, according to a person familiar with the
   probe. PHOTO: SPENCER PLATT GETTY IMAGES


By Aruna Viswanatha and Khadeeja Safdar
Updated Nov. 3, 2019 7 06 pm ET

Federal authorities are investigating Under Armour Inc. UA 2.22% ▲ ’s accounting practices in a probe
examining whether the sportswear maker shifted sales from quarter to quarter to appear healthier,
according to people familiar with the matter.

As part of the probe, which hasn’t been made public, investigators questioned people in Baltimore, where
the company is based, as recently as last week, one of the people said.

Justice Department prosecutors are conducting a criminal inquiry into the matter in coordination with civil
investigators at the Securities and Exchange Commission, another person said.


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                                                                            Accounting           Page 202 of 477
                                                                                       Probes - WSJ
                  Case 1:17-cv-00388-RDB Document 153-2 Filed 10/14/20 Page 3 of 4
Under Armour said it is cooperating with the Justice Department and SEC investigations. “The company
began responding in July 2017 to requests for documents and information relating primarily to its
accounting practices and related disclosures,” Under Armour said after The Wall Street Journal published
this article. “The company firmly believes that its accounting practices and disclosures were appropriate.”

Spokespeople for the Justice Department and SEC declined to comment.

When examining what are known as revenue-recognition practices, authorities generally focus on whether
companies record revenue before it is earned or defer the dating of expenses to make earnings appear
stronger, among other possible infractions.

       The company, which is scheduled to report third-quarter results on Monday, has been restructuring its
     operations and struggling with weak sales in the last two years. Until then, it had been among the
fastest-growing apparel makers, riding 26 straight quarters of at least 20% year-over-year revenue growth.

That streak ended abruptly when Under Armour missed its sales targets in the final quarter of 2016. On
Jan. 31, 2017, the company’s shares plunged after it reported sales growth of 12% in the holiday quarter
and cut its growth forecasts for the next year. That day, Under Armour also said its then-finance chief was
leaving after a year on the job.

At the time, founder, Chairman and CEO Kevin Plank attributed the slowdown to fewer store visits by
shoppers, the company’s product assortment and changes in the sportswear industry, including retailer
bankruptcies such as Sports Authority Inc. Mr. Plank moved to restructure the operations, cutting jobs and
hiring an outsider, Patrik Frisk, as president.

Under Armour had three chief financial officers from 2016 to 2017. Brad Dickerson, who had served as
CFO since 2008, left the company in February 2016. Chip Molloy, a former PetSmart Inc. executive, took
over but stayed a year on the job. Under Armour at the time cited unspecified personal reasons for his
departure.

David Bergman was named acting finance chief in February 2017 after the company reported its quarterly
sales miss and Mr. Molloy’s exit. Mr. Bergman, who has worked at Under Armour since 2004 in various
finance roles, was named permanent CFO in December 2017.

Messrs. Dickerson, Molloy and Bergman didn’t respond to requests for comment Sunday.



The slowing growth, coupled with some unexpected declines in quarterly profit, fanned concerns about
Under Armour’s ability to continue to win market share from Nike Inc. and Adidas AG . The company’s
class A shares, which once traded above $40, closed Friday at $21.14.

Last month, the company said Mr. Plank was stepping down as CEO on Jan. 1 after more than 20 years in
the role. Mr. Plank plans to stay at the company as executive chairman and brand chief, and Mr. Frisk will

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                                                                              Probes - WSJ
             Case 1:17-cv-00388-RDB Document 153-2 Filed 10/14/20 Page 4 of 4
                                                     take over as CEO and continue reporting to Mr.
   MORE ON UNDER ARMOUR                              Plank.

   •Under Armour Founder Kevin Plank Steps Aside as CEO     Mr. Plank, a former University of Maryland
                                                            football player, founded Under Armour in his
  •Meet Under Armour CEO’s Unusual Adviser: An MSNBC Anchor
                                                            grandmother’s basement with sweat-wicking
                                                            compression apparel. Over time, he added new
                                                            products and struck endorsements with athletes
including NBA star Stephen Curry and golfer Jordan Spieth, building the company into a global brand with
about $5 billion in annual sales.

In recent years, the company has refocused on performance attire but has continued to struggle in its
domestic market. In its second fiscal quarter, Under Armour reported a 3% decline in sales in North
America and said it expects them to decline over the full year. Analysts expect total sales of $1.41 billion in
the third quarter, compared with $1.44 billion in the same period last year.

Like many companies, Under Armour has faced complaints by current and former employees about its
culture, including the expensing of strip-club visits and inappropriate behavior by executives, the Journal
has reported. Mr. Plank has spoken openly about Under Armour’s shortcomings, promised to make
improvements and replaced some senior executives.

When he announced plans to hand over the CEO title, the 47-year-old billionaire said the decision was part
of the company’s long-term succession planning.

—Dave Michaels contributed to this article.

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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 204 of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 1 of 45




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   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 4 of
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   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 8 of
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   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 10 of 45
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   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 11 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 215   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 12 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 216   of 477
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 217   of 477
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 218   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 15 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 219   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 16 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 220   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 17 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 221   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 18 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 222   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 19 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 223   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 20 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 224   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 21 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 225   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 22 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 226   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 23 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 227   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 24 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 228   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 25 of 45
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                                                                                                                                                                                                 Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 230 of 477




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                                                                                                                                                                                                  26
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 231   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 28 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 232   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 29 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 233   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 30 of 45
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   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 31 of 45
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       Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 244   of 477
          Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 41 of 45
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       Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 245   of 477
          Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 42 of 45
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        Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 246   of 477
           Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 43 of 45
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        Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 247   of 477
           Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 44 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 248   of 477
   Case 1:17-cv-00388-RDB Document 153-3 Filed 10/14/20 Page 45 of 45
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Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 249 of 477
    Case 1:17-cv-00388-RDB Document 153-4 Filed 10/14/20 Page 1 of 5




                EXHIBIT D
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 250 of 477
    Case 1:17-cv-00388-RDB Document 153-4 Filed 10/14/20 Page 2 of 5
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 251 of 477
    Case 1:17-cv-00388-RDB Document 153-4 Filed 10/14/20 Page 3 of 5
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 252 of 477
    Case 1:17-cv-00388-RDB Document 153-4 Filed 10/14/20 Page 4 of 5
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 253 of 477
    Case 1:17-cv-00388-RDB Document 153-4 Filed 10/14/20 Page 5 of 5
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 254 of 477
    Case 1:17-cv-00388-RDB Document 153-5 Filed 10/14/20 Page 1 of 4




                 EXHIBIT E
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 255 of 477
    Case 1:17-cv-00388-RDB Document 153-5 Filed 10/14/20 Page 2 of 4
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 256 of 477
    Case 1:17-cv-00388-RDB Document 153-5 Filed 10/14/20 Page 3 of 4
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 257 of 477
    Case 1:17-cv-00388-RDB Document 153-5 Filed 10/14/20 Page 4 of 4
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 258 of 477
    Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 1 of 7




                 EXHIBIT F
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 259 of 477
    Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 2 of 7
Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 260 of 477
    Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 3 of 7
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 261 of 477
         Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 4 of 7
                               Schedule A
                       KBC Asset Management NV
                        Under Armour Inc. (UA)
                     Class Period: 09/16/2015 - 11/01/2019


                                               Date          Shares              Price
INDEX FUND
                                Purchases:     4/8/2016               7,577.00      42.82
                                               4/25/2016              2,900.00      44.26
                                               6/13/2016                73.00        0.00
                                               5/9/2017               7,882.00      19.81


KBC EQUITY FD
                                Purchases:     4/8/2016           15,114.00         42.82
                                               4/8/2016               4,595.00      42.82
                                               4/8/2016           11,137.00         42.82
                                               4/8/2016               1,227.00      42.82
                                               4/29/2016              4,717.00      40.80
                                               5/23/2016              4,707.00      34.83
                                               6/13/2016               107.00        0.00
                                               6/13/2016                32.00        0.00
                                               6/13/2016               145.00        0.00
                                               6/13/2016                  8.00       0.00
                                               6/24/2016          11,333.00         33.51
                                               6/30/2016          16,746.00         36.40
                                               9/26/2016              6,387.00      33.58
                                               10/20/2016             2,283.00      33.42
                                               10/24/2016             2,572.00      32.90
                                               1/18/2017               153.00       25.35
                                               1/27/2017              6,660.00      25.52
                                Sales:         6/30/2016          -9,796.00         36.37
                                               6/30/2016         -20,561.00         36.37
                                               7/1/2016           -8,907.00         36.84
                                               7/11/2016              -145.00       36.57
                                               7/19/2016          -5,843.00         36.95
                                               8/18/2016          -3,355.00         37.95
                                               10/26/2016         -2,743.00         27.46
                                               11/2/2016         -24,405.00         25.35
                                               4/11/2017         -10,178.00         18.04
                                               6/12/2017          -1,990.00         21.20
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 262 of 477
          Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 5 of 7
                                           Date         Shares              Price
PLATO INST.I.F
                              Purchases:   4/8/2016              3,053.00      42.82
                                           6/13/2016               21.00        0.00
                                           11/22/2016            4,904.00      24.01
                              Sales:       12/6/2018         -7,978.00         22.58
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 263 of 477
         Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 6 of 7


                        Under Armour Inc. (UAA)
                     Class Period: 09/16/2015 - 11/01/2019


                                              Date           Shares               Price
INDEX FUND
                                Purchases:    1/25/2016                1,443.00     68.10


KBC EQUITY FD
                                Purchases:    11/20/2015              11,161.00     92.01
                                              11/25/2015               1,540.00     92.10
                                              11/25/2015               5,533.00     92.10
                                              11/25/2015              11,998.00     92.10
                                              12/16/2015               1,508.00     83.11
                                              1/29/2016               14,946.00     85.43
                                              1/29/2016                4,638.00     85.43
                                              2/18/2016                8,481.00     81.03
                                              3/21/2016                1,040.00     85.51
                                              3/21/2016                2,481.00     85.51
                                              4/29/2016                5,185.00     43.94
                                              6/2/2016                 4,212.00     36.56
                                              6/15/2016                1,623.00     37.76
                                              6/30/2016                2,310.00     40.13
                                              7/29/2016               26,063.00     39.46
                                              9/7/2016                 4,838.00     39.92
                                              9/26/2016               19,969.00     38.60
                                              10/24/2016              15,747.00     37.90
                                              11/30/2016          284,310.00        30.85
                                              11/30/2016               1,362.00     30.85
                                              11/30/2016              22,558.00     30.85
                                              1/12/2017                2,226.00     30.38
                                              1/18/2017                5,265.00     29.35
                                              1/27/2017                8,922.00     29.13
                                              3/2/2017            291,754.00        20.94
                                              8/22/2019                 840.00      18.98
                                Sales:        12/4/2015                 -589.00     87.31
                                              12/15/2015              -1,655.00     81.52
                                              12/15/2015              -1,148.00     83.16
                                              1/7/2016                -1,098.00     78.00
                                              1/12/2016           -14,041.00        72.15
      Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 264 of 477
          Case 1:17-cv-00388-RDB Document 153-6 Filed 10/14/20 Page 7 of 7
                                           Date         Shares               Price
                                           1/12/2016             -3,767.00     72.15
                                           1/12/2016              -745.00      72.15
                                           1/20/2016             -2,396.00     67.34
                                           1/25/2016             -5,290.00     68.96
                                           2/18/2016             -1,751.00     81.03
                                           6/30/2016         -14,767.00        40.13
                                           6/30/2016             -4,595.00     40.13
                                           6/30/2016         -16,322.00        40.13
                                           7/1/2016              -2,683.00     40.43
                                           10/3/2016             -4,970.00     38.63
                                           10/26/2016            -3,171.00     31.81
                                           10/31/2016            -9,984.00     31.10
                                           11/2/2016         -35,716.00        30.79
                                           1/3/2017          -52,348.00        29.89
                                           1/3/2017          -35,977.00        29.87
                                           1/31/2017        -229,030.00        21.49
                                           3/9/2017              -8,792.00     19.15
                                           3/31/2017        -276,072.00        19.83
                                           3/31/2017             -1,362.00     19.78
                                           4/11/2017         -11,772.00        19.42
                                           4/24/2017         -18,614.00        19.44
                                           6/12/2017             -2,242.00     23.14
                                           10/24/2019             -840.00      20.86


PLATO INST.I.F
                              Purchases:   11/25/2015            1,028.00      92.10
                                           12/6/2018             6,580.00      24.07
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 265 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 1 of 213




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MARYLAND



ABERDEEN CITY COUNCIL AS                  )    Civil No. RDB-17-388
ADMINISTRATING AUTHORITY FOR              )
THE NORTH EAST SCOTLAND PENSION )              CLASS ACTION
FUND, and MONROE COUNTY                   )
EMPLOYEES’ RETIREMENT SYSTEM,             )
Individually and on Behalf of All Others  )    JURY TRIAL DEMANDED
Similarly Situated,                       )
                                          )
                              Plaintiffs, )
                                          )
       vs.                                )
In re UNDER ARMOUR, INC., and KEVIN )
A. PLANK, SECURITIES LITIGATION           )
                                          )
                              Defendants. )
                                          )
                                          )

This Document Relates To:

            ALL ACTIONS.




 CONSOLIDATED SECONDTHIRD AMENDED COMPLAINT FOR VIOLATIONS OF
                  THE FEDERAL SECURITIES LAWS




                                         -1-
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 266 of 477
        Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 2 of 213


                                                 TABLE OF CONTENTS

                                                                                                                                     Page

I.       INTRODUCTION ...............................................................................................................1

II.      SUMMARY OF THE ACTION ..........................................................................................2

III.     JURISDICTION AND VENUE ........................................................................................59

IV.      PARTIES .........................................................................................................................610

V.       SUBSTANTIVE ALLEGATIONS .................................................................................813

                   A.         Background of the Company ...................................................................813

                   B.         Plank Drove Under Armour’s Aggressive Growth Strategy .................1014

                   C.         Under Armour’s Brand Heat Began to Die, Demand Weakened, and
                              Sales Declined ........................................................................................1116

                   D.         Under Armour Ramps Up Its Promotional Activity ..................................18

                   E.         Defendants Engaged in Suspect Sales Practices to Further Mask Slowing
                              Demand and Maintain the Company’s 20% Growth Streak ......................20

                              1.         Defendants Pull-Forward Sales and Stuff Channels to Artificially
                                         Boost Revenues..............................................................................20

                              2.         Defendants Induce Retailers to Take Unneeded Product with
                                         Promises to Buyback Merchandise and Through Discounts and
                                         Other Sweeteners ...........................................................................24

                   F.         Defendants’ Declining Apparel Sales and Suspect Sales Practices Led to
                              Excess Inventory and Liquidations ........................................................1426

                   EG.        Defendants Relied on Footwear and International Sales to Obscure the
                              Company’s Sales and Margin Declines .................................................1630

                   F.         The Company’s Stock Price Declined When the

                   H.         Under Armour’s Declining Demand and Unsustainable Business
                              Practices Catch Up to Them but Defendants Mislead the Market as to
                              the True Reasons Behind the Company’s Problems ..................................31

                   I.         The Market LearnedBegan to Learn the Truth About the Company’s
                              Sales Problems17, Causing the Stock Price to Decline .............................33


                                                             1495422_1
                                                                 i
 Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 267 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 3 of 213

                                                                                                                                     Page


                J.         The SEC and DOJ Launched Investigations Into Under Armour’s
                           Accounting Practices and Related Disclosures, Plank Stepped Down as
                           the Company’s Chief Executive Officer, and the SEC Preliminarily
                           Determined to File an Enforcement Action Against Defendants ..............35

                K.         Numerous Facts Support Defendants’ Scienter .....................................1938

                           1.        DefendantNumerous Facts Support Plank’s Scienter ....................38

                                     a.         Plank Had Direct Knowledge or Reckless Disregardof,
                                                and Was Personally Implicated in, the Fraud ....................38

                                     b.         Plank’s Public Statements and Access to the Company’s
                                                Undisclosed Fundamental ShiftInternal Systems and
                                                Sales
                                                Problems .................................................................... 19Data
                                                ............................................................................................40

                                     2c.        Expert Opinion Confirms theThe SportScan Data
                                                Revealed byCited in the Morgan Stanley Was “Materially
                                                Consistent” with Under ArmourReport Mirrored the
                                                Company’s Internal Sales Data ......................................2644

                                     d.         DefendantPlankWas Motivated to Maintain a Positive
                                                Market Perception of the Company and’s Participation in
                                                Company Meetings ............................................................48

                                     e.         Plank’s Motivation to Personally Capitalize on the
                                                Company’s Artificially Inflated Stock Value ................2849

                4.         Expert Opinion Confirms that Plank’s Class Period Stock Sales
                           Were Highly Suspicious ............................................................................33

                           2.        The Scienter of Company Executives Is Imputed to Defendant
                                     Under Armour ............................................................................3757

VI.   DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
      OMISSIONS ..................................................................................................................3861

                A.         2015 Investor Day ..................................................................................3963

                B.         3Q15Third Quarter 2015 Financial Results ...........................................4266



                                                            -
                                                            ii
                                                             -
                                                        1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 268 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 4 of 213

                                                                                                                            Page


VII.    INVESTORS BEGIN TO LEARN THE TRUTH BUT DEFENDANTS
        CONTINUE TO MISLEAD THE MARKET ...............................................................4672

                A.      Published Retail Data Exposes Growth, Market Share, and ASP
                        Declines at Under Armour .....................................................................4673

                B.      Misleadingly Positive 4Q15Fourth Quarter 2015 and FY15Fiscal Year
                        2015 Financial Results and Downplay of the Morgan Stanley Report ..5077

                C.      Press Release Reiterating 2016 Financial Outlook Despite Sports
                        Authority’s Bankruptcy .........................................................................5584

                D.      Misleadingly Positive 1Q16First Quarter 2016 Financial Results and
                        Guidance Raise ......................................................................................5686

                E.      Departures of the Company’s Chief Merchandising Officer and Chief
                        Digital Officer ........................................................................................6193

                F.      Reduced Financial Guidance Tied to the Sports Authority Bankruptcy6295

                G.      Under Armour Bond Offering ...............................................................6498

                H.      Disappointing 2Q16Second Quarter 2016 Financial Results: Partial
                        Revelations of a Growth Slowdown ......................................................6599

                I.      Goldman Sachs Global Retailing Conference .....................................70107

                J.      Disappointing 3Q16Third Quarter 2016 Financial Results: Further
                        Revelations of a Growth Slowdown and Compressed Margins ..........71110

                K.      Disappointing 4Q16 & FY16Fourth Quarter 2016 and Fiscal Year 2016
                        Financial Results: Revelations of a Severe Growth Slowdown and the
                        Sudden Resignation of CFO Molloy ...................................................76118

                L.      The Fallout From the Fraud Continued, but Defendants Conceal the Full
                        Truth From Investors ...............................................................................127

                M.      The Company Announces Plank’s Resignation as CEO .........................138

                N.      Federal Investigations Into the Company’s Accounting Practices and
                        Related Disclosures..................................................................................139

VIII.   DEFENDANTS’ GAAP VIOLATIONS AND MATERIALLY FALSE AND
        MISLEADING FINANCIAL STATEMENTS ...............................................................145

                                                          -
                                                         iii
                                                          -
                                                     1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 269 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 5 of 213

                                                                                                                                 Page


                 A.        Under Armour Failed to Disclose Its Improper Sales Practices ..............146

                           1.        The Financial Impact of Channel Stuffing on Under Armour’s
                                     Quarterly Revenue .......................................................................149

                           2.        The Impact of Channel Stuffing on Future Results .....................150

                 B.        Under Armour’s Continued Growth Was Achieved by Improperly
                           Recognizing Revenue on Contingent Sales and Understating Reserves
                           for Customer Returns, Allowances, Markdowns, and Discounts ............151

                           1.        Improper Contingent Sales ..........................................................152

                 C.        Improper Reserves for Customer Returns, Allowances, Markdowns, and
                           Discounts..................................................................................................156

                 D.        Under Armour Overstated Inventory .......................................................159

IX.     POST-CLASS PERIOD REVELATIONS ..................................................................82161

IX.     VERIFIED DERIVATIVE COMPLAINT ........................................................................88

X.      LOSS CAUSATION AND ECONOMIC LOSS .........................................................90166

                 A.        January 10, 2016 Revelations ..............................................................90167

                 B.        May 3, 2016 Revelations .....................................................................90167

                 C.        May 31, 2016 Revelations ...................................................................91168

                 D.        July 26, 2016 Revelations ....................................................................91168

                 E.        October 25, 2016 Revelations ..............................................................92168

                 F.        January 31, 2017 Revelations ..............................................................92169

                 G.        August 1, 2017 Revelations .................................................................92169

                 H.        November 3, 2019 Revelations ................................................................170

XI.     PRESUMPTION OF RELIANCE ...............................................................................94172

XII.    NO SAFE HARBOR ...................................................................................................96174

XIII.   CLASS ACTION ALLEGATIONS ............................................................................98176
                                                              -
                                                             iv
                                                              -
                                                         1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 270 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 6 of 213

                                                                                                                                        Page


COUNT I .....................................................................................................................................100

COUNT II ....................................................................................................................................103

COUNT III ...................................................................................................................................104

PRAYER FOR RELIEF ..............................................................................................................106

JURY TRIAL DEMANDED .......................................................................................................107




                                                                   -
                                                                   v
                                                                   -
                                                               1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 271 of 477
        Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 7 of 213



I.          INTRODUCTION

            1.   Lead Plaintiff Aberdeen City Council as Administrating Authority for the North

East Scotland Pension Fund (“Aberdeen”) and”), Monroe County Employees’ Retirement System

(“Monroe”), and KBC Asset Management NV (“KBC”) (collectively, “Plaintiffs”) bring this class

action for violations of the federal securities laws.

            2.   Plaintiffs bring this federal class action under Sections 10(b), 20(a), and 20A of the

Securities Exchange Act of 1934 (“Exchange Act”), and Rule 10b-5 promulgated thereunder, on

behalf of all persons or entities that purchased or acquired common stock of Under Armour, Inc.

(“Under Armour” or “Company”) between September 16, 2015, and January 30, 2017November

1, 2019, inclusive (“Class Period”), and who were damaged thereby. The Exchange Act claims

are brought against Defendants Under Armour and the Company’s former Chief Executive Officer

(“CEO”) and Chairman of the Board Kevin A. Plank (“Plank”) (collectively, “Defendants”).1

            3.   Plaintiffs make the following allegations upon personal knowledge as to those

allegations concerning Plaintiffs and, as to all other matters, upon the investigation of counsel

which included, without limitation: (a) review and analysis of public filings made by Under

Armour and other related parties and non-parties with the United StatesU.S. Securities and

Exchange Commission (“SEC”); (b) review and analysis of press releases and other publications

disseminated by Defendants and related non-parties; (c) review of news articles and shareholder

communications; (d) review of other publicly available information concerning Defendants and

related non-parties; (e) interviews with factual sources, including individuals formerly employed



1
    In the Court’s September 19, 2018, Memorandum Opinion, the Court dismissed with prejudice
the Section 11 and 15 claims brought under the Securities Act of 1933. ECF No. 74 at 2, 50. As
such, Plaintiffs will not re-allege and replead these already rejected claims, but preserve their right
to appeal the dismissal. See Young v. City of Mount Rainier, 238 F.3d 567, 572-73 (4th Cir. 2001).

                                                  -1-
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 272 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 8 of 213



by the Company and its retail partners; and (f) consultation with experts. Plaintiffs believe that

substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

II.         SUMMARY OF THE ACTION

            4.   Under Armour is one of the largest sports apparel companies in the world. The

Company sells branded athletic products, which it divides into three categories: apparel, footwear,

and accessories. By a wide margin, apparel is the Company’s largest selling product, accounting

for over two-thirds of net revenue in 2016. NearlyDuring the Class Period, nearly two-thirds of

the Company’s sales awere made through wholesale channels such as sporting goods chains (e.g.,

Dick’s Sporting Goods (“Dick’s”), Foot Locker, Champs, Finish Line)., and The Sports Authority

(“Sports Authority” or “TSA”)). While Under Armour products are available worldwide, over

three-quarters of its sales come from North America. According to Plank, North American apparel

is the Company’s “largest and most profitable business by far.”

            5.   Under Armour faces steep competition in the athletic apparel industry. The

Company’s chief rivals, Nike and Adidas, have dominated the sector for decades. But the

Company slowly gained market share since its formation in 1996, capitalizing on a premium brand

image and a reputation for state-of-the-art fabrics designed to enhance athletic performance. In

2014, Under Armour surpassed Adidas to become the number two sportswear brand by revenue in

the United States, and seemed poised to challenge Nike’s supremacy as the top brand.

            6.   Defendants knew that growth was critical to keep pace with competitors and to

perpetuate the market’s perception of the Company as a leading premium sports brand. For 26

consecutive quarters, spanning from the second quarter of 2010 (“2Q10”) to the third quarter of

2016 (“3Q16”), Under Armour reported a compounded annual growth rate of 20% or more. At


                                               -2-
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 273 of 477
     Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 9 of 213



every turn, Plank reminded investors of this feat, noting that it was shared by only one other

company in the S&P 500, and assured the market that such growth would continue, and continue

as a premium-priced brand.

            7.      Indeed, at the start of the Class Period, during the Company’s Investor Day on

September 16, 2015 (“2015 Investor Day”), Defendants boasted that “demand for our brand has

never been stronger” and led the market to believe that the Company’s incredible growth streak

would continue.

            8.      In reality, however, the Company was then experiencing a severe decline in its

apparel business due to its “brand heat” (i.e., customer demand) dying. In other words, customer

demand for core products that the Company had successfully sold for years had begun to wane.

As Defendants would later admit, the Company failed to compensate for this decline by offering

new and fashionable products in line with the latest consumer trends, such as athletic leisure

apparel (akaa.k.a. “lifestyle” or “athleisure”). As a result, the Company’s apparel sales began to

slow, causing it to lose market share to Nike and Adidas.

            9.      Faced with declining Although this slowdown in demand and excess inventory

duewas apparent to unsold productsDefendants in 2015, Plank demanded that Under Armour

maintain aggressive sales goals based on its historic 20% growth that were now unrealistic.

However, it was never acceptable within the Company to lower these unrealistic goals – even after

the Company’s second biggest account, Sports Authority, declared bankruptcy.

            9.10.   Accordingly, the Company abandoned its fundamental sales philosophy of

competing on brand strength over price. Instead, the Company, and resorted to lowering sales

prices and offering promotions, and had to liquidateliquidating excess inventory at. Defendants’

steep discounts. This, in turndiscounting, however, contributed to a drop in the Company’s

                                                 -3-
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 274 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 10 of 213



average sales prices ((“ASPs)”) at a time when competitors in the sports apparel industry, such as

the Company’s chief rival Nike, were steadily increasing average sales prices.their own ASPs.

Defendants also attempted to offset the decline of the Company’s core apparel business by

accelerating investments in lower margin footwear products and international expansion, which

provided a scapegoat for the Company’s margin declines. While these strategies helped to

temporarily prop up revenue growth, they were alone insufficient to generate the sales necessary

to continue the Company’s growth streak of 20%.

            11.   ToAs a result, Defendants resorted to a slew of improper and/or concealed sales

and accounting practices that violated Generally Accepted Accounting Principles (“GAAP”) and

SEC regulations. These practices were used repeatedly in 2015 and/or 2016, with multiple retailers

such as the Company’s largest customers, Dick’s and Sports Authority, and included: (a) pulling

forward orders from the month after the quarter to ship within the quarter in order to hit aggressive

sales goals or close the gap; (b) leaning on retailers to take products early, including by adjusting

contract terms, offering discounts, and guaranteeing that Under Armour would buy back a certain

amount of the products that did not sell; (c) shipping products earlier than planned; (d) shipping

products in the final days of the quarter, resulting in the return of truckloads of unopened boxes of

inventory and shipping plans that sometimes contradicted the dates on the boxes; (e) shipping new

inventory intended for the Company’s own factory stores to off-price seller T.J.X. Co.2 so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at the Company’s own stores; and (f) continuing to ship products to

Sports Authority, and booking sales for those goods when shipped, even after it became clear that



2
   T.J.X. Co. is an American multinational off-price department store corporation that includes
TJ Maxx, Marshalls, HomeGoods, Homesense, and Sierra in the United States.
                                                -4-
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 275 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 11 of 213



Sports Authority was headed to bankruptcy and collectability of the revenue was not probable.

These suspect sales practices enabled the Company to increase quarterly revenue, mask slowing

demand for Under Armour products, and extend the 26-quarter streak of 20% sales growth.

However, these illicit tactics were unsustainable. Although they helped Under Armour hit the

number and close the gap, they were robbing from future quarters. As one former Under Armour

sales executive explained to The Wall Street Journal (“WSJ”), the “[p]roblem is once this starts it

doesn’t seem to stop. We found ourselves pulling forward every quarter.”3

            12.    The strains on Under Armour’s business were evident inside the Company, as were

the Company’s suspect sales practices. Plank and other executives knew of the Company’s fading

brand heat, excess inventories, steep discounting, pull forwards, and other machinations employed

to boost revenue and hit Plank’s aggressive sales targets. Indeed, the U.S. Department of Justice

(“DOJ”) and SEC are investigating Defendants’ involvement in these practices, including emails

that show Plank knew about efforts to move revenue between quarters.4

            10.13. However, to preserve the Company’s carefully cultivated image as a fast-growing,

premium sports brand and a legitimate challenger to Nike, Defendants concealed these the

Company’s problems and improper accounting and sales practices during the Class Period. Rather

than explain to the market that “brand heat” for the Company’s apparel was dying and that the

Company was forced to employ improper accounting and sales tricks to maintain a façade of

consistent growth, Defendants instead falsely claimed that Under Armour apparel wassales were

stronger than ever. DefendantsPlank trumpeted explosive growth and strong customer demand,


3
   Ex. A, Khadeeja Safdar & Aruna Viswanatha, Inside Under Armour’s Sales Scramble:
‘Pulling Forward Every Quarter’, WALL ST. J., Nov. 14, 2019, at 3.
4
    See id. at 2; see also Ex. B, Aruna Viswanatha & Khadeeja Safdar, Under Armour Is Subject
of Federal Accounting Probes, WALL ST. J., Nov. 3, 2019, at 1.
                                                 -5-
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 276 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 12 of 213



while downplaying and concealing the Company’s suspect sales practices, declining brand heat,

ballooning inventory, liquidations, and gross margin compression. And, despite these negative

trends afflicting the Company’s core business, Defendants doubled down on their fraud on January

28, 2016, by repeatedly emphasizing the purportedly continuing premium brand strategy.

            11.    Defendants also attempted to offset the decline of the Company’s core apparel

business by accelerating investments in lower margin footwear products and international

expansion. This expensive strategy temporarily propped up revenue growth and provided a

scapegoat for the Company’s margin declines.
            12.14. As a result, Under Armour’s common stock prices were artificially inflated

throughout the Class Period. In fact, analysts noted that Under Armour stock achieved an

“unprecedented valuation” near the beginning of the Class Period. Plank personally cashed in on

suchthis artificial inflation (and the “unprecedented valuation”) by selling a substantial amount of

his Company stock for total proceeds of $138.2 million during the Class Period. As detailed below,

and in the attached expert declaration, these sales were suspicious in timing and amount and

dramatically out of line with Plank’s selling practices before and after the Class Period. Indeed,

over just nine days in November 2015 and April 2016, Plank sold 36% and 42%, respectively, of

the shares he had available to sell shortly after making material misstatements and omissions.

Since then2016, Plank has not sold a single share of his Company stock. Defendants also leveraged

their fraud by raising nearly $600 million from the sale of then-investment grade bonds (“Bonds”)

during the Class Period.

            13.15. On The first cracks in Under Armour’s veneer began to appear on January 10, 2016,

when Morgan Stanley published a report (“Morgan Stanley Report”) relying on fact-based industry

sales data that revealed declining average sales pricesASPs, market share, and margins since spring



                                                  -6-
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 277 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 13 of 213



2015., before the start of the Class Period.5 The sales data in the report was materially consistent

with Under Armour’s own internal sales data available to Defendants, through multiple sources.

In response to this reportthe Morgan Stanley Report, Under Armour’s stock price declined sharply,

which represented the beginning of a decline in Under Armour common stock prices as the truth

began to emerge. However, Defendants denied the report and reassured investors that the

Company’s financial results and prospects were as strong as ever and that the Company was and

would continue to be a premium brand that would not compete on price. The market credited the

Company’s claim with numerous analysts issuing reports stating that Under Armour was now

pursuing its premium-priced strategy even more aggressively.

            14.16. Ultimately, the Company was no longer able to keep the charade going. The

Company’s illicit and unsustainable sales practices were no longer able to prop up Under Armour’s

sales, and its purported growth streak came to a crashing halt in the fourth quarter of 2016. Despite

thismonths of pushback from Defendants against the Morgan Stanley Report data and their

assurances that Under Armour would continue to grow and that its brand was strong, the market

continued to learn of Under Armour’s true financial condition through a series of additional

disclosures, including a dramatic slowdown in growth, compressed margins, excess inventory, and

Company executive resignations that included two of the Company’s Chief Financial Officers

(“CFO”), Brad Dickerson (“Dickerson”) and Lawrence P. Molloy (“Molloy”), ”) (who left after

only 13 months on the job.). The market’s reaction to these partial revelations caused precipitous

drops in Under Armour’s common stock prices and losses of millions of dollars by Under

Armour’s investors.



5
    Ex. C, Morgan Stanley Research, Under Armour Inc. Declining Share and ASPs Dual Threat
to Premium Valuation, Downgrade to UW (Jan. 10, 2016) (“Morgan Stanley Report”).
                                                -7-
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 278 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 14 of 213



            15.17. Yet Plank – despite knowing of the Company’s efforts to move revenue between

quarters and the strains in Under Armour’s business – continued to tell investors that that “our

demand is still there,” that Under Armour’s revenue growth and “growth story” were “intact,” that

its “brand is truly stronger than it’s ever been,” and that the Company’s problems were “due to the

function of our extreme growth.” The Company’s downward spiral continued after the Class

Period ended on January 30, 2017thereafter, confirming the depth of the problems alleged herein.

During the first half of 2017, Under Armour continued to report drastically reduced sales growth,

lower margins, and excess inventory. The Company also went through a massive restructuring in

an attempt to restore the Company’s “brand heat,”, including an evolution from Under Armour’s

traditional performance-oriented products to “style, innovation, lifestyle, things that look like

people want to wear.” The Company’s common stock has not recovered since the Class Period

ended nearly 22 months ago, trading over 50% lower than its artificially inflated Class Period

highs.6

            18.   Defendants continued to conceal the full truth from investors, including the illicit

sales practices they had used to buoy sales growth for more than a year and that the DOJ and SEC

were investigating the Company’s revenue-recognition, accounting and sales practices, Molloy’s

tenure, and its late 2016 results.

            19.   On October 22, 2019, Under Armour announced suddenly that Plank was stepping

down as CEO. This came as a surprise because Plank had repeatedly told shareholders that

“maintaining our founder-led approach” was so important that it required recapitalizing the


6
    On November 15, 2018, Under Armour’s publicly traded common stock closed at $22.39
(Class A) and $20.90 (Class C) per share compared to $28.94 and $25.09 per share on the final
day of the Class Period (January 30, 2017), and Class Period highs of $52.95 and $46.20 per share
on September 17, 2015 and April 21, 2016, respectively.

                                                  -8-
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 279 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 15 of 213



Company, which he did by creating a new class of common shares that allowed him to stay in

control of Under Armour. Defendants again failed to reveal the true reason behind his departure.

Less than two weeks later, on November 3, 2019, WSJ surprised the market further by revealing

that the DOJ and SEC were conducting criminal and civil securities fraud investigations into

whether Under Armour “shifted sales from quarter to quarter” during the Class Period in order to

make its financial results “appear healthier” than they actually were.7 This article forced the

Company to issue a statement confirming the ongoing investigations and admitting that they had

hidden them from investors for nearly three years: “The company began responding in July 2017

to requests for documents and information relating primarily to its accounting practices and related

disclosures.”8

            20.     Under Armour later disclosed that, as a result of the SEC’s investigation, the

Company, Plank, and Molloy’s successor, CFO David E. Bergman (“Bergman”), each received a

Wells Notice informing them that “the SEC Staff has made a preliminary determination to

recommend that the SEC file an enforcement action against the Company and each of the

Executives [Plank and Bergman] that would allege certain violations of the federal securities laws”

related to “the Company’s disclosures covering the third quarter of 2015 through the period ending

December 31, 2016, regarding the use of ‘pull forward’ sales in connection with revenue during

those quarters.” “Specifically,” Under Armour explained, “the SEC staff is focused on the

Company’s disclosures regarding the use of pull forward sales in order to meet sales objectives.”

Notably, the Wells Notices concern the same time period in which Plank reaped profits of $138.2

million from his sales of Under Armour stock.


7
     Ex. B, at 1.
8
     Id. at 2.
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1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 280 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 16 of 213



            21.    Under Armour subsequently provided additional information about the Wells

Notices, including that the Wells Notices informed Defendants that the SEC “would allege certain

violations of the Securities Act of 1933 and the Securities Exchange Act of 1934 and certain rules

promulgated thereunder” and “also reference potential charges related to the Executives’

participation in the Company’s violations, as well as control person liability under the Exchange

Act.”

III.        JURISDICTION AND VENUE

            16.22. The Exchange Act claims asserted herein arise under Sections 10(b), 20(a) and 20A

of the Exchange Act, 15 U.S.C. §§78j(b), 78t(a), 78t-1, and Rule 10b-5 promulgated thereunder

by the SEC, 17 C.F.R. §240.10b-5.

            17.23. This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§1331 and Section 27 of the Exchange Act, 15 U.S.C. §78aa.

            18.24. Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c), and Section 27

of the Exchange Act, because Under Armour conducts substantial business in this District, and

many of the acts and practices complained of herein occurred in substantial part in this District.

            19.25. In connection with the challenged conduct, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including, without limitation, the United

States mails, interstate telephone communications, and the facilities of the national securities

markets.

IV.         PARTIES

            20.26. Plaintiff Aberdeen was appointed to serve as Lead Plaintiff in this action by

Orderthe Orders of this Court dated April 26, 2017. Dkt. [ECF No. 13.] and September 14, 2020

[ECF No. 150]. As shown in the certification filed with the Court on April 11, 2017 (Dkt. No.


                                                  - 10 -
1495422_1
    Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 281 of 477
      Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 17 of 213



January 6-3), 2020 and attached hereto as Exhibit AD, Aberdeen purchased or otherwise acquired

495,441815,726 shares of Class A common stock and 128,037 shares ofand Class C common stock

of Under Armour common stock at artificially inflated prices during the Class Period.9

            21.27. As shown in the certification attached hereto as Exhibit B, PlaintiffE, Monroe

purchased Class A common stockCommon Stock of Under Armour at artificially inflated prices

during the Class Period.

            28.    As shown in the certification attached hereto as Exhibit F, KBC’s funds purchased

Class A Common Stock of Under Armour at artificially inflated prices during the Class Period.

            22.29. Plaintiffs suffered economic losses when true facts about the Company’s financial

condition were disclosed and the artificial inflation was removed from the prices of such common

stock.

            23.30. Defendant Under Armour is a Maryland corporation with its principal place of

business located at 1020 Hull Street, Baltimore, Maryland 21230.

            24.31. Defendant Plank is the founder of Under Armour and served as Chief Executive

Officer (“CEO”)CEO and Chairman of the Board throughout the Class Period, holding these

positions from the Company’s formation in 1996 through present. As CEO,January 1, 2020, when

he stepped down as CEO and transitioned to Executive Chairman and Brand Chief. Plank spoke

on Under Armour’s behalf during conference calls, in press releases, and in the media. Plank was



9
    The Company has three classes of common stock. Class A Common Stock is publicly traded
(NYSE: UAA) and carries one vote per share. Class B Common Stock is non-publicly traded,
carries ten votes per share, and automatically converts to Class A Common Stock when Plank
beneficially owns less than 15% of the total shares of Class A and Class B Common sStock
outstanding and in other limited circumstances. Class C Common Stock is publicly traded (NYSE:
UA) and carries no voting rights except in limited circumstances. Shares of Class C Common
Stock were first issued after the close of trading on April 7, 2016, by way of a one-for-one stock
dividend to all holders of record of Class A and Class B Common Stock as of March 28, 2016.
                                                 - 11 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 282 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 18 of 213



also the Company’s largest shareholder throughout the Class Period, beneficially owning just over

15% of all shares outstanding and controlling approximately 65% of the voting shares. Plank went

to great lengths to maintain control of the Company, as demonstrated by a massive recapitalization

during the Class Period that solidified Plank’s control. Since its Initial Public Offering (“IPO”) in

2005, the Company had two classes of stock, Class A and Class B. Class A Common Stock is

publicly traded (NYSE: UAA) and carries one vote per share. Class B Common Stock is non-

publicly traded and carries ten votes per share. As of October 28, 2015, Plank held 35,700,000

ten-vote Class B shares and 76,445 one-vote Class A shares, giving him 66.5% of the votes.

            25.32. In the years following the 2005 IPO, events such as the issuance of new Class A

stock and employee stock compensation, among other things, diluted Plank’s ownership share and

put his voting control of the Company at risk. A provision in Under Armour’s charter provides

that should Plank’s ownership stake fall below 15%, Plank’s ten-vote Class B shares would

automatically convert to one-vote Class A shares and, thereby, divest Plank of his voting power,

which would fall from 65% to below 15%. As one analyst noted, “Given there have been two

splits in the last three years, his ownership has already been diluted, which is why it is becoming

dangerously close to the 15% threshold.” In 2015, to prevent that from happening, Plank caused

the Company to adopt several amendments to its charter centered on ensuring that Plank would

not lose voting control. Specifically, the Company resolved in July 2015 to issue a third class of

common stock: Class C. (NYSE: UA). The new Class C stock would have zero votes.

            26.33. Plank publicly lobbied for the Class C issuance in a June 15, 2015, letter to

shareholders. Plank acknowledged that the Company’s dual-class structure was designed to ensure

he “retain control over significant decisions impacting Under Armour’s future.” Plank warned the

dilution ofthat diluting his ownership stake “could ultimately undermine our current governance

                                                - 12 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 283 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 19 of 213



structure.” Aand claimed that “maintaining our founder-led approach is in the best interests of

Under Armour and all of its stockholders.” Plank’s letter further touted the purported benefit of

giving him “flexibility of selling these non-voting shares . . . while maintaining our founder-led

approach.” Importantly, the related amendments to the Company’s charter included a provision

limiting the amount of shares Plank could sell in any given year to 2.5 million shares, with potential

rollover starting in 2017.

            27.34. On April 7, 2016, the Class C shares were issued as a 1:1 dividend to all holders of

Class A and Class B shares. The benefit to Plank was two-pronged. First, the Company could use

the zero-vote Class C shares for employee stock-based compensation and financing transactions,

e.g., acquisitions involving Company stock, without diluting Plank’s voting power. Second, as

discussed further below, Plank could sell Class C shares without reducing his voting power – as

he did just a few weeks after the Class C shares were issued.

            28.35. WhileAlthough the Class C issuance demonstrated the lengths Plank would go to

maintain control of the company he founded, it was not well received by all. As a July 24, 2015,

analyst report issued by Morningstar Equity Research (“Morningstar”) noted, the “addition of a

Class C stock . . . can hardly be an improvement for shareholders as a whole.” Likewise,

contemporaneous media noted, “the move by Under Armour will no doubt stoke the ire of some

corporate governance experts and academics in the field. Any time a single person has more voting

power in a publicly traded company than her or his proportional ownership stake in that company,

there will be potential conflict.”




                                                  - 13 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 284 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 20 of 213



I.V.        SUBSTANTIVE ALLEGATIONS

            A.     Background of the Company

            29.36. In 1996, Under Armour was founded in 1996 by Plank, a 23-year-old former

University of Maryland football player, who engineered a t-shirt using a synthetic fabric, with

moisture-wicking performance fibers that helped keep athletes cool and dry under hot conditions.

The Company specializes in highly technical, performance-oriented athletic apparel, such as

ColdGear, HeatGear, and AllSeasonGear styles designed to enhance comfort and mobility and

regulate body temperature in different types of weather. Under Armour describes its apparel as

“engineered to replace traditional non-performance fabrics in the world of athletics and fitness

with performance alternatives designed and merchandised along gearlines.”

            30.37. Over the years, the Company’s product lineup has expanded from a single shirt to

myriad Under Armour branded athletic products in three categories: apparel, footwear, and

accessories. However, apparel remains the Company’s core product and top revenue generator,

accounting for over two-thirds of net revenue in fiscal year 2016 (“FY16”). While Under Armour

products are available worldwide, the Company’s fortunes have always been tied to success in

North America, which contributed 83% of the Company’s net revenues in 2016. Thus, North

American apparel sales are critical to the Company’s success. As Plank admitted at the end of the

Class Period, on January 31, 2017: “North American apparel is still our largest and most profitable

business by far. Accordingly, less-than-expected growth in this area disproportionately pressures

our overall growth rate.”

            31.38. During the Class Period, nearly two-thirds of the Company’s sales (65% in 2016)

arewere wholesale sales to national and regional sporting goods chains (e.g., The Sports Authority,

Inc. (“Sports Authority”), Dick’s, Foot Locker, Champs), independent and specialty retailers,


                                                 - 14 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 285 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 21 of 213



department store chains, institutional athletic departments, and sports leagues and teams. Under

Armour also owned and operated its own retail locations (called “Brand House” and “Factory

House” stores)10 and retail websites that exclusively sold Under Armour products, which are

collectively referred to as the “direct-to-consumer” (“DTC”) channel, accounting for 31% of the

Company’s sales in 2016.

            32.39. Under Armour has many competitors, including athletic brands such as Nike,

Adidas, Reebok, lululemon, Columbia, New Balance, Brooks, and Puma. However, the Company

steadily gained market share from these competitors, capitalizing on its premium brand image and

reputation for brand performance rather than competing on price. As one analyst put it just prior

to the Class Period, Under Armour’s “brand . . . is sacrosanct.” By protecting that premium brand

image, by fall of 2014, Under Armour had become, by fall 2014, the number two sportswear brand

according to U.S. revenue, surpassing Adidas and setting its sights on number one – Nike.

            B.     Plank Drove Under Armour’s Aggressive Growth Strategy

            33.40. Since Under Armour’s inception in 1996, and even after it went public in 2005,

Plank has called the shots, always controlling a majority of stockholder votes and serving as CEO

anduntil January 1, 2020, and as Chairman of the Board. In throughout the Class Period. Under

this “founder-led” approach, which Plank went to great lengths to protect, Plank has set the

destination and the route.




10
        At the end of 2016, Under Armour had 18 Brand House and 151 Factory House stores in
North America. Brand House stores showcase Under Armour’s latest products. Factory House
stores, primarily located in outlet centers, soeldl excess or undesirable inventory at reduced prices.
At the end of 2016, Under Armour had 18 Brand House and 151 Factory House stores in North
America. By the end of 2019, Under Armour had added only 1 Brand House store (19 total) but
had added 18 Factory House stores (169 total) in North America.
                                                - 15 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 286 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 22 of 213



            34.41. Plank relished the Company’s image as a scrappy, fast-rising upstart from

Baltimore. He implemented an aggressive growth strategy, brazenly targeting the Company’s

more-established competitors. In 2010, for example, Plank announced the Company’s foray into

the basketball business (one of Nike’s strongholds) by assailing Nike as “old” and declaring Under

Armour’s intent to become the “No. 1” brand.

            35.42. For Plank and Under Armour, the overriding objective was growth. Within Under

Armour, instructions for determining growth forecasts were very simple: take what you sold last

year and add 20%. The Company’s “top down” aggression came directly from Plank. Plank’s

obsession with themaintaining Under Armour’s 20% growth streak – which he played up on

conference calls with analysts, repeatedly referring to Under Armour as a “growth company” –

drove the Company’s revenue-growth-at-all-costs strategy.          ForEmployees knew that the

Company’s growth record was extremely important to Plank and Under Armour, the overriding

objective was growthsuch that it was never acceptable to lower sales goals.

            36.43. Plank’s strategy appeared to pay off. Under Armour rode a wave of tremendous

growth into the Class Period. For 26 consecutive quarters (over six years) spanning from 2Q10 to

3Q16, Under Armour reported an unwavering revenue growth rate of 20% or more (on a year-

over-year basis). Plank never missed an opportunity to remind investors of that feat, coupled with

ultra-aggressive projections and assurances that such growth would continue. For example, during

the Company’s 2015 Investor Day, Plank stated:

            We’ve enjoyed 21 consecutive quarters of 20-plus% revenue growth, more than five years
            of 20-plus% revenue growth quarter in an quarter out, delivering and finding a way and
            doing it not because we are pushing or pressing, because it’s the demand and the app
            from our consumer. We are one of only two companies in the S&P 500 that can make
            that claim, and we are very proud of that and what that means. And frankly, we have no
            expectation of that stopping anytime soon.



                                                - 16 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 287 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 23 of 213



            C.     Under Armour’s Brand Heat Began to Die, Demand Weakened, and
                   Sales Declined

            37.44. However, despite many years of successful growth, the Company’s product styles

had grown stale and its premium “brand heat” (i.e., customer demand) was dying by the start of

the Class Period in September 2015. The“Brand heat” was an expression Plank and others at

Under Armour used to refer to the demand generated by the Company’s brand appeal to

consumers. When the Company failed to offer new and updated products in line with the latest

consumer trends., its brand heat declined. One such trend involved athletic leisure apparel

(akaa.k.a. “athleisure” or “lifestyle” apparel), which had exploded in popularity by the start of the

Class Period. Athletic leisure apparel is fashion-oriented casual wear inspired by workout clothing

and is sold by many different retailers beyond the traditional sporting goods stores. Many of the

Company’s competitors, particularly Nike and Adidas, adapted to this trend by expanding their

product lines to include athletic leisure apparel. However, Under Armour failed to offer its own

line of athletic leisure apparel until late in the Class Period.2016. Instead, the Company continued

to lean heavily on the same “core basic” apparel styles it had sold for years, such as training t-

shirts and hooded sweatshirts. While,Although historically, these products had been huge volume

drivers for Under Armour, they became oversaturated as many customers already owned them in

different colors, and were not as interested in buying them again. This enabled competitors to

capture critical sales volume and market share from Under Armour, and enhance their brand values

at the expense of Under Armour.

            45.    Declining demand for Under Armour apparel caused progressively worse financial

problems at the Company. This was particularly damaging because apparel sales provided the

majority of the Company’s sales (67% of net revenue in 2016) and were critical to meeting the

Company’s aggressive financial projections. According to SportScan retail data, the Company’s
                                                - 17 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 288 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 24 of 213



core apparel sales began slowing around spring of 2015, causing the Company to lose market share

to rivals like Nike and Adidas.11 Compounding these problems, the Company was experiencing a

monumental downturn in its primary sales channel, North American wholesale. Historically, the

Company enjoyed strong and profitable sales through its North American wholesale accounts,

including traditional sporting goods stores such as Dick’s, Sports Authority, City Sports, Sport

Chalet, Finish Line, Footlocker, and Champs. By 2015, however, consumers had begun to eschew

these stores in favor of online shopping and large discount chains (e.g., Target, Wal-Mart). This

trend hurt sales of Under Armour’s products because the Company sold relatively few products

through these alternative channels. Meanwhile, specialty stores such as Gap, Abercrombie, and

lululemon began to offer their own athletic leisure apparel that competed with, and cut into the

sales of, apparel sold at traditional sporting goods stores.

            46.   This trend worsened over time and a number of the Company’s traditional sporting

goods customers were forced to declare bankruptcy and close their stores during the Class Period.

On October 5, 2015, City Sports filed for bankruptcy, and subsequently announced that it would

liquidate and close all 26 of its stores. And, on February 9, 2016, CNN reported that Under

Armour’s second-largest retail customer, Sports Authority, faced bankruptcy after missing a $20

million debt payment. Sports Authority then filed for Chapter 11 bankruptcy protection on March

2, 2016, and on April 26, 2016, announced that it would liquidate rather than reorganize, shuttering



11
    See Morgan Stanley Research, Under Armour Inc. Declining Share and ASPs Dual Threat to
Premium Valuation, Downgrade to UW (Jan. 10, 2016),Ex. C, at 1, 4-6 (“Morgan Stanley
Report”). The Morgan Stanley Report is attached hereto as Exhibit C and incorporated by
reference herein.. As discussed in ¶¶64-72, 79-82 below, the SportsScan retail data set forth in
this reportthe Morgan Stanley Report was materially consistent with Under Armour’s internal
retail data, showing a slowdown in core apparel sales that began around spring of 2015, but
Defendants nonetheless publicly downplayed and discredited this report and falsely reassured
investors that the Company’s sales growth was as strong as ever.
                                                - 18 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 289 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 25 of 213



463 stores. On April 18, 2016, Vestis Retail Group, the operator of Sport Chalet, Eastern Mountain

Sports, and Bob’s Stores, filed for bankruptcy, announcing a restructuring plan that would result

in the closing of 56 stores, including all 47 Sport Chalet stores. Losing these customers put

additional pressure on the Company’s faltering apparel demand. Several former Under Armour

executives told WSJ, “The strains in Under Armour’s business were evident inside the company

in 2016.”12 They further explained to WSJ that this “slowdown was occurring in more places than

just [TSA]” and that the TSA bankruptcy “just amplified the issue.”13

            47.   Despite losing these customers – including Sports Authority – Under Armour

maintained its now-unrealistic sales goals. Internally, it was never acceptable to lower these goals

even though everyone knew they were unrealistic without Sports Authority – a major account for

Under Armour. Attempting to cover up these sales declines and provide the illusion of financial

health, the CompanyDefendants’ abandoned itsUnder Armour’s fundamental sales philosophy of

competing on brand strength rather than price. Instead, the CompanyDefendants resorted to

lowering sales prices, including offering heavy discounts and promotions, and engaging in a

myriad of suspect sales practices.

            D.    Under Armour Ramps Up Its Promotional Activity

            38.48. Beginning in 2015, Under Armour lowered sales prices and ramped up its

promotional activity.14 This resulted in rapidly decelerating average sales prices of the Company’s

apparel, causing decreased product margins. This trend compared unfavorably with the sports




12
      Ex. A, at 3.
13
      Id. at 4.
14
      See id.Ex. C, at 1, 4-5.

                                               - 19 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 290 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 26 of 213



apparel industry, overall and particularly with the Company’s chief rival, Nike, which werewas

experiencing steadily increasing average sales prices.15

            39.49. Under Armour heard all the time from buyers and sales representatives in 2015 and

2016 that the Company’s brand heat was dying down. One notable example of this trend involved

Under Armour’s “big logo hoodie” – a performance-oriented hooded fleece sweatshirt with a big

Under Armour logo on the chest. This was a top seller and huge business volume driver for years

and, as a resultthus, Under Armour consistently carried a large inventory in many different colors.

However, as brand heat was dying, sales for this product began to decline significantly. As a

result, the Company decided – for the first time ever – to run sales of the hoodie during Black

Friday of 2015 (November 27, 2015). The Company offered the hoodie for as much as 25% off

at numerous stores, including Dick’s, Sports Authority, and Macy’s.

            40.50. The Company’s sales declines opened the promotional floodgates. After the hoodie

was put on sale for the first time ever in November 2015, Under Armour began to run more and

more promotions in 2015 and 2016. For example, in addition to the big-logo hoodie, Under

Armour began to sell other staples of its apparel lineup like polo shirts and training t-shirts for

25% off in 2015 and 2016. Like the big-logo hoodie, these products historically drove large sales

volume at premium prices and, unlike any prior time, had to be put on sale during the Class Period

because of dying demand for the Company’s brand.

            51.    To incentivize retailers to order certain merchandise, the Company used a buyback

programFor a while, the heavy discounts, promotions, and lower sales prices, helped the Company

continue to report revenue growth, meeting Plank’s aggressive 20% growth projections. But, this

manufactured, price-driven, low-quality growth caused lower product margins that damaged the


15
      See id. at 4-5.
                                                 - 20 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 291 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 27 of 213



Company’s bottom line and eroded the Company’s “premium” brand image. These negative

effects were observed by a former Merchandising Manager of the Company, Brock Andersen

(“Andersen”), who stated that: “Under Armour’s apparel products . . . suffered from reduced

customer appeal and demand”; “the Company’s ASPs were falling sharply in North America”; and

the “Company’s apparel and North American margins were not ‘improving’ or ‘offset[ing]’ other

sources of margin decline, but rather were deteriorating due to increasing Company discounts and

promotions, and falling ASPs of the Company’s products.”16 Andersen further stated that Plank

knew or recklessly disregarded these “true facts” and misled investors about them during the Class

Period.17

            E.    Defendants Engaged in Suspect Sales Practices to Further Mask
                  Slowing Demand and Maintain the Company’s 20% Growth Streak

                  1.       Defendants Pull-Forward Sales and Stuff Channels to
                           Artificially Boost Revenues

            52.   In addition to the aggressive promotions and discounting described above,

Defendants also employed a variety of improper sales and accounting practices to mask slowing

demand, enable the Company to appear healthier, and maintain the façade of quarterly growth

demanded by Plank.18 This false portrayal of growth was unsustainable, however, because the

Company was robbing sales from future quarters to portray growth in the current one.

            53.   Defendants engaged in channel stuffing by pulling forward sales from future

quarters into the current quarter to artificially boost revenue, enabling the Company to close the



16
   Andersen v. Plank, No. 1:18-cv-02239-TDC, Verified Shareholder Derivative Complaint, at
75-76 (D. Md. July 23, 2018), ECF No. 1 (“Andersen Complaint”).
17
      See id. at 74.
18
      See Ex. A, at 3-5.

                                               - 21 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 292 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 28 of 213



gap and hit aggressive sales goals, while feigning continued growth to the market. As a former

Under Armour sales executive told WSJ, “It was a pretty common practice to pull forward orders

from the month after the quarter to ship within the quarter in order to hit the number or close the

gap.”19 As one former merchandising executive at Under Armour told WSJ, “It was all in the

name of hitting the number, and it would happen out in the open.”20 This scramble to pull in as

many orders as possible began as early as the third quarter of 2015 (“3Q15”), and continued at

least through the end of 2016, increasing after the TSA bankruptcy.

            54.   In some cases, Under Armour backdated shipment dates and moved shipment dates

up from the first month of the following quarter to the last month of the current quarter. Indeed, a

former logistics executive at Under Armour explained to WSJ that the Company’s shipping plans

in the final days of the quarter sometimes contradicted the dates on the boxes.21

            55.   The practice of pulling forward sales occurred with retailers including Dick’s,

Under Armour’s biggest customer in 2015 and 2016, totaling $400 million dollars of annual sales.

The Company leaned on Dick’s to boost its revenue. Dick’s also accepted the Company’s products

early, thus helping Defendants boost revenue by pulling sales forward from future quarters.22

However, as further detailed in Section V.E.2, such sales were contingent on “handshake” deals

that allowed Dick’s the right to return products it could not sell.




19
      Ex. A, at 3.
20
      Id. at 2.
21
      See id.
22
      See id. at 3.

                                                - 22 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 293 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 29 of 213



            56.   The former sales executive further explained to WSJ that the “[p]roblem is once

this starts it doesn’t seem to stop . . . . We found ourselves pulling forward every quarter.”23 The

reason the Company repeatedly pulled sales forward was to sustain its growth record, including its

26-quarter streak of sales growth, which the Company’s employees knew was important to Plank.24

Plank directed the Company’s sales organization to maintain the growth streak and frequently

bragged about the streak on conference calls with analysts, including on the Company’s 3Q16

earnings call.25 Plank played up the Company’s growth streak as a sign of its success, repeatedly

referring to Under Armour as a “growth company.”

            57.   Although the sales goals needed to maintain such growth were unrealistic as

discussed above, it was never acceptable to lower them. Indeed, desperate to keep the streak alive

during the summer of 2016, despite the loss of TSA, Plank told the sales organization that they

needed to hit 20% growth or “heads will roll.” Accordingly, Plank set the tone at the top, and

created an atmosphere which emphasized growth as the foremost priority regardless of what it took

to get there. And, critically, as further detailed below in Section V.K.1.a, WSJ reported that federal

investigators are examining emails that show Plank knew about efforts to move revenue between

quarters.26

            58.   Indeed, the practice of pulling orders forward was well-known within the Company

and discussed at weekly meetings attended by high-level executives. The Company’s demand

planning team would send emails to employees passing down directives to pull orders forward




23
      Id.
24
      See id. at 1.
25
      See id. at 2-3.
26
      See id. at 2.
                                                - 23 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 294 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 30 of 213



after looking to see how far off they were from meeting financial goals. The sales operation team

was also instructed to pull forward orders from future quarters. The employees were asked to look

at the inventory on hand and determine what orders were available to ship so Under Armour could

report more sales and revenue in the current quarter. These requests increased over time, such that

the employees were asked to pull more orders forward as 2016 progressed. The Company tracked

the pull-forward orders in massive spreadsheets containing detailed sales and inventory data,

including inventory that Under Armour had available to ship and inventory held by Under Armour

customers such as Sports Authority. The spreadsheets were regularly updated and saved in a

shared public folder, and anyone who wanted access could review them and identify orders that

had been adjusted and pulled forward from one quarter into an earlier quarter.

            59.   To further help meet the Company’s quarterly targets in 2016, Under Armour also

stuffed as much inventory as possible into certain retailers to frontload the recognition of revenue,

despite the consequences that followed. For example, Under Armour began shipping new

inventory intended for Factory House stores to T.J.X. Co. discount stores like T.J. Maxx.27 A

former merchandise executive at the Company explained to WSJ that this practice allowed Under

Armour to immediately book the products as revenue instead of having to wait for a customer to

buy them at its own stores.28 Under Armour ensured its massive inventory shipments to T.J.X.

Co. fell just short of triggering the 10% of sales threshold for disclosing the discount outlet as one

of its top customers in Under Armour’s securities filings.29 This would have surely indicated to

the market that Under Armour had loss its premium brand status and its ASPs were falling.


27
      See id. at 4.
28
      See id.
29
      See id.

                                                - 24 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 295 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 31 of 213



            60.   Defendants also continued to stuff Under Armour’s products into Sports Authority

and book revenue for those sales, despite knowing that Sports Authority was having significant

issues,30 might not be able to pay for the products, and the products could be returned en masse.

As former Under Armour executives in sales, logistics, merchandising, and finance stated to WSJ,

Under Armour continued shipping goods to TSA, and booking sales for those goods, even after it

was clear that TSA was in trouble.31 Indeed, red flags relating to retailer accounts, including TSA,

were apparent to the Company’s wholesale team as early as 2015. Yet, Under Armour kept

shipping inventory to TSA. Unsurprisingly, TSA returned massive amount of products, some of

which had to be charged off by Under Armour. The large amount of returns from TSA, Dick’s,

and other Under Armour customers required significant amounts of time and expense processing

the returns (Under Armour’s large customers did not pay for shipping). Returned inventory was

often liquidated at lower prices and margins.

            61.   By stuffing customers with products, pulling forward sales, and shifting sales to

discount retailers, Under Armour was able to mask declining sales and waning brand heat and

inflate revenues to artificially continue Plank’s growth streak. However, many of these sales were

achieved through discounting and premised on retailers’ ability to return them. They were, thus,

contingent, illusory, and violated GAAP.




30
      See id.
31
      See id.

                                                - 25 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 296 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 32 of 213



                     2.    Defendants Induce Retailers to Take Unneeded Product with
                           Promises to Buyback Merchandise and Through Discounts and
                           Other Sweeteners

            62.      To pull-ahead much needed sales to perpetuate the Company’s “growth,” the

Company leaned on retailers such as Dick’s to accept early shipments of the Company’s

products.32 To incentivize retailers to accept the shipments early, Defendants adjusted retailers’

contract terms or offered them discounts.33 As former Under Armour executives explained to

WSJ, “Under Armour sometimes adjusted the terms of the contract to offer a discount or extend

the period in which retailers could pay for the products” in order to convince retailers to take

products before their requested shipping date.34

            41.63. Defendants also used a buyback program to incentivize retailers to order certain

merchandise, under which sales representatives guaranteed that Under Armour would buy back a

certain amount of the merchandise that did not sell. On the books, the Company’s customers

bought and owned the merchandise for three or four months, but after six months Under Armour

was forced to buy back some of the unsold merchandise. For instance, Under Armour made

“handshake” or “backdoor” deals with Dick’s where Dick’s was willing to accept more products

from Under Armour than Dicks’ thought they needed because Under Armour promised that Dick’s

could return any of the products Dick’s did not sell.These buyback or “return to vendor”

agreements were regular at Under Armour with its biggest customers and increased in late 2015

and 2016. Because of low product sell-through, Under Armour wound up having to buy back a

lot of product pursuant to these deals Dick’s generally wanted these side agreements documented



32
      See id at 3.
33
      See id.
34
      Id.
                                                 - 26 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 297 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 33 of 213



in emails. Dick’s was allowed to return a seemingly unlimited amount to Under Armour during

the Class Period. This resulted in a massive amount of returns.

            64.   Indeed, under these arrangements, Dick’s was allowed to return a seemingly

unlimited amount of product to Under Armour during the Class Period, resulting in a massive

amount of returns. In early 2016, for example, VP of North America Sales, Brian Cummings

(“Cummings”), convinced Dick’s to order shoes that Dick’s did not want. Dick’s predicted they

would have to return 80% of the shoes, but Cummings agreed that Under Armour would take back

any unsold product. Dick’s ended up returning 80% or more of the deal later in 2016.

            42.   By the end of summer 2016, sales for all categories were nowhere close to Under

Armour’s projections for Dick’s, and Dick’s was planning for Under Armour sales to be down by

at least 25%. Nonetheless, Under Armour’s senior management pressured sales staff to force

unwanted inventory on Under Armour’s customers, including Dick’s, to pump up sales. This

included telling customers that they could return products later, after Under Armour had booked

the sales. Under Armour made “handshake” or “backdoor” deals with Dick’s where Dick’s was

willing to accept more products from Under Armour than Dick’s thought they needed because

Under Armour promised Dick’s they could return any of the products Dick’s did not sell. Dick’s

generally wanted these side agreements documented in emails. For a while, the heavy discounts,

promotions, lower sales prices, and buyback arrangements helped the Company continue to report

revenue growth, meeting Plank’s aggressive 20% growth projections. But this manufactured

price-driven, low quality growth caused lower product margins that damaged the Company’s

bottom line and eroded the Company’s “premium” brand image.
            65.   Compounding the Company’s declining apparel demand, the Company was also

experiencing a monumental downturn in its primary sales channel, North American wholesale.

            66.   Accordingly, many of the Company’s sales were illusory because Dick’s and other

customers accepted them on the condition that Under Armour would buy the products back if the

                                               - 27 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 298 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 34 of 213



customers could not sell them. These buyback and contingent sales arrangements violated GAAP,

as discussed further below in Section VIII.B. Moreover, as discussed in the following section,

these arrangements came back to haunt Under Armour, leading to excess inventory and

liquidations.

            43.1.   Defendants’ Historically, the Company enjoyed strong and profitable sales through

its North American wholesale accounts, including traditional sporting goods stores such as Dick’s,

Sports Authority, City Sports, Sport Chalet, Finish Line, Footlocker, and Champs. By 2015,

however, consumers had begun to eschew these stores in favor of online shopping and large

discount chains (e.g., Target, Wal-Mart). This trend hurt sales of Under Armour’s products

because the Company sold relatively few products through these alternative channels. Meanwhile,

specialty stores such as Gap, Abercrombie, and lululemon began to offer their own athletic leisure

apparel that competed with, and cut into the sales of, apparel sold at traditional sporting goods

stores.

            44.     This trend worsened over time and a number of the Company’s traditional sporting

goods customers were forced to declare bankruptcy and close their stores during the Class Period.

Most significantly, on February 9, 2016, CNN reported that one of Under Armour’s largest retail
customers, Sports Authority, faced bankruptcy after missing a $20 million debt payment.

Ultimately, Sports Authority filed for Chapter 11 bankruptcy protection on March 2, 2016, and on

April 26, 2016, announced that it would liquidate rather than reorganize, shuttering 463 stores.

Other key Under Armour retailers were also forced to file bankruptcy and close. On October 5,

2015, City Sports filed for bankruptcy, and subsequently announced that it would liquidate and

close all 26 of its stores. On April 18, 2016, Vestis Retail Group, the operator of Sport Chalet,

Eastern Mountain Sports, and Bob’s Stores, filed for bankruptcy, announcing a restructuring plan

that would result in the closing of 56 stores, including all 47 Sport Chalet stores. The loss of


                                                  - 28 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 299 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 35 of 213



several of Under Armour’s major North American retailers further pressured the Company’s

struggling sales.
            D.F.   Declining Apparel Sales and Suspect Sales Practices Led to Excess
                   Inventory and Liquidations

            45.67. DiminishingThe diminishing demand for, and declining sales of, core Under

Armour products resulted in excess inventory. In order to shed the excess inventory, the Company

needed to take costly measures to liquidate it at extreme discounts that hurt product margins, and,

in turn, the Company’s gross margins. This problem occurred at both the Company’s own Brand

House stores and at the stores of its retail customers. Excess inventory was a constant problem

throughout the Class Period at the Company’s Brand House stores, including products from every

category.

            46.68. At one point during the Class Period, for example, Under Armour’s planning team

bought a very large quantity of one of the Company’s t-shirts, around 10,000 units, to be sold at

Under Armour’s top two Brand House stores, which were supposed to be the pinnacle of the Under

Armour product experience. However, only about 100 units of the t-shirt were actually sold, and

the rest became excess inventory. This excess inventory had to be sent to Under Armour’s Factory

House stores and other accounts to be liquidated at a discount. This happened many times with

different products throughout the Class Period, and was very common with men’s apparel.

            47.69. Sometimes only about 30% of the inventory at the Company’s Brand House stores

was considered “productive,” meaning only 30% was actually sold to consumers. The remaining

inventory was comprised of “presentation quantity” (inventory allowing the stores to present one

or two units of each size on display) or excess inventory that had to be transferred back to Under

Armour’s distribution houses.



                                                - 29 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 300 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 36 of 213



            48.70. The distribution houses would send the excess inventory to the Company’s Factory

House stores (i.e., outlet stores) or to liquidation channels like Marshalls and T.J. Maxx, where the

products were sold at a discount. The discount rates at the liquidation channels were the highest,

providing the Company with very low product margins. Sometimes Under Armour was simply

trying to make its money backbreak even on products sent to the liquidation channels. In addition

to reducing margins (due to the discounted sales prices), distributions to the Factory House stores

and liquidation channels resulted in higher expenses due to the extra shipping, processing, and

labor costs required to transfer the excess inventory.

            49.71. Excess inventory was also a problem at the Company’s retail customers such as

Sports Authority and Dick’s. Facing dwindling sales and ballooning inventory, the Company’s

merchandising team would collaborate with the sales teams and give suggestions about promotions

for the inventory that Under Armour needed to move. Retailers would also make requests for

promotions to rid themselves of the excess inventory, and the Company would then determine

whether to allow such promotions.

            50.72. As with the inventory returned from Brand House stores, discussed above, the

Company would attempt to sell the excess inventory returned from retail customers at discounted

prices through liquidation channels such as discount stores like Marshalls and T.J. Maxx. As a

last resort, the Company would ship inventory to be liquidated at Costco stores in Mexico.

However, much of the excess inventory just sat around at the Company, not being sold through

any channel, because the liquidation channels used by the Company were not enough to handle all

of the excess.

            73.    In addition, the Company’s inventory problems were magnified by returns resulting

from its contingent sales pursuant to buyback agreements, and its mass shipment of products in

                                                 - 30 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 301 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 37 of 213



the final days of a quarter. As detailed above, the Company was able to pull ahead sales by entering

into contingent sales arrangements with certain retailers (including Dick’s – its biggest customer).

While this gave Under Armour a temporary boost in sales, they were obligated to buy back unsold

inventory. And, since they had overstuffed these retailers with products they did not need and

could not sell (particularly where Under Armour’s brand heat had diminished), much of that

product was being returned to the Company. As a former logistics executive at Under Armour

explained to WSJ, “truckloads” of unopened boxes thus returned unsold to Under Armour in

2016.35

            74.    Indeed, following TSA’s bankruptcy, TSA returned massive amount of products,

some of which had to be charged off by Under Armour. In July 2016, Plank announced a deal

with Kohl’s Corp. (“Kohl’s”), a mid-tier value retailer. As former executives told WSJ, Kohl’s

provided hundreds of new locations to stock its goods, including those meant for TSA.36 However,

Kohl’s ran frequent promotions in competition with Dick’s and often had lower prices. This move

angered Dick’s, who had been holding unsold Under Armour goods.37 Dick’s then stopped

agreeing to take products early, which had enabled the Company’s pull forward sales, and took

less product from Under Armour, making the Company even more dependent on off-price chains.38

            51.75. The excess inventory was a frequent topic of discussion among sales and planning

leaders at the CompanyUnder Armour, and information on inventory was widely available at the

Company. Indeed, as discussed in §§V.G-H belowFor example, the Company’s planning team




35
      Id.
36
      See id. at 4.
37
      See id.
38
      See id.
                                                 - 31 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 302 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 38 of 213



met weekly to discuss excess inventory. Executives Matt Mirchin (President, North America)

(“Mirchin”) and Cummings (VP of North American Sales) both had access to sales and inventory

reports, and Kevin Eskridge (Senior VP of Global Merchandizing and Planning, subsequently

Chief Product Officer) (“Eskridge”) talked with Merchandising staff about inventory all the time.

Indeed, Plank and fellow executives admitted to the excess inventory in their public statements.

HoweverBut, they misleadingly blamed the rising inventory on benign factors, including a

strategic plan to improve the speed of shipments to customers, and reassured investors that the

situation was improving. In reality, this was untrue, as the excess inventory was caused by the

Company’s dying brand heat, which reduced customer demand and caused the sales declines

discussed above., preventing it from unloading unwanted inventory.

            76.    In order to shed the excess inventory, the Company needed to take costly measures

to liquidate it at extreme discounts that hurt product margins and, in turn, the Company’s gross

margins. This problem occurred continually from at least September 2015 through November

2016 at both the Company’s own Brand House stores and at the stores of its retail customers,

across all Under Armour brands. The sheer amount of excess inventory made it obvious internally

that Under Armour would eventually miss its sales goals, and ultimately led to inventory write

downs as discussed in Section VIII.D, below.

            E.G.   Defendants Relied on Footwear and International Sales to Obscure
                   the Company’s Sales and Margin Declines

            52.77. As a result of the Company’s declining apparel sales, exacerbated by the collapse

of the Company’sits primary sales channel, Defendants perceived a threat to the Company’s

carefully cultivated market perception as a fast- growing superstar of the sports brand business.

To compensate, Defendants sought to aggressively expanded theirexpand Under Armour’s

footwear and international sales businesses. in 2015 through 2016. This expansion, along with the
                                                 - 32 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 303 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 39 of 213



lowering of apparel prices and suspect sales practices discussed above, enabled the Company to

continue reporting 20% total revenue growth (as well as strong operating income and earnings)

into 2016 even as the Company’s core North American apparel business was faltering. However,

as Defendants admitted, thesethe footwear and international businesses provided much lower

margins than the Company’s core North American apparel business, and a much smaller

percentage of revenue (shoes accounted for only 21% of revenue in 2016). Moreover, the

Company needed to make massive expenditures of time and money in order to undertake such

expansion.

            53.78. An example of the difficulty of this expansion was the rollout of Under Armour’s

“Curry One” shoe worn by star NBA basketball player Stephen Curry. in early 2015. Under

Armour heavily promoted this shoe. However, Under Armourthe Company was essentially paying

to have the shoe placed in stores because the associated expenses were so high and margins were

so poor. The Company’s “Curry Two” shoe faced similar problems. in the third and fourth quarter

of 2015.39 The shoes were badly underpriced in an apparent attempt to boost revenue and capture

market share from Nike, at the risk of damaging Under Armour’s brand image.40 Under Armour

also slashed their prices on running shoes in an attempt to compete on price rather than brand

image and innovation.41

            54.79. The Company’s international and footwear expansion, along with the lowering of

apparel prices discussed above, enabled the Company to continue reporting 20% total revenue

growth (as well as strong operating income and earnings) deep into the Class Period, even as the



39
      See Morgan Stanley Report at 8-9.
40
      Id. at 9-10.
41
      Id. at 11.
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1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 304 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 40 of 213



Company’s core apparel and North American businesses were faltering. Defendants used the

footwear and international businesses as scapegoats for the Company’s declining gross margins

(see, e.g., ¶126).. At the same time, Defendants misleadingly claimed the Company’s footwear

and international margins and ASPs were improving and its apparel margins and ASPs remained

strong (see, e.g., ¶127).. These misleading statements allowed Defendants to conceal the fact that

margin compression was caused, not only by the growing footwear and international businesses,

but also by declines in the Company’s apparel business, driven by lower sales prices, rampant

promotions and discounting, and excess inventory. It was far more palatable for Defendants to

blame margin compression on the Company’s supposedly expanding footwear and international

businesses than to reveal the truth about the declines in its core apparel segment, which accounted

for most of the Company’s sales.

            H.    The Company’s Stock Price Declined WhenUnder Armour’s
                  Declining Demand and Unsustainable Business Practices Catch Up to
                  Them but Defendants Mislead the Market Learnedas to the True
                  Reasons Behind the Company’s Problems

            80.   As detailed above, the Company’s suspect business practices, including pull-

forward sales, channel stuffing, and buyback arrangements, temporarily helped the Company

continue its growth streak. However, as discussed further in Section VIII, these practices violated

GAAP and also had significant adverse consequences for the Company’s financial results.

            81.   Indeed, during the time period that the Company was engaged in pulling sales

forward (channel stuffing) and other machinations, the Company experienced explosive growth in

its accounts receivables (which are sales made on credit to be paid back to the Company at a later

date). Before the third quarter of 2015, Under Armour’s overall sales always eclipsed or grew

evenly with its accounts receivables. But, by the fourth quarter of 2015 (“4Q15”), accounts

receivable growth badly outpaced revenue growth (55% accounts receivable growth vs. 31%
                                              - 34 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 305 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 41 of 213



revenue growth), a trend that continued throughout 2016. Further, Under Armour’s days sales

outstanding (“DSO”), the number of days it took the Company to collect its receivables, nearly

doubled from 28 days in fourth quarter of 2014 (“4Q14”) to nearly 51 days in first quarter of 2017

(“1Q17”). This shows that the Company was increasingly extending credit to customers and

getting paid later and later – consistent with the early shipments and adjusted contract terms.

            82.   Likewise, the Company’s reserves for returns skyrocketed 55% by the end of 2016

and 68% in 2017, reaching a whopping $247 million. Demonstrating that it expected large

volumes of excess inventory to be returned, the Company drastically increased its reserves for

returns, the amount of money Under Armour set aside for markdowns or returns, as discussed in

Section VIII.C below.

            83.   In addition, Defendants’ softening demand, returns, and illicit sales practices led to

an accumulation of material amounts of excess and obsolete (i.e., impaired) inventory at the

Company. Contrary to GAAP and Defendants’ policy, Under Armour’s inventory was overstated

from at least 2016 through 2018 due to Under Armour’s massive amount of excess inventory that

could not be sold without providing incentives such as heavy discounts. Beginning in 3Q17, the

Company belatedly recorded total charges of $25.878 million to write down inventory, which

should have been recorded in 2016.

            84.   The excess inventory also caused the Company to take costly measures to liquidate

it at extreme discounts that hurt product margins and, in turn, the Company’s gross margins. Gross

margins declined from 48.1% in fiscal year 2015 (“FY15”), to 46.5% in FY16, to 45.1% in fiscal

year 2017 (“FY17”).

            85.   As further detailed in Section VII below, Defendants downplayed these negative

financial trends, concealing the true reasons for them and attempting to explain them away.

                                                  - 35 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 306 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 42 of 213



However, as the market would later learn, the Company’s declining financial condition and

inventory problems were the direct result of the Company’s waning brand heat, declining demand,

and the various suspect practices the Company had undertaken to artificially prop up sales.

            F.I.   The Market Began to Learn the Truth About the Company’s Sales
                   Problems, Causing the Stock Price to Decline

            55.86. The Company’s declining sales problems, including a “fundamental shift” to

competing on price rather than a premium product, and use of suspect sales practices to artificially

boost revenue and mask slowing demand, were ultimately revealed in a series of partial disclosures

that caused the Company’s common stock prices to gradually decline, as detailed in §§Sections

VII-VIII, and X, below. The declines would have been swifter and steeper, but Defendants

attempted to downplay and soften the news with continued misrepresentations and omissions

throughout the Class Period.

            56.87. First, on January 10, 2016, Morgan Stanley issued a detailed report with point-of-

sale data from Under Armour’s retail customers illustrating declines in the Company’s growth,

average sales prices, and market share dating back to spring 2015. This surprising news, which

directly contradicted Defendants’ carefully cultivated image of the Company, caused Under

Armour common stock prices to fall.

            57.88. On the heels ofFollowing this report and the departure of the Company’s CFO Brad

Dickerson (“Dickerson”) in February 2016 – “which came as a surprise” to analysts, who noted

that “this transition comes at an inopportune time in the company'’s history. . . . Losing a key

leader at a time like this is a concern” – the Company’s Chief Merchandising Officer (“CMO”),

Henry Stafford (“Stafford”), suspiciously departed the Company in May 2016.                Stafford’s

departure coincided with the departure of another high-level executive, the Company’s Chief

Digital Officer (“CDO”) Robin Thurston (“Thurston”), which was announced on the same day.
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1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 307 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 43 of 213



These abrupt and suspicious departures of these key executives caused common stock prices to

decline again on May 4, 2016.

            58.89. On June 1, 2016, contrary to their prior assurances, Defendants revealed a reduced

expectation of 2016 revenues and operating income and an impairment charge related to the Sports

Authority bankruptcy, triggering additional common stock price declines.

            59.90. Over the next monthsyear, a series of increasingly poor quarterly financial results

and reduced financial projections caused further declines in the Company’s common stock prices

after such news was released. On July 26, 2016, Defendants reported second quarter of 2016

(“2Q16”) decreases in operating and net income and, announced a drop in apparel sales growth

below 20% for the first time in more than seven years, and forecast the slowest quarterly growth

in over six years. On October 25, 2016, Defendants revealed a further slowdown in growth in the

third quarter3Q16, attributed to North American apparel and wholesale declines, and compressed

margins attributed in part to higher discounts, promotions, and liquidations. On January 31, 2017,

Defendants revealed a slowdown in 2016 growth that was far more severe than previously reported

and dramatically reduced financial projections, attributed to problems in the North American

apparel business, as well as compressed margins and inventory growth. On the same day,

Defendants surprised investors by revealing the sudden and highly suspicious departure of Molloy.

Finally, onOn August 1, 2017, the Company cut 20FY17 guidance and announced a massive

restructuring, in order to “evolve” the Company’s business and restore “brand heat,” including a

shift from traditional performance-oriented products to more fashionable products. The Company

further announced that it expected $110 to $130 million in restructuring-related charges including

“approximately $20 million of inventory related charges.”




                                                  - 37 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 308 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 44 of 213



            91.   Despite the drastic measures being implemented, the Company’s financial

performance never recovered. Indeed, no longer able to rely on the suspect sales practices that

had allowed the Company to report 20% revenue growth and mask slowing demand, Under

Armour experienced a severe downtown in its business. The Company reported total revenue

growth of just 3.4% and 4.1% and apparel revenue growth of 1.8% and 5.4% in 2017 and 2018,

respectively.     Yet, the Company’s stock price remained artificially inflated based on the

concealment of Defendants’ improper sales practices, including the pull-forward of sales to boost

quarterly revenues and mask slowing demand.

            J.    The SEC and DOJ Launched Investigations Into Under Armour’s
                  Accounting Practices and Related Disclosures, Plank Stepped Down
                  as the Company’s Chief Executive Officer, and the SEC Preliminarily
                  Determined to File an Enforcement Action Against Defendants

            92.   As news of the Company’s true financial condition was slowly revealed, the DOJ

and SEC launched non-public criminal and civil investigations into Defendants’ sales and

accounting practices, including whether they pulled sales forward during the Class Period in order

to make the Company’s quarterly revenue appear stronger than it actually was. Although

Defendants began responding to the investigators in July 2017, they concealed these investigations

from shareholders for nearly three years.

            93.   While the government investigations were ongoing, the Company suddenly

announced on October 22, 2019, that Plank was stepping down as the Company’s CEO, effective

January 1, 2020, and transitioning to Executive Chairman and Brand Chief. Less than two weeks

later, on November 3, 2019, WSJ revealed the SEC and DOJ investigations, reporting that the

probes focused on Under Armour’s “accounting practices” and “whether the sportswear maker




                                               - 38 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 309 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 45 of 213



shifted sales from quarter to quarter to appear healthier.”42 The article forced the Company to

issue a statement admitting that it was under investigation and “began responding in July 2017 to

requests for documents and information relating primarily to its accounting practices and related

disclosures.”43 The Company’s stock price suffered another steep decline in response to this news.

            94.      On November 14, 2019, WSJ released a follow-up article with more information

related to the investigations.44 The article revealed that the government’s criminal and civil

securities fraud probes were “into the Company’s revenue recognition and whether there were

improper tactics used to shift sales,” and that investigators were examining “Under Armour’s

results at the end of 2016 and the tenure of former finance chief Chip Molloy.”45 The article was

based on interviews with former Company executives in four different departments – logistics,

sales, merchandising, and finance – who told WSJ that Defendants “scrambled to meet aggressive

sales targets, borrowing business from future quarters to mask slowing demand in 2016 for its

athletic apparel,” and “frequently leaned on retailers to take products early and redirected goods

intended for its factory stores to off-price chains to book sales in the final days of a quarter.”46

            95.      Before the market opened on July 27, 2020, the Company filed an SEC Form 8-K

announcing that, on July 22, 2020, the Company, Plank, and Bergman received Wells Notices

from the SEC, which “informed the Company and the Executives [Plank and Bergman] that the

SEC Staff has made a preliminary determination to recommend that the SEC file an enforcement

action against the Company and each of the Executives that would allege certain violations of the


42
      Ex. B, at 1.
43
      Id. at 2.
44
      Ex. A, at 2.
45
      Id.
46
      Id. at 1.
                                                 - 39 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 310 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 46 of 213



federal securities laws.” The Company explained that the Wells Notices related to the Company’s

previously-disclosed SEC investigation, and further specified that:

            The Wells Notices relate to the Company’s disclosures covering the third quarter of 2015
            through the period ending December 31, 2016, regarding the use of “pull forward” sales in
            connection with revenue during those quarters. A pull forward generally includes a
            customer sale that is executed earlier than originally planned. Specifically, the SEC Staff
            is focused on the Company’s disclosures regarding the use of pull forward sales in order to
            meet sales objectives.47

            96.    The Company’s filing on July 27, 2020, added that “the Company and the

Executives . . . expect to engage in a dialogue with the SEC Staff to work toward a resolution of

this matter.”

            97.    On August 6, 2020, Under Armour further disclosed in its second quarter of 2020

(“2Q20”) Form 10-Q filing that “[t]he Wells Notices informed the Company” the SEC “would

allege certain violations of the Securities Act of 1933 and the Securities Exchange Act of 1934

and certain rules promulgated thereunder” and “also reference potential charges related to the

Executives’ participation in the Company’s violations, as well as control person liability under the

Exchange Act.” The 2Q20 Form 10-Q also disclosed that “[t]he potential relief to be sought

referenced in the Wells Notices included,” among other things, “civil monetary penalties, as well




47
    The SEC describes the general Wells Notice process as follows: “If [SEC] Enforcement makes
a preliminary determination to recommend enforcement action, it may elect to provide individuals
or entities who would be charged in the action with a Wells notice explaining the proposed charges
against them and informing them that they can make a voluntary submission setting forth their
interests and position. If Enforcement believes (based on the evidence it has compiled and after
considering a Wells submission or deciding not to issue a Wells notice) that enforcement action
should be taken, Enforcement seeks authorization from the Commission for the SEC to file a civil
lawsuit, to commence an administrative proceeding, or, in certain circumstances, to issue a report
of investigation. Any enforcement action that the SEC initiates is based on Commission
authorization.” U.S. Securities and Exchange Commission, Investor Bulletin: SEC Investigations
(Oct. 22, 2014), https://www.sec.gov/oiea/investor-alerts-bulletins/ib_investigations.html.
                                                  - 40 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 311 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 47 of 213



as, in the case of the Executives, a bar from serving as an officer or director of a public company.”

The Company also confirmed that the DOJ’s separate investigation remained ongoing.

            60.98. As discussed further below (Sections VII and X), Under Armour investors lost

millions of dollars as a result of these revelations, which causedDefendants’ fraud was revealed

over time, causing the artificial inflation resulting from Defendants’the fraud to dissipate from the

Company’s common stock.

            G.K. Numerous Facts Support Defendants’ Scienter

            61.99. Defendants knew of, or at a minimum were severely reckless in disregarding, the

problems facing the Company as a result of declines in the apparel business. This is supported

byAs discussed herein, numerous additional indicia of scienter support this, including the fact that

federal investigators are examining emails that show Plank knew of the Company’s efforts to move

revenue between quarters,48 the DOJ and SEC investigations, the Wells Notices, Plank’s and other

Company executives’ statements admitting access to the relevant data, and Plank’s highly

suspicious Class Period sales of $138.2 million of Under Armour stock during the same period

that is the subject of the SEC’s Wells Notices to the Company and Plank.

                   1.     DefendantNumerous Facts Support Plank’s Scienter

                          a.     Plank Had Direct Knowledge or Reckless Disregard of, and
                                 Was Personally Implicated in, the Fraud

            1.100. Plank had direct knowledge of the fraudulent conduct alleged herein. As part of

the ongoing DOJ and SEC investigations “into the company’s revenue recognition and whether

there were improper tactics used to shift sales” during the Class Period, WSJ reported that

investigators “are examining emails that show Under Armour’s founder and chief executive,


48
      See Id. at 2.

                                                - 41 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 312 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 48 of 213



Kevin Plank, knew about efforts to move revenue between quarters.”49 Former Under Armour

executives also told WSJ that “pulling sales forward helped the sportswear company sustain its

growth record, which employees knew was important to Mr. Plank” and that “[t]he strains in

Under Armour’s business were evident inside the company in 2016.”50 Indeed, Plank drove the

Company’s Undisclosed Fundamental Shift and Sales Problemsaggressive growth strategy,

employing a founder-led approach. He set the tone by pressuring employees to achieve 20%

growth every quarter.

            101.   Plank made numerous public statements in which hePlank’s direct knowledge of

the Company’s suspect sales practices is further evidenced by the fact that Plank personally

received one of the SEC’s Wells Notices. The Wells Notice stated that a preliminary determination

had been made to recommend that the SEC bring an enforcement action against him for federal

securities law violations relating to “the Company’s disclosures covering the third quarter of 2015

through the period ending December 31, 2016, regarding the use of ‘pull forward’ sales in

connection with revenue during those quarters.”51

            102.   The suspicious timing of Plank’s resignation as CEO – announced on October 22,

2019, following a string of other executive departures as the truth leaked out – also supports his

knowledge or reckless disregard of the fraud alleged herein. Just months before announcing Plank

was abandoning the CEO position, Under Armour told investors (yet again) that his serving as

CEO was critical to the Company’s success. On March 27, 2019, Under Armour stated in its Proxy

Statement that Plank was “the appropriate person to lead both our Board and the management of



49
      Id.
50
      Id. at 3.
51
      Under Armour, Inc., Current Report (Form 8-K) (July 27, 2020).
                                                - 42 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 313 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 49 of 213



our business” because it “provides for clear accountability and efficient and effective leadership.”

The Company never explained the abrupt flip-flop.

            103.   Less than two weeks after Under Armour announced Plank’s resignation, the

Company acknowledged that the DOJ and SEC were investigating its accounting and related

disclosures. As Morningstar observed:

            The news of an ongoing investigation into Under Armour’s accounting practices affirms
            our Poor stewardship rating on the company. . . . Meanwhile, as previously announced,
            Kevin Plank has decided to give up the CEO role he has held since the firm began. While
            Under Armour claims the investigation had nothing to do with Plank’s decision, the timing
            looks suspicious, especially since the firm did not disclose an investigation that is more
            than two years old.

            104.   Other media also noted the suspicious timing of Plank’s departure as CEO. For

example, Forbes stated in a November 4, 2019, article that “[i]n light of the recent investigations,

it now makes more sense why Plank stepped aside. There most likely will be serious repercussions

related to the dual investigations.”

            105.   The timing of these events, coupled with the Plank emails and other indicia

discussed herein, strongly supports that Plank was directly involved in and responsible for the

matters under investigation.

                          b.      Plank’s Public Statements and Access to the Company’s
                                  Internal Systems and Data

            62.106.Plank’s scienter is further supported by numerous public statements in which Plank

discussed the Company’s apparel sales growth, sales prices, gross margins, and inventory levels.

In fact, Plank provided a prepared statement on – or was asked and answered detailed questions

about – at least one of those matters during nearly every (14/16) quarterly earnings call with




                                                  - 43 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 314 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 50 of 213



securities analysts throughout the Class Period, as well as during the 2015 and 2018 Investor Day.52

Meetings. As detailed herein, Plank echoed these statements in numerous press releases and SEC

filings of the Company throughout the Class Period.53 These statements evidenced Plank’s

knowledge of such matters.

            63.107.Plank, and fellow Company executives, also stated that they had systems in place

to closely monitor such aspects of the Company’s business. For example, Plank boasted of an

SAP (Systems Applications Products) software system that provided point-of-sale information and

other detailed business data. The Company was in the process of enhancingenhanced this system

during the Class Period. As Plank stated during the 4Q15 earnings call on January 28, 2016:

            The single view of the consumer is something we’re building with the team at SAP that
            combines global point-of-sale, e-commerce and transactional information through a
            single sign-on capability together with our Connected Fitness business to create an insight
            engine that will inform and guide our decision to help grow and scale our brand. This will
            build on our existing SAP platform as we double down and continue to make big bets with
            big partners. We believe that this unique technological advancement will position UA as
            a best-in-class real-time digital enterprise.

            64.108.This statement by Plank confirms that, through “point-of-sale” information

available on the Company’s SAP system, Plank had actual knowledge of industry sales data from

the Company’s retailers. The As discussed further below, because the SportScan data (a.k.a.

SportScanInfo or SSI) revealed in the Morgan Stanley Report, attached hereto as Exhibit C, was

based on the same point-of-sale industry data reported to Plank from the Company’s retailers.,

Plank had actual knowledge of (or recklessly disregarded) the SportScan data revealed in the




52
      See ¶¶118, 125, 142-143, 148, 150, 161-162, 195, 197, 209, 214, 224, 230.
53
      See ¶¶124, 130, 141-143, 152, 156, 158, 159, 167, 186-187, 194, 207, 212, 218, 221-222.


                                                  - 44 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 315 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 51 of 213



Morgan Stanley Report.54 The sales data showed that, since spring of 2015, the Company’s North

American apparel growth was in decline, the Company was losing market share, and the

Company’s ASPs were dropping.55 Everyone at Under Armour on the sales team had full visibility

into sales data because they had very detailed and up-to-date data available to them through

multiple sources, and the data was regularly reviewed. Multiple reports showing sales data were

distributed every Monday. The sales reports were very detailed, including breakdowns by regions,

retail store, and product styles. Sales management also had a “dashboard” on their computers or

iPads to access Internet-based data where they could review information such as sales, margins,

and inventory turns (including the inventory age by style) for the top lines of business. Under

Armour planning and sales employees also had access to inventory and sales-related data in

massive and constantly-updated spreadsheets kept in a shared folder and available to anyone who

wanted to access them (which also tracked pull-forward orders). Further, Plank repeatedly claimed

he had extensive data concerning consumer demand, buying preferences, and product usage

through Under Armour’s Connected Fitness platform. As Plank boasted at the end ofduring the

Class Period, “I can’t think of any companies that would have that amount of data flow to

understand their consumer better.” Thus, Plank had knowledge of (or recklessly disregarded) the

financial declines first revealed by Morgan Stanley.

            109.   Additional evidence of Plank’s scienter is found in Plank’s statement during the

first quarter of 2016 (“1Q16”) conference call on April 21, 2016, that “probably the thing that

drives [North American distribution] for us more than anything else is just merchandising. . . .

And now we’ve really gotten to a point where understanding that merchandising needs to be a core


54
      See Ex. C.
55
      See Morgan Stanley Reportid. at 1, 4-613.
                                                  - 45 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 316 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 52 of 213



competency for us. . . . And so we really – we identified it in 2014, and again this sounds, may

sound a little pedestrian, but we identified it in 2014, we began building the [merchandising] team

in 2015.”          Through these merchandising efforts, Plank had firsthand knowledge of issues

pertaining to the Company’s apparel sales, including flagging demand for Under Armour apparel

as customers shifted to different styles not provided by Under Armour (most notably, athletic

leisure apparel). In addition, Plank’s statement indicated that the Company’s formation of a

merchandising team was in direct response to a recognized deficiency at the Company.

            110.     Plank also paid close attention to the Company’s inventory during the Class Period,

and therefore Plank knew or recklessly disregarded that the Company had excess inventory caused

by declining demand and sales. As Dickerson stated at the Company’s 2015 Investor Day (with

Plank also in attendance):

            On the working capital front, the majority of our focus is going to be on inventory
            management and the efficiency of inventory management. Our ability to improve
            inventory is tied to our value chain initiatives which I’ll break down to near term and longer
            term.

            First, on the near term – over the course of the rest of this year and through 2016, we are
            focused on delivering our products to our consumers more timely, specifically on key
            seasonal floor set dates. This focus specifically in comparison to some prior years’
            challenges will result in elevated inventory growth rates over this time frame to flow
            product earlier.

            Longer term beyond 2016, many initiatives are underway which should bring added
            efficiencies to how we manage our inventory. These initiatives are focused on how we
            plan and deliver our seasonal products.

            111.     Also during the 2015 Investor Day, the Company’s Chief Information Officer, Paul

Fipps, referenced the availability of inventory data through multiple systems and investments

designed to enhance the Company’s inventory visibility even more:

            Today, we have inventory data in multiple retail, planning, transportation, and
            distribution systems. In the future, the ability to optimize our inventory, combined with
            the visibility of demand from any channel across the globe, in a single planning system is

                                                    - 46 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 317 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 53 of 213



            extremely powerful. In fact, very few organizations have been able to achieve this goal.

            112.   One system through which inventory data was available to Plank was the SAP

system discussed by Plank in the statement quoted above. The Company’s SAP system served as

an inventory control system and provided reports showing how much inventory was owned by

stores in each of the Company’s business segments (including retail, wholesale, outlets, and

liquidation channels), and how much inventory was being sent to liquidation. The SAP system

provided inventory information for all Under Armour products sold to consumers. Based on this

data, Plank, who was intently focused on inventory, had actual knowledge of, or recklessly

disregarded, the excess inventory problems that plagued the Company during the Class Period,

resulting from the declining sales of apparel.

                          c.      The negative financial trends revealed byThe SportScan Data
                                  Cited in the Morgan Stanley Report were based, in part, on
                                  industry data compiled by SportScan. Mirrored the
                                  Company’s Internal Sales Data

            65.113.Numerous facts establish that the SportScan data cited in the Morgan Stanley

Report, revealing negative financial trends at Under Armour, was a materially accurate depiction

of the Company’s internal sales data at Under Armour, thus supporting Plank’s knowledge or

reckless disregard of such data. Indeed, retail industry participants, including Under Armour,

frequently use industry data compiled by SportScan. For instance, in connection with a 2005 sale

of $167 million in stock, Under Armour described SportScan as “a leading market research firm

that provides weekly point-of-sale data for the athletic and sporting goods industry” and disclosed

that the Company’s “[i]nformation regarding the market for compression style clothing is derived

from SportsScanINFOnfo.”

            66.114.Furthermore, Plank admitted on multiple occasions that industry data, and

SportScan in particular, was reliable and consistent with internal Under Armour data. Prior to and

                                                  - 47 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 318 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 54 of 213



during the Class Period, Under Armour, and Plank in particular, made repeated statements

regarding Under Armour’s market share. Those statements relied on industry data, including

SportScan.data tracked by SportScan, thus supporting Plank’s knowledge or reckless disregard of

such data. For example, during the October 25, 2016, 3Q16 earnings call, Plank boasted that “[i]n

the back-to-school window of July through September, [Under Armour’s] overall footwear market

share nearly doubled according to industry data.” As anThe following day, on October 26, 2016,

Wall Street Journal article noted,WSJ stated that this industry data came from SportScan reported

that Under Armour had, “[d]uring: “During the back-to-school period , Under Armour . . . nearly

doubled its share of the footwear market, amassing 8.2% of the market for the 13 weeks ended

Oct. 1, up from 4.6% a year ago, according to industry tracker SportScanInfo.” Other examples

include Plank’s September 16, 2015, and October 22, 2015, statements praising the Company’s

“40% market share” in football cleats. See also ¶162200 (“we are taking share”).

            67.115.Importantly,Plank’s knowledge or reckless disregard of the data reported by

SportScan is further supported by the fact that SportScan captured Under Armour’s corelargest

sales channel –, North American wholesale, which had the greatest impact on the Company’s

growth, and encompassed virtually all of Under Armour’s core sales channels. As Plank said in

January 2017: “North American apparel is still our largest and most profitable business by far.

Accordingly, less-than-expected growth in this area disproportionately pressures our overall

growth rate.” According to SportScan, its sales data includes sales from 15,000 retail doors across

12 separate retail channels. Under ArmourFurther, when Dickerson addressed the Morgan Stanley

Report during the Company’s 4Q15 earnings call on January 28, 2016, he admitted that the report’s

SportScan captures itsdata captured the Company’s largest customers like, citing Dick’s as an

example. And, neither Dickerson, Plank, nor anyone else at the Company disputed the accuracy

                                               - 48 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 319 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 55 of 213



of the data reported by SportScan (which included data for all four quarters of 2015 and Foot

Locker.prior). The only portions of Under Armour’s business that the SportScan doesdata did not

directly capture awere lower-priced and less profitable sales that awere much less indicative of

how Under Armour’s overall business is performing. ForThis included, for example, most of

Under Armour’s physical retail locations are, most of which were Factory House stores, which are

a liquidation channel with low-margin sales. AndThis also included Under Armour’s website,

which analyst reports during the Class Period observed Under Armour “has been increasingly

using its websiteus[ed] . . . as a clearance channel.”

            68.116.Furthermore, Under Armour’s financial disclosures corroborate the Morgan

Stanley Report’s revelations. and confirm Plank’s knowledge or reckless disregard of the data

revealed. For instance, Under Armour reported inventory growth that outpaced sales in 3Q15

(35%36.0% year-over-year inventory increase vs. 28.4% year-over-year net revenue increase) and

4Q15 (46% increase).45.9% year-over-year inventory increase vs. 30.8% year-over-year net

revenue increase).      Under Armour’s gross margins also declined in 4Q15, contracting 1.9

percentage points3Q15 (from 49.6% to 48%..8% year-over-year) and 4Q15 (from 49.9% to 48.0%

year-over-year). The extreme inventory increases and gross margins declines reported by Under

Armour on January 28, 2016, for 4Q15, are consistent with the Morgan Stanley Report’s disclosure

on January 10, 2016, based on SportScan data, of decelerating sales growth, loss of market share,

and declining ASPs. When confronted, however, Defendants continued to mislead the market by

falsely denying and downplaying these issues. See Section VII.B. In addition, with specific regard

to the SportScan data disclosed in the January 10, 2016, Morgan Stanley Report, which included

data for 2015 and prior, Plank and the Company did not dispute the accuracy of the data for 1Q15,

2Q15first quarter of 2015, second quarter of 2015, or 3Q15.

                                                - 49 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 320 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 56 of 213



            69.117.Further evidence of the reliabilityPlank’s knowledge or reckless disregard of the

SportScan data is found in an April 10, 2016,subsequent Morgan Stanley reports issued during the

Class Period. In a report. Therein dated April 10, 2016, Morgan Stanley continued to discuss the

declining demand for Under Armour apparel, particularly in women’s. While Morgan Stanley

apparel, based that analysis primarily on SportScan data,. Morgan Stanley noted that Under

Armour’s SEC filings corroborate the SportScan data. In particular, Under Armour’s disclosures

“show sales to its biggest customer . . . were -8% in 4Q15,” which is consistent with the declining

apparel demand revealed in the earlier Morgan Stanley Report. Morgan Stanley also noted that

Dick’s SEC filings “show a deceleration in UA sales growth,” which was” consistent with the

negative trends shown by SportScan. Indeed, Under Armour sales to Dick’s corroborate the

“fundamental shift” of competing on price rather than a premium brand image. As demand for

Under Armour declined and the Company changed course to increased promotions and lower

ASPs to find revenue, Under Armour sales to Dick’s declined steadily. As a percentage of Under

Armour’s revenue, sales to Dick’s fell from 14.4% in FY14, to 11.5% in FY15, and finally to 10%

in FY16to 10% in FY16, and dropped below 10% in FY17 and thereafter (per Under Armour’s

Form 10-K filings), declines that were partly attributable to the fact that Under Armour lost

business from Dick’s in FY16 after entering into an agreement with value retailer Kohl’s, angering

Dick’s. See Section V.F. As discussed below, Under Armour and Dick’s personnel, including

Plank and Dick’s CEO, met regularly and exchanged sales data.56

            70.118.In an October 27, 2016 report, Morgan Stanley continued to discuss falling ASPs

at Under Armour and how competing on price rather than “brand image and innovation” evidenced


56
   Nonetheless, Defendants publiclyfalsely and misleadingly downplayed and discredited the
Morgan Stanley Report and SportScan data. cited therein. See ¶¶38 n.5, 132, 145-150, 260Section
VII.B.
                                                 - 50 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 321 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 57 of 213



the “fundamental shift” Morgan Stanley first revealed in January 2016. Morgan Stanley noted that

its ASP data was based not only on SportScan, but also “on channel checks and conversations with

retailers.” Based on extensive analysis from multiple sources, Morgan Stanley concluded the

SportScan data was “directionally accurate.”

            71.119.InOn February 14, 2017, Morgan Stanley issued aanother report lowering its price

target for Under Armour Class A shares from $25 to $20. As it had in prior reports, Morgan

Stanley relied on SportScan data, among other inputs. In support of its continued reliance on

SportScan data, Morgan Stanley compared historical SportScan data on total apparel sales growth

and ASPs, such as that it disclosed (including data appearing in the January 2016 Morgan Stanley

Report, issued on January 10, 2016) to Under Armour’s actual results during that same period.

Morgan Stanley concluded: “SportScan data has accurately depicted directional UAA sales trends

. . . and we continue to view it as the best source for understanding UAA’s US business at a micro

level.”

                          d.     Additional evidence of Plank’s scienter is found in Plank’s
                                 statement during the 1Q16 call on April 21, 2016 that
                                 “probably the thing that drives [North American distribution]
                                 for us more than anything else is just merchandising. Plank’s
                                 Participation in Company Meetings

            72.1.   ...   And now we’ve really gotten to a point where understanding that

merchandising needs to be a core competency for us. . . . And so we really – we identified it in

2014, and again this sounds, may sound a little pedestrian, but we identified it in 2014, we began

building the [merchandising] team in 2015.” Through these merchandising efforts, Plank had

firsthand knowledge of issues pertaining to the Company’s apparel sales, including flagging

demand for Under Armour apparel as customers shifted to different styles not provided by Under

Armour (most notably, athletic leisure apparel). In addition, Plank’s statement indicated that the


                                                 - 51 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 322 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 58 of 213



Company’s formation of a merchandising team was in direct response to a recognized deficiency

at the Company.

            73.1.   The Company’s inventory also received Plank’s close attention during the Class

Period. As Dickerson stated at the Company’s 2015 Investor Day (with Plank also in attendance):

            On the working capital front, the majority of our focus is going to be on inventory
            management and the efficiency of inventory management. Our ability to improve
            inventory is tied to our value chain initiatives which I’ll break down to near term and longer
            term.

            First, on the near term – over the course of the rest of this year and through 2016, we are
            focused on delivering our products to our consumers more timely, specifically on key
            seasonal floor set dates. This focus specifically in comparison to some prior years’
            challenges will result in elevated inventory growth rates over this time frame to flow
            product earlier.

            Longer term beyond 2016, many initiatives are underway which should bring added
            efficiencies to how we manage our inventory. These initiatives are focused on how we
            plan and deliver our seasonal products.

            74.1.   Also during the 2015 Investor Day, the Company’s Chief Information Officer, Paul

Fipps, referenced the availability of inventory data through multiple systems and investments

designed to enhance the Company’s inventory visibility even more:

            Today, we have inventory data in multiple retail, planning, transportation, and
            distribution systems. In the future, the ability to optimize our inventory, combined with
            the visibility of demand from any channel across the globe, in a single planning system is
            extremely powerful. In fact, very few organizations have been able to achieve this goal.

            75.1.   One system through which inventory data was available to Plank was the SAP

system discussed by Plank in the statement quoted above (¶63). The Company’s SAP system

served as an inventory control system and provided reports showing how much inventory was

owned by stores in each of the Company’s business segments (including retail, wholesale, outlets,

and liquidation channels), and how much inventory was being sent to liquidation. The SAP system

provided inventory information for all Under Armour products sold to consumers. Based on this

data, Plank, who was intently focused on inventory, had actual knowledge of, or recklessly
                                          - 52 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 323 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 59 of 213



disregarded, the excess inventory problems that plagued the Company during the Class Period,

resulting from the declining sales of apparel.

            76.120.Plank’s scienter is further evidenced by his attendance and presentation at meetings

where Company performance was discussed. Plank presented at quarterly “town hall” meetings

throughoutduring the Class Period where Plank discussed the Company’s performance. During

two “town hall” meetings held close together in August 2016 or October 2016, Plank discussed

how the Company was having struggles. During the first of those two meetings, Plank discussed

having to lower the Company’s projections. During the second meeting, Plank tried to ease

employee’s’ fears and further explain the situation.

            121.   Plank also regularly attended one-on-one meetings with the President of Dick’s.

Monthly meetings with Dick’s and Under Armour employees were also held. The monthly

meetings typically took place in Pittsburgh, at the offices of Under Armour or Dick’s. Sales to

Dick’s, which was once Under Armour’s largest customer, soured heading into the Class Period.

During the meetings, as demand for Under Armour products declined, Dick’s told Under Armour

that sales of Under Armour products at Dick’s had begun to downturn significantly. By

            77.122.As further detailed above, by the end of summer 2016, sales for all categories were

nowhere close to Under Armour’s projections for Dick’s, and Dick’s was planning for Under

Armour sales to be down by at least 25%. Nonetheless, Under Armour’s senior management

pressured sales staff to force unwanted inventory on Under Armour’s customers, including Dick’s,

to pump up sales. This included telling customers that they could return products later, after Under

Armour had booked the sales. Under Armour made “handshake” or “backdoor” deals with Dick’s

where Dick’s was willing to accept more products from Under Armour than Dick’s thought they

needed because Under Armour promised Dick’s they could return any of the products Dick’s did

                                                  - 53 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 324 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 60 of 213



not sell. Dick’s generally wanted these side agreements documented in emails. Dick’s was

allowed to return a seemingly unlimited amount of product to Under Armour during the Class

Period, resulting in a massive amount of returns. According to WSJ, former Under Armour

executives in sales, finance, logistics, and merchandising stated that Dick’s also accepted the

Company’s products early, thus helping Defendants boost revenue by pulling sales forward from

future quarters.57 But, Dick’s stopped taking products early after Under Armour struck a deal with

value retailer Kohl’s, who sold many of the same products as Dick’s at lower prices, angering

Dick’s.58

            78.1.   Similarly, priorred flags relating to retailer accounts, including TSA, were apparent

to the March 2016 announcement that Sports Authority would file for bankruptcy protection,

Sports Authority had been open and clear withCompany’s wholesale team as early as 2015. Yet,

Under Armour about the big problems at Sports Authority. Throughout the Class Period, Sports

Authority had been returningkept shipping TSA inventory. Unsurprisingly, TSA returned massive

amounts of products, some of which had to be charged off by Under Armour. The large amount

of returns from Sports Authority, Dick’s and other Under Armour customers required significant

amounts of time and expense processing the returns (Under Armour’s large customers did not pay

for shipping). Returned inventory was often liquidated at lower prices and margins.




57
      See Ex. A, at 4.
58
      See id.
                                                   - 54 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 325 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 61 of 213



                  2.     Expert Opinion Confirms the SportScan Data Revealed by
                         Morgan Stanley Was “Materially Consistent” withTSA,
                         Dick’s, and other Under Armour customers required
                         significant amounts of time and expense processing the returns
                         (Under Armour’s Internal Data

            79.   Professor of Retailing and Director of Retail Studies at Columbia University

Business School Mark A. Cohen, an expert and consultant on a wide range of issues in the retail

industry, reviewed the Morgan Stanley Report, including the SportScan Data cited therein. After

review of the relevant facts and based on his years of experience in the industry, including use of

industry data similar to SportScan while a retail CEO, Professor Cohen concluded, “[t]he fact-

based sales data from SSI Data disclosed by Morgan Stanley was materially consistent with Under

Armour’s own internal corporate data.” Ex. D at 12.

            80.   In reaching his conclusion, Professor Cohen noted the Morgan Stanley Report’s

disclosures regarding declining ASPs and market share, and the “major concern that the company

was, and had been since at least Spring 2015, engaged in a ‘fundamental shift’ away from

innovative premium product to product whose appeal was based upon lowered retail prices.” Ex.

D at 7-8. Professor Cohen further noted, “Morgan Stanley based its exhaustive analysis on specific

fact-based industry data, supplied by SSI Data, a leading data aggregator and data analysis group

specializing in active and athletic merchandise categories.” Id. at 8.

            81.   In assessing the reliability of the SportScan data cited in the Morgan Stanley
Report, Professor Cohen noted that “SSI Data’s efforts encompass virtually all of Under Armour’s

core retail selling channels” and that during his time leading large retailers he had relied on similar

industry data. Id. Indeed, “[a]ggregation of source data by independent companies such as SSI

Data . . . is a widely adopted and relied upon tool.” Id. at 9. Professor Cohen cited several

additional facts in support of his conclusion that “[t]he fact-based sales data from SSI Data

disclosed by Morgan Stanley was materially consistent with Under Armour’s own internal

corporate data.” Id. at 12.



                                                - 55 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 326 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 62 of 213



                  “Under Armour stated that its internal data was consistent with SSI Data sales
                   information when the Company cited to SSI Data in its own SEC filings when
                   trying to sell stock”;

                  “Under Armour also confirmed that the fact-based sales data from SSI Data was
                   materially consistent with Under Armour’s own internal corporate data when it
                   repeatedly touted its market share gains based on SSI Data findings (including
                   during the Class Period). Stated differently, either SSI Data was materially
                   consistent with Under Armour’s own internal data, or the Company was misleading
                   investors by touting the SSI Data’s findings of market share gains by the Company.
                   They can’t have it both ways”;

                  “the Company never disputed the fact-based sales data from SSI Data for 1Q 2015,
                   2Q 2015, or 3Q 2015”;

                  “Under Armour admitted that for 4Q 2015, the fact-based sales data from SSI Data
                   captured approximately 40% of Under Armour’s business”;

                  “SSI Data’s sales data encompass virtually all of Under Armour’s core retail selling
                   channels”;

                  “the Companycustomers did not dispute the accuracy of the approximately 40% of
                   Under Armour’s 4Q 2015 business that SSI Data captured”;

            123. “Under Armour’s disclosures of dramatically increasedpay for shipping). Returned

inventory levels (that outpaced sales growth), spiking 46% to $783 million in 4Q 2015 after a 36%

increase in 3Q 2015 corroborate the SSI Data”;was often liquidated at lower prices and margins.

                  “Under Armour’s disclosures of declining gross margins in 4Q 2015, which
                   contracted 1.9 percentage points to 48% corroborate the SSI Data. In other words,
                   if the SSI Data disclosing a loss of market share, decelerating sales growth and
                   declining ASP’s was accurate you’d expect Under Armour to report increased
                   inventory levels and declining gross margins – exactly what happened”;

                  “[T]he Company’s admissions regarding declining sales at its largest customer,
                   Dick’s, further corroborate the SSI Data. In fact, Under Armour admitted that sales
                   to its largest customer were -8% in 4Q 2015 – the only quarter it called out as a
                   little bit challenged for assessing company performance using SSI Data”; and

                  “Morgan Stanley’s February 14, 2017, comparison of Under Armour’s reported
                   results with what SSI Data had previously reported regarding Under Armour’s sales
                   demonstrates that the SSI Data was materially consistent with Under Armour’s own
                   internal corporate data. As Morgan Stanley explained, ‘SportScan data has
                   accurately depicted directional UAA sales trends [] and we continue to view it as
                   the linked in best source for understanding UAA’s US business at a micro level.’”
                                                   - 56 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 327 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 63 of 213



Ex. D at 13-14.

            82.    Professor Cohen’s analysis and conclusion further demonstrate that the SportScan

Data revealed in the Morgan Stanley Report was the same as or materially consistent with the

internal corporate data defendant Plank and other Under Armour executives had access to and

regularly reviewed.

                           3.e.   Defendant Plank Was Motivated to Maintain a Positive
                                  Market Perception of the Company andPlank’s Motivation to
                                  Personally Capitalize on the Company’s Artificially Inflated
                                  Stock Value

            83.124.For years, Plank had carefully cultivated a public perception of the Company as an

up-and-coming, fast-growing challenger to Nike’s position as the number one sportswear brand.

Plank was highly motivated to maintain this public perception and, in turn, the Company’s lofty,

artificially inflated common stock prices.

            84.125.Plank stood to gain most from the Company’s artificially inflated share prices. He

was the Company’s largest shareholder throughout the Class Period, owning just over 15% of the

Company’s total common stockCommon Stock outstanding. As of October 28, 2015, Plank

beneficially owned 35,700,000 shares of Class B common stockCommon Stock (which were not

publicly traded but convertible to Class A common stockCommon Stock) and 76,445 shares of

Class A common stockCommon Stock. With such a massive equity stake in the Company, Plank

was highly motivated to keep the share prices artificially inflated.

            85.126.Plank profited handsomely from the artificial inflation by selling a massive number

of Under Armour shares during the Class Period. Specifically, over nine days in November 2015

and April 2016, Plank sold a total of 2,300,000 Under Armour shares for $138.2 million. With all

of Plank’s shares coming from stock grants at no cost to him, that $138.2 million was 100% profit.

As discussed further in the Declaration of Professor M. Todd Henderson, attached hereto as
                                                  - 57 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 328 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 64 of 213



Exhibit       E,   Plank’s   Class   Period   stock   sales   were   highly   suspicious   in   several

respects.Significantly, Plank’s Class Period sales occurred during the same period identified in the

SEC’s Wells Notices to Plank and the Company: “the SEC Staff has made a preliminary

determination to recommend that the SEC file an enforcement action against the Company and

each of the Executives [Plank and Bergman] that would allege certain violations of the federal

securities laws” related to “the Company’s disclosures covering the third quarter of 2015 through

the period ending December 31, 2016, regarding the use of ‘pull forward’ sales in connection with

revenue during those quarters.”59

            127.   Plank’s Class Period stock sales were highly suspicious in amount. At the start of

several respects. Just prior to the Class Period, Plank beneficially owned 35,776,445 shares of

enacted a complicated and risky plan to protect his voting control and status as the unchallenged

leader of Under Armour common stock (. Events such as the Company issuing new shares of

Class A and Class B). In order to maintain voting control, as discussed above,Common Stock for

executive compensation had diluted Plank’s ownership stake in Under Armour could notshare

since the IPO. Thus, Plank was concerned that such compensation, coupled with his own stock

sales, would drop his ownership stake below 15% of outstanding stock. Thus, to%, causing him

to lose voting control. To maintain voting control, Plank could only sell 3,448,332 shares of Class

A and Class B Common Stock. Because Plank made clear that giving up voting control was not

an option and went to great lengths to prevent that from happening, those shares of Plank’s needed

to maintain his 15% ownership were effectively not available to sell. To prevent further dilution

and protect his control, Plank caused the Company to undertake an extraordinary recapitalization

of the Company’s balance sheet by issuing a new class of common stock – Class C Common Stock


59
      Under Armour, Inc., Current Report (Form 8-K) (July 27, 2020).
                                                  - 58 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 329 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 65 of 213



with zero votes. Plank advocated for this third class of stock and the need for Plank to maintain

control in a June 15, 2015, letter to shareholders. Plank made clear that the recapitalization was

intended to allow Plank to continue selling millions of dollars in Under Armour stock without

losing control of the Company. While Plank told investors “maintaining our founder-led approach

is in the best interests of Under Armour and all of its stockholders,” the real beneficiary was Plank.

In

            128.   Although Plank’s $138.2 million in sales were purportedly made pursuant to a Rule

10b-5-1 trading plan (“Plan”) providing for his sale of Class B Common Stock and, when issued,

Class C Common Stock, this supposed Plan was suspiciously entered into on October 28, 2015,

while Plank was already in possession of material, non-public information about the Company -

this nullifies the purpose of the Plan. Moreover, to the extent such a Plan exists, there is no

indication that the dates, timing, and price of Class Period sales were pursuant to a written formula

in the Plan that were not susceptible to change or influence, or that that trades were in accordance

with the unamended Plan. See 17 C.F.R. 240.10b5-1(c). Thus, any asserted Plan is suspect

because it was entered into as a cover for Plank’s insider trading at a time he was actively engaged

in deceiving investors.

            86.129.Specifically, in November 2015, Plank sold 1,250,000 shares of Class B Common

Stock for proceeds of $99,968,961 million. That sale amounted to roughly 36% of the shares Plank

could sell without losing control of Under Armour. In other words, in one week and while in

possession of material negative information (in particular the Company’s undisclosed

“fundamental shift” of competing on price rather than brand strength and suspect sales practices),

Plank sold 36% of the shares he had available to sell.




                                                 - 59 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 330 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 66 of 213



            87.    As discussed above, just prior to the Class Period, Plank enacted a complicated and

risky plan to protect his voting control and status as the unchallenged leader of Under Armour.

¶¶24-28. Events such as the Company issuing stock-based compensation had diluted Plank’s

ownership share since the IPO. To prevent further dilution and protect Plank’s control, Plank

caused the Company to issue a new class of common stock – Class C Common Stock with zero

votes. Plank advocated for the third class of stock and the need for Plank to maintain control in a

June 15, 2015, letter to shareholders. Plank made clear that issuing the Class C Common Stock

was intended to allow Plank to continue selling millions of dollars in Under Armour stock without

losing control of the Company. On April 7, 2016, pursuant to Plank’s recapitalization plan, the

Company issued Class C Common Stock to all holders of Class A and Class B Common Stock.

As a resultWhile Plank told investors “maintaining our founder-led approach is in the best interests

of Under Armour and all of its stockholders,” the real beneficiary was Plank. On April 7, 2016,

the Class C Common Stock was issued to all holders of Class A and Class B Common Stock. As

of April 18, 2016, Plank beneficially owned 135,020 shares of Class A Common Stock, 34,450,000

shares of Class B Common Stock, and 34,585,020 shares of Class C Common Stock.
            88.130. With the issuance of the Class C shares, Plank could continue his Class Period

selling spree without giving up any more diluting his voting powercontrol. He did just that. Over

four days in April 2016, Plank soldliquidated a total of 1,050,000 of his newly-issued Class C

shares, for $38.2 million,262,467 in proceeds., in a series of trades over four days on April 26-29,

2016. As with his November 2015 sales, these were 100% profit. Plank’s April 2016 sales of

1,050,000 Class C shares wasliquidated a remarkable 42% of the shares he could sell in 2016during

the entire year without ceding control of the Company.60 And, like the November 2015 sales, the


60
    Pursuant to a charter amendment made in connection with the creation of the Class C Common
Stock, Plank was limited to selling 2,500,000 shares in any given year or his voting control would
unwind. Although the provision allowed for potential rollover of shares if Plank sold less than
2,500,000 shares in a year, thus increasing his annual limit, that did not apply to 2016 because it
was the first year the provision was in effect.
                                                  - 60 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 331 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 67 of 213



April 2016 sales were made without disclosing the material negative information in Plank’s

possession. In particular, at this time, as disclosed by Morgan Stanley, the Company was engaged

(and had been engaged) in athe “fundamental shift” and had abandonedaway from its oft-stated

bedrock principle of not competing on price. and was engaged in suspect sales practices including

pulling sales forward in order to mask slowing demand and maintain the appearance of growth.

And, Plank was aware of the Company’s repeated efforts to move revenue between quarters,

including by pulling sales forward.61

            89.    Importantly, had Plank not effectuatedrecapitalized Under Armour’s balance sheet,

he would have had to convert and sell additional Class B shares (which carried ten votes) in order

to achieve the issuancesame amount of zero-vote total Class Period proceeds ($138.2 million),

thereby reducing his ownership of the Company’s voting shares. The recapitalization allowed

Plank to avoid this by selling Class C shares, he would have been forced to continue selling ten-

vote (which carried no votes) instead of Class B shares as he did in November. Had Plank sold

1,050,000 shares of Class A or Class B shares in April 2016, rather than (instead of the 1,050,000

Class C, Plank’s shares he actually sold), his total Class Period sales (2,300,000 shares) would

have amounted to represented a much larger portion – approximately 67% – of the shares Plank

had available to sell from September 16, 2015, through January 30, 2017, without losing voting
control of the Company.
            90.131.Plank’s Class Period stock sales were out of line with his prior trading. Plank’s

Class Period sales of 2,300,000 shares for proceeds (and profit) of $138.2 million occurred over 9

days in November 2015 and April 2016. Therefore, Plank averaged 1,150,000 shares per selling

month in the Class Period. During the three years proceedings the Class Period, Plank sold during

14 separate months. In those months, Plank averaged 339,911 shares sold per month. Thus, Plank



61
      See id. at 2.
                                                 - 61 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 332 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 68 of 213



sold more than three and a half times more (3,448,332 shares per selling month during the Class

Period than during the prior three years. Likewise, during the Class Period Plank averaged nearly

$70 million in stock sales per selling month. During the prior three years, Plank averaged less

than $23 million in stock sales per selling month. Again, Plank’s Class Period average monthly

proceeds during selling months was three times his average monthly proceeds during selling

months for the three years prior to the Class Period.).

            91.132.Plank’s $138.2 million Class Period trades were also out of line with Plank’s post-

Class Periodsubsequent trading. Indeed, as the truth concealed by Defendants’ fraud wasbegan to

be revealed and Under Armour’s stock price was punished accordingly, Plank stopped selling.

Plank has not sold a single share of Under Armour stock since April 2016.

            92.133.Plank’s Class Period stock sales were also out of line with typical sales by public

company executives. For example, a 2010 study found that “the typical CEO sells only about

1.9% of her equity incentives each year.” Ex. E at 13 & n.24.62 In contrast, Plank’s November

2015 sales of 36% of the total shares he was able to sell without losing control of the Company

were about 18 times the average annual sales of CEOs at large public companies. Plank’s April

2016 sales of 42% of shares available to sell isare even more out of line with a typical CEO’s

behavior.

            93.134.Plank’s Class Period trading was also suspicious in timing. On September 16,

2015, October 2522, 2015, and November 4, 2015, Plank made a series of misstatements and

omissions. ¶¶118, 124-125, 130-131. Beginning that artificially inflated, or maintained the

artificial inflation of, the Company’s stock price. From November 17-23, 2015, Plank begantook



62
  John E. Core & Wayne R. Guay, Is CEO Pay Too High and Are Incentives Too Low? A
Wealth-Based Contracting Framework, 24 ACAD. MGMT. PERSP. 1, 5 (Feb. 2010).
                                                  - 62 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 333 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 69 of 213



advantage of this artificial inflation by selling approximately $100 million of Under Armour stock.

Plank’s November 2015 sales were made near all-time highs for Under Armour stock. Less than

two months after Plank reaped $100 million in illicit trading proceeds, the Morgan Stanley Report

revealed that the Company’s Company was experiencing a core business was in decline, the

Company was losing market share, ASPs were falling, key margins were ASPs, and contracting

and, unbeknownst to Under Armour investors, key margins, and the Company was (and had been)

engaged in a fundamental shift in Company strategy.63 The Morgan Stanley Report also observed

that the Company’s shares had reached an “unprecedented valuation,” trading at a price 78 times

greater than the Company’s earnings per share (“EPS”) in FY15.64 Moreover, unbeknownst to

Under Armour investors, Defendants were using undisclosed, suspect sales practices to mask

slowing demand and make the Company appear healthier, including moving revenue between

quarters by, among other things, pulling sales forward.

            94.    Plank’s sales in April 2016 ($38.2 million) were likewise suspicious in timing. On

March 2, 2016, one of Under Armour’s biggest customers, Sports Authority, announced it was

filing for bankruptcy. On April 16, 2016, Sport Chalet, another of Under Armour’s wholesale

customers, announced it was going out of business. Despite those announcements, during theon

April 21, 2016 conference call to discuss 1Q16 results, Plank raised 2016 guidance and made a
series of other false and misleading statements and omissions regarding the Company’s

purportedly strong financial condition, as alleged herein, causing Under Armour’s stock prices to

continue to tradetrading at artificially inflated prices.
            95.135. A few days later, on April 26, 2016, Sports Authority declared that rather than

restructure and continue to operate in some capacity, as it had previously planned to do, it would



63
      Ex. C.
64
      Id. at 3.
                                                 - 63 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 334 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 70 of 213



liquidate. That very same day, Plank sold 225,000 shares for nearly $10 million in profit. In total,

between April 26, 2016, and April 29, 2016, Plank unloaded 908,570 shares for $38.2 million in

profit., taking advantage of the recapitalization plan discussed above. At that time, Plank knew

that the Company was engaged in suspect sales practices when at the same time the Company was

losing one of its biggest customers and facing waning demand.65

            136.   Under Armour’s shares began to slide soon after Plank’s April 2016 stock sales, as

the truth continued to leak out in a series of disclosures from May 3, 2016, through November 3,

2019.

            96.137.The financial press took note of Plank’s “amazing” timing. A February 7, 2017,

article on TheStreet.com titled, “Under Armour Founder Kevin Plank Has Been Amazing at

Predicting Recent Stock Crashes,” noted “it shouldn’t come as a shock that Plank’s recent stock

trades were a good indicator on the company’s surprising new challenges, and Wall Street’s

subsequent brutal response.” With regard toRegarding Plank’s April 2016 sales, the article stated

“[t]he sales were well-timed.”

            97.    Under Armour’s shares began to slide soon after Plank’s April 2016 stock sales, as

the truth continued to leak out in a series of disclosures from May 3, 2016 through August 1, 2017.

Significantly, Plank stopped selling shares altogether after April 2016, demonstrating that his sales

were timed to capitalize on the Company’s artificial stock price inflation, before the truth about




65
    In April 2020, Plank belatedly disclosed additional Class Period sales from 2016 that were also
suspicious in timing: these sales occurred during the same period identified in the SEC’s Wells
Notices to Plank and the Company and while Plank possessed material negative information,
including that the Company was engaged in the “fundamental shift” away from its oft-stated
bedrock principle of not competing on price and was engaged in suspect sales practices like pulling
sales forward to mask slowing demand and maintain the appearance of growth. Although Plank’s
November 2015 and April 2016 trades were purportedly made pursuant to a Rule 10b5-1 trading
plan, these belatedly-disclosed 2016 trades were not.
                                                 - 64 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 335 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 71 of 213



the Company was revealed. As the truth leaked out, and the artificial inflation was removed from

the stock, Plank no longer had the same motivation to sell.
            98.138.Plank was also motivated to misrepresent and conceal the Company’s true financial

condition in order to conduct the Bond offering for nearly $600 million in proceeds on June 8,

2016.       On June 6, 2016, Under Armour filed a registration statement on Form S-3ASR

(“Registration Statement”) with the SEC regarding the Bond offering. The Company also filed

Forms 424B5 and FWP with the SEC on June 8, 2016 (with Registration Statement, “Offering

Materials”). Pursuant to the Offering Materials, the Company completed the Bond offering of

3.250% senior unsecured notes of Under Armour, due June 15, 2026, on June 8, 2016, issuing

notes in the aggregate principal amount of $600 million (“Offering”).

            99.139.The Company, and in turn Plank, immediately benefited from the Offering,

receiving $593.6 million in total net proceeds. The Offering terms would have been far less

favorable to the Company had the market known the truth about the Company’s ailing financial

condition. As the truth concealed by Defendants’ Class Period misstatements and omissions was

revealed through a series of partial disclosures, the Bonds were downgraded to junk status on

February 1, 2017. Had the Bonds been issued a junk status rating at the time of their issuance, the

Offering would have made less financial sense and been less advantageous to Under Armour,

particularly because Defendants intended to use the Bond proceeds to repay outstanding debt under

its revolving credit facility. Furthermore, Under Armour reported negative free cash flow in 2015

and 2016. In fact, the Company’s reported negative cash flow from operations of -$44 million in

FY15 was its first negative operating cash flow year since FY07 and down from $219 million in

FY14. Under Armour’s cash position provided an acute need for the Bond proceeds. These facts

were well known to Plank, serving as additional motive to misrepresent and conceal the


                                                 - 65 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 336 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 72 of 213



Company’s true financial condition and suspect sales practices to keep the Bonds above junk

status.

                   4.      Expert Opinion Confirms that Plank’s Class Period Stock
                           Sales Were Highly Suspicious

            100.   Professor M. Todd Henderson, an expert on securities regulation and corporate

governance, including executive compensation and insider trading, reviewed Plank’s insider

trading during the Class Period. After review and analysis of the relevant facts, including years of

trading history by Plank, Professor Henderson concluded:
                    Based on my research on executive compensation, securities regulation, and
            corporate governance, as well as my experience in consulting with companies regarding
            these issues, my opinion is that Mr. Plank’s Class Period stock sales were extremely
            unusual and suspicious. For instance, during the Class Period, Mr. Plank sold more than
            one third of the stock he had available to sell (while maintaining voting control). As
            explained below, the sale of between 36 percent and 42 percent of saleable shares raises
            serious suspicions about his motives. Moreover, Mr. Plank sold over three times more
            stock per month during the Class Period than his recent historical average. This dramatic
            departure from his past trading practice, coupled with the record high prices and the
            significant stock price declines shortly after his sales, as well as the Plaintiffs’ allegations
            regarding Mr. Plank’s informational advantage demonstrates that these stock sales were
            unusual and suspicious.

Ex. E at 2.

            101.   Professor Henderson examined the amount of Under Armour shares beneficially

owned by Plank as well as the Company’s dual-class stock structure prior to April 2016. Ex. E at
5-6. Professor Henderson discussed the Company’s “sunset provision” whereby Plank would lose

voting control of Under Armour if his ownership fell below 15% of total shares outstanding. Id.

at 6. Professor Henderson further noted, “Mr. Plank (and the Company) went to extraordinary

lengths – including creating a new class of common shares (Class C) during the Class Period – to

preserve Mr. Plank’s personal control over the Company.” Id. And that “[t]he evidence is

overwhelming that Mr. Plank would not sell below 15 percent and give up control.” Id. at 8. Based

on the foregoing, Professor Henderson determined that, in analyzing the percent of holdings Plank

sold during the Class Period, the “appropriate denominator . . . is not his ‘overall holdings,’ but

                                                     - 66 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 337 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 73 of 213



rather the shares he could sell while still retaining his position as the controlling shareholder of

Under Armour.” Id. at 4. “Using ‘shares available to be sold’ as the denominator, Mr. Plank sold

approximately 36 percent of his shareholdings” in November 2015. Id. at 6. Professor Henderson

opined, “this amount is extraordinary.” Id. at 9.

            102.   With regard to Plank’s April 2016 sales of 1,050,000 shares for $38.2 million,

Professor Henderson found “[t]hese sales amounted to 42 percent of all shares Mr. Plank could

sell that year without implicating his control over Under Armour.” Id. at 10. That was because

“[a]ccording to the revised charter after the issuance of the Class C shares, Mr. Plank could sell a

maximum of 2.5 million shares in 2016.” Id. at 10. Professor Henderson concluded, “[i]t is

extraordinary for a CEO to sell such a high percentage of their shareholdings in a given year.” Id.

at 11.

            103.   Professor Henderson also analyzed Plank’s April 2016 sales in the context of

Plank’s intent on maintaining control of Under Armour. Id. at 9-12. Professor Henderson noted

Under Armour’s recapitalization to introduce Class C shares. The recapitalization was motivated

by “the concern that sales by Mr. Plank, as well as issuance of new Class A shares for executive

compensation, were causing a dilution of Mr. Plank’s ownership that was approaching the 15-

percent threshold that would ‘unwind’ his position as controlling shareholder.” Id. at 9. Professor

Henderson opined, “Under Armour took significant risks to enable” Plank to sell without
“implicating his voting control.” Id. at 11. Professor Henderson concluded, “Mr. Plank took

immediate and aggressive advantage of the new opportunities to liquidate his shares in Under

Armour after receiving the Class C share dividend in April 2016. Over five days later that month,

he sold 1,050,000 Class C shares for proceeds of $38.3 million.” Id. at 10.

            104.   In evaluating the benefit of the Class C issuance, Professor Henderson analyzed the

percent of available shares Plank would have sold if the recapitalization had not been effectuated.

Without the Class C share issuance, Plank would have had to sell more Class A or Class B shares

in April 2016. “In that case, Mr. Plank’s April 2016 sale of 1,050,000 shares would have, when

added to his 1,250,000 shares sold in November 2015, brought his total Class Period sales of Class
                                                  - 67 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 338 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 74 of 213



A shares to 2,300,000.” Id. at 12. Had Plank sold 2,300,000 – Class B shares during the Class

Period – as he would have had to do without the risky Class C issuance – Plank’s Class Period

sales “would thus have been approximately 67 percent of the total shares he had available to sell.”

Id. at 12. Only a “radical plan to recapitalize Under Armour” avoided that outcome. Id. at 3.

            105.   Professor Henderson also compared Plank’s Class Period trading with Plank’s

trading history in the three years prior to the Class Period. Id. at 13-14. Professor Henderson

observed that, based on Plank’s November 2015 and April 2016 sales, Plank “sold an average of

1,150,000 during these two months during the Class Period.” Id. at 13. In the three years prior to

the Class Period, Plank sold during fourteen separate months. “In those months, [Mr. Plank]

averaged 339,911 shares sold per month. In other words, he sold almost three and a half times

more shares per month during the Class Period than his practice during the prior three years selling

Under Armour shares.” Id. at 13. Likewise, Professor Henderson observed Plank “averaged sales

of nearly $70 million per month” during the Class Period but only “$23 million in proceeds per

month in which he sold” in the three years prior to the Class Period. Id. at 13-14. Based on these

facts, Professor Henderson concluded Plank’s “Class Period sales were three times more than his

recent historical average” and dramatically out of line with his prior trading practices.” Id. at 14.

            106.   Professor Henderson further noted that Plank “has not sold a single share of Under

Armour stock” since April 2016. Id. “This strongly undercuts any claim that somehow his base
salary was insufficient and therefore excused the earning of abnormal returns from his stock sales

during the Class Period. It also reinforces how unusual [Mr. Plank’s] Class Period sales were.”
Id.

            107.   Professor Henderson also compared Plank’s Class Period trading with that of “the

typical public-company executive.” Id. at 12-13. Professor Henderson cited a 2010 study that

concluded, “‘the typical CEO sells only about 1.9% of her equity incentives each year.’” Id. at 13

& n.24. By comparison, Professor Henderson observed, Plank sold “at least 36 percent of his

shares in several days during November 2015 – about 18 times more than the typical CEO of a

large, public company.” Id. at 13.
                                                 - 68 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 339 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 75 of 213



            108.   Based on all of the foregoing, Professor Henderson concluded,
                   Based on my research, experience and analysis here, Mr. Plank’s Class Period
            stock sales are highly suspicious in timing and amount. At a time when Plaintiffs allege
            Mr. Plank was in possession of material negative information about Under Armour’s
            business, Mr. Plank engaged in massive trades of Under Armour stock that were timed at
            record high prices. As detailed herein, the attributes of these trades make them unusual
            and suspicious.

                    Mr. Plank sold at least 36 percent of his available shares during one month during
            the Class Period. After an extraordinary recapitalization of the stock precipitated in part
            by this massive selling, in April 2016, Mr. Plank sold 42 percent of his available shares for
            the year in just a few days. This large-scale dumping of shares is dramatically out of line
            with his prior trading practice over the prior three years and atypical for CEOs of large
            public companies. The sales during the Class Period were not just unprecedented, they
            have never been replicated – Mr. Plank has not sold any Under Armour stock in 30 months
            since that time.

                    Moreover, the 36 percent number actually understates the relative level of Mr.
            Plank’s selling. Under Armour undertook a costly and risky recapitalization of its stock in
            order to permit him to sell more shares without imperiling his voting control. Had they not
            done so, Mr. Plank would have had to sell approximately 67 percent of all his available
            shares during the Class Period to achieve the same $140 million in proceeds. This effective
            amount is truly extraordinary with respect to his own behavior and that of peer executives.

Id. at 14-15.

                   H.2.    The Scienter of Company Executives Is Imputed to Defendant
                           Under Armour

            109.140.       Defendant Plank’s scienter is imputed to Under Armour. In addition,

numerous facts demonstrate that other members of the Company’s senior management knew or

recklessly disregarded the adverse facts concealed by the Class Period misrepresentations. The

scienter of these Under Armour executives, like that of Plank, is imputed to Under Armour.

Because Plank and other members of Under Armour’s senior management had the requisite

scienter, Under Armour had the requisite scienter.

            110.141.       In addition to Plank, the extensive information and reporting systems

discussed above (¶¶63-64, 73-75107-108, 111-112) were available to other Company executives.

Everyone at Under Armour on the sales team had full visibility into detailed and regularly updated
                                                   - 69 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 340 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 76 of 213



sales data. Declining demand, excess inventory, and margin compression were widely discussed

throughout Under Armour. According to former Under Armour executives, as reported by WSJ:

“The strains in Under Armour’s business were evident inside the company in 2016.”66 And, Under

Armour employees in sales and planning relied on massive and constantly-updated spreadsheets

with detailed sales and inventory data to track the Company’s undisclosed practices of pulling

forward sales and determine what inventory to get rid of.

            142.   Two of the Company’s most senior executives, former CFOs Dickerson and

Molloy, made numerous public statements in which they discussed the Company’s apparel sales

growth, sales prices, inventory levels, and gross margins, evidencing their personal knowledge of

such matters. This included prepared statements on, and detailed answers about, at least one of

those matters during every quarterly earnings call with securities analysts during their respective

tenures in the Class Period. During the Company’s 2015 Investor Day, for example, Dickerson

specifically acknowledged his and the Company’s close monitoring of inventory, stating that “the

majority of our focus is going to be on inventory management and the efficiency of inventory

management.” Dickerson and Molloy also echoed these statements in numerous press releases

and SEC filings of the Company during the Class Period. Along with Plank, Dickerson signed

and certified the Company’s false and misleading Form 10-Q issued on November 4, 2015, and

Molloy signed and certified the Company’s false and misleading Form 10-K issued on February

22, 2016, and Forms 10-Q issued on April 29, 2016, August 3, 2016, and November 2, 2016.

Dickerson’s knowledge of the SportScan data reported by Morgan Stanley is further supported by

the fact that he discussed and responded to the Morgan Stanley Report at length during the

Company’s 4Q15 earnings call on January 28, 2016, as detailed in ¶183. While he (along with


66
      Ex. A, at 3.
                                              - 70 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 341 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 77 of 213



Plank) tried to downplay and discredit the report and reassure the market of the Company’s

financial strength as to each of the business segments addressed in the report, these statements

were simply motivated to keep the Company’s stock price afloat, and ultimately proved false and

misleading later in the Class Period, when Defendants revealed the same problems reported by

Morgan Stanley.

            143.   Moreover, in just over a one-year period, as Defendants’ fraud was gradually

revealed to the market, Dickerson and Molloy both departed the Company. Molloy’s abrupt

departure came only 13 months after he had joined the Company, replacing Dickerson. And,

according to WSJ, investigators are examining “the tenure of former finance chief Chip Molloy.”67

These sudden, suspicious departures, under highly questionable circumstances, provide strong

additional support that Dickerson and Molloy knew of the fraud detailed herein.

            144.   Molloy’s replacement as CFO, Bergman, also knew of the fraud detailed herein.

Along with Plank, Bergman personally received a Wells Notice from the SEC informing him that

SEC Staff made a preliminary determination to recommend that the SEC file an enforcement

action against him alleging violations of the federal securities laws. During the Class Period,

Bergman signed and certified the Company’s Forms 10-Q issued on May 9, 2017, August 8, 2017,

and November 9, 2017; May 10, 2018, August 3, 2018, and November 5, 2018; and May 9, 2019,

and August 1, 2019; and the Company’s Forms 10-K issued on February 23, 2017, February 28,

2018, and February 25, 2019.

            111.145.      Kip Fulks, (“Fulks”), the Company’s co-founder and Chief Product

OfficerCPO during the Class Period, and Plank’s “right-hand man,” attended the Company’s

monthly sales meetings with Dick’s. Brian Cummings, Senior Vice PresidentVP Regional Sales


67
      Ex. A, at 2.
                                               - 71 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 342 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 78 of 213



(“Cummings”),, also attended these meetings. As noted, the declining demand for Under Armour

products at Dick’s was discussed at these meetings, and Dick’s provided Under Armour with

detailed sales reports. Cummings pressured the Under Armour sales team to do whatever they

could to get the sales, and the sales team was encouraged to get customers to place orders by telling

them that the orders could be cancelled or returned later. For example, Cummings orchestrated a

deal with Dick’s in early 2016 wherein Cummings convinced Dick’s to order shoes that Dick’s

did not want (Dick’s predicted they would have to return 80% of the shoes). But, Cummings

agreed that Under Armour would take back any unsold product. Dick’s ended up returning 80%

or more of the deal later in 2016.

            112.146.   Fulks and Cummings also received internal sales reports every Monday.

The sales team also prepared summaries of the sales data for upper management. In addition, sales

management had a “dashboard” on their computers or tablets to access Internet-based data where

they could review information such as sales, margins, and inventory turns (including the inventory

age by style) for the top lines of business. For example, sales reports in 2016 indicated that the

sell-through for Under Armour’s athleisure products was only around 1% to 2%, when it should

have been closer to 10% to 15%.

            113.147.   The Company’s extensive inventory reporting systems were not limited to

Plank. Rather,, including information about excess inventory, was widely available. Indeed, the

Company’s inventory problems, including excess inventory across all brands, were topics of

frequent discussion. For example, Matt Mirchin, President North America and later Strategic

Advisor Global Revenue (“Mirchin”),, Rob Goodwin, Vice President (“Goodwin”), VP of North

American Merchandising, Bill Healy, Director Hunt/Fish & Tactical Sales, Kevin Eskridge, Senior

Vice PresidentVP Global Merchandising and later President Sports Performance, and Cummings

                                               - 72 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 343 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 79 of 213



discussed excess inventory. Goodwin noted that Under Armour had the most excess inventory he

had ever seen at a company. The amount of excess inventory grew so large that Under Armour’s

liquidation channels became flooded and, for some of the inventory, there was nowhere to go.

II.VI. DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
       OMISSIONS

            114.148.   Throughout the Class Period, Defendants misrepresented the demand for

the Company’s products, sales, and pricing while downplaying issues related to margins,

inventory, and retailer bankruptcies. Defendants’ misstatements and omissions failed to provide

a full picture of the true circumstances at Under Armour. In reality, the Company’s primary

product category, apparel, suffered from reduced customer appeal and demand, which hurt the

Company’s revenue and operating income growth, created excess inventory, forced the Company

to make a fundamental strategic shift to competing on price rather than premium strength (i.e.,

dropping sales prices), and compressed the Company’s margins.caused Defendants to make a

fundamental strategic shift to competing on price rather than premium strength (i.e., dropping sales

prices), and compressed the Company’s margins. Defendants concealed these problems and

employed several fraudulent sales and accounting practices, in violation of GAAP,68 to inflate

Under Armour’s quarterly financial results and growth in order to appear healthier and to mask

slowing demand. These practices included: (a) pulling forward orders from the month after the

quarter to ship within the quarter in order to hit aggressive sales goals or close the gap; (b) leaning

on retailers to take products early, including by adjusting contract terms, offering discounts, and

guaranteeing that Under Armour would buy back a certain amount of the products that did not sell;

(c) shipping products earlier than planned; (d) shipping products in the final days of the quarter,


68
    Defendants’ GAAP violations and materially false and misleading financial statements during
the Class Period are detailed in Section VIII, below.
                                                - 73 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 344 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 80 of 213



which resulted in the return of truckloads of unopened boxes of inventory and shipping plans that

sometimes contradicted the dates on the boxes; (e) continuing to ship products to Sports Authority,

and booking sales for those goods when shipped, even after it became clear that TSA was headed

to bankruptcy and the goods would be returned; and (f) shipping new inventory intended for the

Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour could

immediately book the goods as revenue instead of having to wait for a customer to buy the items

at its own stores. Additionally, investigators are examining emails that show Plank knew about

the efforts to move revenue between quarters. And, Under Armour disclosed on July 27, 2020,

that the SEC made a preliminary determination to recommend that the SEC file an enforcement

action against the Company, Plank, and CFO Bergman alleging violations of the federal securities

laws by pulling forward sales during the Class Period.

            115.149.   When Defendants elected to make such positive statements, they were

under a duty to disclose the additional negative information about the Company and its products

that would have made such statements not misleading. Specifically, they were under a duty to

disclose the Company’s slower revenue and operating income growth, lower ASPs, increased

discounting and promotions, elevated inventory, and compressed margins attributable to the

Company’s apparel issues and fundamental shift in strategy (competing on price rather than brand

strength) during the Class Period., and their manipulation of quarterly results, including by pulling

future sales forward in order to appear healthier and to mask slowing demand. This information

was material because it would have altered the total mix of information made available to

reasonable investors. However, Defendants failed to reveal this information, and, instead, they

omitted and concealed it from investors. In addition, many of Defendants’ statements about sales,

demand, market share, pricing, inventory, and margins were explicitly and materially false and

                                               - 74 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 345 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 81 of 213



misleading in and of themselves. Defendants’ material omissions and false and misleading

statements are detailed in this section.

            116.150.      Defendant Under Armour is liable for the material misstatements and

omissions of its employees alleged herein.         Likewise, as CEO, Chairman, and controlling

stockholder throughoutduring the Class Period, Defendant Plank is liable for the material

misstatements and omissions of Under Armour employees alleged herein.

            A.     2015 Investor Day

            117.151.      The Class Period begins on September 16, 2015. On that day, the Company

held its 2015 Investor Day. Plank and other members of Under Armour’s senior management gave

presentations on behalf of the Company.

            152.   Throughout the meeting, Plank and other senior executives repeatedly represented

that the Company was experiencing increased demand and sales growth in key categories.

Throughout the meeting, Plank and other senior executives repeatedly made false and misleading

statements that the Company was experiencing increased demand and sales growth in key

categories. In particular, Defendants failed to disclose that they inflated the Company’s financial

results and growth to appear healthier and to mask slowing demand for Under Armour by (a)

pulling orders forward from the month after the quarter to ship within the quarter in order to hit

aggressive sales goals or close the gap; and (b) making contingent sales pursuant to buyback

agreements. As noted above, investigators from the DOJ and SEC are examining emails that show

Plank knew about the efforts to move revenue between quarters. And, Under Armour disclosed

on July 27, 2020, that the SEC made a preliminary determination to recommend that the SEC file

an enforcement action against the Company, Plank, and CFO Bergman that would allege they




                                                 - 75 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 346 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 82 of 213



violated the federal securities laws by pulling forward sales in 2015 and 2016, including in the

third quarter of 2015, which is the same quarter the Investor Day statements were made.

            118.153.   Plank stated that “[t]he demand for our brand has never been stronger” and

represented that the “drivers” of sales growth were the same as they had been “over the past 10

years.” Chief Merchandising OfficerCMO Stafford told investors that Under Armour’s “men’s

business is stronger than ever.” With respect to women’s products, in particular, Vice PresidentVP

of the Women’s Division, Kelly Cortina, added, “[d]emand for our product is growing.” And Peter

Ruppe, Senior Vice PresidentVP Footwear, stated that the Company had “raised margins” in the

footwear division.

            119.154.   Dickerson added that “[a]pparel, our largest category, continues to grow

over 20%.” Stafford told investors that the Company was “increasing our ASPs” in men’s apparel.

Defendants failed to disclose that the Company’s apparel business – its largest and most important

business – was compressing margins as a result of the discounting, promotions, and lower ASPs

the Company was implementing in an attempt to compensate for reduced customer demand for its

apparel products.

            120.155.   Another Company representative, Susie McCabe, Under Armour’s Senior

Vice PresidentVP of Global Retail, made clear that Under Armour would be “protect[ing] the

brand” through controlled use of off-price distribution and “not chas[ing] easy profits.”

            121.156.   With regard to wholesale sales, which accounted for 65% of Under

Armour’s sales in 2016, Mirchin, President North America, misleadingly stated that “[Under

Armour’s] relationship and our partnership with Dick’s has never been stronger and our business

continues to grow.” Mirchin stated that the Company had “incredible growth at wholesale.”




                                              - 76 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 347 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 83 of 213



            122.157.     Analysts reacted positively to Defendants’ statements made at Under

Armour’s 2015 Investor Day. For example:

                   (a)   in a report dated September 16, 2015, Sterne Agee CRT maintained its

“Buy” rating and stated, “UA continues to be our #1 pick for long-term growth investors.” In

support of the positive outlook, the report noted the “company has been patient and methodical in

managing the growth of the brand by only entering the proper channels”;

                   (b)   on September 16, 2015, KeyBanc Capital Markets issued a report stating

“UA has one of the strongest growth profiles in our coverage, tactical execution continues to

improve and investments should continue to support >20% top-line growth over the next few years.

We think UA’s impressive growth demonstrates the power of strong brands”;

                   (c)   on September 17, 2015, Cowen and Company issued a report raising its

estimates and increasing its price target to $120 from $112, stating, “[m]anagement’s revenue

targets could ultimately be conservative given the acceleration in investments”; and

                   (d)   on September 17, 2015, BB&T Capital Markets issued a report raising its

price target to $115 and commenting, “we came away from UA’s Investor Day enthusiastic about

the brand’s trajectory.”

            158.   The Company’s Class A Common Stock increased from a closing price of $49.34

per share69 on September 15, 2015, to $51.68 per share on September 16, 2015, and $52.05 per

share on September 17, 2015 (the stock’s all-time high closing price).




69
    The prices of Class A Common Stock on or before April 7, 2016, referenced herein have been
adjusted to account for Under Armour’s stock dividend after the close of trading on April 7, 2016.
                                               - 77 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 348 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 84 of 213



            123.159.     Defendants’ misstatements and omissions on September 16, 2015, as set

forth in ¶¶118-121151-156 above, were materially false and misleading and omitted material facts

for the following reasons:

                  (a)    Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and, promotions, and liquidations, and compressed margins (see

¶¶37-51, 134-138);;

                  (b)    Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

                  (c)    the sales growth and demand trumpeted by Defendants were overstated by

their undisclosed quarterly practice of shifting sales from quarter to quarter to appear healthier and

to mask slowing demand, including by pulling forward orders from the month after the quarter to

ship within the quarter in order to hit aggressive sales goals or close the gap;

                  (c)(d) Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that apparel growth was continuing

and that demand for the Company’s products “has never been stronger” (see ¶118); and,” when in

truth Under Armour was experiencing declining demand and using pull-forward sales and

contingent sales pursuant to buyback agreements to maintain a façade of growth;




                                                - 78 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 349 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 85 of 213



                   (d)(e) Tthe Company was not “protect[ing] the brand” through controlled use of

off-price distribution and refraining from “chas[ing] easy profits”; rather, the Company was

slashing sales prices and running discounts and promotions in an attempt to maintain aggressive

growth projections, in an attempt to combat the core apparel declines, which compressed margins

(see ¶120).; and

                   (f)    3Q15Under Armour’s wholesale business, including with Dick’s, was not

“stronger” but weaker, and the Company did not have “incredible growth at wholesale.” In fact,

Under Armour was experiencing a monumental downturn in its primary sales channel, North

American wholesale.

            B.     Third Quarter 2015 Financial Results

            160.   On October 22, 2015, the Company issued a press release announcing its financial

results for 3Q15, followed by a conference call the same day to discuss those results. On

November 4, 2015, the Company filed a Form 10-Q with the SEC reporting its financial results

for 3Q15. In the press release, on the conference call, and in the Form 10-Q, Defendants made

materially false and misleading statements and omitted material facts. In particular, Defendants

failed to disclose that they inflated quarterly financial results and growth to appear healthier and

to mask slowing demand for Under Armour by: (a) pulling orders forward from the month after

the quarter to ship within the quarter in order to hit aggressive sales goals or close the gap; and (b)

making contingent sales pursuant to buyback agreements. Investigators from the DOJ and SEC

are examining emails that show Plank knew about the efforts to move revenue between quarters.

And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary determination

to recommend that the SEC file an enforcement action against the Company, Plank, and CFO




                                                 - 79 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 350 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 86 of 213



Bergman that would allege they violated the federal securities laws by pulling forward sales in

2015 and 2016, including in the third quarter of 2015 when they made these statements.

            124.   The press released stated gross margin headwinds were “partially offset by

favorable product margins.” During a conference call held that same day to discuss the 3Q15

results, Dickerson stated that “[i]nventory for the quarter increased 36% to $867 million.”
            125.161.       During the October 22, 2015 conference call, Plank again misrepresented

the level of demand for the Company’s products, which he would later admit had failed to adapt

to changing consumer preferences.¶¶224-225, 230, 241, 251.. ¶¶275-276, 301-303. Plank stated

that the Company was experiencing “unparalleled demand for the Under Armour brand.” During

the conference call, Dickerson stated that “[i]nventory for the quarter increased 36% to $867

million.”

            126.162.       Dickerson admitted that margins had contracted, but he misleadingly

blamed such contraction on relatively benign factors including the strength of the U.S. dollar,

exchange rates, and the emerging footwear business (which carried lower margins), rather than

declining sales of apparel, which led to lower ASPs, discounting, promotions, and reduced gross

margins:

            Moving on to margins, third quarter gross margins contracted 80 basis points to 48.8%,
            compared to 49.6% in the prior year’s period. The following factors were the primary
            drivers during the quarter. First, the continued strength of the US dollar negatively
            impacted gross margins by approximately 90 basis points versus the prior year. Second,
            sales mix negatively impacted gross margin by approximately 50 basis points in the third
            quarter versus the prior year, primarily driven by the continued strong performance of our
            footwear business.

            Also, on our ongoing focus to better flow of product to service our business resulted in
            higher freight expenses, which negatively impacted gross margin by approximately 20
            basis points in the quarter versus the prior year. Partially offsetting these margin pressures,
            we continue to see favorable product margins in both our North America and international
            business, which benefited gross margin by approximately 90 basis points in the third
            quarter.

                                                    - 80 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 351 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 87 of 213



            127.163.       Dickerson further represented that “we continue to see favorable product

margins in both our North America and international businesses” and that “we will continue to see

improvements in our product margins.”             Dickerson was asked for additional detail on the

Company’s margin contraction during the question-and-answer session with analysts, and made

clear that margins in the apparel business were not to blame, and were actually improving “right

now”:

            Omar Saad, Evercore ISI: . . . [O]ne follow-up on the gross margin comments, Brad. I
            understand the headwinds, the FX, the mix shift, et cetera. But you mentioned product
            margin as one of the benefits to the gross margin line, thinking 80 or 90 bps, something
            like that. Can you be a little bit more specific and expand upon what you mean by product
            margin driving one of the takes against the puts?

            Dickerson: That’s really probably more on our core apparel business. Overall, our core
            product margins, whether it be through pricing and/or costing, just in general across the
            globe, North American, international, most of our core apparel product margins are
            improving. That’s helping offset some of the other pressures we talked about.

            Saad: Is that more generating scale in the business on the cost side? Are you taking price
            strategically, or is it mixed to more premium products? Maybe just expand a little bit more?

            Dickerson: Yes, it’s a little bit across the board. . . . But, again, you would expect from a
            perspective of improving product margins that our apparel business would be the place we
            see the most of that; because it’s obviously our longer business and existing business, so
            that’s where we’re seeing it right now.

            128.164.       Separately, Dickerson failed to attribute elevated inventory levels to the

Company’s slowing apparel sales. Instead, he misleadingly blamed this on a strategic plan to flow

product to customers in a timelier manner, and stated the “bigger driver of” increased inventory

levels “is the flow of product.”

            129.165.       Analysts reacted positively to Defendants’ statements on October 22, 2015,

regarding Under Armour’s strong 3Q15 financial results. For example:

                   (a)     in a report dated October 22, 2015, Oppenheimer commented that sales

growth “outpaced expectations” and Oppenheimer “look[ed] favorably” upon the results;

                                                   - 81 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 352 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 88 of 213



                    (b)     on October 22, 2015, SunTrust maintained its “Buy” rating and commented

that Under Armour showed “[s]trength across categories” and its guidance should prove

“conservative”; and

                    (c)     on October 23, 2015, Telsey Advisory Group (“TAG”) issued a report

maintaining its “Outperform” rating and saying the results “marked another solid beat and raise

quarter” for Under Armour.

            130.166.        On November 4, 2015, Under Armour filed a Form 10-Q with the SEC

reporting its financial results for 3Q15, which were also discussed in the Company’s press release

and during its earnings call on October 22, 2015. The Form 10-Q stated that “[w]e believe that

our growth in net revenues has been driven by a growing interest in performance products and the

strength of the Under Armour brand in the marketplace.”

            131.167.        Plank signed a certification pursuant to the Sarbanes-Oxley Act of 2002

(“SOX”) stating, in relevant part:

            1.      I have reviewed this quarterly report on Form 10-Q of Under Armour, Inc.;

            2.      Based on my knowledge, this report does not contain any untrue statement of a
            material fact or omit to state a material fact necessary to make the statements made, in light
            of the circumstances under which such statements were made, not misleading with respect
            to the period covered by this report;

            3.      Based on my knowledge, the financial statements, and other financial information
            included in this report, fairly present in all material respects the financial condition, results
            of operations and cash flows of the registrant as of, and for, the periods presented in this
            report;

                                               *       *       *

            5.     The registrant’s other certifying officer and I have disclosed, based on our most
            recent evaluation of internal control over financial reporting, to the registrant’s auditors
            and the audit committee of the registrant’s board of directors (or persons performing the
            equivalent functions):

                   a)     all significant deficiencies and material weaknesses in the design or
            operation of internal control over financial reporting which are reasonably likely to
                                                  - 82 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 353 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 89 of 213



            adversely affect the registrant’s ability to record, process, summarize and report financial
            information; and

                    b)  any fraud, whether or not material, that involves management or other
            employees who have a significant role in the registrant’s internal control over financial
            reporting.

            132.168.       Defendants’ misstatements and omissions on October 22, 2015, and

November 4, 2015, as set forth in ¶¶124-128, 130, 131160-164, 166-167 above, were materially

false and misleading and omitted material facts for the following reasons:

                   (a)     Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and, promotions, and liquidations, and compressed margins (see

¶¶37-51, 134-138);;

                   (b)     Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

                   (c)     the net revenue growth and demand reported by Defendants were overstated

by their undisclosed quarterly practice of pulling sales forward in order to make the current quarter

to appear healthier than it actually was and to mask slowing demand, including by pulling orders

forward from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap;

                   (c)(d) Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

                                                   - 83 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 354 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 90 of 213



apparel growth, remained strong and consistent with historical trends (see ¶125);, when, in truth,

Under Armour was experiencing a monumental downturn in its primary sales channel, North

American wholesale, and using pull-forward sales and contingent sale pursuant to buyback

agreements to maintain a façade of growth;

               (d)(e) Tthe Company’s apparel and North American margins were not

“improving” or “offset[ing]” other sources of margin decline. Rather, they were narrowing due to

increasing Company discounts and promotions and, falling ASPs of the Company’s products (see

¶127);, and increasing liquidations;

               (e)(f) Tthe “bigger driver of” the Company’s increasing inventory was not a

strategic plan concerning “the flow of product” but, rather, the declining sales of apparel (see

¶128);apparel sales and reduced demand for Under Armour’s products;

               (f)(g) Tthe Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing (see ¶130);. Under Armour only maintained the false

appearance of growth by engaging in the suspect sales practices described herein; and

               (g)(h) Tthe Company’s Form 10-Q for 3Q15 failed to disclose to the market (in

violation of Item 303 of Regulation S-K, 17 C.F.R. §229.303 (“Item 303”)) the materially adverse

conditions described in this paragraph, and reported materially false and misleading financial

statements (in violation of GAAP), for the reasons discussed in Section VIII, below.




                                              - 84 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 355 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 91 of 213



III.VII.   INVESTORS BEGIN TO LEARN THE TRUTH BUT
       DEFENDANTS CONTINUE TO MISLEAD THE MARKET

            133.169.   Defendants could only conceal the truth for so long as the Company’s

apparel sales problems worsened, which increasingly slowed the Company’s revenue and

operating income growth and compressed the Company’s margins. The truth was ultimately

revealed in a series of partial disclosures causing a series of sharp declines in the Company’s

common stock prices. The declines would have been swifter and steeper, but Defendants

downplayed the negative news and continued to mislead the market with misrepresentations and

omissions regarding the state of the Company’s financial condition.true state of the Company’s

financial condition and by concealing Defendants’ improper sales and accounting practices, which

inflated its quarterly financial results and growth to appear healthier and to mask slowing demand

for its products, including by: (a) pulling orders forward from the month after the quarter to ship

within the quarter in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to

take products early, including by adjusting contract terms, offering discounts, and guaranteeing

that Under Armour would buy back a certain amount of the products that did not sell; (c) shipping

products earlier than planned; (d) shipping products in the final days of the quarter, which resulted

in the return of truckloads of unopened boxes of inventory and shipping plans that sometimes

contradicted the dates on the boxes; (e) continuing to ship products to Sports Authority, and

booking sales for those goods when shipped, even after it became clear that TSA was headed to

bankruptcy; and (f) and shipping new inventory intended for the Company’s own factory stores to

off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue

instead of having to wait for a customer to buy the items at its own stores. Investigators from the

DOJ and SEC are examining emails that show Plank knew about the efforts to move revenue

between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a
                                                - 85 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 356 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 92 of 213



preliminary determination to recommend that the SEC file an enforcement action against the

Company, Plank, and CFO Bergman that would allege they violated the federal securities laws by

pulling forward sales in 2015 and 2016. By continuing to mislead the market in this manner,

Defendants kept the Company’s common stock prices artificially inflated throughout the

remainder of the Class Period. This section details the partial revelations of truth regarding

Defendants’ fraud, the resulting Under Armour common stock price declines, and Defendants’

continued misrepresentations and omissions that kept the Company’s common stock prices

artificially inflated even as the truth began to leak out.

            A.     Published Retail Data Exposes Growth, Market Share, and ASP
                   Declines at Under Armour

            134.170.      On Sunday, January 10, 2016, Morgan Stanley issued a report downgrading

the Company, reducing its sales and earnings per share (“EPS”) growth forecasts for the Company,

and significantly reducing its price target for the Company’s stock from $103 to $62 per share.70

Based on analysis of several data points, including fact-based sales data capturing Under Armour’s

core sales channel provided by SportScan, Morgan Stanley revealed a “fundamental shift” at

Under Armour whereby the Company had, unbeknownst to investors, began competing on price

rather than its premium brand image.71 Citing retail data, the report explained that the Company’s

North American apparel business was slowing, leading to market share and average sales price

declines:

            Data indicates near-term earnings uncertainty is more than just weather: Recent SportScan
            data shows [Under Armour] is losing market share for the first time in 3 years in apparel
            and, more surprisingly, ASPs are falling at an accelerating pace. Both trends are more
            pronounced in women’s apparel, despite major marketing investment in this division last

70
      See Morgan Stanley ReportEx. C, at 1.
71
      See idId. at 2.

                                                  - 86 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 357 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 93 of 213



            year. Though warm weather surely explains some of this, we think [Under Armour] may
            be reaching maturity in US apparel faster than previously thought. Though we remain
            constructive on [Under Armour]’s int’l opportunity, we don’t think the shares are priced
            for a US slowdown.72

            135.171.       According to the retail data disclosed in the report, the declines were

occurring since at least spring of 2015 (prior to the Class Period):

            Overall, [Under Armour] sales growth [in apparel] has decelerated on both a one- and two-
            year basis since spring 2015 and recently, the data suggests [Under Armour] is losing
            apparel market share (Exhibit 5). Plus, ASP growth has been steadily decelerating, from
            positive low-single-digits gains in 2014 to negative low-single- digit growth this year. This
            compares unfavorably to the industry and Nike, which have both experienced steadily
            increasing ASPs (Exhibit 6).73

            136.172.       In particular, the report concluded, based on the retail data, that the

Company’s sales of women’s apparel were in sharp decline: “Lately the overall trend of slowing

sales growth, falling ASPs, and market share losses cited above have been more pronounced in

women’s apparel. Women’s apparel sales growth has lagged men’s by roughly 500 bps YTD with

slightly higher ASP declines. Plus, [Under Armour] has lost only a small amount of share in

men’s, but share loss in women’s has been larger and happening for 5 months, while Nike

continues to take share (Exhibit 7).”74 This was “concerning because Under Armour invested

nearly $15M in a major marketing campaign in 2014 targeted toward women. . . . To continue its

growth story, [Under Armour] must excel in women’s apparel.”75

            137.173.       The report also raised concerns about Under Armour’s potential distribution

deal with Kohl’s, a mid-tier department store that ran frequent promotions.. “Entering Kohl’s



72
      See idId. at 1.
73
      See idId. at 4.
74
      See idId. at 6.
75
      See idId.

                                                   - 87 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 358 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 94 of 213



would seem like Under Armour is risking some of its brand equity to find growth . . . [and] would

imply there may not be as much growth in these other channels as previously thought.”76

Expansion to Kohl’s would be further evidence of a “fundamental shift” at Under Armour because

it “risks eroding the premium image of the UA brand” in order to try and maintain revenue growth

with higher volume lower priced sales.77 Morgan Stanley further noted that the move to Kohl’s

“was not part of UA’s 2018 plan given at its investor day” and expansion into Kohl’s would signal

that “growth is becoming harder to find for UA than previously thought.”78 In subsequent reports,

Morgan Stanley explained further that a move by Under Armour into mid-tier stores “changes the

UA investment thesis. One main reason to own UA is it is a premium brand. Premium brands

have reputations for having higher margins, holding price better, and having more sustainable cash

flows long-term. The market, in turn, would likely not perceive the same growth or margin story

that it used to and send the P/E lower.” Put another way, “adding more mid-tier doors is really

UA just taking its brand down – essentially trading on its premium brand image in exchange for

sales growth.”

            138.174.    In addition to the apparel problems, the Morgan Stanley Report, citing the

fact-based retail data, noted that “[Under Armour] running footwear prices are down 20% since

January 2013, while the industry’s are down just 4%. . . . [Under Armour] has always competed

on brand image and innovation, rarely on price. This change in trend is a major concern because



76
      See idId. at 7.
77
      See idId.
78
    See idId. at 4. As other analysts at the time noted, Under Armour made clear at Analyst Day
that its focus was on “premium distribution” and “premium locations” in order “to maintain brand
strength.” See Brean Capital’sCapital, LLC, UA: Initiating with a Buy; As Good of A Growth
Story As There Is, October 15, 2015 report.

                                               - 88 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 359 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 95 of 213



this positioning threatens to erode [Under Armour]’s premium brand image and ultimately its long-

term growth potential.”79 The report also noted that, with respect to the Company’s Curry Two

basketball shoes, Under Armour appeared to be “trad[ing] price for volume growth,” which “risks

damaging the premium image that is the source of the long-term growth potential.”80

            139.175.        In response to the Morgan Stanley Report, the Company’s Class A common

stockCommon Stock price fell sharply. After closing at $37.50 per share81 on Friday, January 8,

2016, the stock closed at $34.98 per share on Monday, January 11, 2016 (the first trading day after

the report was issued), a decline of 6.72% ($2.52 per share), on unusually high trading volume of

over 29 million shares.

            140.176.        In the wake of the Morgan Stanley Report, a number of analysts followed

suit by releasing negative commentary on the Company. For example:

                  (a)       on January 21, 2016, BB&T Capital Markets maintained its “Hold” rating,

stating that “[g]iven the current retail environment and warmer than normal temperatures across

the US during Q4, we believe there is risk inventory growth could be even higher level than

originally planned, which adds to our concerns for more conservative H1’16 EPS”;

                  (b)       in a report dated January 25, 2016, Cowen and Company lowered its

estimates and reduced its price target to $95 from $110; and

                  (c)       on January 26, 2016, Deutsche Bank issued a report lowering its price target

and commenting that product discounting was “likely worse than expected.”




79
      See id.Ex. C, at 1.
80
      See idId. at 10.
81
    The prices of Class A common stock on or before April 7, 2016 referenced herein have been
adjusted to account for Under Armour’s stock dividend after the close of trading on April 7, 2016.

                                                   - 89 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 360 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 96 of 213



            B.     Misleadingly Positive 4Q15 and FY15Fourth Quarter 2015 and Fiscal
                   Year 2015 Financial Results and Downplay of the Morgan Stanley
                   Report

            141.177.      On January 28, 2016, Defendants issued a press release announcing the

Company’s 4Q15 and FY15 financial results. The press release stated that a decline in gross

margins “primarily reflect[ed] negative impacts of approximately 90 basis points from sales mix,

specifically from strong footwear growth, approximately 80 basis points from the continued

strength of the U.S. Dollar, and approximately 30 basis points from higher liquidations.”

Defendants held a conference call that same day to discuss the 4Q15 and FY15 results. During

the January 28, 2016 conference call, Dickerson stated that “[i]nventory for the quarter increased

46% to $783 million compared to $537 million at December 31, 2014.” On February 22, 2016,

the Company filed a Form 10-K with the SEC reporting its financial results for 4Q15 and FY15.

            178.   In the 4Q15 and FY15 press release, on the subsequent conference call, and in the

Form 10-K, Defendants made materially false and misleading statements and omitted material

facts. In particular, Defendants failed to disclose that they inflated quarterly financial results and

growth to appear healthier and to mask slowing demand for Under Armour by: (a) pulling forward

orders from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap; and (b) making contingent sales pursuant to buyback agreements.

Additionally, investigators from the DOJ and SEC are examining emails that show Plank knew

about the efforts to move revenue between quarters. And, Under Armour disclosed on July 27,

2020, that the SEC made a preliminary determination to recommend that the SEC file an

enforcement action against the Company, Plank, and CFO Bergman that would allege they violated

the federal securities laws by pulling forward sales in 2015 and 2016.




                                                 - 90 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 361 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 97 of 213



            142.179.       In the January 28, 2016, press release and conference call, Plank continued

to represent to investors that Under Armour’s core products were in high demand and Under

Armour was and would continue to be a premium brand. Plank stated “‘[o]ur core business

remains incredibly strong’” and that Under Armour’s “growth story is strong, we remain a growth

company, and none of that is wavered.” Although he would later admit the Company’s apparel

offerings had failed to change with consumer preferences, Plank led investors to believe the

Company’s revenue growth was based on high demand for core apparel. Plank stated that “[i]n

the fourth quarter, Apparel growth of 22% show cases that our brand has products for all seasons

and temperatures.” And that “[o]ur brand, our presence, our ability to drive ASPs have never been

stronger in North America.”

            143.180.       Defendants also discussed the declining margins and increasing inventory,

but pinned the blame on relatively benign and short-term factors (faster growing but lower margin

footwear and international business, the strength of the U.S. dollar, and higher freight expenses)

rather than declines in the Company’s apparel business.

            144.181.       Dickerson tied excess inventory and liquidations to a designed strategy to

deliver products to customers earlier, as well as recent weather trends, rather than any sales

problems caused by the declining apparel business:

            This growth is largely a result of our strategy to focus on delivering our products to our
            consumers in a more timely manner and thus drive higher fill rates. . . . In addition, the
            recent weather trends have led to some excess inventory creation, which we will continue
            to work through across our normal liquidation channels during the first half of 2016.

            145.182.       Following Dickerson’s opening remarks, an analyst questioned Defendants

about the Morgan Stanley Report showing the Company’s slower growth, loss of market share,

and ASP reductions, as detailed in ¶¶134-138Sections V.C-D above and in Exhibit C attached

hereto. Dickerson downplayed the point-of-sale retail data cited in the report (i.e., SportScan data),
                                                  - 91 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 362 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 98 of 213



claiming the data was too focused on the Company’s large accounts like, citing Dick’s and Foot

Locker.as an example. In response to the same question, Dickerson and Plank also reassured

investors that, notwithstanding such data, apparel growth was robust:

            Matthew J. McClintock, Barclays: My question is, Kevin, there seems to be a lot of
            debate in the marketplace on several of your strategies, and you kind of hit upon some of
            this in your prepared remarks. But in particular, the competitive positioning of both your
            Footwear and your Women’s business, and then also the potential maturity of the domestic
            business. I was just wondering if you can give us your updated thoughts on those topics?
            Have there been any strategic changes that we should be thinking about? Thanks.

            Dickerson: . . . So utilizing that [SportScan] data as a proxy for our success, especially in
            the fourth quarter, it can be little bit challenged, as we’ve seen obviously, because we
            posted another strong quarter and our Apparel growing over 20%. So I just wanted to start
            an answer with just, let’s be careful on some of those data sets that are out there, and
            understand how they relate to our business in particular.

            146.183.       In discussing the Company’s gross margin contraction, Dickerson omitted

any mention of the Company’s declining ASPs in apparel and increased promotions and

liquidations, all of which, unbeknownst to investors, were negatively impacting Under Armour’s

gross margins:

            Moving on to margins. Fourth quarter gross margins contracted 190 basis points to 48%
            compared to 49.9% in the prior year’s period. The following factors were the primary
            drivers during the quarter: First, sales mix negatively impacted gross margin by
            approximately 90 basis points in the fourth quarter versus the prior year, primarily driven
            by the continued strong performance of our Footwear business. Second, the continued
            strength of the U.S. dollar negatively impacted gross margin by approximately 80 basis
            points versus the prior year. Third, higher inventory liquidations negatively impacted gross
            margin by approximately 30 basis points.

            147.184.       In discussing 2015 gross margin headwinds, Dickerson stated that “we were

able to offset most of the non-currency related [gross margin] pressure through more favorable

product margins in both our North America and International businesses.”

            148.185.       Defendants were asked specifically about ASPs of apparel and gross

margins, and Plank and Dickerson responded as follows:


                                                   - 92 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 363 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 99 of 213



            Omar Saad, Evercore ISI: You kept mentioning premiumization, I think specifically to
            Footwear. Can you just dig a little bit deeper there, and then talk about does this translate
            over to Apparel at some point, we sort of see ASPs going up there? And then Brad, maybe
            you could comment on premiumization, maybe how it might flow-through gross margin
            over time, especially if you look at gross margin excluding the mix shift drag and the FX
            drag and what are the really underlying gross margins going to do over time? Thanks.

            Plank: . . . So first of all, on the Apparel side is that, again, a majority of our business 70%
            plus of our business is still in Apparel. So it is our focus, it’s our largest team here, and
            frankly it’s where we’ve built our brand as innovators.

                                               *       *       *

            As we look forward into 2017, we really see the ability to drive efficiency of really looking
            at pricing, and really looking at the ability for us to maximize and optimize things like
            margin. . . . We continue to drive and demonstrate that premium position in the
            marketplace.

                                               *       *       *

            Dickerson: And we were able to offset a lot of that [gross margin contraction] just through
            our general increase and improvement in product margins, specifically on the Apparel
            side.

            So as you look forward in 2016 and beyond, you should see continued improvement in
            places . . . like our Apparel product margins. . . .

            So I think in all aspects of our business, you will see that improve over time. . . . And our
            ability to improve margins in Apparel is not only possible, but it’s happening right now as
            we speak.

            149.186.        Further attempting to allay gross margin concerns, Dickerson represented

that “we’re definitely seeing improvements in Footwear margins in general” and that “Footwear

margins . . . have improved.”

            150.187.        Plank later added, “we do see the ability to continue to drive ASPs and

improve margin by – through premium products as the way that we’ll build it out.”

            151.188.        Analysts reacted positively to Defendants’ statements on January 28, 2016

regarding Under Armour’s strong 4Q15 and FY15 financial results. For example:




                                                     - 93 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 364 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 100 of 213



                  (a)   in a report dated January 28, 2016, SunTrust reiterated its “Buy” rating and

described Under Armour’s “growth engines” as “firing on all cylinders”;

                  (b)   on January 28, 2016, KeyBanc Capital Markets issued a report praising

Under Armour’s “impressive” revenue growth and predicting “+25% top-line growth over the next

few years,” citing “ongoing investments in innovation, as well as new categories and markets,”

including investments in Connected Fitness;

                  (c)   on January 28, 2016, Susquehanna Financial Group, LLP issued a report

describing the results as providing a “sigh of relief” and “tackl[ing] investor concerns,” and

increased its price target to $87 from $73;

                  (d)   on January 28, 2016, Deutsche Bank issued a report noting Under Armour’s

representations that, contrary to the Morgan Stanley Report, the Company remained a premium

brand: “UA m[anagement] made it clear today that they are now pursuing premiumization more

aggressively”;

                  (e)   on January 28, 2016, Cowen and Company issued a report titled “Sentiment

Normalizes Post ‘Sportscan’ Fear” that noted the importance of “the introduction of evermore

premium price points in footwear and apparel [to] improve[] prospects for long-term margin

enhancement; and

                  (f)   on January 28, 2016, Evercore ISI issued a report noting UA’s purported

“increasing success in more premium products.”

            152.189.    On February 22, 2016, the Company filed with the SEC a Form 10-K

reporting financial results for 4Q15 and FY15, which were also discussed in the Company’s press

release and earnings call on January 28, 2016. The Form 10-K stated that “[w]e believe that our




                                               - 94 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 365 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 101 of 213



growth in net revenues has been driven by a growing interest in performance products and the

strength of the Under Armour brand in the marketplace.”

            153.190.    The Company’s Form 10-K also contained SOX certifications by Plank that

were materially similar to those identified above in ¶131167.

            154.191.    Defendants’ misstatements and omissions on January 28, 2016, and

February 22, 20167, as set forth in ¶¶141-150, 152-153178-187, 189-190 above, were materially

false and misleading and omitted material facts for the following reasons:

                  (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting, promotions, and liquidations, and compressed margins;

                  (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and promotions, and compressed margins (see ¶¶37-51, 134-138);
                  (b)   Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

                  (c)   the growth and demand reported by Defendants were overstated by their

undisclosed quarterly practice of pulling sales forward in order to make the current quarter to

appear healthier than it actually was and to mask slowing demand, including by pulling orders

                                              - 95 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 366 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 102 of 213



forward from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap, and making contingent sales subject to buyback agreements;

               (c)(d) Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends (see ¶142);, when, in truth,

Under Armour was experiencing a monumental downturn in its primary sales channel, North

American wholesale, and using pull-forward sales and making contingent sales subject to buyback

agreements to maintain a façade of growth;

               (d)(e) Plank’s assertion that the Company’s ability “to drive ASPs have never

been stronger in North America” was false because the Company’s ASPs were falling sharply in

North America as Defendants attempted to compensate for the reduced demand and slowing sales

of the Company’s apparel products, requiring the Company to lower prices (see ¶148);, increase

promotions and discounts (e.g., offering its key products on sale for the first time during Black

Friday, 2015), and liquidate more products;

               (e)(f) Defendants’ attempts to downplay the January 10, 2016 Morgan Stanley

Report were false and misleading, as because the Company was, in fact, as the report stated,

experiencing lower apparel sales growth, increasing ASPs, and a loss of market share (see ¶145);;

               (f)(g) Tthe Company’s inventory growth was not “largely a result of our strategy

to focus on delivering our products to our consumers in a more timely manner and thus drive higher

fill rates” or simply due to “recent weather trends have led to some excess inventory creation.”

Rather, it was a symptom of reduced sales and market share due to the Company’s declining

apparel business (see ¶144);and buying back unsold products pursuant to buyback agreements;




                                               - 96 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 367 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 103 of 213



                  (g)(h) Defendants were not experiencing net revenue growth driven by “a growing

interest in performance products and the strength of the Under Armour brand in the marketplace.”

In reality, demand was shifting away from performance products offered by the Company to more

fashion-oriented products offered by the Company’s competitors, and the Company’s brand

strength was diminishing (see ¶152);and had been diminishing since at least spring 2015. As a

result, Under Armour was experiencing a monumental downturn in its primary sales channel,

North American wholesale, and pulling sales forward and making contingent sales subject to

buyback agreements to try to compensate for its declining brand heat, creating a façade of growth

and the false appearance of interest in its products;

                  (h)(i) Tthe Company was not “able to offset a lot of that [gross margin

contraction] just through our general increase and improvement in product margins, specifically

on the Apparel side” and improvement in apparel margins was not “happening right now as we

speak.” Rather, apparel margins were deteriorating as a result of reduced ASPs, discounting, and

promotions, and increased liquidations as Defendants’ scrambled to maintain lofty growth

projections artificially in the face of monumental declines in the Company’s apparel business (see

¶148);; and

                  (i)(j)   Tthe Company’s Form 10-K for FY15 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.

            C.    Press Release Reiterating 2016 Financial Outlook Despite Sports
                  Authority’s Bankruptcy

            155.192.       On March 4, 2016, the Company issued a press release confirming its

previously released net revenue and operating income projections for 2016, notwithstanding the
                                                - 97 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 368 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 104 of 213



bankruptcy of Sports Authority, one of Under Armour’s largest retail customers, filed on March

2, 2016.

            156.193.    The March 4, 2016 press release stated that the Company planned to offset

the impact of the bankruptcy on the Company’s full year 2016 results “through continued sales to

The Sports Authority and sales through other channels and customers.”

            157.194.    Defendants’ misstatements and omissions on March 4, 2016, as set forth in

¶¶155-156 above, were press release was materially false and misleading and omitted material

facts for the following reasons:

                  (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and, promotions, and liquidations, and compressed margins (see

¶¶37-51, 134-138);;

                  (b)   Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);, including shipping new inventory intended for the

Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour could

immediately book the goods as revenue instead of having to wait for a customer to buy the items

at a higher price at its own stores;




                                              - 98 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 369 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 105 of 213



                   (b)(c) the Company’s net revenue and operating income were being inflated by

Defendants’ suspect sales and accounting practices designed to make Under Armour’s financial

results and growth to appear healthier and to mask slowing demand for its products; and

                   (c)(d) Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends. In truth, Under Armour was

experiencing a monumental downturn in its primary sales channel, North American wholesale,

and using suspect sales practiced, as detailed herein, to create a façade of growth.

            D.     Misleadingly Positive 1Q16First Quarter 2016 Financial Results and
                   Guidance Raise

            158.195.      On April 21, 2016, Defendants issued a press release announcing the

Company’s 1Q16 financial results. The press release stated a decline in gross margins “primarily

reflect[ed] negative impacts of approximately 100 basis points from higher liquidations and

approximately 70 basis points from foreign currency exchange rates, partially offset by

approximately 60 basis points from improved product cost margins.” During a conference call

held that same day to discuss the 1Q16 results, Molloy stated that “[i]nventory for the quarter

increased 44% to $834 million compared to $578 million at March 31, 2015.” On April 29, 2016,

the Company filed a Form 10-Q with the SEC reporting its financial results for 1Q16.

            196.   In the 1Q16 press release, on the conference call, and in the Form 10-Q, Defendants

made materially false and misleading statements and omitted material facts.             In particular,

Defendants failed to disclose improper sales and accounting practices, which inflated the

Company’s quarterly financial results and growth to appear healthier and to mask slowing demand

for Under Armour, including: (a) pulling orders forward from the month after the quarter to ship

within the quarter in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to
                                                  - 99 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 370 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 106 of 213



take products early, including by adjusting contract terms, offering discounts, and guaranteeing

that Under Armour would buy back a certain amount of the products that did not sell; (c) shipping

products early; (d) shipping products in the final days of the quarter, which resulted in the return

of truckloads of unopened boxes of inventory and shipping plans that sometimes contradicted the

dates on the boxes; (e) continuing to ship products to Sports Authority, and booking sales for those

goods when shipped, even after it became clear that TSA was headed to bankruptcy; and (f) and

shipping new inventory intended for the Company’s own factory stores to off-price sellers T.J.X.

Co. so that Under Armour could immediately book the goods as revenue instead of having to wait

for a customer to buy the items at its own stores. Additionally, investigators from the DOJ and

SEC are examining emails that show Plank knew about the efforts to move revenue between

quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a preliminary

determination to recommend that the SEC file an enforcement action against the Company, Plank,

and CFO Bergman that would allege they violated the federal securities laws by pulling forward

sales in 2015 and 2016.

            159.197.   In the April 21, 2016 press release, Plank continued his exceedingly positive

messaging: “For the past 24 consecutive quarters or six years, we have driven net revenue growth

above 20% and we are incredibly proud of our start to 2016 with first quarter net revenue growth

of 30%. The strong results posted this quarter truly demonstrate the balanced growth of our brand

across product categories, channels and geographies.”

            160.198.   Plank was similarly optimistic as to Under Armour’s future growth. Despite

the recent bankruptcy of Sports Authority on March 2, 2016, the Company raised its outlook for

FY16 net revenues and operating income to approximately $5.0 billion (26% growth) and a range

of $503 to $507 million (23-24% growth), respectively.

                                              - 100 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 371 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 107 of 213



            161.199.       During the question-and-answer session of the April 21, 2016 conference

call, Plank was asked about the health of the Company’s North American wholesale channel. He

acknowledged it was “obviously a tough quarter for some of our partners in sporting goods,” but

reassured analysts of the Company’s continued brand strength and wholesale demand:

            Camilo Lyon, Canaccord Genuity: Kevin, I wanted to get your thoughts on just the health
            of the North America wholesale channel. There’s a lot of moving parts and some of your
            bigger customers have been shutting doors, some of the tertiary players are going away.
            Can you talk about the health of that channel and what that could lead to from a channel
            expansion opportunity and how do you think about segmentation, within that strategy?

                                             *       *      *

            Plank: I mean, posting 30% growth in a quarter where . . . one of our largest customers,
            one of our top two or three customers just a few years ago filed for bankruptcy. I think
            putting that kind of number up is something that just continues to demonstrate the strength
            of the brand and how strong our portfolio ultimately is.

            We do believe that there is still an underlying very strong wholesale market out there. And
            we expect to continue to be iconic, to be a destination.

                                             *       *      *

            So . . . our growth is effectively coming from everywhere. And North America is
            something that we feel incredibly strong about.

            162.200.       In response to a separate question, Plank emphasized that “[a]nd again we

are, to be clear, driving massive growth. We are taking share.” As to footwear, Plank stated

“[w]e are a premium Footwear brand that’s driving ASPs meaningfully higher. . . .”

            163.201.       During his opening remarks, Molloy discussed rising inventory and

declining gross margins. As to rising inventory levels, Molloy blamed “strategic initiatives we

embarked upon early last year to improve service levels for our wholesale customers,” rather than

rising levels caused by declining apparel sales. Molloy stated further: “As previously mentioned,

the strategy to improve wholesale, customer service levels resulted in elevated inventory

investments beginning in the second quarter of last year.”

                                                  - 101 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 372 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 108 of 213



            164.202.       In response to an analyst question later in the call, Molloy stated that the

majority of inventory increases were planned:

            Camilo Lyon, Canaccord Genuity: If you could just disaggregate the composition of
            inventory between planned inventory increases and any sort of excesses that you have,
            given the liquidations they had during the quarter? And coupled with the expectations for
            flat gross margins in Q2. If you could just help us understand. It seems like we’re shifting
            more towards that planned increase, if I’m reading that correctly. But just any detail there
            would be great.

            Molloy: . . . [M]ajority of the growth is planned. But we did have slightly excess. . . . But
            we are working through that. As you can see we worked through it through liquidation.
            We’re continuing to manage through that. . . . So we were working through it. But the
            majority of it is planned.

            165.203.       As to gross margins, Molloy blamed “higher liquidations to clear through

excess inventory and foreign currency exchange rates,” but stated that product margins were

“favorable” (offsetting the overall gross margin declines), rather than disclosing that apparel

product margins were declining as a result of reduced customer demand, prompting lower sales

prices, discounting, and promotions. In response to an analyst’s question on gross margins, Molloy

highlighted “product margin improvements we’ve seen.”

            166.204.       Analysts reacted positively to Defendants’ statements on April 21, 2016.

For example:

                   (a)     in a report dated April 21, 2016, Deutsche Bank Market Research raised its

price target to $53 from $47.50 and stated that “not only did [revenues] surpass expectations, but

so did gross & operating margins and EPS” and also noted that the Company’s management

“reiterated that inventories would normalize in 2Q”;

                   (b)     on April 22, 2016, Canaccord Genuity maintained its “BUY” rating, stating

that the Company’s “stellar Q1 is evidence of the broad-based momentum the brand is

experiencing across categories, channels, and geographies, and moreover should allay concerns

around its growth outlook and opportunities”; and


                                                   - 102 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 373 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 109 of 213



                   (c)    on April 22, 2016, Telsey Advisory GroupTAG issued a report stating that

it continued “to view Under Armour as one of the most compelling growth stories in the space,”

maintaining its “Outperform” rating, raising its 2016 and 2017 EPS estimates, and increasing its

price target to $53.
            205.   The Company’s Class A Common Stock rose from a closing price of $43.95 per

share on April 20, 2016, to a closing price of $46.93 on April 21, 2016. The Company’s Class C

Common Stock rose from a closing price of $42.46 per share on April 20, 2016, to a closing price

of $45.41 per share on April 21, 2016.

            167.206.      On April 29, 2016, Under Armour filed a Form 10-Q with the SEC reporting

its financial results for 1Q16, which were also discussed in the Company’s press release and during

its earnings call on April 21, 2016. The Form 10-Q also stated:

                  “We believe that the growth in our business has been driven by a growing interest
                   in performance products and the strength of the Under Armour brand in the
                   marketplace.”

                  “The increase in net sales was driven primarily by: Apparel unit sales growth and
                   new offerings in multiple lines led by training and golf.”

                  “The decrease in gross margin percentage was primarily driven by the following:
                   approximate 100 basis point decrease driven by increased liquidation as a result of
                   our changing inventory management strategy. . . .”

            168.207.      The Company’s Form 10-Q also contained SOX certifications by Plank that

were materially similar to those identified above in ¶131167.

            169.208.      Defendants’ misstatements and omissions on April 21, 2016 and April 29,

2016, as set forth in ¶¶158-165, 167-168196-203, 206-207 above, were materially false and

misleading and omitted material facts for the following reasons:

                   (a)    Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including
                                                 - 103 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 374 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 110 of 213



declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discountingUnder Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and, promotions, and liquidations, and compressed margins (see

¶¶37-51, 134-138);;
                (b)    Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

                (c)    the purportedly “massive” and “balanced” net revenue growth “effectively

coming from everywhere” was inflated by Defendants’ (undisclosed) improper sales and

accounting practices, which inflated quarterly financial results and growth to appear healthier and

to mask slowing demand, including pulling sales forward from future quarters; adjusting contract

terms or offering discounts to incentivize retailers to take products before their requested ship

dates; guaranteeing that Under Armour would buy back a certain amount of the products that did

not sell; shipping products earlier than planned and in the final days of the quarter; continuing to

ship products to Sports Authority, and booking sales for those goods when shipped, even after it

became clear that TSA was headed to bankruptcy; and shipping new inventory intended for the

Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour could

immediately book the goods as revenue instead of having to wait for a customer to buy the items

at its own stores;




                                              - 104 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 375 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 111 of 213



                (c)(d) Defendants failed to disclose these material problems to the market, and,

instead, gave investors the misleadingly positive perception that the Company’s growth, including

apparel growth, remained strong and consistent with historical trends (see ¶¶159-161).. In

realitytruth, Under Armour was experiencing declining demand and created a façade of growth

using the suspect sales practices detailed herein. Further, demand was shifting away from

performance products offered by the Company to more fashion-oriented products offered by the

Company’s competitors, and the Company’s brand strength was diminishing;

                (d)(e) Tthe decrease in gross margin percentage was not primarily driven by Under

Armour’s “changing inventory management strategy.” Rather, gross margin decreases were

primarily driven by increased discounting and promotions and lower sales prices (see ¶167);,

including discounts offered to incentivize retailers to take products before their requested ship

dates, increased liquidations, and selling new inventory intended for the Company’s own factory

stores to off-price sellers to book that inventory as revenue immediately, and corresponding lower

sales prices;

                (e)(f) Tthe Company was not “driving massive growth, and . . . taking share.”

Rather, its growth and market share were falling as a result of the Company’s apparel sales declines

(see ¶¶162);, and Under Armour was experiencing an ongoing monumental downturn in its

primary sales channel, North American wholesale, that it obscured using the suspect sales practices

detailed herein;

                (f)(g) Tthe Company’s rising inventory was not merely a result of “strategic

initiatives we embarked upon early last year to improve service levels for our wholesale

customers,” and the majority of the inventory growth was not part of a strategic plan. Rather, it

was largely attributable to declining apparel sales and diminishing demand, contingent sales

                                              - 105 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 376 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 112 of 213



pursuant to buyback agreements with its largest retailers, including Dick’s, and the Company’s

practice of shipping products in the final days of a quarter, which led to resulted in “truckloads”

of unopened boxes of inventory returned to Under Armour in 2016. As a result, Under Armour

had accumulated material amounts of excess inventory, which it failed to write down in 2016 (see

¶162 Section VIII.D);

               (g)(h) Tthe Company’s gross margin declines were not caused by strategically

planned inventory increases and offset by “favorable” product margins. Rather, declining product

margins were a primary driver of gross margin declines, resulting from falling ASPs, excess

inventory, anddiscounts and other promotions, including those offered to retailers as incentives to

take products before their requested ship dates, and increased liquidations due to lower consumer

demand for the Company’s apparel (see ¶165);;

               (h)(i) Tthe Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was, and had been, diminishing (see ¶167);since at least spring 2015.

As a result, Under Armour was experiencing a monumental downturn in its primary sales channel,

North American wholesale, and was covering this up by engaging in the suspect sales practices

described herein; and

               (i)(j)   Tthe Company’s Form 10-Q for 1Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.


                                              - 106 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 377 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 113 of 213



            E.    Departures of the Company’s Chief Merchandising Officer and Chief
                  Digital Officer

            170.209.    After the market closed on May 3, 2016, the Company surprised investors

by filing a Form 8-K with the SEC announcing the departures of two key executives, CMO

Stafford and CDO Thurston, both of whom spoke glowingly about the Company’s financial results

and outlook at the Company’s 2015 Investor Day. The Company provided no reason for the

departures. The market viewed the departures as a signal of potential trouble at Under Armour,

particularly coming on the heels of former CFO Dickerson’s departure and Morgan Stanley’s

downgrade and exposure of problems affecting the Company’s revenue and operating income

growth, gross margins, and market share, and the bankruptcies of three major retail customers of

the Company (Sports Authority, Vestis Retail Group/Sports Chalet, and City Sports).

            171.210.    As a result of this news, the price of Under Armour’s Class A common

stockCommon Stock dropped significantly. After closing at $42.73 per share on May 3, 2016, the

stock dropped 7.54% ($3.22 per share) to close at $39.51 per share on May 4, 2016, on unusually

high trading volume of almost 19 million shares.

            172.211.    The Company’s Class C common stockCommon Stock, which was issued

to Class A common stock holders on a one-for-one basis after the market closed on April 7, 2016,

also dropped on the news of the departures. The stock price closed at $40.12 per share on May 3,

2016, and fell to $37.39 per share at the close of trading on May 4, 2016, a drop of 6.80% ($2.73

per share), on unusually high trading volume of over 4.5 million shares.

            173.212.    The stock declines would have been greater had Defendants revealed the

internal troubles at the Company that precipitated the departures, including the apparel

merchandising issues discussed above contributing to Stafford’s departure. Instead, they were

completely silent as to any reasons for the departures. In reality, the departures were influenced
                                             - 107 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 378 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 114 of 213



or precipitated by the Company’s myriad problems including the declining apparel sales growth,

loss of market share, increased discounting, and elevated inventory levels.

            174.213.      Despite Defendants’ efforts to downplay the news, Under Armour’s

announcement that Stafford and Thurston were both resigning from the Company was met with

skepticism from certain analysts. For example:

                  (a)     in a report dated May 4, 2016, Piper Jaffray reiterated its “Neutral” rating

and cautioned that “these frequent departures leave us concerned on the company’s ability to attract

and retain top talent”;

                  (b)     on May 4, 2016, Brean Capital, LLC lowered its rating to “Hold” and

explained its “more cautious stance” was due, in part, to the heighted executional risks associated

with the resignations; and

                  (c)     on May 4, 2016, BB&T Capital Markets issued a report describing the

resignations as “the latest in significant turnover in [the Company’s] C-suite and other

Brand/Segment Presidents over the past several years.”

            175.214.      Defendants’ misstatements and omissions regarding the Stafford and

Thurston departures on May 3, 2016, as set forth in ¶¶170, 173¶209 above, were materially

misleading because they failed to disclose problems at the Company that contributed to such

departures, namely the declines in the Company’s apparel business resulting from lower customer

demand..

            F.    Reduced Financial Guidance Tied to the Sports Authority
                  Bankruptcy

            176.215.      On May 31, 2016, the Company issued a press release titled, “Under

Armour Updates 2016 Outlook,” which lowered the Company’s 2016 financial guidance, after

Defendants had provided strong reassurances as to the Company’s financial health and raised 2016
                                                 - 108 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 379 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 115 of 213



financial guidance just a month earlier. The Company’s updated projection included: (a) FY16

net revenues of approximately $4.925 billion (down from the previously projected $5.0 billion);

and (b) FY16 operating income in a range of $440 million to $445 million (down from the

previously projected $503 million to $507 million). The Company also announced an impairment

charge of $23 million and FY16 revenues of $43 million from Sports Authority (instead of the

originally planned $163 million) “given the recent decision of the bankruptcy court to approve the

liquidation of The Sports Authority’s business rather than a restructuring or sale of the ongoing

business.”

            177.216.    As a result of this announcement, the Company’s stock fell from $37.73 at

the close of trading on May 31, 2016, to $36.25 at the close of trading on June 1, 2016, representing

a decline of 3.92% ($1.48 per share), on unusually high trading volume of over 19 million shares.

            178.217.    Similarly, the Company’s Class C common stockCommon Stock fell 3.57%

($1.25 per share) on this news, dropping from a close of $34.97 per share on May 31, 2016 to a

close of $33.72 per share on June 1, 2016, on unusually high trading volume of over 3 million

shares.

            179.218.    In response to this news, analysts issued reports downgrading Under

Armour’s stock and commenting on the disconcerting update related to the bankruptcy. For

example:

                  (a)   on May 31, 2016, Credit Suisse issued a report skeptical of Under Armour’s

prior guidance stating, “[i]t looks like this optimism was somewhat misplaced as the liquidation

of The Sports Authority leaves a $120M revenue gap relative to prior expectations,” and lowering

its price target from $38 to $35;




                                               - 109 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 380 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 116 of 213



                  (b)   on May 31, 2016, Susquehanna Financial Group, LLP issued a report

lowering its price target and expressing “surprise[] [at] the magnitude of the announcement

(operating income lowered by ~12%) just a month after 1Q results where guidance was raised

despite pressure at [Sports Authority] (announced liquidation a week after UA reported)”;

                  (c)   on May 31, 2016, Piper Jaffray issued a report lowering its estimates and

decreasing its price target from $43 to $35, citing the Company’s $23M impairment charge in

2Q16 and operating profit forecast of $17 to $19 million, in sharp contrast to the prior forecast of

$40 to $42 million; and

                  (d)   On June 1, 2016, Wells Fargo issued a report lowering its estimates and

decreasing its valuation range from $38-$42 to $34-$38.

            180.219.    The stock declines on June 1, 2016, would have been larger had Defendants

revealed the full truth to investors regarding the Company’s financial problems. However, Plank

continued to mislead the market in the May 31, 2016 press release, stating “our brand’s momentum

is stronger than ever as we continue to see growth and increased demand across all categories and

geographies.” This statement was materially false and misleading and omitted material facts

because growth in and demand for the Company’s apparel business were in decline, not increasing

(see ¶¶37-51, 134-138).. Moreover, the Company’s apparent growth and demand were overstated

by Defendants’ concealed sales and accounting practices, which inflated its financial results and

growth quarterly to make the Company to appear healthier and to mask slowing demand for its

products, including: (a) pulling orders forward from the month after the quarter to ship within the

quarter in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to take

products early, including by adjusting contract terms, offering discounts, and guaranteeing that

Under Armour would buy back a certain amount of the products that did not sell; (c) shipping

                                              - 110 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 381 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 117 of 213



products earlier than planned; (d) shipping products in the final days of the quarter, which resulted

in the return of truckloads of unopened boxes of inventory and shipping plans that sometimes

contradicted the dates on the boxes; (e) continuing to ship products to Sports Authority, and

booking sales for those goods when shipped, even after it became clear that Sports Authority was

headed to bankruptcy; and (f) shipping new inventory intended for the Company’s own factory

stores to off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as

revenue instead of having to wait for a customer to buy the items at its own stores. Additionally,

investigators from the DOJ and SEC are examining emails that show Plank knew about the efforts

to move revenue between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC

made a preliminary determination to recommend that the SEC file an enforcement action against

the Company, Plank, and CFO Bergman that would allege they violated the federal securities laws

by pulling forward sales in 2015 and 2016.

            181.220.    As Defendants continued to mislead, the market continued to be deceived.

Indeed, despite the partial revelation of the truth on May 31, 2016, a Deutsche Bank report stated,

“[n]otably, m[anagement] reiterated 2Q’s rev[enue] plan of ‘growth in high 20%s’, allaying

palpable fears that trends slowed since 1Q.”

            G.    Under Armour Bond Offering

            182.221.    On June 6, 2016, Under Armour filed the Registration Statement with the

SEC concerning the Bond offering. The Company filed additional Offering Materials, Forms

424B5 and FWP with the SEC on June 8, 2016. Pursuant to the Registration Statement and

Offering Materials, the Company completed the Bond offering of 3.250% senior unsecured notes

of Under Armour, due June 15, 2026, on June 8, 2016, issuing notes in the aggregate principal

amount of $600 million.


                                               - 111 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 382 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 118 of 213



            183.222.   The Offering Materials incorporated by reference the Company’s Form 10-

K for 4Q15 and FY15 and Form 10-Q for 1Q16, which contained the false and misleading

statements and omissions of material fact detailed in ¶¶152, 167177-187, 189-190 above.

            184.223.   One month after the Bond offering was completed, on July 8, 2016, Morgan

Stanley issued a report with additional analysis regarding Under Armour’s strategy and

fundamental shift to competing on price rather than brand strength, which the Company had not

disclosed and indeed refuted. Morgan Stanley again analyzed Under Armour’s declining ASPs,

noting that although wholesale sales are up, “the sales increase can be explained by the ASP

decline.” The report recognized that historically and, according to Defendants’ Class Period

misrepresentations to date, Under Armour “is a premium brand.” But, based on SportScan data,

Morgan Stanley stated that, “seven straight quarters of 2.5% ASP declines, on average, challenges

that notion.” Morgan Stanley also analyzed women’s apparel, as it had in January, concluding that

“UA’s women’s apparel sales growth rate in the US wholesale channel has decelerated.” With

regard to footwear, Morgan Stanley noted that “two low priced styles . . . drove 9% of the FY15

growth in running footwear. . . . We believe selling low priced footwear threatens to erode UA

premium brand image and limit its long-term growth potential.”

            185.224.   The July 8, 2016,report issued by Morgan Stanley reporton July 8, 2016

also looked at the impact of a potential move by Under Armour into Kohl’s. The report noted “UA

knows there is risk in entering this channel” and “UA has not pursued [Kohl’s] or [JCPenney] until

now because a) these channels may cause erosion of UA’s premium brand image and UA didn’t

want to take the risk, and b) it had so many other growth avenues. We think the reason UA is

preparing to enter Kohl’s or JC Penney now is it needs to find new avenues to maintain the sales

growth rates the market expects. Otherwise, it probably wouldn’t want to take the risk.” This risk

                                             - 112 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 383 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 119 of 213



materialized almost immediately thereafter, when unbeknownst to investors, Dick’s stopped taking

Under Armour products early because it was angered by Under Armour’s decision to sell at

Kohl’s.82 Overall, Morgan Stanley viewed the declining ASPs, emphasis on low-priced footwear,

decelerating women’s wholesale apparel, and a potential move into a mid-tier store like Kohl’s

and concluded that the “strategies UA is using to stimulate sales growth jeopardize its brand

equity.”

            H.     Disappointing 2Q16Second Quarter 2016 Financial Results: Partial
                   Revelations of a Growth Slowdown

            186.225.      On July 26, 2016, just three months after raising guidance, the Company

issued a press release announcing disappointing 2Q16 financial results. The Company reported

that operating income and net income decreased 29% (to $19 million) and 58% (to $6 million)

from the prior year period, respectively, in connection with the $23 million impairment related to

the liquidation of Sports Authority. Moreover, apparel sales rose only 18.9% over the prior year

period, the first time apparel sales growth had dropped below 20% in nearly seven years.

            187.226.      The Company also reported 2Q16 gross margin of 47.7%, compared with

48.4% in the prior year’s period, “primarily reflecting negative impacts of approximately 130 basis

points from sales mix driven by strong growth in footwear and international, partially offset by

approximately 50 basis points from improved product cost margins.” Earnings were only $0.01

per share, $0.03 lower than the year-ago quarter.

            227.   On the same day, July 26, 2016, Under Armour hosted a conference call to discuss

its 2Q16 financial results. On August 3, 2016, Under Armour filed a Form 10-Q with the SEC

reporting its financial results for 2Q16



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      Ex. A, at 4.
                                                - 113 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 384 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 120 of 213



            228.   In the 2Q16 press release, on the earnings call, and in the Form 10-Q, Defendants

made materially false and misleading statements and omitted material facts.            In particular,

Defendants failed to disclose that they inflated quarterly financial results and growth in order to

appear healthier and to mask slowing demand for Under Armour, including by: (a) pulling forward

orders from the month after the quarter to ship within the quarter in order to hit aggressive sales

goals or close the gap; (b) leaning on retailers to take products early, including by adjusting

contract terms, offering discounts, and guaranteeing that Under Armour would buy back a certain

amount of the products that did not sell; (c) shipping products earlier than planned; (d) shipping

products in the final days of the quarter, which resulted in the return of truckloads of unopened

boxes of inventory and shipping plans that sometimes contradicted the dates on the boxes; (e)

continuing to ship products to Sports Authority, and booking sales for those goods when shipped,

even after it became clear that TSA was headed to bankruptcy; and (f) shipping new inventory

intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that Under Armour

could immediately book the goods as revenue instead of having to wait for a customer to buy the

items at its own stores. Additionally, investigators from the DOJ and SEC are examining emails

that show Plank knew about the efforts to move revenue between quarters. And, Under Armour

disclosed on July 27, 2020, that the SEC made a preliminary determination to recommend that the

SEC file an enforcement action against the Company, Plank, and CFO Bergman that would allege

they violated the federal securities laws by pulling forward sales in 2015 and 2016.

            188.229.      In his opening remarks on the conference call, Molloy staddted that the

Company expected its gross margin percentage to decline slightly for both 3Q16 and FY16.

            189.230.      During the question-and-answer session that followed, Molloy was asked

how the Sports Authority dynamic would affect sales for the remainder of FY16. Molloy stated

                                                - 114 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 385 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 121 of 213



that “we did ship product in the first quarter and the second quarter to [Sports Authority]. . . . It is

about 300 basis points to 400 basis points of our growth in the back half of the year without

shipping to [Sports Authority]. We have made up some of that, but not all of it.”

            190.231.    Separately, the Company forecast 3Q16 sales growth of about 20%, its

slowest growth in over six years, citing the Sports Authority bankruptcy.

            191.232.    On this news, the Company’s Class A common stockCommon Stock fell

from a close of $43.59 per share on July 25, 2016, to a close of $41.36 per share the following day,

July 26, 2016, a decline of 5.12% ($2.23 per share), on unusually heavy trading volume of nearly

18 million shares. The stock dropped an additional 3.97% ($1.64 per share) the next trading day,

closing at $39.72 per share on July 27, 2016, on unusually high trading volume averaging over 9

million shares per day, as the market continued to digest the news. The total stock price decline

over this two-day period was 8.88% ($3.87 per share).

            192.233.    The Company’s Class C common stockCommon Stock also fell on this

news, dropping from $38.78 per share at the close of trading on July 25, 2016 to $37.50 per share

at the close of trading on July 26, 2016, a decline of 3.33% ($1.28 per share), on usually high

trading volume of over 3.6 million shares. The stock continued to fall an additional 4.19% ($1.57

per share) the following day to close at $35.93 per share on July 27, 2016, on higher-than-average

volume of over 1.1 million shares, representing a total decline of 7.35% ($2.85 per share) over the

two-day period.

            193.234.    The stock declines would have been larger had the Company revealed the

full truth to investors. But Defendants continued to mislead investors and downplayed the negative

news.




                                                - 115 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 386 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 122 of 213



            194.235.       The July 26, 2016 press release stated that a decline in gross margins

“primarily reflect[ed] negative impacts of approximately 130 basis points from sales mix driven

by strong growth in footwear and international, partially offset by approximately 50 basis points

from improved product cost margins.” In a conference call to discuss the 2Q16 results that same

day, Molloy reported “[i]nventory for the quarter increased 30% to $1.1 billion compared to $837

million at June 30, 2015.”

            195.236.       Plank continued to insist that Under Armour remained “a growth company”

and falsely stated that “[o]ur second-quarter results are strong evidence that demand for Under

Armour has never been higher.”

            196.237.       Echoing this message, in his opening earnings call comments, Molloy

emphasized “the consistent growth across our diverse product lines and channels [that] delivered

another quarter of strong results,” including growth in apparel revenues.

            197.238.       During the question-and-answer session that followed, an analyst inquired

about “athletic inventory in the channel today” and whether Plank was comfortable with the

promotional backdrop. Plank admitted to a high level of promotion as well as a shifting retail

environment, but misleadingly stated that the level of promotion was the same as in prior years,

and that the Company’s core base of apparel was growing, notwithstanding shifting fashion trends

such as athletic leisure:

            Matthew Robert Boss, JPMorgan: Kevin, can you talk about athletic inventory in the
            channel today? It sounds like inventory for you guys will be in line with sales by the end
            of this quarter. Nike expects to be clean by August. I guess are you comfortable with the
            promotional backdrop you see out there today? And then larger picture, what would you
            say to those calling for a top in the athletic cycle out there?

            Plank: Yes, I’m not going to say I’m comfortable with the promotion out there in the
            market today, but I don’t know if that’s different than what we’ve seen in the last several
            years, either.


                                                  - 116 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 387 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 123 of 213



                                              *      *       *

            I think there’s a shift happening. I think the way the people are dressing is changing, and
            it’s altering. And so I don’t know if it’ll be as extreme as just women’s buying black tights
            and whether people can make a career out of that, and obviously there have been a lot of
            people jumping in the boat on women’s, specifically in the athleisure trend. But the good
            news is that we’re not grounded in trend, we’re grounded in sport. That’ll keep us here,
            and the trends will come and go. But we’re also watching our core base continue to grow
            for us, as well.

            198.239.       With regard to the Company’s deteriorating margins, Molloy again falsely

attributed the declines largely to benign factors, concealing the margin declines caused by reduced

demand for apparel, increased promotions and liquidations, and declining ASPs. Molloy instead

falsely represented that the Company’s product margins were improving.

                   Moving on to margins, second quarter gross margins decreased 70 basis points to
            47.7% compared to 48.4% in the prior year’s period. Sales mix negatively impacted the
            second quarter by approximately 130 basis points, primarily driven by the continued
            strength of our footwear and international growth. Partially offsetting this negative
            impact were continued favorable product margins, benefiting gross margin by
            approximately 50 basis points.

            199.240.       Plank also announced that the Company was expanding its wholesale

distribution to include Kohl’s. Plank falsely represented that there was “nothing reactionary about

Kohl’s” a mid-tier department store with frequent steep discounting but rather, “[t]his was a

proactive move for us.”

            200.241.       Despite Defendants’ continued false and misleading statements, a number

of analysts reacted negatively to Defendants’ statements on July 26, 2016, regarding Under

Armour’s 2Q16 financial results and declining average sales prices. For example:

                   (a)     on July 26, 2016, Macquarie Research issued a report lowering its estimates

and decreasing its price target to $40 from $47; and

                   (b)     on July 27, 2016, a Morgan Stanley report dug below the surface of Under

Armour’s announcement, stating, “[s]ales are growing solidly, but ASPs are fading. UA competes

                                                   - 117 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 388 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 124 of 213



on brand image and innovation, rarely on price. This trend change is a concern because it suggests

a fundamental shift in the UA story.” With regard to the Company’s expansion into Kohl’s, which

Morgan Stanley had discussed in prior reports, the report noted it “is not a positive in our view,”

voicing concern that “it is potentially brand dilutive.”

            201.242.    On August 3, 2016, Under Armour filed a Form 10-Q with the SEC

reporting its financial results for 2Q16, which were also discussed in the Company’s press release

and during its earnings call on July 26, 2016. The Form 10-Q stated that “[w]e believe that the

growth in our business has been driven by a growing interest in performance products and the

strength of the Under Armour brand in the marketplace.”

            202.243.    The Company’s Form 10-Q also contained SOX certifications by Plank that

were materially similar to those identified above in ¶131167.

            203.244.    Defendants’ misstatements and omissions on July 26, 2016, and August 3,

2016, as set forth in ¶¶186-190, 194-199, 201-202228-230, 234-240, 242-243 above, were

materially false and misleading and omitted material facts for the following reasons:

                  (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discountingUnder Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower




                                               - 118 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 389 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 125 of 213



ASPs, increased discounting and, promotions, and liquidations, and compressed margins (see

¶¶37-51, 134-138);;

               (b)    Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

               (c)    the “continued” and “consistent” growth and high demand Defendants

reported were overstated by Under Armour’s suspect quarterly practices, designed to make the

Company to appear healthier and to mask slowing demand for its products, including: pulling sales

forward, adjusting contract terms or offering discounts to incentivize retailers to take products

before their requested ship dates, making contingent sales pursuant to buyback agreements,

shipping products earlier than planned and in the final days of the quarter, and shipping new

inventory intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at its own stores;

               (c)(d) Defendants failed to disclose these improper practices and material

problems to the market, and, instead, gave investors the misleadingly positive perception that the

Company’s growth, including apparel growth, remained strong and consistent with historical

trends (see ¶195);. In truth, Under Armour was experiencing an ongoing monumental downturn

in its primary sales channel, North American wholesale, and covering up declining demand and

sales by engaging in the suspect sales practices described herein to create a façade of growth;

               (e)    TheMolloy’s statement that “we did ship product in the first quarter and the

second quarter to [Sports Authority]. . . . It is about 300 basis points to 400 basis points of our

                                               - 119 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 390 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 126 of 213



growth in the back half of the year without shipping to [Sports Authority]” omitted that Under

Armour continued to ship products to Sports Authority, and booked sales for those goods when

shipped, even after it knew that TSA was headed to bankruptcy and the goods would be returned;

               (d)(f) the statement that “demand for Under Armour has never been higher” was

false and misleading because customer demand for the Company’s apparel products, which

accounted for the majority of sales, was suffering and in decline (see ¶195);, and Defendants

obscured this decline using improper and undisclosed sales practices to appear healthier and to

mask slowing demand, as detailed herein;

               (e)(g) Tthe Company was not experiencing consistent growth across all product

lines and channels. Rather, growth was slowing due to the declining apparel business (see ¶196);.

Under Armour was covering up this decline and creating the false appearance of growth engaging

in the suspect sales practices described herein;

               (f)(h) Tthe Company’s promotions were growing and were not the same as “the

last several years,” as Plank misleadingly implied; rather, they were, but much higher, as the

Company ran an increasing number of promotions of apparel products throughoutduring the Class

Period (see ¶197);;

               (g)(i) Tthe statement that Under Armour was “watching our core base continue to

grow” despite changing fashion trends was misleading because the Company’s failure to capitalize

on changing fashion trends, such as the athletic leisure trend, was reducing demand for the

Company’s products and thus reducing the Company’s core base (see ¶197);. Further, Under

Armour was experiencing an ongoing monumental downturn in its primary sales channel, North

American wholesale, and creating a façade of growth to appear healthier and to mask slowing

demand by engaging in suspect sales practices, as detailed herein;

                                               - 120 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 391 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 127 of 213



               (h)(j) Tthe statements indicating that the gross margin decline was temporary due

to rising product margins, and driven by the footwear and international businesses, were

misleading because they implied that apparel margins were strong and failed to disclose that gross

margin declines were also driven by slower apparel sales, promotions, discounts, lower sales

prices, and liquidations (see ¶¶194-198); and a monumental decline in Under Armour’s primary

North American wholesale sales channel, resulting in promotions, discounts (including adjusted

contract terms or discounts offered to retailers to incentivize them to take products before their

requested ship dates), lower sales prices, increased liquidations, and shipping new inventory

intended for the Company’s own factory stores directly to off-price sellers, who sold the goods at

lower prices and thus lower margins;

               (i)(k) Tthe Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing (see ¶201);. Further, any growth in Under Armour’s

revenue was driven by the Company’s undisclosed suspect sales practices to manipulate its

quarterly results; and

               (j)(l)    Tthe Company’s Form 10-Q for 2Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.




                                              - 121 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 392 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 128 of 213



            I.     Goldman Sachs Global Retailing Conference

            245.   On September 7, 2016, Molloy represented the Company at the Goldman Sachs

Global Retailing Conference. Defendants made false and misleading statements at the conference.

In particular, Defendants failed to disclose that they inflated the Company’s financial results and

growth quarterly in order to appear healthier and to mask slowing demand for Under Armour,

including by: (a) pulling forward orders from the month after the quarter to ship within the quarter

in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to take products early,

including by adjusting contract terms, offering discounts, and guaranteeing that Under Armour

would buy back a certain amount of the products that did not sell; (c) shipping products earlier

than planned; (d) shipping products in the final days of the quarter, which resulted in the return of

truckloads of unopened boxes of inventory and shipping plans that sometimes contradicted the

dates on the boxes; and (e) shipping new inventory intended for the Company’s own factory stores

to off-price sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue

instead of having to wait for a customer to buy the items at its own stores. Additionally,

investigators from the DOJ and SEC are examining emails that show Plank knew about the efforts

to move revenue between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC

made a preliminary determination to recommend that the SEC file an enforcement action against

the Company, Plank, and CFO Bergman that would allege they violated the federal securities laws

by pulling forward sales in 2015 and 2016.

            204.246.     Molloy assured Goldman Sachs analysts that the Company’s inventory

positions were strong and the Company’s promotions were constrained. When asked how Molloy

would “characterize inventory levels at retail levels, not just for you guys but sort of across the

category right now,” Molloy responded that inventory was now “really healthy” and improved,


                                                - 122 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 393 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 129 of 213



and that despite excess inventory earlier in the year, the Company had not participated “too much”

in promotions:

            Yeah, for us we’re in a really good position [with inventory levels]. We feel really healthy
            and it’s our understanding that the marketplace is in a healthy position, too. Came out of
            the winter season, there was a lot of excess inventory. You then combine that with the
            Sports Authority bankruptcies and some other smaller bankruptcies. It was flush with
            inventory. It was a promotional environment. We didn’t participate – have to participate
            too much in that promotional environment.

            But from what we can understand that as of the end of August that most of the domestic
            retail partners are in really good inventory positions. We know we are.

            205.247.       In response to additional questions on inventory, Molloy stated that “retail

is pretty good and inventories are clean” and that “we feel really good about – and I think

everyone’s encouraged that the inventory positions got cleaned up a lot sooner than many

expected.”

            248.   Molloy’s September 7, 2016, misstatements and omissions set forth in ¶¶204-

205245-247 above were materially false and misleading and omitted material facts because for the

following reasons:

                   206.(a) the Company’s inventory levels were not healthy, clean, in a good position,

or “cleaned up a lot sooner than many expected.” Rather, inventory levels were inflated and

continued to grow due to declining customer demand for, and declining sales of, the Company’s

apparel, contingent sales pursuant to buyback agreements with its largest retailers, including

Dick’s, and the Company’s shipping products in the final days of a quarter, resulting in “truckloads

of unopened boxes [that] would come back to Under Armour” in 2016. As a result, Under Armour

had accumulated material amounts of excess and obsolete inventory, which it failed to write down

in 2016. See Section VIII.D. Moreover, Defendants were indeed participating in, and creating, a

“promotional environment” by running heavy and increasing promotions and discounts in response


                                                  - 123 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 394 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 130 of 213



to the Company’s apparel sales declines and inflated inventory levels, which had to be liquidated

at a steep discount (see ¶¶37-51, 134-138)., and by offering discounts to incentivize retailers to

take products before their requested ship dates. Further, the Company was shipping new inventory

intended for the Company’s own factory stores directly to off-price sellers like T.J.X. Co., which

allowed Under Armour to book the inventory as revenue immediately (instead of having to wait

for a customer to buy the items at its own stores) but at a lower prices and thus lower margins;

                   (b)    In truth, Under Armour was experiencing an ongoing monumental

downturn in its primary retail sales channel, North American wholesale, and any retail growth was

because the Company manipulated its quarterly sales to appear healthier and to mask slowing

demand, including by making contingent sales pursuant to buyback agreements with its biggest

retailers (including Dick’s), pulling forward sales from future quarters, adjusting contract terms

and offering discounts that incentivized retailers to take products before their requested ship dates,

shipping products in the final days of the quarter to hit numbers, and shipping new inventory

intended for the Company’s own factory stores to off-price sellers so that Under Armour could

book the inventory as revenue immediately instead of having to wait for a customer to buy the

items at its own stores.

            J.     Disappointing 3Q16Third Quarter 2016 Financial Results: Further
                   Revelations of a Growth Slowdown and Compressed Margins

            249.   On October 25, 2016, the Company issued its 3Q16 earnings release. Defendants

surprised investors by reporting 3Q16 gross margin of only 47.5%, compared with 48.8% in the

prior year’s period. On the same day, Under Armour hosted a conference call to discuss its 3Q16

financial results. On November 2, 2016, Under Armour filed a Form 10-Q with the SEC reporting

its financial results for 3Q16.



                                               - 124 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 395 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 131 of 213



            250.   In the 3Q16 earnings release, on the earnings call, and in the Form 10-Q,

Defendants made materially false and misleading statements and omitted material facts. In

particular, Defendants failed to disclose that they inflated the Company’s quarterly financial results

and growth in order to appear healthier and to mask slowing demand for Under Armour, including

by: (a) pulling forward orders from the month after the quarter to ship within the quarter in order

to hit aggressive sales goals or close the gap; (b) leaning on retailers to take products early,

including by adjusting contract terms, offering discounts, and guaranteeing that Under Armour

would buy back a certain amount of the products that did not sell; (c) shipping goods earlier than

planned; (d) shipping products in the final days of the quarter, which resulted in the return of

truckloads of unopened boxes and shipping plans that sometimes contradicted the dates on the

boxes; and (e) shipping new inventory intended for the Company’s own factory stores to off-price

sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue instead of

having to wait for a customer to buy the items at its own stores. Additionally, investigators from

the DOJ and SEC are examining emails that show Plank knew about the efforts to move revenue

between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a

preliminary determination to recommend that the SEC file an enforcement action against the

Company, Plank, and CFO Bergman that would allege they violated the federal securities laws by

pulling forward sales in 2015 and 2016.

            207.251.     Plank and Molloy participated in the call on behalf of the Company. In his

opening remarks, Molloy stated that the Company’s margins “declined more than planned” due to

factors including higher discounts, promotions, and liquidations. Looking forward, Molloy added

that “[g]ross margins for the full-year are expected to decline approximately 80 basis points

compared to last year driven by the same factors that we have experienced through the year.”

                                               - 125 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 396 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 132 of 213



            208.252.   During the conference call, Molloy further revealed that apparel growth

would be less than projected at the Company’s 2015 Investor Day: “[T]he landscape for our

business and our industry continues to evolve . . . . North America apparel growth is slowing

across the industry. While we expect to continue to significantly outpace the apparel industry, the

growth rate going forward will be less than expected from our Investor Day in 2015.”

            209.253.   Molloy also revealed that the Company would not be able to meet the 2018

operating income projection of $800 million that was originally provided at the Company’s 2015

Investor Day, stating instead that “we expect annual operating income growth in the mid-teens

each of the next two years.” In the question-and-answer session that followed, Plank provided

additional detail on problems that led Defendants to lower operating income guidance, stating that

“in North America, it’s a place that provided incredible air cover for our brand for a very long time

and I think like we’re seeing in a lot of places that, that is modifying, it’s changing. . . . [D]emand

for the Under Armour brand . . . certainly hasn’t reappeared dollar-for-dollar in our immediate

distribution.”

            210.254.   The Company’s stock fell sharply as a result of this negative news. Under

Armour’s Class A common stockCommon Stock dropped from a close of $37.90 per share on

October 24, 2016, to a close of $32.89 per share the following day, October 25, 2016, a decline of

13.22% ($5.01 per share), on unusually heavy trading volume of over 58 million shares. The stock

dropped an additional 5.93% ($1.95 per share) over the next three trading days, closing at $30.94

per share on October 28, 2016, on higher-than-average trading volume averaging over 17 million

shares per day, as the market continued to digest the news. The total stock price decline over this

four-day period was 18.36% ($6.96 per share).




                                               - 126 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 397 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 133 of 213



            211.255.   The Company’s Class C common stockCommon Stock also dropped

precipitously on this news, from a close of $32.90 per share on October 24, 2016, to a close of

$28.37 per share the following day, October 25, 2016, representing a decline of 13.77% ($4.53 per

share), on unusually heavy trading volume of over 6.8 million shares. The stock dropped an

additional 8.67% ($2.46 per share) over the next three trading days, closing at $25.91 per share on

October 28, 2016, on higher-than-average trading volume averaging over 4 million shares per day,

representing a total decline over this four-day period of 21.25% ($6.99 per share).

            212.256.   The stock declines would have been larger had Defendants revealed the full

truth regarding the Company’s problems. Instead, Defendants continued to mislead investors and

downplay the negative news. In an October 25, 2016 press release, Defendants stated that a decline

in gross margins “primarily reflect[ed] negative impacts from the timing of liquidation, increased

promotions, and foreign exchange rates, partially offset by continued product cost margin

improvements.” During the October 25, 2016, conference call to discuss 3Q16 results, Molloy

stated that “[i]nventory for the quarter increased 12% to $971 million.”

            213.257.   Plank boasted during the October 25, 2016, earnings call that “[w]e are a

growth company. And with our 26th consecutive quarter of 20%-plus revenue growth, we

continue to demonstrate our ability to drive a bigger and better company quarter-after-quarter. Our

financial results are an incredible accomplishment for any brand and something that we believe

separates us from others in our business.” Plank insisted that “our demand is still there” and that

“[revenue] growth remains intact.”

            214.258.   Plank also stated during the earnings call that “with apparel remaining

incredibly profitable . . . there’s not an end to the North American apparel story. That continues

to march on for us as well.”

                                              - 127 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 398 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 134 of 213



            215.259.    Defendants continued to conceal the full extent and causes of the

Company’s deteriorating margins and operating income, pointing investors to the fast growing

footwear and international businesses becoming greater sources of revenue (affecting the sales

“mix”) and the need for additional investment “on multiple fronts” to take advantage of growth

opportunities (as opposed to the declining apparel business being a source of the margin and

operating income issues). Molloy also represented that “we’re already seeing improvements in

our footwear margins.”

            216.260.    With regard to inventory, Molloy assured investors that “[d]espite

liquidations having been a headwind on margin rates for most of this year, we now believe that

our inventory position is healthier.” In response to an analyst question later in the call, Molloy

falsely stated that the Company was “in really good shape from an inventory perspective” and

“growth rates [have] come down, but the inventory is in great shape.”

            217.261.    Notwithstanding Defendants’ attempts to put a positive spin on the

disappointing 3Q16 results, analysts reacted negatively to Defendants’ statements on October 25,

2016. For example:

                  (a)   on October 25, 2016, Morgan Stanley issued a report calling Under

Armour’s updated guidance “surprisingly weak,” noting “UA’s entry into low-end channels has

raised the risk its brand equity erodes”;

                  (b)   on October 25, 2016, Wells Fargo Equity Research issued a report stating

the Company’s new 2017/2018 outlook was “far worse than expected”;

                  (c)   on October 25, 2016, William Blair issued a report downgrading Under

Armour to “Market Perform” and noting the new earnings growth guidance was “down materially

from the company’s last analyst day goal”;

                                              - 128 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 399 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 135 of 213



                  (d)   on October 25, 2016, Piper Jaffray issued a report in response to the

Company’s disclosures, commenting “[c]learly we and the Street were blindsided by

m[anagement]’s update to its long-term guidance on the call”;

                  (e)   on October 26, 2016, Cowen and Company issued a report lowering its price

target to $35 and downgrading its rating to “Market Perform,” noting the Company had

“substantially reduced its operating income target to ~ $585MM vs. our prior estimate of

$760MM”; and

                  (f)   Onon October 27, 2016, Morgan Stanley issued a report in response to the

Company’s October 25, 2016, disclosures. The report noted that although the market had been led

to believe Under Armour’s contracting margins were due to investment for future growth, the poor

results and margin guidance “suggests UA is increasing discounting and pursuing business in

lower-margin channels to meet its sales goals.”         Morgan Stanley concluded, “UA’s brand

momentum is slowing.” The report further noted, with the recent announcement of an expansion

into Kohl’s alongside worsening margins and falling ASPs, “Under Armour’s brand strategy seems

increasingly risky. On one hand the company tries to elevate the brand . . . [o]n the other hand, it

allows its brand to be sold at deep discounts.” The report warned, “[i]f the brand equity erodes, it

will be almost impossible to get back and growth will be increasingly hard to come by.”

            218.262.    On November 2, 2016, Under Armour filed a Form 10-Q with the SEC

reporting its financial results for 3Q16, which were also discussed in the Company’s press release

and during its earnings call on October 25, 2016. The Form 10-Q stated that “[w]e believe that

the growth in our business has been driven by a growing interest in performance products and the

strength of the Under Armour brand in the marketplace.”




                                              - 129 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 400 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 136 of 213



            219.263.    The Company’s Form 10-Q also contained SOX certifications by Plank that

were materially similar to those identified above in ¶131167.

            220.264.    Defendants’ misstatements and omissions on October 25, 2016, and

November 2, 2016, as set forth in ¶¶207-209, 212-216, 218-219250, 256-260, 262-263 above,

were materially false and misleading and omitted material facts for the following reasons:

                  (a)   Under Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discountingUnder Armour’s apparel products, which accounted for most of the

Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and promotions, and compressed margins (see ¶¶37-51, 134-138);
                  (a)   , promotions, and liquidations, and compressed margins;

                  (b)   Under Armour was undergoing a “fundamental shift” and was competing

on price rather than brand strength and a premium product, and as part of the “fundamental shift,”

the Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth (see ¶¶134-138);;

                  (c)   the “intact” net revenue growth and “incredible” financial results reported

by Defendants were inflated by the Company’s suspect sales and accounting practices, which

manipulated its quarterly growth and financial results to appear healthier and to mask slowing

demand, including by: pulling sales forward from future quarters, making contingent sales

pursuant to buyback agreements with its biggest customers like Dick’s, adjusting contract terms


                                              - 130 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 401 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 137 of 213



or offering discounts to incentivize retailers to take products before their requested ship dates,

shipping products earlier than planned and in the final days of the quarter, and shipping new

inventory intended for the Company’s own factory stores to off-price sellers T.J.X. Co. so that

Under Armour could immediately book the goods as revenue instead of having to wait for a

customer to buy the items at its own stores;

               (c)(d) Defendants failed to disclose these material problems and suspect practices

to the market, and, instead, gave investors the misleadingly positive perception that the Company’s

growth, including apparel growth, remained strong and consistent with historical trends (see

¶¶213-214);. In truth, Under Armour was experiencing an ongoing monumental downturn in its

primary sales channel, North American wholesale, and covering up declining demand and sales

by using the suspect sales practices detailed herein to create a façade of growth;

               (d)(e) Tthe pressure on the Company’s margins and operating income was not

driven solely by the footwear and international businesses becoming greater sources of revenue

and the need for additional investment to take advantage of growth opportunities, as Defendants

misleadingly stated. Such pressure was also a function of the declining apparel business, which

reduced sales and ASPs, while increasing promotions, discountsliquidations, inventory, discounts,

including discounts offered to retailers to incentivize them to take products before their requested

ship dates, and liquidations (see ¶¶212, 215);lowering sales prices, including by shipping new

inventory intended for the Company’s own factory stores directly to off-price sellers, who sold the

goods at lower prices and thus lower margins;

               (e)(f) Tthe Company’s inventory position was not “healthier” or in “great shape.”

Rather, inventory was a major problem and continued to get worse, causing a high levelincreased

levels of inventory that the Company was forced to liquidate at discounted prices and to offer

                                               - 131 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 402 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 138 of 213



discounts to incentivize retailers to take products before their requested ship dates, as demand for

the Company’s apparel products continued to suffer (see ¶216);. The Company’s elevated

inventory levels were exacerbated by diminishing demand and sales of Under Armour’s core

products, contingent sales pursuant to buyback agreements with its largest retailers, including

Dick’s, and the Company’s practice of shipping products in the final days of a quarter resulting in

“truckloads” of unopened boxes of inventory returned to Under Armour. As a result, Under

Armour had accumulated material amounts of excess and obsolete inventory, which it failed to

write down in 2016;

                   (f)(g) Tthe Company was not experiencing net revenue growth driven by “a

growing interest in performance products and the strength of the Under Armour brand in the

marketplace.” In reality, demand was shifting away from performance products offered by the

Company to more fashion-oriented products offered by the Company’s competitors, and the

Company’s brand strength was diminishing (see ¶218);. Indeed, purported growth in Under

Armour’s revenue was driven by the Company’s undisclosed suspect sales practices, a detailed

herein; and

                   (g)(h) Tthe Company’s Form 10-Q for 3Q16 failed to disclose to the market (in

violation of Item 303) the materially adverse conditions described in this paragraph, and reported

materially false and misleading financial statements (in violation of GAAP), for the reasons

discussed in Section VIII, below.

            K.     Disappointing 4Q16 & FY16Fourth Quarter 2016 and Fiscal Year
                   2016 Financial Results: Revelations of a Severe Growth Slowdown
                   and the Sudden Resignation of CFO Molloy

            265.   The Company finally began to more fully reveal the extent of its problems to

investors on January 31, 2017. On that day, Under Armour stunned investors with a press release


                                               - 132 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 403 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 139 of 213



announcing dramatically lower-than-expected growth and other financial problems during 4Q16

and FY16. the fourth quarter of 2016 (“4Q16”) and FY16. During a conference call with analysts

on the same day, Defendants elaborated on the news revealed in the Company’s earnings release.

Defendants made false and misleading statements in the 4Q16 earnings release and on the 4Q16

earnings call. In particular, Defendants failed to disclose that they inflated quarterly financial

results and growth in order to appear healthier and to mask slowing demand for Under Armour,

including by: (a) pulling forward orders from the month after the quarter to ship within the quarter

in order to hit aggressive sales goals or close the gap; (b) leaning on retailers to take products early,

including by adjusting contract terms, offering discounts, and guaranteeing that Under Armour

would buy back a certain amount of the products that did not sell; (c) shipping goods earlier than

planned; (d) shipping products in the final days of the quarter, which resulted in the return of

truckloads of unopened boxes and shipping plans that sometimes contradicted the dates on the

boxes; and (e) shipping new inventory intended for the Company’s own factory stores to off-price

sellers T.J.X. Co. so that Under Armour could immediately book the goods as revenue instead of

having to wait for a customer to buy the items at its own stores. Additionally, investigators from

the DOJ and SEC are examining emails that show Plank knew about the efforts to move revenue

between quarters. And, Under Armour disclosed on July 27, 2020, that the SEC made a

preliminary determination to recommend that the SEC file an enforcement action against the

Company, Plank, and CFO Bergman that would allege they violated the federal securities laws by

pulling forward sales in 2015 and 2016.

            221.266.    In the press release, Plank attributed the declines to “numerous challenges

and disruptions in North American retail [that] tempered our fourth quarter results.” Specifically,

the Company revealed that:

                                                - 133 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 404 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 140 of 213



                 Net revenues grew only 12% (to $1.3 billion) in 4Q16 (the Company’s
                  crucial holiday season), breaking a streak of 26 consecutive quarters with
                  greater than 20% revenue growth. Net revenues in FY16 were $4.8 billion,
                  lower than the Company’s guidance of $4.925 billion issued just a few
                  months prior, on October 25, 2016.

                 Operating income dropped 6% to $167 million in 4Q16 and increased only
                  3% to $420 million in FY16 (lower than the projected range of $440 to $445
                  million, an increase of 8-9%, for FY16).

                 FY16 gross margin dropped from 48.1% to 46.5%.

                 4Q16 EPS were $0.23, lower than analysts’ consensus estimate of $0.25.

                 FY16 inventory increased 17%.

            222.267.     Moreover, the press release provided a surprisingly negative outlook for

2017. Net revenues were expected to grow only 11-12%, down sharply from the more than 20%

revenue achieved by the Company for 26 consecutive quarters. In addition, gross margin was

“expected to be slightly down compared to the prior year,” and operating margin was expected to

fall to approximately $320 million.

            223.268.     Coupled with the negative financial results and outlook, the Company

announced that Molloy had decided to leave the Company “due to personal reasons.” Molloy’s

sudden departure was highly suspicious since he washad only been at Under Armour for 13

months. In addition, Molloy was the fourth high-level senior executive to depart within that time

frame, following Dickerson (who Molloy replaced as CFO), Stafford (CMO), and Thurston

(CDO). Molloy was replaced by Dave Bergman (“Bergman”),, the Company’s SVPSenior VP of

Corporate Finance, who was Under Armour’s third CFO in the 2016-2017 period.

            224.269.     During a conference call with analysts on the same day, January 31, 2017,

Defendants elaborated on the news revealed in the Company’s earnings release. Plank, Molloy,

and Bergman participated in the January 31, 2017 conference call on behalf of the Company. In


                                                - 134 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 405 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 141 of 213



his opening remarks, Plank provided reasons for the poor results, citing a host of reasons including

2016 bankruptcies, channel dislocation, destocking, slower customer traffic, and poor product

assortment, resulting in “significant promotional activities,” lower pricing, and a “discounted

environment”:

            While it’s certainly not new news, throughout 2016 bankruptcies, channel dislocation and
            destocking combined to disrupt the overall North American retail landscape.

                                             *       *      *

            So first, I’d like to explain a few things: what happened, what we learned and what we’re
            doing about it. So let’s start with what happened. In the fourth quarter, slower traffic
            caused significant promotional activities earlier, deeper and broader than expected. This
            commoditized some of our more basic core product that had previously sold through for
            us in years past.

            This, in addition to higher demand for more lifestyle silhouettes caused us to be out of
            balance with our assortment. So we lost top line volume as we worked to adapt [through]
            our mix and pricing. Now, to be fair, we did comp positively in the quarter in both our
            own retail stores and our e-commerce channel, but ultimately the result was below original
            plan.

            There was also lower channel recapture of bankruptcy volume that we’d expected, as
            pricing came down in the points of distribution that we serve. Finally, we say out of
            balance with our cold weather product assortment that was on the floor, which in years past
            have been able to absorb through full price sales.

                                             *       *      *

            We learned that when we play in a discounted environment, we can drive volume and win,
            but the role both we and our retailers expect us to play is as a premium full-price brand.

            225.270.       While Plank couched these issues as having emerged in 4Q16, in reality,

this was a continuation of problems known, or recklessly disregarded, by Defendants

throughoutduring the Class Period. Plank added that, going forward, the Company would attempt

to address these issues by evolving “to better align with what consumers want, with what

consumers need” and, in particular, “accelerating our lifestyle product offering to capture broader

demand.”

                                                  - 135 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 406 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 142 of 213



            226.271.       In his opening remarks, Molloy added that “for reasons Kevin [Plank]

detailed, apparel revenue came in lighter than we had originally anticipated” and that sales to

wholesale customers were “moderated by the challenges in our North American business that we

have spoken to today.” He emphasized that “North American apparel is still our largest and most

profitable business by far. Accordingly, less-than-expected growth in this area disproportionately

pressures our overall growth rate.”

            227.272.       Molloy also stated that “[f]ourth quarter gross margin decreased 320 basis

points to 44.8%, compared to 48% in the prior year’s period. The decrease includes a negative

impact of approximately 230 basis points, driven by higher discounts and promotions,” as well as

lower margins resulting from footwear and international sales. As to full-year gross margins,

Molloy cited a decline of “160 basis points to 46.5% . . . primarily due to actions to better manage

our inventory including discounting, especially in the back half of the year.”

            228.273.       Discussing the updated outlook for 2017, Bergman stated that “based on the

macro factors we’ve discussed on today’s call, and proactive actions to manage inventory levels

down in the marketplace, we expect full year revenues to be up approximately 11% to 12% to

nearly $5.4 billion in 2017.” Regarding the first quarter of 2017 (“1Q17”),, Bergman stated:

            We anticipate the first quarter to grow at a mid-single digit rate as fourth quarter conditions
            in North America carry over and we will have not yet lapsed some of the significant
            bankruptcies we saw in 2016. We’re expecting first quarter gross margin to be down
            almost 100 basis points year-over-year, as many of the same factors from the fourth quarter
            pressure our margins, including foreign currency impacts and higher promotions and
            discounts.

            229.274.       Bergman also signaled that inventory levels would continue to rise for most

of 2017: “In our efforts to manage the brand appropriately for the marketplace, we are planning

for inventory growth to be higher than revenue growth for the first three quarters of 2017 and

coming more in line with revenue growth during the fourth quarter.”
                                                    - 136 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 407 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 143 of 213



            230.275.        During a question-and-answer session with analysts, Plank confirmed the

shift in consumer preference towards more fashion-oriented athletic apparel and referenced

increased competition and heavy discounting in Under Armour’s “core basic” performance-

oriented athletic apparel:

            Omar Saad, Evercore ISI: [M]aybe if you could expand on a comment you made I think
            in the prepared remarks around some trends going on in the apparel business, maybe
            moving away from performance more to fashion or lifestyle? I know the UA Sportswear
            line is still kind of pretty nascent, but maybe elaborate on what you’re seeing from that
            standpoint.

            Is there something pretty deep going on at the consumer level? A shift towards more
            fashion-oriented athletic apparel versus performance oriented? Obviously, Under Armour
            is known for its technical performance. And if this is the case, how do you evolve the
            brand a little bit to be really relevant on both sides of that fence?

            Plank: Yes. . . .

            We need to become more fashionable with the products that we have out there. And one
            of the things we found is that some of the core basics were some of the challenges that we
            saw, is that we were counting on core basics as we have in years past to do more work for
            us. But the consumer today frankly has more options.

            [F]rankly most of those options are from good brands that we compete with, that are
            heavily discounting as well. So what you’ll see is that I don’t think it’s one shift of
            abandoning one for the other. Obviously, with things like the investment we’re making in
            [Under Armour Sportswear] in sport lifestyle in general, but we need to become more
            fashion. The consumer wants it all.

            231.276.        Plank responded to a separate question by stating that the retail market for

apparel was being “disrupted” and that “promotions and the consumer environment, all those

things are very, very real, but we could have done a better job with our merchandising mix to be

more proactive and more thoughtful about where they were going.”

            232.277.        Separately, an analyst from UBS inquired about 2017 gross margins as to

the North American market:

            I would’ve thought . . . that would largely be down next year due to more markdowns. And
            then your guidance and inventory seems to sound like it will be improving through the year
            relative to the rate of revenue growth. What do you think is the realistic near term recapture
                                                    - 137 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 408 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 144 of 213



            rate for the gross margin after 2017 after some inventory clearing?

            278.   Bergman confirmed that “[w]e should see a little bit less pressure from the

promotional environment, especially in the back half of the year, but we’ll still see a lot of pressure

from that in the front half of the year.”

            233.279.       On this news, the price of Under Armour stock plummeted. After closing

at $28.94 per share on January 30, 2017, shares of Class A common stockCommon Stock dropped

25.74% ($7.45 per share) in a single trading day, closing at $21.49 per share on January 31, 2017,

on unusually high trading volume of approximately 54 million shares. This represented the largest

single-day stock price decline in the Company’s history. The stock continued to drop an additional

3.91% ($0.84 per share) over the next two trading days, closing at $20.65 per share on February

2, 2017, on unusually high trading volume averaging over 16 million shares per day, as the market

continued to digest the news. The total stock price decline over this three-day period was 28.65%

($8.29 per share).

            234.280.       Shares of Under Armour’s Class C common stockCommon Stock also fell

sharply as a result of this news. After closing at $25.09 per share on January 30, 2017, shares of

Class C common stockCommon Stock dropped 23.40% ($5.87 per share) in a single trading day,

closing at $19.22 per share on January 31, 2017, on unusually high trading volume of

approximately 57 million shares. The stock dropped an additional 5.72% ($1.10 per share) over

the next two trading days, closing at $18.12 per share on February 2, 2017, on unusually high

trading volume averaging nearly 14 million shares per day, representing a total decline of 27.78%

($6.97 per share) over this three-day period.




                                                  - 138 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 409 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 145 of 213



            235.281.    In wake of this news, several analysts and media issued negative reports on

the Company, citing its disappointing financial results and decreased guidance, and the unexpected

departure of Molloy. For example:

                  (a)   on January 31, 2017, Barclays issued a report dramatically lowering its price

target from $50 to $20 and stating, “[w]e were wrong and missed the severity of this downside

scenario”;

                  (b)   on January 31, 2017, Deutsche Bank Markets Research issued a report

reducing its estimates and lowering its price target 40.6% from $32 to $19, noting that Under

Armour’s wholesale growth slowed to 5%, apparel growth slowed to 7%, and Molloy’s departure

“after just one year, add[ed] greater uncertainty to the story”;

                  (c)   on January 31, 2017, a CNN Money article reported that, in addition to

missing sales and earnings forecasts and providing lower-than-expected 2017 guidance, “[Under

Armour] said its chief financial officer was stepping down for ‘personal reasons.’ Wall Street

often assumes that an executive leaving for ‘personal reasons’ is a sign that a company is in trouble

and that someone needs to take the fall. Under Armour (UAA) tanked on this trifecta of bad news.

Shares plunged nearly 25% in early trading Tuesday. That put the stock on track for its worst one-

day drop ever”;

                  (d)   on January 31, 2017, Reuters released an article titled, “Under Armour’s

founder-led approach wears thin.” The article observed that the Company “reported its slowest

top- line growth in eight years and signaled more challenges ahead. Its chief financial officer is

also bailing. The news wiped a quarter off the company’s market value. Chief Executive Kevin

Plank’s strategy of maintaining power [by controlling the Company’s voting stock] is




                                               - 139 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 410 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 146 of 213



underperforming badly. . . . revenue growth slowed dramatically to 12 percent because of deep

discounting caused by slower foot traffic”;

                   (e)    on February 1, 2017, Telsey Advisory GroupTAG issued a report stating

that “the magnitude of the miss on sales and gross margin in 4Q16, coupled with the magnitude of

the guide- down for 2017 came as a pretty big shock” and “we believe there are certainly reasons

to revisit the investment thesis as estimates and multiples are revised downwards”;

                   (f)    on February 1, 2017, Oppenheimer issued a report calling Under Armour’s

announcement an “unprecedented 4Q16 miss” and observing “11 downgrades on the Street thus

far”; and

                   (g)    on February 3, 2017, Sporting Goods Monitor issued a report expressing its

disappointment with Under Armour’s announcement, stating that “2017 guidance sees revenue

growth at half of the rate we, and Wall Street, expected” and Under Armour’s management

“severely over-promised at the [C]ompany’s 2015 Investor Day and again in more recent

earnings calls.”

            282.   Defendants continued to mislead investors on the 4Q16 earnings call by concealing

the full truth, attributing Under Armour’s poor performance to “extreme growth” while continuing

to tout the Company’s “incredible brand strength.” Plank claimed in his prepared remarks that

Under Armour’s “brand is truly stronger than it’s ever been,” that the Company’s “growth strategy

is intact,” and that “there is no change to our growth strategy.” In response to an analyst question

about Under Armour’s purported “22% top line growth,” Plank said that “there’s acceleration

there,” assuring investors that “you’ll see 20% growth from this company.” Molloy said on the

January 31, 2017 conference call that “total revenue was up 12%,” that “sales to wholesale

customers were up 5%,” and that “North American revenues . . . increased 6%.”

                                                - 140 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 411 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 147 of 213



            283.   Defendants’ misstatements and omissions on January 31, 2017, as set forth in

¶¶269-271, 282 above, were materially false and misleading and omitted material facts for the

following reasons:

                   (a)   Under Armour’s “top line” apparel products, which accounted for most of

the Company’s sales, had been suffering from reduced customer appeal and demand since at least

spring 2015. This led to a host of financial problems experienced by the Company, including

declining revenue and operating income growth, reduced market share, excess inventory, lower

ASPs, increased discounting and promotions, increased liquidations, and compressed margins;

                   (b)   Under Armour had undergone a “fundamental shift” and was competing on

price rather than brand strength and a premium product; as part of the “fundamental shift,” the

Company was pursuing high volume low-priced sales to achieve sales targets and maintain the

appearance of growth;

                   (c)   Defendants failed to disclose these material problems and improper sales

and accounting practices to the market (practices they used to appear healthier and to mask slowing

demand), but instead they gave investors the misleadingly positive perception that the Company’s

brand was “stronger than it’s ever been” and that the Company was seeing acceleration in “top-

line” apparel that was leading back to 20% growth (“there’s acceleration there”), consistent with

historical trends. In truth, Under Armour had been covering up declining demand and sales by

using contingent sales pursuant to buyback agreements, pull-forward sales, adjusted contract terms

or discounts that incentivized retailers to take products before their requested ship dates, shipments

in the final days of the quarter, and shipments of new inventory intended for the Company’s own

factory stores to off-price sellers (so that Under Armour could book the inventory as revenue




                                               - 141 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 412 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 148 of 213



immediately instead of having to wait for a customer to buy the items at its own stores) to create a

façade of growth and brand health; and

                   (d)    Under Armour’s inventory increases were not part of a strategic plan or a

result of the Company’s “efforts to manage the brand appropriately for the marketplace. Rather

the excess inventory was a result of diminishing demand and sales, contingent sales pursuant to

buyback agreements with its largest retailers, including Dick’s, and the Company’s practice of

shipping products in the final days of a quarter, which resulted in “truckloads” of unopened boxes

of inventory returned to Under Armour in 2016. As a result, Under Armour had accumulated

material amounts of excess and obsolete inventory, which it failed to write down in 2016.

            L.     The Fallout From the Fraud Continued, but Defendants Conceal the
                   Full Truth From Investors

            284.   The fallout from the fraud continued. Defendants attempted a massive restructuring

and other dramatic actions to revive the Company, but without the ability to rely on suspect sales

practices to meet sales targets, they were never able to turn the tide, as the Company’s sales

continued to struggle.

IV.I.       OnPOST-CLASS PERIOD REVELATIONS

            236.   Following the Class Period, Defendants’ financial downturn continued and

additional revelations came out about the nature and severity of the problems experienced by

Defendants throughout the Class Period.
            237.285.      For example, on February 9, 2017, The Motley Fool published an article

titled, “5 Signs Under Armour Inc. Needs New Management,” which stated that:

            Under Armour needs a leader who makes realistic promises. At the end of fiscal 2015,
            [Under Armour] estimated its annual revenue would rise 25% to $4.95 billion in 2016.
            However, its 2016 revenue actually rose just 22% to $4.8 billion, and [Under Armour] now
            expects sales to rise just 11-12% in 2017.

            That slowdown casts doubts on Plank’s claim that Under Armour can generate $7.5 billion

                                                 - 142 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 413 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 149 of 213



            in annual revenues in fiscal 2018. Plank insists that the company is still on track to hit that
            target, but that would require its top line growth to accelerate to over 40% in 2018 – which
            hardly seems realistic.

            238.286.       A February 14, 2017, Morgan Stanley report recognized that – according to

the Company’s own data – 2016 sales growth rates were “overstated,” due to the increased reliance

on “low quality” sales that caused Ddays sales outstanding to increase to a nine year high. The

Morgan Stanley report stated:

            Plus UAA accounts receivable increased 44% in FY16 on top of 55% growth in FY15
            (Exhibit 11). Day sales outstanding increased to 47 days (Exhibit 12), a nine year high,
            and this is even more surprising considering DTC makes up a much bigger percentage of
            sales than it did nine years ago. These data points signal some of UAA’s recent sales may
            have been low quality and thus recent sales growth rates may be overstated.

            287.   The Company’s data discussed by Morgan Stanley further corroborates Plank’s

admission that 2016 growth was achieved by driving volume in a “discounted environment,” and

not by sticking to the role the market expected Under Armour to continue to “play” “as a premium

full-price brand.”

            239.288.       On April 3, 2017, FBR Capital Markets (“FBR”) downgraded Under

Armour’s rating to underperform and slashed the Company’s Class A common stockCommon

Stock price target from $20 to $14 based on “recent checks, proprietary surveys, unfavorable

trends, and our apparel/footwear analysis pointing to continued sales/margin pressure.” FBR

observed an “intensifying” price war with Nike, which, “coupled with the [North American]

athletic apparel inventory glut, could cause UA apparel growth/margins to be worse than

expected.”

            240.289.       On April 27, 2017, the Company announced its 1Q17 results includingin a

press release and then discussed those results on an earnings call with analysts later the same day.

The 1Q17 press release announced total net revenue growth of only 7%, a far cry from the


                                                    - 143 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 414 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 150 of 213



consistent 20% growth Defendants reported and projected throughout the Class Period.previously.

Net revenue growth from the Company’s apparel business also grew only 7%, the North American

business was down 1%, gross margin was down 70 basis points (to 45.2%) “due to continued

inventory management efforts,” and inventory increased 8%.

            241.290.      On the 1Q17 earnings call the same day, April 27, 2017, Plank and Bergman

(the new CFO following Molloy’s suspicious departure) discussed the Company’s struggles during

an earnings call with analysts.. Much of the call focused on the Company’s sales declines, heavy

promotional environment, and need to evolve the Company’s apparel fashion. Plank stated that

the Company was “reinventing” its “core basics,” including the introduction of new offerings to

address consumer demand for lifestyle products. Plank also admitted that the Company “knew”

of the “pervasive” promotional environment in North America and “could have done a better job”

in the “back half of 2016.”

            291.   Nonetheless, Defendants continued to mislead the market. Defendants concealed

that the Company had used suspect sales practices to appear healthier and to mask slowing demand

from 3Q15 through the end of FY16 and failed to disclose that the Company was still grappling

with the consequences of those practices, such as elevated inventories, which it was desperately

trying to clear. Yet, Plank misleadingly told investors that the Company’s “inventory levels are

appropriate.”

            242.292.      Evercore issued an analyst report on April 27, 2017, following the

Company’s 1Q17 results. The report noted “North America was negative for first time in the

history of the company - despite N[orth ]A[merican] store count up 8% and initial shipments into

Kohl’s, both of which should have contributed to growth.”




                                                - 144 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 415 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 151 of 213



            243.293.       An April 27, 2017, report from Susquehanna noted the Company’s “hasty

distribution strategy” was reactionary to declines in Under Armour’s wholesale business and “hurt

the sanctity of the Under Armour brand:”

            We continue to raise flags about Under Armour’s expanded distribution into the
            moderate/family channel (KSS, DSW, Famous Footwear, SCVL). It is true, as CEO Plank
            pointed out on the earnings call, that Under Armour has about 10,000 fewer points of
            distribution vs. Nike. Nike has successfully done business in the moderate/family channel
            for years without hurting its brand. However, Under Armour has yet to build out the
            product depth, grassroots expertise, and overall marketing prowess that allows for a
            successfully segmented business across channels. A proper strategy takes time and
            resources, yet UAA is moving quickly and hastily down-market. We believe that the
            decision to expand into the moderate channel is a result of the liquidation of TSA and Sport
            Chalet, the pending liquidations of Gander Mountain & MC Sports. As a result, the sanctity
            of the Under Armour brand is being put at risk.

            We believe that the reason North American revenue was only down 1.1% is because of the
            initial orders sold into Kohl’s. The assortment sold into Kohl’s was, in our view, too broad,
            lacked appropriate segmentation, and will do more harm than good to the Under Armour
            brand.

            244.294.       On June 20, 2017, David Butler published an article on SeekingAlpha.com

titled, “Underperforming Under Armour.” Butler stated that “[e]verything really peaked in 2014

when UA was bringing in 32% revenue growth, 32% growth in gross income, and 28% growth in

net income. Ever since, things have been slowing. It’s not a trendy shift either. We’ve seen

almost two and half years of decreasing business growth. The company isn’t maneuvering to

maintain margins in spite of the slowdown either.”

            245.295.       On June      26, 2017, Kenra        Investors   published    an article on

SeekingAlpha.com titled, “Under Armour: Negative Signals Still Abound.” The article discussed

continual declines in the Company’s brand power and customer interest dating back to 2015,

stating,

            There are several datasets that show ongoing weakness for Under Armour. . . . Google
            Trends is a good benchmark to track a brand’s popularity and also a decent one to have an
            idea of how digital sales are evolving. . . . [T]here is a strong downtrend [that] started in

                                                   - 145 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 416 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 152 of 213



            mid-2015, and search interest [in Under Armour] actually became negative since a few
            months ago.

            296.   The article concluded that the Company’s “[b]rick and mortar sales are declining,

the sentiment towards the brand is not positive, and search interest is in a sharp downtrend. . . . So

many negative signs make me think the company could soon see sales growth in negative

territory, fueling the downtrend that started in 2015.”

            246.297.       Another June 26, 2017, article titled, “Under Armour Continues to Lose

Popularity,” by L&F Capital Management (published on SeekingAlpha.com), discussed Under

Armour’s declining brand strength as reflected in a recent earnings call by Finish Line, one of

Under Armour’s main sporting goods retail customers. The author’s takeaway was that “Nike

(NKE) and Adidas (OTCQX:ADDYY) continue to dominate the athletic retail scene, while Under

Armour’s (UAA) popularity continues to fade.” The article continued:

            It almost goes without saying that the Under Armour brand isn’t what it was just two years
            ago, but the damage may be much worse than what investors think. In comparing this
            [Finish Line] earnings call to previous calls, we observed a dramatic shift in [Finish Line]
            management’s sentiment on the Under Armour brand. For example, on the Q1 call just
            two years ago, Under Armour was mentioned 9 times. On Friday morning’s call, Under
            Armour was mentioned just once. . . . and it was a part of a broader discussion regarding
            multiple brands.

            247.298.       On July 21, 2017, The Motley Fool published an article titled, “Why Under

Armour Inc. Stock Is Down 30% This Year.” The article observed that “Shares of Under Armour

(NYSE:UA) (NYSE:UAA) have been falling this year, with the sportswear stock down 30% . . . .

The stock collapsed following an ugly fourth-quarter earnings report at the beginning of the year

[on January 31, 2017] and it’s been unable to recover since, trading sideways.” Specifically, the

article noted that wholesale revenue was up just 5% in 4Q16 and that “[g]ross margin fell 320

basis points in the [fourth] quarter to 44.8%, a sign the company was forced to discount products

as it misread demand.” The article concluded that “Under Armour’s slowing growth is a sign that

                                                  - 146 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 417 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 153 of 213



the company needs to change if it wants to one day reach the size of rivals Nike and Adidas . . . .

The company needs to establish itself as a fashion brand as well as a performance one.”

            299.   In July 2017, unbeknownst to investors, Under Armour began responding to

requests for documents and information from federal investigators at the DOJ and SEC in

connection with Defendants’ practice of pulling future sales forward to inflate quarterly financial

results. But, Defendants concealed both the issues under investigation and the existence of the

investigations from investors.

            248.300.     News from the Company worsened on August 1, 2017, when it reported

financial results for the second quarter of 2017. The Company issued a press release reporting

total net revenue growth and apparel net revenue growth of 9% and 11%, respectively, far below

the quarterly 20%+ growth previously reported and projected by Defendants throughout the Class

Period. Footwear also performed surprisingly poorly, with net revenue declining 2%. The

Company blamed the revenue declines on a “dynamic and promotional retail environment in North

America [that] continued to temper results.” The Company also reported an operating loss of $5

million, a net loss of $12.3 million, and $0.03 decline in diluted EPS. Gross margin declined 190

basis points (to 45.8%) based in part on “inventory management initiatives” with inventory again

increasing 8%.

            249.301.     In conjunction with this negative news, the Company also announced on

August 1, 2017, that it was implementing a massive restructuring plan “to more closely align its

financial resources to support the [C]ompany’s efforts to better serve the evolving needs of the

changing consumer and customer landscape.” As a result, the Company announced expected

“restructuring and related charges” of $110 to $130 million in 2017, including “approximately $20

million of inventory related charges and approximately $40 million of intangibles and other asset

                                              - 147 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 418 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 154 of 213



related impairments.” The restructuring willwould involve a reduction of 2% of the Company’s

global workforce (about 280 jobs), roughly half coming from the Company’s headquarters in

Baltimore.

            250.302.       During the August 1, 2017, earnings call that followed, Plank discussed the

restructuring in more depth. He stated that “[t]he, “The landscape is evolving quickly. Therefore,

we too must evolve quickly. This evolution requires a pivot, and we’re doing just that.” He later

explained that “we are clearly operating in a different environment, particularly in our largest

market, North America. With our largest growth drivers including international, footwear and

DTC continuing to scale but still not yet large enough to offset the magnitude of North America

on our overall business, the terrain has changed and so must we.”

            251.303.       Later in the call, Plank was asked by an analyst “what’s happening with the

business and some of the trends especially the top line, can you just give us an update where you

think the brand health is and the vision for the business today?” He acknowledged that “we’re not

pleased with where we’re positioned right now” and explained that the Company was trying to

evolve from performance-oriented products to “style, innovation, lifestyle, things that look like

people want to wear.” To that end, he later added that:

            [W]e’ve adjusted the balance of product we’ve had, which is decreas[ing] many of the
            core and key items that we’ve had. We used to have – we’re a very much a key item
            focused, a big logo hoodie and things in-store, and now we’ve got a lot of balance of that
            around versatility, layering, and newness . . . . We will be telling our story in the back half
            of this year, and you’ll see increased brand heat coming from us, frankly spending against
            that.

            252.304.       The Company’s negative news on August 1, 2017 also involved a reduction

in guidance for FY17. Total net revenue was expected to grow only 9%-11% (vs. previous

guidance of 11-12%), “reflecting moderation in the [C]ompany’s North American business,” while



                                                    - 148 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 419 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 155 of 213



adjusted diluted EPS was projected to be in the range of $0.37-$0.40 (lower than analysts’

expectation of $0.42).

            253.305.     As a result of this news, the Company’s common stockCommon Stock

prices fell precipitously. After closing at $20.02 per share on July 31, 2017, the Company’s Class

A common stockCommon Stock price dropped 8.59% ($1.72 per share) to close at $18.30 per

share on August 1, 2017, on unusually high trading volume of over 22 million shares. The

Company’s Class C common stockCommon Stock price also dropped on the news, closing at

$18.11 per share on July 31, 2017, and falling to $16.23 per share at the close of trading on August

1, 2017, a drop of 10.38% ($1.88 per share) on unusually high trading volume of over 23 million

shares.

            306.   Under Armour’s stock price would have fallen further had its true financial

condition been fully revealed. Instead, Plank continued to mislead the market, touting Under

Armour’s “rapid growth” and the achievement of “more than doubl[ing] our revenue from $2.3

billion to $4.8 billion” over “the last three years” while concealing that the Company had engaged

in suspect sales practices to appear healthier and mask slowing demand from 3Q15 through the

end of 2016. Plank also concealed that a month earlier, Under Armour had begun responding to

requests for documents and information from the DOJ and SEC in connection with the criminal

and civil investigations into the Company’s accounting practices and related disclosures.

            254.307.     Following the Company’s revelations on August 1, 2017, Business Insider

published an article on the same day observing that “Under Armour is losing ground with US

customers. . . . [I]ts North American sales increased a meager 0.3% in the most recent quarter – a

far cry from its long history of double-digit revenue growth. The company is now cutting its full-

year sales forecast because of weak demand in North America.” Regarding the reasons for this

                                              - 149 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 420 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 156 of 213



decline, the article observed that “[t]he company has been facing fierce competition from Nike and

Adidas in the US . . . [and] US customers are abandoning the brand because it lacks a clear

identity.” The article further noted that “Plank has previously acknowledged [on January 31, 2017]

that [he] misread the trend of athleisure, instead relying on logos and basic styles of sportswear.”

            255.308.      Susquehanna issued a report following the Company’s second quarter of

2017 (“2Q17”) results on August 1, 2017. The report noted that despite expansion into more mid-

tier retailers, “2Q17 North American revenue only increased 0.3%. 2Q17 wholesale revenue

increased 3.1%, which implies a material drop in North American revenue.” The report further

stated the “problem . . . is that incremental shipments in the moderate retail channel . . . are being

more than offset by order cancellations from Under Armour’s best, and most brand appropriate

retailers, such as Dick’s Sporting Goods.” Susquehanna concluded “the heart of UAA current

problems stem from the decision to open distribution to the moderate channel prior to having a

broad enough product assortment in order to appropriately execute a segmentation strategy.”

V.          VERIFIED DERIVATIVE COMPLAINT

            309.   Defendants continued to conceal the truth regarding the depth of the problems

Under Armour was facing. Although they had propped up the Company’s financial results and

growth in 2015 and 2016, they never disclosed this to investors. No longer able to rely on suspect

sales practices to inflate the numbers, the Company’s revenue growth continued to decline from

2017 through 2019. During that period, total year-over-year (“YOY”) net revenue growth

plummeted from 20%+ growth to low single digit % growth, while North American and apparel

revenues suffered even steeper declines:

  $ in thousands        Total Net Revenue         North America Net        Apparel Net Revenue
                                                  Revenue
  FY17                  $4,989,244 (3.2% YOY      $3,802,406 (5.1%         $3,284,652 (1.7%
                        increase)                 YOY decrease)            YOY increase)
                                               - 150 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 421 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 157 of 213



  FY18                  $5,193,185 (4.1% YOY        $3,735,293 (1.8%       $3,464,120 (5.5%
                        increase)                   YOY decrease)          YOY increase)
  FY19                  $5,267,132 (1.4% YOY        $3,658,353 (2.1%       $3,470,285 (0.2%
                        increase)                   YOY decrease)          YOY increase)

            310.   Nonetheless, Plank continued to tout Under Armour’s “rapid growth”; the “hyper-

growth” the Company had enjoyed “for several years”; the achievement of doubling the business

by 2013 “and then doubl[ing] again from 2013 to 2016[] [f]ueled by strategic growth in North

America”; and the Company’s “26-quarter streak of 20% sales growth,” while omitting that such

growth had been fueled not by Under Armour’s premium brand image (which had lost heat), but

by discounting and myriad suspect sales practices.

            311.   And, while Defendants struggled to deal with the Company’s elevated inventory

levels resulting in part from the suspect sales practices detailed herein, including the ramifications

of buybacks (see Sections V.E-F), Defendants failed to disclose the true cause of the Company’s

inventory problems and continued to assure investors that Under Armour’s inventory levels were

“appropriate.” Then, beginning in 3Q17, the Company belatedly recorded total charges of $25.878

million to write down its inflated inventory. See Section VIII.D. Despite the Company’s inventory

write downs, however, Under Armour continued to experience bloated inventory levels that were

exacerbated by its suspect sales practices. In 2017 and 2018, Under Armour took aggressive

measures to reduce its inflated inventory levels by liquidating product to off-price sales channels

like its own Factory House outlet stores and third-party off-price partners, continuing to devalue

its brand and drive margins down. It ultimately took Under Armour approximately 1.5 years to

“really clean up the marketplace,” which had been flooded with excess inventory.

            256.312.      On   July   23,   2018,    former   Under    Armour     employee     Brock

AndersonAndersen, along with shareholder Balraj Paul, filed a verified derivative complaint on

behalf of Under Armour “against certain current and former officers and directors of the Company
                                                - 151 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 422 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 158 of 213



for breaches of fiduciary duties, insider selling, and unjust enrichment.” Mr. Anderson83 Andersen

worked at Under Armour for nearly all of the Class Period (September 2015 through November

2016) as a Merchandising Manager. Mr. Anderson’sAndersen’s job duties included, among

others, “[i]nitiat[ing] seasonal business plans for all Outdoor categories across Outdoor/Action

Sports Specialty, Sporting Goods, Department Stores, & Mall channels focusing on strategic

initiatives, revenue targets, local market characteristics, style/SKU efficiencies, demand, forecasts,

current inventory levels, segmentation/differentiation, & distribution” and “[a]nalyz[ing],

understand[ing], & clearly communicat[ing] sales history, market trends/forces.”

            257.313.    The Andersoen Complaint alleges Plank and other defendants caused Under

Armour to issue materially false and misleading statements, including many of the statements

alleged herein to be false and misleading. For example, the Andersoen Complaint alleges Plank’s

September 16, 2015 statement that “demand for our brand has never been stronger” and

Dickerson’s October 22, 2015, statement that “most of our core apparel product margins are

improving” were materially false and misleading when made.84 Other examples include Plank’s

January 28, 2016 statement that “[o]ur core business remains incredibly strong,”85 April 21, 2016,

statement that Under Armour was “driving massive growth,,” and we“[w]e are taking share,”86

and May 31, 2016, statement that “our brand’s momentum is stronger than ever as we continue to

see growth and increased demand across all categories and geographies.”87



83
      Andersen Complaint, at 1.
84
      Andersen Complaint, at 3, 38.
85
      Id. at 42.
86
      Id. at 48.
87
      Id. at 35.

                                               - 152 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 423 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 159 of 213



            258.314.      The Andersoen Complaint alleges that Plank and the other defendants

concealed the “true facts, which were known or recklessly disregarded by” Plank.88 Those “true

facts” alleged in the Andersoen Complaint to have been concealed include, among others, that:

“Under Armour’s apparel products . . . suffered from reduced customer appeal and demand”; the

“Company’s apparel and North American margins were not ‘improving’ or ‘offset[ing]’ other

sources of margin decline, but rather were deteriorating due to increasing Company discounts and

promotions, and falling ASPs of the Company’s products”; the “Company’s inventory increases .

. . were due to declining sales of the Company’s apparel”; “the Company’s ASPs were falling

sharply in North America”; and “growth and market share were falling as a result of the Company’s

apparel sales declines.”89

            315.   Defendants’ misstatements and omissions continued. In December 2018 - over a

year into the government’s non-public criminal and civil investigations into Under Armour - Plank

blamed the Company’s performance at the end of 2016 on “a number of internal and external

factors” that “conspired” against Under Armour, while concealing both that the Company had been

engaged in suspect sales practices and the existence of the investigations.

            316.   Meanwhile, suspicious executive departures continued to plague the Company. On

April 18, 2019, the Company reported that Jason LaRose, the head of its North American business

since October 2016, would leave the Company at the end of the month. On May 1, 2019, the

Company disclosed that its Senior VP and Principal Accounting Officer, Andrew Page, had left

the Company after serving in that position for only three months. Yet, Defendants never disclosed




88
      Id. at 74.
89
      Id. at 75-77.
                                               - 153 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 424 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 160 of 213



the ongoing SEC and DOJ investigations into Defendants’ suspect business practices and

disclosures.

            M.     The Company Announces Plank’s Resignation as CEO

            317.   Then, on October 22, 2019, Under Armour announced Plank’s resignation as CEO,

effective January 1, 2020, but again remained silent on the SEC and DOJ investigations he and the

Company were facing. At the time, media and analysts linked the move to Under Armour’s

ongoing financial problems discussed herein, including a dramatic slowdown in growth, lost

market share, and severe stock price declines. For example, in an article released the same day,

The New York Times observed that the Company “has faltered while the revenues of its rivals Nike

and Adidas have grown thanks to surging consumer interest in athleisure wear. The company . . .

has seen its once-robust profit turn into net losses of more than $46 million in each of the last two

fiscal years. Last year, it cut around 400 jobs to streamline a business suffering from slowing

growth. Under Armour’s stock peaked around $52 in September 2015, but is currently trading

around $20.” Forbes released an article two days later, on October 24, 2019, observing that

Plank’s move was “perhaps not surprising” given the Company’s “financial troubles,” including a

dramatic slowdown in growth after years of 20%-plus annual revenue increases, and the

Company’s severe stock price decline since reaching its all-time high in September 2015.

Moreover, just months before announcing Plank was abandoning the CEO position, Under Armour

told investors (yet again) that his serving as CEO was critical to the Company’s success. On March

27, 2019, Under Armour stated in its Proxy Statement that Plank was “the appropriate person to

lead both our Board and the management of our business” because this “provides for clear

accountability and efficient and effective leadership.”




                                               - 154 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 425 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 161 of 213



            N.       Federal Investigations Into the Company’s Accounting Practices and
                     Related Disclosures

            318.     On November 3, 2019, less than two weeks after the Plank announcement, WSJ

surprised the market by revealing that the DOJ and SEC were investigating whether Under Armour

“shifted sales from quarter to quarter” during the Class Period in order to make its financial results

appear healthier than they actually were.90 According to the article, the investigators were in the

process of questioning people in the Company’s hometown of Baltimore, and had done so within

the week prior to the article’s release.91 The article noted that “[w]hen examining what are known

as revenue-recognition practices, authorities generally focus on whether companies record revenue

before it is earned or defer the dating of expenses to make earnings appear stronger, among other

possible infractions.”92 The article further linked the investigation to the Company’s apparent

success (26 straight quarters of 20% revenue growth), followed by sales problems at the Company

that emerged publicly in January 2017, causing the stock price to plummet:

            The company [Under Armour], which is scheduled to report third-quarter [2019] results on
            Monday, has been restructuring its operations and struggling with weak sales in the past
            two years. Until then, it had been among the fastest-growing apparel makers, riding 26
            straight quarters of at least 20% year-over-year revenue growth. That streak ended abruptly
            when Under Armour missed its sales targets in the final quarter of 2016. On Jan. 31, 2017,
            the company’s shares plunged after it reported sales growth of 12% in the holiday quarter
            and cut its growth forecasts for the next year. That day, Under Armour also said its then-
            finance chief [Molloy] was leaving after a year on the job.93

            319.     After the release of the WSJ article, Defendants were forced to issue a statement

confirming the investigations and revealing that they had been ongoing for well over two years:



90
      Ex. B, at 1.
91
      See id.
92
      Id. at 2.
93
      Id.

                                                  - 155 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 426 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 162 of 213



“The company began responding in July 2017 to requests for documents and information relating

primarily to its accounting practices and related disclosures.”94

            320.   Before the market opened on the following day, on November 4, 2019, the

Company filed an SEC Form 8-K reiterating that “[t]he Company confirmed to The Wall Street

Journal that it has been responding to requests for documents and information from the SEC and

DOJ regarding certain of the Company’s accounting practices and related disclosures, beginning

with submissions to the SEC in July 2017.” The Company added that it “continues to believe its

accounting practices and related disclosures were appropriate” but “does not intend to comment

further on the status of this investigation except to the extent required by law.”

            321.   Similar statements were made by Bergman during the Company’s earnings call that

took place before the market opened on November 4, 2019. Bergman stated in his opening remarks

that he was “break[ing] from our typical company policy of not discussing any regulatory or

litigation matters” in order to address the SEC and DOJ investigations revealed by WSJ. Bergman

stated that “[w]e have been fully cooperating with these inquiries for nearly 2.5 years. To this

effect, we began responding back in July of 2017 to their request for documents and information.

We firmly believe that our accounting practices and disclosures were appropriate.” Later in the

call, Bergman was asked for comments on the investigations and why the market was “just hearing

about it now” after two-and-a-half years. Bergman declined to provide any additional information.

            322.   In response to the news that the Company’s accounting practices and related

disclosures were under investigation, calling into question the propriety of such practices and

disclosures, the Company’s Class A Common Stock price fell 18.92% ($4.00 per share), from a

closing price of $21.14 per share on Friday, November 1, 2019, to a closing price of $17.14 per


94
      Id.
                                                - 156 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 427 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 163 of 213



share on Monday, November 4, 2019, on unusually high volume of 43.42 million shares. The

Company’s Class C Common Stock price fell 18.35% ($3.47 per share), from a closing price of

$18.91 per share on Friday, November 1, 2019, to a closing price of $15.44 per share on Monday,

November 4, 2019, on unusually high volume of 18.69 million shares.

            323.   Securities analysts and media took note of the surprising news regarding the Under

Armour investigations, the serious misconduct being investigated, and the resulting stock price

decline. For example:

                   (a)    in a November 4, 2019, article titled, “Under Armour’s Stock Tanks as

Troubles Pile Up,” The New York Times wrote that the Company’s stock sank over 18% following

news that the federal authorities were investigating “whether Under Armour had shifted sales

results from quarter to quarter to appear healthier,” coupled with the announcement of a fifth

straight quarterly revenue decline and reduced annual revenue forecast;

                   (b)    WSJ released an article on November 4, 2019, titled, “Under Armour Shares

Slide on News of Accounting Probe,” observing the Company’s stock price decline “after the

company confirmed it was the subject of a federal investigation into its accounting practices,” and

noting that “[e]xecutives declined on an earnings call Monday to provide details about the probe

or explain why Under Armour hadn’t previously disclosed its existence, even though they had

been responding to document requests for more than two years”;

                   (c)    the Baltimore Business Journal released an article on November 4, 2019

stating that “Wall Street analysts wanted to know why they are just now learning about a federal

investigation into Under Armour Inc.’s accounting practices that has been going on for more than

two years . . . . In a move that deviated from Under Armour’s usual policy, CFO David Bergman

confirmed the Baltimore-based sportswear maker began responding to inquiries from the federal

                                                 - 157 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 428 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 164 of 213



agencies in July 2017 and has been fully cooperating with the probe” although “[t]he inability to

answer questions about the probe and Under Armour’s North American sales outlook caused the

company’s stock price to get hammered”;

                (d)   an article by Fortune on November 4, 2019, observed that: “Under Armour

Inc. shares plunged after the company disclosed that federal officials have been probing its

accounting practices for more than two years, bringing a fresh headache to investors just as the

sports brand prepares for a CEO transition. . . . Investigators from the Justice Department and SEC

were questioning people at the sports apparel’s base in Baltimore as recently as last week [The

Wall Street Journal] reported, citing people familiar with the matter. The probe is focused on

whether Under Armour inflated sales from quarter to quarter, the newspaper said”;

                (e)   on November 4, 2019, CNBC released an article stating that news regarding

the federal probe into Under Armour’s accounting practices, along with lowered 2018 guidance,

“sent the retailer’s shares plunging more than 18%. . . . Under Armour says it has been responding

to requests for documents related to its accounting practices since 2017, which is about when an

incredible sales streak came to an end. Until the end of 2016, it had reported more than 20

consecutive quarters of sales growth topping 20%, making it one of the fastest growing retailers

in the U.S.”;

                (f)   on November 4, 2019, analyst Susquehanna released a report titled, “Under

Armour, Inc.: Weak Guidance Post 3Q Beat Further Marred by Federal Investigations,” stating in

part that the “[f]ailure of management, on the earnings call, to address why the investigation was

not disclosed prior to last night is disconcerting” and that, among other factors, “we expect the

overhang of the federal investigations . . . to cast shadows over UAA’s results and stock

performance for quite some time[]”;

                                              - 158 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 429 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 165 of 213



               (g)    on November 4, 2019, Morningstar released a report stating that, along with

a reduced outlook, “news of an investigation into its revenue recognition practices by the SEC and

[DOJ], caus[ed] shares to drop by a midteen percentage. . . . The timing is notable, as Under

Armour’s business began to deteriorate in late-2016, in part because of the bankruptcy of retail

partner Sports Authority. Moreover, former CFO James Molloy resigned in January 2017 for

personal reasons after just over one year in the position. We view news of this investigation as

potentially serious. Investigations of this type can lead to fines and earnings re-statements and,

less commonly, criminal charges. . . . The news of an ongoing investigation into Under Armour’s

accounting practices affirms our Poor stewardship rating on the company. Under Armour has been

hit with bad publicity and management turnover in recent years. Unless quickly resolved, news of

this investigation will certainly draw more negative attention.        Meanwhile, as previously

announced, Kevin Plank has decided to give up the CEO role he has held since the firm began.

While Under Armour claims the investigation had nothing to do with Plank’s decision, the timing

looks suspicious, especially since the firm did not disclose an investigation that is more than two

years old. Although companies are not legally required to disclose SEC investigations, we think

Under Armour should have done so[]”;

               (h)    also on November 4, 2019, PiperJaffray released a report observing: “UAA

shares closed down ~19% today despite sound execution & encouraging trends on the call as the

WSJ article flagging the DOJ/SEC accounting investment pressured the stock[]”;

               (i)    analyst TAG also released a report on November 4, 2019, stating that

“Under Armour’s better-than-expected 3Q19 result was overshadowed by the cut to its 2019

revenue outlook and the WSJ story that emerged yesterday about an ongoing investigation by the

SEC and DOJ into the company’s accounting practices[]”;

                                              - 159 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 430 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 166 of 213



               (j)     analyst William Blair noted the effect the Company’s disclosures had in its

November 4, 2020, report, stating that “Under Armour’s stock is down nearly 20% as investors

digest the lower-than-expected fourth-quarter outlook and accounting investigation[]”;

               (k)     CFRA’s November 4, 2019, report likewise emphasized the effect the

belated disclosure of the investigations had on Under Armour stock: “We also expect increased

awareness about regulatory and litigation matters regarding UAA’s accounting practices to weigh

on shares and further adds to our negative view[]”;

               (l)     a report by Oppenheimer on November 4, 2019, stated that “the real issue

for UAA and its shares is likely to prove reports from WSJ over the weekend that the company is

subject to a federal criminal investigation over its accounting practices and efforts to make trends

appear more upbeat.” The report went on to say that “indications of potential accounting

irregularities at the [Under Armour] brand further cloud an already shaky fundamental story[]”;

               (m)     on November 5, 2019, the Baltimore Sun released an article on the

investigation noting that the Company’s stock price was “pummeled” nearly 19% in “reaction to

news of the investigation,” and including the following comments from financial consultant

Timothy Spence, who advises companies on SEC matters: “Public companies must follow strict

rules regarding the way revenue is recognized, including proper timing . . . . There appear to be

two questions here. The first is, was this a smoothing of revenue to make quarterly revenue

recognition more consistent? Another question would be whether the company recognized

revenue in advance and expected to make it up in the next quarter, he said. Both practices are

highly questionable accounting if not outright fraud[]”; and

               (n)     Argus published a report on November 13, 2019, stating that Under

Armour’s disclosure of the DOJ and SEC investigations “overshadowed the company’s 3Q19

                                              - 160 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 431 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 167 of 213



results”, which were reported on the same day, and noted that “UAA shares dropped 19% on news

that the SEC and the Justice Department were investigating the company’s revenue recognition

practices, including the potential manipulation of revenues to make them appear stronger and

steadier.”

VIII. DEFENDANTS’ GAAP VIOLATIONS AND MATERIALLY FALSE AND
      MISLEADING FINANCIAL STATEMENTS

            324.     In order to demonstrate continued revenue growth during the Class Period, Plank

and the Company engaged in a scheme to inflate revenue by pulling in – channel stuffing – sales

into earlier quarters. This practice violated GAAP95 and SEC disclosure rules.

            325.     Defendants, in violation of GAAP, also improperly recorded revenue on contingent

sales and understated the Company’s sales returns and allowances, markdowns and discounts, and

failed to timely record the write-down of excess and obsolete inventory.

            326.     As a result of the above, the following Under Armour financial statements issued

to the public and filed with the SEC were materially false and misleading: Form 10-K for the year

ended December 31, 2015, and Form 10-Q’s for periods ending September 30, 2015, March 31,

2016, June 30, 2016, and September 30, 2016.

     ($ in thousands, except EPS)      3Q15          4Q15          FY15          1Q16          2Q16          3Q16
Net Revenues                        $ 1,204,109   $ 1,170,686   $ 3,963,313   $ 1,047,702   $ 1,000,783   $ 1,471,573
Net Income                          $ 100,477     $ 105,602     $ 232,573     $ 19,180      $     6,344   $ 128,225
Earnings Per Share - Diluted        $      0.45   $      0.48   $      1.05   $      0.04   $      0.15   $      0.29
Inventories                         $ 867,082     $ 783,031     $ 783,031     $ 834,287     $ 1,086,749   $ 970,621




95
   GAAP are those principles recognized by the accounting profession as the conventions, rules
and procedures necessary to define accepted accounting practice at a particular time. SEC
Regulation S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements filed with the SEC
which are not prepared in compliance with GAAP are presumed to be misleading and inaccurate,
despite footnote or other disclosure. Regulation S-X requires that interim financial statements
must also comply with GAAP. 17 C.F.R. §210.10-01(a).
                                                         - 161 -
1495422_1
     Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 432 of 477
       Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 168 of 213



            327.   The misstatements were material. For example, in 3Q16, Under Armour’s net

income and EPS were overstated by an estimated 30% considering only the impact of the (a)

understated sales reserves for returns, allowances, markdowns and discounts and (b) inflated

inventory. This does not even include the impacts of contingent sales and channel stuffing, which

further inflated net income and EPS in each relevant quarter as described herein.

            A.     Under Armour Failed to Disclose Its Improper Sales Practices

            328.   During the Class Period, Under Armour pulled sales into the current fiscal quarter

to boost its reported revenue and artificially report continued revenue growth of 20%+.96 The

premature recognition of sales that would have otherwise been recognized in a subsequent period

is commonly referred to as “channel stuffing.” The SEC has defined channel stuffing as follows:

[T]he pulling forward of revenue from future fiscal periods by inducing customers – through price

discounts, extended payment terms or other concessions – to submit purchase orders in advance

of when they would otherwise do so.97

            329.   As pled herein, Under Armour engaged in severe channel stuffing practices

routinely in order to meet sales growth and earnings targets communicated to the market, and

“sometimes adjusted the terms of the contract to offer a discount or extend the period in which

retailers could pay for the product” to convince retailers to take products before their requested

shipping date.98 This practice of pulling forward orders occurred regularly in 2015 and 2016.99




96
      See Ex. A, at 1.
97
    In re Sunbeam Corp., SEC Release No. 7976, Exchange Act Release No. 44305, SEC Order
Instituting Public Administrative Proceedings (May 15, 2001).
98
      Ex. A, at 3.
99
      See id.

                                                 - 162 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 433 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 169 of 213



Indeed, investigators are examining emails that show Plank knew about efforts to move revenue

between quarters.100

            330.   The SEC is very clear that channel stuffing practices and their financial impact are

required to be disclosed under Item 303. The SEC affirmed this position when it filed claims of

earnings management against the Sunbeam Corporation (“Sunbeam”). The SEC specifically cited

that Sunbeam’s “undisclosed or inadequately disclosed acceleration of sales through ‘channel

stuffing’ . . . materially distorted the Company’s reported results of operations.”101

            331.   Subsequent speeches made by SEC staff further support these requirements. For

example, former Chief Accountant with the SEC, Lynn Turner, noted the following:

            The Sunbeam case highlights . . . channel stuffing abuses, among others, and sends
            a message to registrants and their auditors – the SEC will aggressively attack
            fraudulent revenue recognition practices. . . . Sunbeam failed to disclose that it
            offered discounts and other inducements to customers to sell merchandise
            immediately that otherwise would have been sold in later periods, which threatened
            to depress Sunbeam’s future results of operations. [SEC Staff Accounting Bulletin
            (“SAB”) 101] notes that disclosure in [Management’s Discussion & Analysis of
            Financial Condition (“MD&A”)] is required of shipments of product at the end of
            a reporting period that significantly reduce customer backlog and that reasonably
            might be expected to result in lower shipments and revenue in the next period.
            MD&A disclosures also are required of the impact of granting extended payment
            terms to customers that will result in a longer collection period for accounts
            receivable and, thus, slower cash inflows from operations, ultimately impacting a
            registrant’s liquidity and capital resources.102

            332.   The SEC expressly states that disclosure is mandatory where there is a known trend

or uncertainty that is reasonably likely to have a material effect on the registrant’s financial

condition or results of operations. Item 303 (and Instruction No. 3 to Paragraph (a) of Item 303)

requires companies to:


100
      See id. at 2.
101
      Supra, n.93, at 1.
102
      Lynn Turner, Chief Accountant, Speech by SEC Staff: Revenue Recognition (May 31, 2001).
                                                 - 163 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 434 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 170 of 213



            Describe any known trends or uncertainties that have had or that the registrant
            reasonably expects will have a material favorable or unfavorable impact on net
            sales or revenues or income from continuing operations.

                                         *       *      *

            The discussion and analysis shall focus specifically on material events and
            uncertainties known to management that would cause reported financial
            information not to be necessarily indicative of future operating results . . . .103

            333.   The undisclosed pull-in of revenue from future periods to the current period

“cause[d] reported financial information” contained in Under Armour’s SEC filings to “not . . .

be . . . indicative of future operating results.”

            334.   Defendants also violated GAAP by failing to disclose the Company’s channel

stuffing practices and their financial impact in the Company’s financial footnotes. Financial

Accounting Standards Board (“FASB”) Accounting Standards Codification (“ASC”) 275, Risks

and Uncertainties, focuses primarily on disclosures arising from risks and uncertainties that could

significantly affect the amounts reported in the financial statements in the near term. In particular,

it also calls for financial statement disclosure in certain circumstances, if the volume of business

transacted with particular customers could be severely impacted in the near term.104 ASC 605,

Revenue Recognition, requires that companies provide both qualitative and quantitative

information about their revenue arrangements and about significant judgments that may


103
    17 C.F.R. §229.303. Similarly, SAB 114 Topic 13 requires the MD&A to contain “a
discussion of liquidity, capital resources, results of operations and other information necessary to
an understanding of a registrant’s financial condition, changes in financial condition and results of
operations. This includes unusual or infrequent transactions, known trends or uncertainties that
have had, or might reasonably be expected to have, a favorable or unfavorable material effect on
revenue, operating income or net income and the relationship between revenue and the costs of the
revenue. Changes in revenue should not be evaluated solely in terms of volume and price changes,
but should also include an analysis of the reasons and factors contributing to the increase or
decrease.”
104
      FASB ASC 275-10-05-2, FASB ASC 275-10-50-16, FASB ASC 275-10-50-18.

                                                  - 164 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 435 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 171 of 213



significantly affect the timing or amount of revenue recognition.105 Thus, significant channel

stuffing would also trigger the need for such footnote disclosure in an entity’s financial statements

under ASC 275 and ASC 605.

            335.   By failing to make required disclosures in accordance with GAAP and SEC

disclosure rules, Under Armour’s revenue growth, earnings, and inventory reported in the

Company’s SEC filings were materially misstated during the Class Period, from 3Q15 through

3Q16.

                   1.      The Financial Impact of Channel Stuffing on Under Armour’s
                           Quarterly Revenue

            336.   From the beginning of the Class Period through 3Q16, Under Armour stressed the

importance of quarterly revenue growth by touting that the Company had more than 20 consecutive

quarters of revenue growth of at least 20%. For example, during the Company’s 2015 Investor

Day, Plank stated:

            We’ve enjoyed 21 consecutive quarters of 20-plus% revenue growth, more than
            five years of 20-plus% revenue growth quarter in an [sic] quarter out, delivering
            and finding a way and doing it not because we are pushing or pressing, because it’s
            the demand and the app from our consumer. We are one of only two companies in
            the S&P 500 that can make that claim, and we are very proud of that and what that
            means. And, frankly, we have no expectation of that stopping anytime soon.

            337.   And Plank stated on the Company’s 2Q16 earnings call held on July 26, 2016:

            And we’re still projecting; we’re 25 quarters north of 20% in a row. Over six years
            of doing that, we see that trend continuing for us, number one. We do continue to
            see it to project 25% plus growth for the full year.

            338.   Unbeknownst to investors, Defendants achieved Under Armour’s 20%+ revenue

growth by stuffing the channel with premature sales taken from future quarters.106 Without



105
      FASB ASC 605-25-50-1.
106
      See Ex. A, at 1.
                                                  - 165 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 436 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 172 of 213



channel stuffing, which added at least tens of millions in sales every quarter, the Company’s

quarterly growth percentage would have been materially less than reported.

                   2.     The Impact of Channel Stuffing on Future Results

            339.   The significant financial impact of channel stuffing on Under Armour’s future

financial results is precisely the type of information required to be disclosed under the SEC’s

MD&A rules, i.e., Item 303.

            340.   The MD&A should give investors an analysis of the registrant’s financial condition

and results of operations, “with particular emphasis on the registrant’s prospects for the future,”107

and:

            MD&A must specifically focus on known material events and uncertainties that
            would cause reported financial information not to be necessarily indicative of
            future operating performance or of future financial condition.

                                            *       *      *

            One of the principal objectives of MD&A is to provide information about the
            quality and potential variability of a company’s earnings and cash flow, so that
            readers can ascertain the likelihood that past performance is indicative of future
            performance. 108

            341.   SAB 114 Topic 13 also provides the following specific example of a required

disclosure pertaining to the Company’s recognition of revenue: Shipments of product at the end

of a reporting period that significantly reduce customer backlog and that reasonably might be




107
   SEC Interpretation: Management's Discussion and Analysis of Financial Condition and
Results of Operations; Certain Investment Company Disclosures, SEC Release Nos. 33-6835; 34-
26831; IC-16961; FR-36 (May 18, 1989).
108
    SEC Interpretation: Commission Guidance Regarding Management’s Discussion and Analysis
of Financial Condition and Results of Operations, SEC Release Nos. 33-8350; 34-48960; FR-72,
(effective Dec. 29, 2003).

                                                 - 166 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 437 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 173 of 213



expected to result in lower shipments and revenue in the next period.109 This is exactly what

Under Armour was doing, but failing to disclose to investors.110

            342.   By pulling-in or taking revenue from future quarters, Under Armour was aware that

revenue in subsequent quarters would be adversely impacted. As a result, the Company was

required to warn investors that its reported revenue was not indicative of future revenue.

            B.     Under Armour’s Continued Growth Was Achieved by Improperly
                   Recognizing Revenue on Contingent Sales and Understating Reserves
                   for Customer Returns, Allowances, Markdowns, and Discounts

            343.   As pled herein, Defendants assured investors through 3Q16 that the Company’s

trend of 20%+ revenue growth would continue. Continuing this growth, however, came at a cost.

In order to achieve 20%+ revenue growth, Defendants engaged in two accounting schemes: (a)

improperly recognizing revenue on contingent sales; and (b) improperly understating reserves for

product returns, allowances, markdowns, and discounts. Both of these schemes violated GAAP.

                   1.     Improper Contingent Sales

            344.   Defendants, in violation of GAAP, inflated revenues and earnings in the

Company’s Forms 10-Q and 10-K, press releases and investor conference calls from 3Q15 through

3Q16 by recognizing revenue on contingent sales.111 Contingent sales are transactions in which


109
      SAB 114, Topic 13.B.
110
     Under Armour attempted to conceal the impact on a future quarter by repeating the practice at
the end of each quarter (e.g., at the second quarter Under Armour made up for the second quarter
revenue that had been artificially pulled into the first quarter by repeating the practice and
artificially pulling the third quarter revenue into the second quarter). However, the practice of
channel stuffing is unsustainable and will eventually impact future revenues. Indeed, Under
Armour shocked the market with revenue growth of only 11.5% for 4Q16 – far below the touted
20%+ guidance. Since then, the Company has been unable to achieve even low double-digit
growth, and has even experienced revenue decreases in some quarters.
111
   Correspondingly, Under Armour’s accounts receivable balance, which is a direct function of
revenue but appears on the balance sheet instead of the income statement, was also overstated.

                                                - 167 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 438 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 174 of 213



payment to the seller is contingent upon the buyer’s ability to resell the merchandise. The

recognition of revenue for contingent sales is not permissible under GAAP. When an entity sells

its product but gives the buyer the right to return the product, revenue from the sales transaction

may only be recognized at the time of sale if certain conditions are met, including that “[t]he buyer

has paid the seller, or the buyer is obligated to pay the seller and the obligation is not contingent

on resale of the product.”112 Revenue for such contingent sales may not be recognized until the

return privilege has substantially expired.113

            345.   Defendants falsely assured investors that the Company was complying with GAAP

and not recording revenue on contingent sales transactions. Specifically, the Company’s Forms

10-Q stated that Under Armour’s financial statements were:

            [p]resented in accordance with the rules and regulations of the Securities and
            Exchange Commission . . . and accounting principles generally accepted in the
            United States of America for interim consolidated financial statements. In the
            opinion of management, all adjustments consisting of normal, recurring
            adjustments considered necessary for a fair statement of the financial position and
            results of operations were included. . . .114

            346.   Defendants further claimed in Under Armour’s revenue recognition policy that

“[n]et sales are recognized upon transfer of ownership, including passage of title to the customer

and transfer of risk of loss related to those goods.”115




112
      FASB ASC 605-15-25-1.
113
      Id.
114
    Similarly, the Company’s Forms 10-K disclosed that Under Armour’s consolidated financial
statements were “presented in accordance with principles generally accepted in the United States
of America.”
115
   See, e.g., Under Armour’s 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form
10-K, 2Q19 Form 10-Q, 3Q19 Form 10-Q.
                                                  - 168 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 439 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 175 of 213



            347.   Contrary to Defendants’ statements, Under Armour’s financial statements were not

prepared in accordance with GAAP and SEC requirements and were not a fair representation of

the Company’s operations.

            348.   Through the end of 2016, to incentivize buyers/accounts to order certain

merchandise, Under Armour utilized a buyback program under which Under Armour sales

representatives guaranteed that Under Armour would buy back a certain amount of unsold

merchandise (i.e., these sales were contingent upon resale) (see Section V.E). On the books, the

accounts bought and owned the inventory temporarily, but after six months Under Armour would

buy back some of the unsold inventory. The number of buybacks increased over time throughout

2016.

            349.   In addition, Under Armour was not collecting on its accounts receivable because

customers did not have to pay for the merchandise unless (if ever) it was sold. Beginning with

4Q15, the rate of growth of Under Armour’s accounts receivable balance over prior year was

consistently outpacing net revenue growth until the fourth quarter of 2017.116 As a result of the

increased receivables from the contingent sales, Under Armour’s DSO117 nearly doubled from 28

days in the fourth quarter of 2014 (“4Q14”) to nearly 51 days in 1Q17. At the end of 2015, Under




116
    In 2018, in an effort to help reduce the bloated receivables balance on its balance sheet resulting
from the Company’s elusive accounting schemes in these earlier periods, Under Armour entered
into contracts with two financial institutions to sell selected receivables (up to $290 million) on a
recurring, non-recourse basis. Despite this, receivables growth still outpaced sales growth
throughout 2018.
117
    DSO is a common financial measure for assessing the age and quality of accounts receivable.
DSO represents the average number of days it takes a company to collect its receivables. It is a
measure of collectability and serves as a useful measure of cash flow efficiency and revenue
quality. A DSO of 30, for example, means that it takes a company 30 days on average to convert
a credit sale (i.e., an account receivable) into cash.

                                                - 169 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 440 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 176 of 213



Armour’s DSO of 40 equaled the median DSO of the Textiles, Apparel & Footwear industry.118

However, Under Armour’s DSO increased 18% during 2016 while the industry median DSO

decreased 9% during the same period.119 Similarly, beginning in 1Q16, Under Armour’s DSO

was consistently higher than that of direct competitor Nike, when it had been comparable

previously.120 Further, Under Armour’s DSO had historically been better than that of rival Adidas.

But, Adidas’ DSO was slightly improving during the Class Period, while Under Armour’s DSO

was worsening and higher (worse) than Adidas by 2017. Thus, Under Armour’s rising DSO was

not attributable to industry conditions but rather to Defendants’ fraud.

            350.   By the first quarter of 2018 (“1Q18”), as a result of the Company’s accounting

practices, Under Armour’s DSO had swollen to 62 days – more than double what it had been back

in 4Q14 and 55% more than the median DSO in 2017 for the Textiles, Apparel & Footwear

industry.121 Moreover, the DSO figure of 62 in 1Q18 does not even include the $55.6 million of

receivables that the Company had sold to a financial institution that quarter, all of which remained

outstanding. If Under Armour had not factored these receivables, its true 1Q18 DSO would have

been 66 days (approximately 65% more than the 2017 industry median). An increasing DSO is a

sign that receivables are at risk of collection and may indicate problems with a company’s




118
      The Hackett Group, 2017 US Working Capital Survey.
119
      Id.
120
    Nike has a May 31 fiscal year end. The quarterly periods referenced here are Under Armour’s
fiscal quarter and Nike’s nearest fiscal quarter (closest in time; one month difference). For
example, 1Q16 refers to Under Armour’s quarter ended March 31, 2016 and Nike’s closest quarter
ended February 29, 2016.
121
      The Hackett Group, 2018 US Working Capital Survey.

                                               - 170 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 441 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 177 of 213



collection process.122 The significance of this measure has been noted by the SEC: “A growing

DSO figure is often a telltale sign that a company’s receivables are impaired.” 123 Similarly, Ernst

& Young, a Big Four accounting firm, has noted the significance of a DSO spike: “The higher the

number, the greater should be the concern over customers not paying the bills.” The older a

receivable becomes, the less likely it is to be collected. This is consistent with Under Armour’s

increasing DSO resulting from its practice of booking contingent sales for which accounts

receivable would never be collected.

            351.   Defendants improperly overstated revenue by recording contingent sales, which

caused the Company’s net revenue, net income, and EPS to be materially overstated. In addition,

throughout the Class Period, Defendants failed to make MD&A and financial footnote disclosures

describing the Company’s contingent sales from the buyback program and resulting financial

impacts, as required by SEC and GAAP. See Section VIII.A, above.124


122
    See David C. Hammer, Performance is reality, how is your revenue cycle holding up?,
HEALTHCARE FIN. MGMT. ASSOC. (July 1, 2005); see also Michael D. Carpenter & Jack E. Miller,
A Reliable Framework for Monitoring Accounts Receivable, 8 FIN. MGMT., 37-40 (Winter 1979);
Scott Blakeley, Esq., The Credit Professional’s Duty and Protection with Disclosing Corporate
Fraud at the Public Company, CREDIT RES. FOUND., at 2 (Nov. 2002) (“A company’s DSO is, at
least on Wall Street, an important indicator of the condition of its accounts receivable, and
therefore a gauge of asset quality.”).
123
    See SEC v. Korkuc, No. 2:03-cv-03017-LDW-WDW, Complaint at ¶28 (E.D.N.Y. June 19,
2003); see also SEC Accounting and Auditing Enforcement Release No. 1673A (Nov. 25, 2002),
http://www.sec.gov/litigation/litreleases/lr17859a.htm.
124
    Under Armour was also required to disclose the impact of contingent revenue transactions.
See Section VIII.A, above. FASB ASC 235-10-50, Notes to Financial Statements, states that
“[i]nformation about the accounting policies adopted by an entity is essential for financial
statement users,” and that the “[d]isclosure of accounting policies shall identify and describe the
accounting principles followed by the entity and the methods of applying those principles that
materially affect the determination of financial position, cash flows, or results of operations . . .
[and] shall encompass important judgments as to appropriateness of principles relating to
recognition of revenue.” Contingent transactions were not allowed under GAAP to be recognized
as revenue as discussed herein. However, since Under Armour improperly recognized revenue

                                               - 171 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 442 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 178 of 213



            C.     Improper Reserves for Customer Returns, Allowances, Markdowns,
                   and Discounts

            352.   Defendants, in violation of GAAP, also inflated the Company’s revenues and

earnings reported in Forms 10-Q and Forms 10-K, press releases, and investor conference calls

from 3Q15 through 3Q16, by failing to properly reduce revenue for estimated customer returns,

allowances, markdowns, and discounts given to customers.

            353.   SEC Reg. S-X Rule 5-03 requires companies to report “net sales of tangible

products (gross less discounts, returns and allowances).” 17 C.F.R. §210.5-03.

            354.   GAAP, specifically ASC 605-50-45-1, allows that a vendor may give a customer a

sales incentive or other consideration, where such consideration is either:

            a. An adjustment of the selling prices of the vendor’s products or services and
            therefore characterized as a reduction of revenue when recognized in the vendor’s
            income statement.

            b. A cost incurred by the vendor for assets or services received from the customer
            and therefore characterized as a cost or expense when recognized in the vendor’s
            income statement.

            355.   GAAP also requires that revenue may only be recognized if the amount of future

returns can be reasonably estimated.125 FASB Statement No. 48, Revenue Recognition When

Right of Return Exists, ¶7 states: “If sales revenue is recognized . . ., any costs or losses that may

be expected in connection with any returns shall be accrued in accordance with FASB Statement




and decreased inventory as a result of contingent transactions – which materially affected Under
Armour’s financial position and results of operations by overstating revenue and earnings and
understating inventory – this accounting practice was required to be, but was not, disclosed by
Defendants.
125
      FASB ASC 605-15-25-1.

                                                 - 172 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 443 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 179 of 213



No. 5, Accounting for Contingencies. Sales revenue and cost of sales reported in the income

statement shall be reduced to reflect estimated returns.”126

            356.   Defendants falsely assured investors that the Company was complying with GAAP,

as discussed above, and that the Company was properly accounting for estimated allowances,

markdowns, discounts, and returns.            Specifically, they stated in Under Armour’s revenue

recognition policy in its SEC filings:

            We record reductions to revenue for estimated customer returns, allowances,
            markdowns and discounts. We base our estimates on historical rates of customer
            returns and allowances as well as the specific identification of outstanding returns,
            markdowns and allowances that have not yet been received by us. The actual
            amount of customer returns and allowances, which is inherently uncertain, may
            differ from our estimates. If we determine that actual or expected returns or
            allowances are significantly higher or lower than the reserves we established, we
            would record a reduction or increase, as appropriate, to net sales in the period in
            which we make such a determination. Provisions for customer specific discounts
            are based on contractual obligations with certain major customers. Reserves for
            returns, allowances, markdowns and discounts are recorded as an offset to accounts
            receivable as settlements are made through offsets to outstanding customer invoices
            . . . .127

            357.   Under Armour had excess inventory across all brands from at least 3Q15 through

4Q16. The Company’s core apparel sales began slowing by at least spring 2015. To increase

sales, Under Armour had to give incentives and promotions such as selling products for 25% off.

But the Company’s inventory problems persisted. The bankruptcy of TSA in 2016 further

increased excess inventory. One of the top reasons Under Armour missed its financial goals at the

end of 2016 was because of inventory management.




126
      See also FASB ASC 605-15-25-2.
127
    See, e.g., Under Armour 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-
K, 2Q19 Form 10-Q, 3Q19 Form 10-Q.
                                                   - 173 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 444 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 180 of 213



            358.   As a result, Under Armour sold excess inventory at heavy discounts and even

shipped some to Mexico just to get its money back (see Section V.F). But overall there was so

much inventory in the latter half of 2016 that Under Armour’s liquidation channels were already

flooded and there was nowhere to go with some of the inventory.

            359.   Further, in order to clear the inventory and meet its sales and profit projections

(including continued 20%+ growth), during 2015 and 2016, Under Armour began offering deeper

and broader price discounts and allowances; increasing sales promotions to many of its customers;

and accepting the returns of more products (in addition to the increased buybacks as discussed

above) (see Sections V.D-F). These known and anticipated discounts and allowances, along with

destocking and sales returns, should have reduced Under Armour’s reported net sales, margin, and

income as discussed above (see ¶¶353-357).

            360.   However, Under Armour failed to adequately account for these known and

estimable returns, discounts, markdowns, and allowances. Defendants, who authorized this

scheme, knew that the Company’s results would be false and misleading as a result. By the end

of 3Q16, Under Armour failed to properly recognize approximately $34 million in sales returns,

allowances, markdowns, and discounts.128 This scheme alone caused the Company to materially

overstate net sales, net income, and EPS during 3Q16 by as much as over 2%, 17%, and 18%,

respectively. The Company ultimately increased its reserves for customer returns, allowances,

markdowns and discounts to more than 5.2% of net product sales in 2017 whereas previously at




128
    $34 million was calculated by applying and comparing the 2017 percentage of reserves for
customer returns, allowances, markdowns, and discounts (5.2%) to 3Q16 net product sales,
assuming the percentage actually used by the Company during 3Q16 was the average of the
percentages used at year end 2015 (2.5%) and year end 2016 (3.1%).
                                                 - 174 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 445 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 181 of 213



the end of 2015, these reserves represented just 2.5% of net product sales – a 109% increase. These

large increases in 2017 support that Under Armour had under-reserved in 2016.

            D.     Under Armour Overstated Inventory

            361.   As a result of poor planning, softening demand, returns, and increased buybacks

from contingent sale transactions, Under Armour accumulated material amounts of excess and

obsolete (i.e., impaired) inventory, which it failed to write down during 2016.

            362.   GAAP mandates that inventory:

            Be measured at the lower of cost and net realizable value.129 When evidence exists
            that the net realizable value of inventory is lower than its cost, the difference shall
            be recognized as a loss in earnings in the period in which it occurs. That loss may
            be required, for example, due to damage, physical deterioration, obsolescence,
            changes in price levels, or other causes.130

            363.   Similarly, Under Armour disclosed to the public in its SEC filings:

            Market value131 is estimated based upon assumptions made about future demand and retail
            market conditions. If the Company determines that the estimated market value of its
            inventory is less than the carrying value of such inventory, it records a charge to cost of
            goods sold to reflect the lower of cost or market . . .132

            364.   Contrary to GAAP and Defendants’ policy, Under Armour’s inventory was

overstated from at least 2016 through 2018. This was due to Under Armour’s massive amount of

excess inventory that could not be sold without providing incentives such as heavy discounts. Such



129
   Net realizable value is determined as the estimated selling prices in the ordinary course of
business, less reasonably predictable costs of completion, disposal, and transportation. FASB ASC
330-10-20.
130
      FASB ASC 330-10-35-1B.
131
    “As used in the phrase lower of cost or market, the term market means current replacement
cost (by purchase or by reproduction, as the case may be) provided that it meets both of the
following conditions: a. Market shall not exceed the net realizable value [and] b. Market shall not
be less than net realizable value reduced by an allowance for an approximately normal profit
margin.” FASB ASC 330-10-20.
132
      Under Armour, Inc., Annual Report (Form 10-K) (Feb. 20, 2015), at 47.
                                                   - 175 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 446 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 182 of 213



incentives reduced the net realizable value of inventory. At any given time, Under Armour had at

least twice as much, and even three to four times as much, inventory than the Company’s plan.

            365.   As noted above, TSA’s bankruptcy in 2016 added to the excess inventory problem

because full categories and seasons of apparel had been allocated to TSA before it closed, and the

inventory had to go back to Under Armour, including apparel from old seasons (see ¶¶60, 74, 123).

Moreover, Under Armour did not cancel TSA orders before the bankruptcy or reduce its sales

goals after it, thus exacerbating its excess inventory problem (see id.).

            366.   This is consistent with the Company’s inventory growth rate, which significantly

outpaced its revenue growth rate from 3Q15 through 2Q16, indicating that demand for Under

Armour products was slowing and the Company was not able to sell as much of its burgeoning

supply of inventory as anticipated.

            367.   Despite Defendants’ knowledge regarding excess inventory as described herein,

Under Armour continued the charade by misleading investors during the 3Q16 earnings call on

October 25, 2016, when Malloy stated: “Despite liquidations having been a headwind on margin

rates for most of this year, we now believe that our inventory position is healthier and that

liquidation should not have the same negative impact moving forward.” Malloy also reiterated

the expectation for revenues to grow approximately 20% in 4Q16, and explicitly told an analyst,

“We feel like we’re in really good shape from an inventory perspective.”

            368.   Under Armour’s positive statements regarding inventory were misleading because,

unbeknownst to investors, the Company’s inventory was impaired. Projected sales growth and

corresponding attrition of inventory could only be achieved through the Company’s unprecedented

promotions and discounts, which impacted margins well beyond 2016, and undisclosed contingent

sales and channel stuffing.

                                                - 176 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 447 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 183 of 213



            369.   Beginning in 3Q17, the Company belatedly recorded total charges of $25.878

million to write down its inflated inventory. These charges to reduce the overstated inventory

balance should have been recorded in 2016. Under Armour’s inventory balance was overstated

from 2016 through 2018 by as much as 3%. This was a material overstatement, as demonstrated

by the fact that, by failing to take the impairment charge in 3Q16, Under Armour’s operating

income and net income for that quarter were both overstated by approximately 13%. Moreover,

Under Armour would have missed its operating income guidance had the full charge been taken

in 3Q16.

IX.         POST-CLASS PERIOD REVELATIONS

            370.   Following the Class Period, additional facts were revealed concerning the nature

and severity of Defendants’ fraud. As discussed above, on November 14, 2019, WSJ released an

article titled, “Inside Under Armour’s Sales Scramble: ‘Pulling Forward Every Quarter,’” which

was based on interviews with several former Company executives in sales, logistics,

merchandising, and finance, and referenced emails obtained by federal investigators showing

Plank’s direct knowledge of the efforts to move revenue between quarters.133 The former

executives told WSJ that Defendants “scrambled to meet aggressive sales targets, borrowing

business from future quarters to mask slowing demand in 2016 for its athletic apparel” and

“frequently leaned on retailers to take products early and redirected goods intended for its factory

stores to off-price chains to book sales in the final days of a quarter.”134 According to WSJ, a

former sales executive said “[i]t was a pretty common practice to pull forward orders from the




133
      Ex. A, at 2.
134
      Id. at 1.

                                                - 177 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 448 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 184 of 213



month after the quarter to ship within the quarter in order to hit the number or close the gap.”135

According to these former executives, WSJ reported, Defendants used these tactics every quarter

“to help extend a 26-quarter streak of 20% sales growth,” a streak that “employees knew was

important to Mr. Plank,” which “came to an abrupt end in late 2016.”136

            371.    A former merchandising executive at the Company explained to WSJ that these

practices were “all in the name of hitting the number.”137 These former executives also explained

to WSJ how if “retailers declined to take products before their requested ship date, Under Armour

sometimes adjusted the terms of the contract to offer a discount or extend the period in which

retailers could pay for the products.”138 And a former logistics executive further revealed to WSJ

that “[s]hipping plans in the final days of the quarter sometimes contradicted the dates on the

boxes, and truckloads of unopened boxes would come back to Under Armour.”139 WSJ also

reported that the former executives observed that the “strains in Under Armour’s business were

evident inside the company in 2016,” that Under Armour continued shipping products and booking

sales to Sports Authority even “[a]fter it was clear Sports Authority was in trouble,” and that Dick’s

(which was holding unsold Under Armour goods) stopped taking products early because it was

“angered” by Under Armour’s deal with discount value retailer Kohl’s, who often offered the same

products but with more discounts.140 Additionally, WSJ reported, a former merchandise executive




135
      Id. at 3.
136
      Id. at 1-2.
137
      Id. at 2.
138
      Id. at 3.
139
      Id.
140
      Id. at 3-4.

                                               - 178 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 449 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 185 of 213



said that, “[t]o help meet its quarterly targets, Under Armour in 2016 shipped new inventory

intended for its own factor stores to off-price seller TJX Cos.,” which “allowed Under Armour to

immediately book the goods as revenue instead of having to wait for a customer to buy the item at

its own stores.”141 But “[t]his executive and another former employee said Under Armour was

careful to avoid shipping too much inventory to TJX so that it wouldn’t have to disclose that the

discounter was among its major customers in its securities filings,” according to WSJ.142

            372.   On November 15, 2019, the Baltimore Business Journal released an article

discussing accounting irregularities at the Company that were likely being reviewed by the SEC

and DOJ. In particular, the article focused on the Company’s rising accounts receivable that began

in the final quarter of 2015 – when it jumped 55% vs. sales growth of 31% - and continued through

the end of 2016, along with a rising number of days sales outstanding. The article stated in part:

            The revelation of a federal probe, [Plaintiffs’] lawsuit and claims by former executives of
            aggressive sales tactics offer a glimpse into what may have been behind Under Armour’s
            stumbles after so much success. The company says no accounting irregularities occurred
            and that it was just an unfortunate mix of market forces – Sports Authority’s demise, the
            retail industry’s free fall and a trend toward athleisure apparel that Under Armour declined
            to embrace.

            The shareholders’ allegations and past executives quoted in the Wall Street Journal story
            point to something more nefarious. Whether done intentionally by UA executives or
            driven by market pressure, some accountants and university professors called on by the
            Baltimore Business Journal to review the numbers say something was amiss that caused
            unusual patterns in the company’s financials.

                                                 *       *       *

            Under Armour’s financial statements show a pattern of rising accounts receivable and sales
            that couldn’t keep up as the company struggled to keep pace in an increasingly competitive
            industry.




141
      Id. at 4.
142
      Id.
                                                  - 179 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 450 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 186 of 213



            373.   On January 6, 2020, the Baltimore Business Journal reported that Under Armour

had

            “quietly hired a chief accounting officer [Aditya Maheshwari] in November, filing a key
            C-suite position for the sportswear maker whose accounting practices are at the center of a
            federal probe. . . . Maheshwari was brought on three weeks after Under Armour confirmed
            a Wall Street Journal report that its accounting practices are being investigated by the SEC
            and the [DOJ].

                                                 *       *       *

            While the investigation continues, he will be responsible for cooperating with regulators
            and ensuring Under Armour is following all of the rules.” By not issuing a press release
            or submitting a filing with the SEC announcing Maheshwari’s hiring, the article noted,
            Under Armour departed from the usual corporate practice of notifying shareholders by of
            an executive appointment.

            374.   On July 27, 2020, Under Armour disclosed in their SEC Form 8-K that “the SEC

Staff has made a preliminary determination to recommend that the SEC file an enforcement action

against the Company and each of the Executives that would allege certain violations of the federal

securities laws.” These “Wells Notices,” Under Armour’s filing stated, “relate to the Company’s

disclosures covering the third quarter of 2015 through the period ending December 31, 2016,

regarding the use of ‘pull forward’ sales in connection with revenue during those quarters.”

“Specifically,” Under Armour explained, “the SEC staff is focused on the Company’s disclosures

regarding the use of pull forward sales in order to meet sales objectives.”

            375.   On August 6, 2020, Under Armour further disclosed in its 2Q20 Form 10-Q that

“[t]he Wells Notices informed the Company” that the SEC “would allege certain violations of the

Securities Act of 1933 and the Securities Exchange Act of 1934 and certain rules promulgated

thereunder” and “also reference potential charges related to the Executives’ participation in the

Company’s violations, as well as control person liability under the Exchange Act.” The 2Q20

Form 10-Q also disclosed that “[t]he potential relief to be sought referenced in the Wells Notices


                                                  - 180 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 451 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 187 of 213



included,” among other things, “civil monetary penalties, as well as in the case of the Executives,

a bar from serving as an officer or director of a public company.”

            376.   Securities analysts and media took note of the additional news regarding the Under

Armour investigations, the seriousness of the misconduct being investigated, and the SEC’s

preliminary decision to file an enforcement action. For example:

                   (a)    on November 18, 2019, UBS released an analyst report stating that the

investigations created an “overhang” on the stock. The report interviewed an expert on DOJ and

SEC investigations, who explained that it was “routine” for companies to disclose such

investigations in their SEC filings;

                   (b)    on January 6, 2020, J.P.Morgan released a report “applying a 20% haircut

for accounting investigation overhang”;

                   (c)    On January 20, 2020, Zack’s published an analyst report looking back on

2019 and observing that, despite “better-than-expected third-quarter 2019 results,” “a federal

accounting probe and trimming of 2019 revenue growth forecast hurt investor sentiment”; and

                   (d)    Jefferies’ February 11, 2020 report emphasized how “the accounting

investigation is an item for investors to contend with” even months after Under Armour belatedly

disclosed the nearly three-year old DOJ and SEC investigations;

                   (e)    in a July 27, 2020 article, WSJ quoted a partner at Arthur Andersen, who

called the Wells Notices “the declaration of war” and said they mean “Enforcement is locked and

loaded, ready to go.” WSJ further noted the “serious” nature of the Notices, noting that “[t]he SEC

issues a so-called Wells Notice when it believes it can establish a violation and is prepared to

recommend the commission file a civil lawsuit[]”




                                                 - 181 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 452 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 188 of 213



                  (f)   on July 28, 2020, Bloomberg Tax published an article emphasizing

shareholder implications, stating that “the SEC inquiry is focused on what the athletic apparel

company disclosed to shareholders about [pulling sales from the next quarter into the current

period].” The Bloomberg article noted that “[c]ompanies are supposed to disclose how they make

material accounting estimates, including whether their policy is to recognize revenue by pulling

forward sales.” Explaining how these practices are unsustainable, Bloomberg quoted an auditor,

who said: “At some point, the music is going to stop and you’re not going to have a chair . . . .

You don’t have any more sales to pump up into that quarter.” The auditor explained that “[a]ll of

this really relates to revenue smoothing. . . . They are trying to provide consistent, recurring,

smooth numbers that meet or beat analyst expectations instead of just reporting what really

happened[]” Bloomberg further noted that pull-forward sales “often come[ ] with incentives to

the customer in the form of discounts, rebates or buy-back guarantees, all of which impact

revenue[,]” and “can also disguise sham transactions known as channel stuffing.”

VI.X. LOSS CAUSATION AND ECONOMIC LOSS

            259.377.    During the Class Period, as detailed herein, Defendants engaged in a scheme

to deceive the market and a course of conduct which artificially inflated (or maintained the

artificial inflation of) the prices of Under Armour’s common stock and operated as a fraud or deceit

on Class Period purchasers of Under Armour’s common stock.                When Defendants’ prior

misrepresentations and fraudulent conduct werethe relevant truth was revealed and became

apparent to the market, the prices of Under Armour’s common stock fell as the prior artificial

inflation came out. The truth was not revealed to the market all at once, but, rather, the truth began

to emerge, and the risk caused by Defendants’ fraud materialized, through partial revelations that

cast doubt on the veracity of Defendants’ Class Period statements.of truthful information. As a


                                               - 182 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 453 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 189 of 213



result of their purchases of Under Armour’s common stock during the Class Period, Plaintiffs and

the other members of the Class (defined in ¶286407 below) suffered economic loss, i.e., damages,

under the federal securities laws as the truth was revealed.

            A.    January 10, 2016 Revelations

            260.378.    The truth began to emerge on Sunday, January 10, 2016, when, as detailed

in ¶¶134-138Section VII.A above, Morgan Stanley issued a report detailing slower growth of the

Company’s North American apparel sales, falling sales prices, and reduced market share. As a

result of the information revealed to the market, the Company’s Class A common stockCommon

Stock dropped approximately 6.72% on unusually high trading volume. At the Company’s next

earnings call on January 28, 2016, the Company downplayedrejected and denied the reportMorgan

Stanley Report’s revelations and reassured investors of the Company’s strong financial condition.

            B.    May 3, 2016 Revelations

            261.379.    The truth continued to emerge after the market closed on May 3, 2016,

when, as detailed in ¶170Section VII.E above, the Company surprised investors by announcing

the sudden departures of key executives Stafford and Thurston. These departures, coming on the

heels of Dickerson’s departure, the Morgan Stanley Report exposing problems at the Company,

and three major retail customer bankruptcies, were viewed by investors as a signal that there were

undisclosed problems at the Company.           As a result, the Company’s Class A common

stockCommon Stock dropped approximately 7.54% on unusually high trading volume. The

Company’s Class C common stockCommon Stock, which was issued to Class A common

stockCommon Stock holders on a one-for-one basis after the market closed on April 7, 2016, also

experienced a price decline as a result of this news, falling approximately 6.80% on unusually high

trading volume. The declines would have been more dramatic had Defendants disclosed the


                                              - 183 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 454 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 190 of 213



declines in sales demand, the suspect sales practices used to mask slowing demand, and the

resulting financial problems that led to the departures of Stafford and Thurston.          Instead,

Defendants were completely silent on the reasons for their departures.

            C.    May 31, 2016 Revelations

            262.380.    As detailed in ¶176Section VII.F above, the Company surprised investors

on May 31, 2016, by revealing that, contrary to the Company’s positive statements and guidance

raise just a month earlier, 2016 revenue and operating income would be much lower than projected,

citing the Sports Authority bankruptcy. As a result of the information revealed to the market, the

Company’s Class A common stockCommon Stock and Class C common stockCommon Stock

prices dropped approximately 3.92% and 3.57%, respectively, on unusually high trading volume.

The drops would have been more dramatic had Defendants disclosed the suspect sales practices

used to mask slowing demand and the true extent of the financial difficulties facing the Company.

Instead, Defendants misleadingly stated that Under Armour’s momentum was stronger than ever,

and that the Company continued to experience growth and increased demand across all product

categories and geographies.

            D.    July 26, 2016 Revelations

            263.381.    The truth continued to emerge on July 26, 2016, when, as detailed in ¶¶186-

190Section VII.H above, the Company surprised investors by revealing slowdowns in apparel

sales growth, operating income, and net income. As a result of the information revealed to the

market, the Company’s Class A common stockCommon Stock and Class C common

stockCommon Stock prices dropped approximately 5.12% and 3.56%, respectively, on unusually

high trading volume. The drops were tempered by Defendants’ attempts to blunt the negative

results by making misleadingly positive statements regarding the Company’s sales demand and


                                              - 184 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 455 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 191 of 213



revenue growth, and their failure to disclose the suspect sales practices used to mask slowing

demand and the true extent of financial difficulties facing the Company.

            E.    October 25, 2016 Revelations

            264.382.    As detailed in ¶¶207-209Section VII.J above, on October 25, 2016, the

Company revealed a slowdown in North American apparel growth and compressed margins

attributed to higher discounts, promotions, and liquidations. As a result of the information, Under

Armour’s Class A common stockCommon Stock and Class C common stockCommon Stock prices

dropped approximately 18.36% and 21.25%, respectively, on unusually high trading volume. The

drops would have been more dramatic had Defendants disclosed the true extent of the sales

declines and, the suspect sales practices used to mask slowing demand, and the associated financial

difficulties facing the Company. But Defendants failed to do so and, instead, reassured investors

that the Company’s overall growth and demand were strong and stated that the Company’s

inventory position was healthier.

            F.    January 31, 2017 Revelations

            265.383.    On January 31, 2017, the Company shocked investors by announcing a

severe slowdown in growth and dramatically reduced financial projections attributed to problems

in the North American apparel business, as well as compressed margins, inventory growth, and

the sudden departure of Molloy, as detailed further in ¶¶221-232Section VII.K above. As a result,

the Company’s Class A common stockCommon Stock and Class C common stockCommon Stock

prices plummeted approximately 28.65% and 27.78%, respectively, on unusually high trading

volume. The share price declines would have been larger had Defendants disclosed the suspect

sales practices used to mask slowing demand and the true state of the Company’s financial




                                              - 185 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 456 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 192 of 213



condition. But, Defendants continued to hide these facts and made misleading statements about

the reasons for the reported financial results.

            G.     August 1, 2017 Revelations

            266.384.      On August 1, 2017, the Company’s common stock prices fell precipitously

when the Company reported it announced another quarter of poor North American sales, lowered

2017 guidance, and announced a massive restructuring incvoludving hundreds of job cuts, and

$110 to $130 million in expected restructuring-related charges, including “approximately $20

million of inventory related charges,” as detailed further in ¶¶248-252Section VII.L above. The

Company’s Class A common stockCommon Stock and Class C common stockCommon Stock

prices dropped 8.59% and 10.38%, respectively, on unusually high trading volume.

            H.     November 3, 2019 Revelations

            385.   As detailed in Section VII.N above, WSJ revealed on November 3, 2019 that Under

Armour’s revenue recognition practices were subject to ongoing civil and criminal investigations

by the SEC and DOJ, and that Under Armour had been responding to requests for documents and

information since July 2017. The Company released a statement later that day confirming the

investigations. As a result, the Company’s Class A Common Stock and Class C Common Stock

prices fell 18.92% and 18.35%, respectively, on unusually high trading volume.

            267.386.      As a result of their purchases of Under Armour common stock during the

Class Period, Plaintiffs and the other members of the Class suffered economic loss, i.e., damages,

under the federal securities laws. By failing to disclose to investors the adverse facts detailed

herein, Defendants presented a misleading picture of Under Armour’s business and prospects.

Defendants’ false and misleading statements had the intended effect and caused Under Armour

common stock to trade at artificially inflated levels throughout the Class Period.


                                                  - 186 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 457 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 193 of 213



            268.387.   When the truth about the Company was disclosed to the market in a series

of revelations during the Class Period, the prices of Under Armour’s common stock declined.

These declines removed the inflation from the prices of Under Armour’s common stock, causing

real economic loss to investors who had purchased Under Armour’s common stock during the

Class Period.

            269.388.   The declines in the prices of Under Armour’s common stock after the

revelations came to light were a direct result of the nature and extentpartial disclosures of truthful

information relating to Defendants’ fraudulent misrepresentations being revealed to investors and

the market. The timing and magnitude of the price declines in Under Armour common stock

negate any inference that the losses suffered by Plaintiffs and the other members of the Class were

caused by changed market conditions, macroeconomic or industry factors, or Company-specific

facts unrelated to Defendants’ fraudulent conduct. This is evidenced by the chart below, which

demonstrates the clear divergence of the Company’s Class A common stockCommon Stock prices

from the Company’s benchmark indices and peer company stock prices143 as the revelations of the

truth became known to the market:




143
    Under Armour has identified the S&P 500 Index and S&P Apparel, Accessories and Luxury
Good Index as benchmarks for its Class A Common Stock performance in its FY16 Form 10-K,
filed with the SEC on February 23, 2017. In addition, the peer comparison above is based on the
stock prices of the following publicly traded industry competitors identified in the Company’s
FY16 Form 10-K: Nike, Inc. (NKE US Equity), Adidas AG (ADDYY US Equity), Lululemon
Athletica Inc. (LULU US Equity), Columbia Sportswear Company (COLM US Equity), and Puma
SE (PMMAF US Equity).FY15 through FY19 Forms 10-K.
                                               - 187 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 458 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 194 of 213




  09/16/2015        03/07/2016        08/23/2016        02/10/2017        08/01/2017
           12/09/2015        05/31/2016        11/15/2016        05/08/2017




                                        - 188 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 459 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 195 of 213



            270.389.   The economic losses, i.e., damages, suffered by Plaintiffs and the other

members of the Class were a direct result of Defendants’ fraudulent scheme to artificially inflate

the prices of Under Armour common stock and the subsequent significant declines in the value of

Under Armour common stock when Defendants’ prior misrepresentations and fraudulent conduct

were revealed.

VII.XI.           PRESUMPTION OF RELIANCE

            271.390.   A class-wide presumption of reliance is appropriate with respect to the

Exchange Act claims in this action under the United States Supreme Court’s holding in Affiliated

Ute Citizens v. United States, 406 U.S. 128 (1972), because such claims are grounded on

Defendants’ material omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial prospects

– information that Defendants were obligated to disclose – positive proof of reliance is not a

prerequisite to recovery. All that is necessary is that the facts withheld be material in the sense

that a reasonable investor might have considered them important in making investment decisions.

Given the importance of Defendants’ material Class Period omissions set forth above, that

requirement is satisfied here.

            272.391.   A class-wide presumption of reliance is also appropriate with respect to the

Exchange Act claims in this action under the fraud-on-the-market doctrine. As a result of

Defendants’ materially false and misleading statements, the Company’s publicly traded common

stock traded at artificially inflated prices during the Class Period on a market that was open, well-

developed, and efficient at all times. Plaintiffs and other members of the Class (defined in ¶286

below) purchased or otherwise acquired the Company’s publicly traded common stock relying




                                               - 189 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 460 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 196 of 213



upon the integrity of the market price of those securities and the market information relating to

Under Armour, and have been damaged thereby.

            273.392.    At all relevant times, the market for the Company’s common stock was an

efficient market for the following reasons, among others:

                  (a)   Asas a regulated issuer, Under Armour regularly made public filings with

the SEC and related press releases;

                  (b)   Under Armour regularly communicated with public investors via

established market communication mechanisms, including through regular disseminations of press

releases on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press, and other similar reporting services;

                  (c)   Under Armour was followed by several securities analysts employed by

major brokerage firms, such as Morgan Stanley, Deutsche Bank, Canaccord Genuity, Wells Fargo,

Credit Suisse, Barclays, UBS, Jeffries, Cowen and Company, and Piper Jaffray, among others,

who wrote research reports that were distributed to the brokerage firms’ sales force and the public

at large. Each of these reports was publicly available and entered the public marketplace; and

                  (d)   Ccertain of the Company’s securities, Class A common stockCommon

Stock and Class C common stockCommon Stock, met the requirements for listing and were listed

and actively traded on the NYSE, a highly efficient and automated market.

            274.393.    As a result of the foregoing, the market for the Company’s common stock

promptly digested current information regarding Under Armour from all publicly available sources

and reflected such information in the prices of the Company’s common stock.




                                              - 190 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 461 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 197 of 213



            275.394.    Under these circumstances, all purchasers of the Company’s common stock

during the Class Period suffered similar injury through their purchase of the Company’s common

stock at artificially inflated prices.

            276.395.    At the times they purchased or otherwise acquired the Company’s common

stock, Plaintiffs and other members of the Exchange Act Class were without knowledge of the

facts concerning the wrongful conduct alleged herein and could not reasonably have discovered

those facts.

            277.396.    As a result of the above circumstances, the presumption of reliance applies.

            278.397.    In sum, Plaintiffs will rely, in part, upon the presumption of reliance

established by the fraud-on-the-market doctrine in that:

                  (a)   Defendants made public misrepresentations during the Class Period;

                  (b)   the misrepresentations were material;

                  (c)   the Company’s common stock traded in an efficient market;

                  (d)   the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s common stock; and

                  (e)   Plaintiffs and other members of the Class purchased or otherwise acquired

the Company’s common stock between the time Defendants misrepresented material facts and the

time the true facts were disclosed, without knowledge that the facts were misrepresented.

VIII.XII.         NO SAFE HARBOR

            279.398.    The federal statutory safe harbor providing for forward-looking statements

under certain circumstances does not apply to any of the allegedly false and misleading statements

pleaded in this Complaint. Many of the specific statements pleaded herein were not identified as

“forward-looking statements” when made.          To the extent there were any forward-looking


                                               - 191 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 462 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 198 of 213



statements, there were no meaningful cautionary statements accompanying them.                  To be

meaningful, cautionary statements must identify important factors that could cause actual results

to differ materially from those in the purportedly forward-looking statements. Such cautions were

loudly absent from Under Armour’s Class Period filings.

            280.399.      For example, Under Armour’s 2014 Form 10-K, filed with the SEC on

February 20, 2015, contained the following boilerplate “caution”:

            A decline in sales to, or the loss of, one or more of our key customers could result in a
            material loss of net revenues and negatively impact our prospects for growth.

            281.400.      The generic nature of this disclosure is illustrated by the fact that it was

simply repeated verbatim from the Company’s 2013 Form 10-K, filed with the SEC on February

21, 2014, and was again repeated in the Company’s 2015, 2016, 2017, 2018, and 2016 Form2019

Forms 10-KsK filed with the SEC on February 22, 2016, February 23, 2017, February 28, 2018,

February 25, 2019, and February 23, 201726, 2020, respectively, when the problems plaguing the

Company were well known internally.

            282.401.      Similarly, Under Armour issued the following risk warning in both its 2013

and 2014 Forms 10-KsK concerning the decline of brand image, net revenues, and profitability:

            If we continue to grow at a rapid pace, we may not be able to effectively manage our
            growth and the increased complexity of a global business and as a result our brand
            image, net revenues and profitability may decline.

            283.402.      A substantially similar warning appeared in the Company’s 2015 and 2016

Form 10KsForms 10-K:

            We must continue to effectively manage our growth and the increased complexity of a
            global business or we may not achieve our long-term growth targets and our brand
            image, net revenues and profitability may decline.

            403.   A substantially similar warning appeared in the Company’s 2017, 2018, and 2019

Forms 10-K:

                                                 - 192 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 463 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 199 of 213



            We must successfully manage the increasingly complex operations of our global
            business, or our business and results of operations may be negatively impacted. . . . If
            we experience difficulties in supporting the growth of our business, we could experience
            an erosion of our brand image and a decrease in net revenues and net income.

            284.404.      The Company’s supposed risk warnings, both individually and collectively,

failed to warn the market of the true risks detailed herein. These warnings were not meaningfully

different from year-to-year, but, instead, were merely boilerplate language that failed to develop

with time as the very risks they sought to warn of began to materialize. Therefore, these “cautions”

were untethered to the known problems at hand, rendering them meaningless. Given the scope

and magnitude of Defendants’ fraud, as detailed herein, the risk warnings were themselves false

and misleading and did not shield Defendants from liability. The risk warnings were false and

misleading because they did not disclose that Defendants were actually engaging in the very

actions about which they purportedly warned and/or had actual knowledge of material adverse

facts undermining such disclosures.

            285.405.      Moreover, to the extent that any statements pleaded herein are forward-

looking, Defendants are liable for them because, at the time each of them was made, the particular

speaker knew it was false or misleading, for the reasons detailed herein, and/or the forward-looking

statement was authorized and/or approved by an executive officer of Under Armour who knew it

was false or misleading when made.

IX.XIII.           CLASS ACTION ALLEGATIONS

            286.406.      Plaintiffs bring this action as a class action pursuant to Rule 23(a) and (b)(3)

of the Federal Rules of Civil Procedure alleging violations of Sections 10(b), 20(a), and 20A of

the Exchange Act, and Rule 10b-5 promulgated thereunder by the SEC, on behalf of all persons

or entities that purchased or acquired publicly traded common stock of Under Armour during the

Class Period, and who were damaged thereby (“Class”). Excluded from the Class are Defendants,

                                                  - 193 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 464 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 200 of 213



the officers and directors of the Company at all relevant times, members of their immediate

families and their legal representatives, heirs, successors, or assigns, and any entity in which

Defendants have or had a controlling interest.

            287.407.    Members of the Class are so numerous that joinder of all members is

impracticable. According to the Company’s SEC filings, as of JanuaryOctober 31, 20179, Under

Armour had more than 1838 million shares of Class A common stockCommon Stock and more

than 2208 million shares of Class C Common sStock outstanding. While the exact number of

members of the Class can only be determined by appropriate discovery, Plaintiffs believe that

members of the Class number at least in the hundreds, if not the thousands, and that they are

geographically dispersed.

            288.408.    Plaintiffs’ claims are typical of the claims of the members of the Class

because Plaintiffs and all of the members of the Class sustained damages arising out of Defendants’

wrongful conduct complained of herein.

            289.409.    Plaintiffs will fairly and adequately protect the interests of the members of

the Class and have retained counsel experienced and competent in class actions and securities

litigation. Plaintiffs have no interests that are contrary to, or in conflict with, the members of the

Class that Plaintiffs seek to represent.

            290.410.    A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy because joinder of all members is impracticable.

Furthermore, as the damages suffered by individual members of the Class may be relatively small,

the expense and burden of individual litigation make it impossible for the members of the Class to

individually redress the wrongs done to them. There will be no difficulty in the management of

this action as a class action.

                                               - 194 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 465 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 201 of 213



            291.411.     Questions of law and fact common to the members of the Class predominate

over any questions that may affect only individual members in that Defendants have acted on

grounds generally applicable to the entire Class. Among the questions of law and fact common to

the Class are:

                  (a)    whether Defendants violated the federal securities laws as alleged herein;

                  (b)    whether Defendants’ publicly disseminated press releases and statements

during the Class Period omitted and/or misrepresented material facts;

                  (c)    whether Defendants failed to convey material facts or to correct material

facts previously disseminated;

                  (d)    whether Defendants participated in and pursued the fraudulent scheme or

course of business complained of herein in violation of the Exchange Act;

                  (e)    whether Defendants acted willfully, with knowledge or recklessness, in

omitting and/or misrepresenting material facts in violation of the Exchange Act;

                  (f)    whether the market prices of the Company’s common stock during the Class

Period were artificially inflated due to the material nondisclosures and/or misrepresentations

complained of herein; and

                  (g)    whether the members of the Class have sustained damages as a result of the

decline in value of the Company’s common stock when the truth was revealed and the artificial

inflation came out, and, if so, what is the appropriate measure of damages.

                                                    COUNT ICOUNT I

            Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                     Thereunder Against Defendants Under Armour and Plank




                                                - 195 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 466 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 202 of 213



            292.412.   Plaintiffs repeat and reallege the allegations set forth in ¶¶1-291411 above

as though fully set forth herein. This claim is asserted against Defendants Plank and Under

Armour.

            293.413.   During the Class Period, Defendants carried out a plan, scheme, and course

of conduct which was intended to and, throughout the Class Period, did: (a) deceive the investing

public, Plaintiffs, and other Class members, as alleged herein; (b) artificially inflate and maintain

the market price of the Company’s publicly traded common stock; and (c) cause Plaintiffs and

other members of the Class to purchase the Company’s publicly traded common stock at

artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

Defendants took the actions set forth herein.

            294.414.   Defendants: (a) employed devices, schemes, and artifices to defraud; (b)

made untrue statements of material fact and/or omitted to state material facts necessary to make

the statements not misleading; and (c) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

to maintain artificially high market prices for the Company’s common stock in violation of Section

10(b) of the Exchange Act and Rule 10b-5. Defendants are sued as primary participants in the

wrongful and illegal conduct charged herein. Defendant Plank is also sued as a controlling person

of Under Armour, as alleged below.

            295.415.   In addition to the duties of full disclosure imposed on Defendants as a result

of their making affirmative statements and reports, or participating in the making of affirmative

statements and reports to the investing public, they each had a duty to promptly disseminate

truthful information that would be material to investors in compliance with the integrated

disclosure provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R. §210.01, et seq.)

                                                - 196 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 467 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 203 of 213



and S-K (17 C.F.R. §229.10, et seq.) and other SEC regulations, including accurate and truthful

information with respect to the Company’s operations, sales, financial condition, and operational

performance, so that the market prices of the Company’s publicly traded securities would be based

on truthful, complete, and accurate information.

            296.416.   Defendants, individually and in concert, directly and indirectly, by the use,

means, or instrumentalities of interstate commerce and/or of the mails, engaged and participated

in a continuous course of conduct to conceal adverse material information about the Company’s

financial and operational results and prospects as specified herein.

            297.417.   Defendants each employed devices, schemes, and artifices to defraud, while

in possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of the Company’s value,

performance, and continued substantial sales and financial growth, which included the making of,

or the participation in the making of, untrue statements of material facts about the Company’s

financial and operational results and prospects and omitting to state material facts necessary to

make the statements made about the Company’s financial and operational results and prospects

not misleading in light of the circumstances under which they were made, as set forth more

particularly herein, and engaged in transactions, practices, and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s common stock during the Class Period.

            298.418.   Defendant Plank’s primary liability and controlling person liability arise

from the following facts, among others: (a) Plank was a high-level executive at the Company

during the Class Period; (b) Plank, by virtue of his responsibilities and activities as CEO and

Chairman was privy to, and participated in, the creation, development, and reporting of the

Company’s projections and financial condition; (c) Plank enjoyed significant personal contact and

                                              - 197 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 468 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 204 of 213



familiarity with, was advised of, and had access to other members of the Company’s management

team, internal reports, and other data and information about the Company’s financial and

operational results and prospects at all relevant times; and (d) Plank was aware of the Company’s

dissemination of information to the investing public which he knew, or recklessly disregarded, was

materially false and misleading.

            299.419.   Each of the Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the truth, in that

each failed to ascertain and disclose such facts, even though such facts were available to each of

them. Such Defendants’ material misrepresentations and/or omissions were done knowingly or

with recklessness and for the purpose and effect of concealing information regarding the

Company’s true financial and operational results and prospects from the investing public and

supporting the artificially inflated price of its common stock. As demonstrated by Defendants’

misstatements and omissions throughout the Class Period regarding the Company’s true financial

and operational results and prospects, Defendants, if they did not have actual knowledge of the

misrepresentations and omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.

            300.420.   As a result of the dissemination of the materially false and misleading

information and failure to disclose material facts, as set forth above, the market prices of the

Company’s common stock were artificially inflated during the Class Period. In ignorance of the

fact that market prices of the Company’s publicly traded common stock were artificially inflated,

and relying directly or indirectly on the false and misleading statements made by Defendants, or

upon the integrity of the market in which the securities trade, and/or on the absence of material

                                               - 198 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 469 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 205 of 213



adverse information that was known to, or disregarded with recklessness by, Defendants, but not

disclosed in public statements by Defendants during the Class Period, Plaintiffs and other members

of the Class acquired the Company’s common stock during the Class Period at artificially high

prices and were damaged thereby, as evidenced by, among others, the common stock price declines

above.

            301.421.        At the time of said misrepresentations and omissions, Plaintiffs and other

members of the Class were ignorant of their falsity and believed them to be true. Had Plaintiffs

and other members of the Class and the marketplace known of the Company’s fraudulent practices,

the true nature and prospects of the Company’s financial and operating results and prospects, or

the Company’s true intrinsic value, which were not disclosed by Defendants, Plaintiffs and other

members of the Class would not have purchased or otherwise acquired their Under Armour

publicly traded common stock during the Class Period; or, if they had acquired such common stock

during the Class Period, they would not have done so at the artificially inflated prices which they

paid.

            302.422.        By virtue of the foregoing, Defendants, and each of them, have each

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

            303.423.        As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

and other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s common stock during the Class Period, as evidenced by, among others,

the common stock price declines discussed above, when the artificial inflation was removed from

the Company’s common stock.

                                                      COUNT IICOUNT II

                       For Violations of Section 20(a) of the Exchange Act Against
                                  Defendants Under Armour and Plank
                                                   - 199 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 470 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 206 of 213



            304.424.   Plaintiffs repeat and reallege the allegations set forth in ¶¶1-291411 above

as though fully set forth herein. This claim is asserted against Defendants Plank and Under

Armour.

            305.425.   Defendant Plank acted as a controlling person of Under Armour within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level

position with the Company, participation in, and/or awareness of, the Company’s operations,

and/or intimate knowledge of the Company’s fraudulent practices and the Company’s actual

results and future prospects, Plank had the power to influence and control, and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend are false and misleading. Plank

was provided with, or had unlimited access to, copies of the Company’s reports, press releases,

public filings, and other statements alleged by Plaintiffs to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected. In addition, Plank had direct involvement in the day-to-day

operations of the Company and, therefore, is presumed to have had the power to control or

influence the particular transactions giving rise to the securities violations as alleged herein and

exercised the same. Under Armour controlled Plank and the Company’s other officers and

employees.

            306.426.   As set forth above, the Defendants each violated Section 10(b) and Rule

10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their control,

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered

damages in connection with their purchases of the Company’s common stock during the Class

                                              - 200 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 471 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 207 of 213



Period, as evidenced by, among others, the common stock price declines discussed above, when

the artificial inflation was released from the Company’s common stock.

                                                COUNT IIICOUNT III

                       For Violation of Section 20A of the Exchange Act
                                   Against Defendant Plank

            307.427.   Plaintiffs repeat and reallege the allegations set forth in ¶¶1-291411 above

as though fully set forth herein. This claim is asserted against Defendant Plank on behalf of

Plaintiffs who were damaged by Defendant Plank’s insider trading.

            308.428.   As detailed herein, Plank was in possession of material, non-public

information concerning Under Armour. Plank took advantage of his possession of material, non-

public information regarding Under Armour to obtain millions of dollars in insider trading profits

during the Class Period.

            309.429.   Defendant    Plank’s   sales     of   Under   Armour   stock   were   made

contemporaneously with Plaintiffs Aberdeen’s and, Monroe’s, and one of KBC’s fund’s

purchases, and other Class Members’ purchases, of Under Armour stock during the Class Period.

            310.430.   For example, in November 2015, Plank sold the following shares of Under

Armour common stock for total proceeds of $99,968,961.




                                              - 201 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 472 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 208 of 213



                      Date             Share Price       No. of Shares           Proceeds
                   11/23/2015            $92.46            199,920             $18,484,603
                   11/23/2015            $93.00                80                  $7,440
                   11/23/2015            $92.46             24,991              $2,310,668
                   11/23/2015            $93.00                 9                   $837
                   11/20/2015            $92.72                80                  $7,418
                   11/20/2015            $92.04             68,917              $6,343,121
                   11/20/2015            $91.24            131,003             $11,952,714
                      Date             Share Price       No. of Shares           Proceeds
                   11/20/2015            $92.72                 9                   $834
                   11/20/2015            $92.04              8,615               $792,925
                   11/20/2015            $91.24             16,376              $1,494,146
                   11/19/2015            $89.60               320                 $28,672
                   11/19/2015            $88.89            158,001             $14,044,709
                   11/19/2015            $88.42             41,679              $3,685,257
                   11/19/2015            $89.60                40                  $3,584
                   11/19/2015            $88.89             19,751              $1,755,666
                   11/19/2015            $88.42              5,209               $460,580
                   11/18/2015            $85.39             89,002              $7,599,881
                   11/18/2015            $87.09             10,838               $943,881
                   11/18/2015            $86.42            100,160              $8,655,827
                   11/18/2015            $85.39             11,125               $949,964
                   11/18/2015            $87.09              1,355               $118,007
                   11/18/2015            $86.42             12,520              $1,081,978
                   11/17/2015            $87.31              1,200               $104,772
                   11/17/2015            $86.17             28,676              $2,471,011
                   11/17/2015            $85.42            170,124             $14,531,992
                   11/17/2015            $87.31               151                 $13,184
                   11/17/2015            $86.17              3,584               $308,833
                   11/17/2015            $85.42             21,265              $1,816,456

            311.431.      Plaintiff Monroe purchased the following shares of Under Armour common

stock, among others:

                      Date             Share Price        No. of Shares          Proceeds
                   11/20/2015            91.62                 676               $61,935

            432.   One of KBC’s fund’s purchased the following shares of Under Armour common

stock, among others:

                      Date             Share Price       No. of Shares          Proceeds
                   11/20/2015            92.01            11,161.00           $1,026,923.60

                                               - 202 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 473 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 209 of 213



            312.433.     In addition, Defendant Plank sold the following shares of Under Armour

common stock in April 2016 for total proceeds of $38,262,467.

                      Date            Share Price       No. of Shares          Proceeds
                   4/29/2016            $40.84            197,680             $8,073,251
                   4/29/2016            $41.58              2,320               $96,466
                   4/29/2016            $40.84             24,709             $1,009,116
                   4/29/2016            $41.58               291                $12,100
                   4/28/2016            $42.92             48,446             $2,079,302
                   4/28/2016            $42.45            151,554             $6,433,467
                   4/28/2016            $42.92              6,056              $259,924
                   4/28/2016            $42.45             18,944              $804,173
                   4/27/2016            $43.00             33,762             $1,451,766
                   4/27/2016            $42.39            166,238             $7,046,829
                   4/27/2016            $43.00              4,220              $181,460
                      Date            Share Price       No. of Shares          Proceeds
                   4/27/2016            $42.39             20,780              $880,864
                   4/26/2016            $44.15            200,000             $8,830,000
                   4/26/2016            $44.15             25,000             $1,103,750

            313.434.     Plaintiff Aberdeen purchased the following shares of Under Armour

common stock, among others:

                      Date            Share Price        No. of Shares          Proceeds
                    5/4/2016            $40.07              43,317             $1,735,712
                    5/3/2016            $42.76               9,953              $425,590
                    5/2/2016            $43.67               5,119              $223,547
                   4/29/2016            $43.70               2,997              $130,969
                   4/27/2016            $45.07               3,014              $135,841
                   4/26/2016            $46.75              15,641              $731,217
                   4/25/2016            $46.48               2,275              $105,742
                   4/22/2016            $46.74               3,413              $159,524
                   4/20/2016            $43.93              11,375              $499,704
                   4/19/2016            $43.96               2,958              $130,034

            435.   KBC’s funds purchased the following shares of Under Armour common stock,

among others:

                      Date            Share Price       No. of Shares          Proceeds
                   4/29/2016            43.94             5,185.00            $227,828.90



                                              - 203 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 474 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 210 of 213



            314.436.       Plaintiffs and other Class members, who purchased shares of Under Armour

common stock contemporaneously with sales by Plank suffered damages because: (1) in reliance

on the integrity of the market, they paid artificially inflated prices as a result of the violations of

§§Sections 10(b) and 20(a) of the Exchange Act as alleged herein; and (2) they would not have

purchased the common stock at the prices they paid, or at all, if they had been aware that the market

prices had been artificially inflated by the false and misleading statements and concealment alleged

herein.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs Aberdeen and Monroe, on their own behalf and on behalf of the

Class, pray for relief and judgment, as follows:

            A.     Declaring that this action is a proper class action, pursuant to Rule 23 of the Federal

Rules of Civil Procedure, and Plaintiffs as representatives of the Class, and designating Plaintiffs’

counsel as Class Counsel;

            B.     Awarding compensatory damages in favor of Plaintiffs and the other members of

the Class against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

            C.     Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including attorneys’ fees and expert fees; and

            D.     Awarding rescission or a rescissionary measure of damages; and.

            E.     Such other and further relief as the Court deems appropriate.

                                      JURY TRIAL DEMANDED

            Plaintiffs hereby demand a trial by jury.




                                                   - 204 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 475 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 211 of 213



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                                    - 205 -
1495422_1
  Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 476 of 477
    Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 212 of 213




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                                  - 206 -
1495422_1
 Case 1:23-mc-00070-LAK-GWG Document 66-5 Filed 08/23/23 Page 477 of 477
   Case 1:17-cv-00388-RDB Document 153-7 Filed 10/14/20 Page 213 of 213



                               CERTIFICATE OF SERVICE


       I hereby certifyHEREBY CERTIFY that on November 16, 2018,October 14, 2020 I

electronically filed the foregoing CONSOLIDATED SECOND AMENDED COMPLAINT FOR

VIOLATIONS OF THE FEDERAL SECURITIES LAWS with the Clerk of the Court using the

CM/ECF system, which will deliver the documentsend a Notice of Electronic Filing to all counsel

of record who have appeared in the action.


                                                          /s/ Robert R. Henssler Jr.
                                                         ROBERT R. HENSSLER JR.



                                                           s/ Robert R. Henssler Jr.
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                                             1495422_1
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